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   ( c)   Attorneys (FJTm Name, Address, and Tel11pbondlwnbu)                                              Attorneys (1/Kncl+w)
TerriAnne Benedetto, Seeger Weiss LLP, 1515 Market Street Suite
1380, Philadelphia, PA 19102. 2015-564-2300


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VII. REQUESTED IN ,
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                                Case 3:19-cv-00449-SRU Document 1 Filed 08/03/18 Page 2 of 297

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                                                                        UNITED STATES DISTRICT COURT
                                                                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
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                                                                                       DESIGNATION FORM
                                          ·~   counsel or prose plaintiff to indicate the category of th• COSllfor the purpost1 of assignment to the approprtat11 calendar)

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     2.      Does this case involve the same issue of fact or grow out of the same transaction as a prior- suit
             pending or within one year previously terminated action in this court?

     3.      Does this case involve the validity or infringement of a patent already m suit or any earlier
             numbered case pending or within one ~ previomly terminated action of this court?

     4.      ls this case a second or r.uccessive habeas corpus. social security appeal, or pro se ci'\-il rights
             case filed by the same ind1'idual?

     I certify that, to my knowledge, the within case                13 is I 0      is not related to any case now pendmg or within one ~ar previously terminated action in

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     this court except as noted above.
     DATE.      08/03/2018
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                       bor-Management Relations                                                                 6.    Other Personal Injury (Please specify) - - - - - - - - -
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     DATE.      08/03/2018;
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                      ATTACHMENT TO DESIGNATION FORM


Defendant Addresses

TEVA PHARMACEUTICAL INDUSTRIES LTD.
HQ:
5 Basel Street,
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Israel

TEVA PHARMACEUTICALS USA, INC.
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North Wales, Pennsylvania, 19454

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Bakersfield, CA 93301

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Towaco, NJ 07082

DEBORAH GRIFFIN
I 09 Redstone Drive
Warrington, PA 18976

MAUREEN CAVANAUGH
3 Barley Sheaf Lane
Schwenksville, PA 19473

EREZ VIGODMAN - Yet to be determined
          I       .
EY AL DESHEH - Yet to be determined

YAACOV ALTMAN - Yet to be determined.

ALLAN OBERMAN - Yet to be determined

YITZHAK: PETERBURG - Yet to be determined
       I
        ' BHATTACHARJEE-Yetto be determined
DIPANK'lR

MICHAEi MC,LELLAN- Yet to be determined

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           Case 3:19-cv-00449-SRU Document 1 Filed 08/03/18 Page 4 of 297


                          I~ THE Ul'iITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PESNSYLVANIA

                       CASE MANAGEMENT TRACK DESIGNATION FOR.VI
       THE PHOE:'.'JIX INSGRANCE
       C0'.\.1PANY, LTD, et al.
                        v.                                              ·ir·:-.
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        TEVA PHAR'.\.1ACEUTICAL
                                                                                NO.
        INDUSTRIES, LTD, et al.
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case '.\.1anagement Track Designation Form m all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which th-at defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGE'.VIENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                              ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Hu~an Services denying plaintiff Social Security Benefits.                                       )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.       (

(d) Asbestos -- Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                            (

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management - Cases that do not fall into any one of the other tracks.



  08/03/2018
Date                              ~-law-7/ '                      ___
                                                                        Plaintiffs
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 215-564-2300                    215-851-8029                        tbenedetto(ci;seegerweiss.com
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      Case 3:19-cv-00449-SRU Document 1 Filed 08/03/18 Page 5 of 297




                     UNITED STATES DISTRICT COURT

                  EASTERN DISTRICT OF PENNSYLVANIA


THE PHOENIX INSURANCE COMPANY     )    Civil Action No.
LTD., THE PHOENIX PENSION LTD.,   )
EXCELLENCE GEMEL & HISHTALMUT     )    COMPLAINT FOR VIOLATIONS OF
LTD., EXCELLENCE KESEM ETNS and   )    FEDERAL SECURITIES LAW, THE
EXCELLENCE MUTUAL FUNDS,          )    PENNSYLVANIA SECURITIES ACT AND
                                  )    THE ISRAEL SECURITIES LAWS
                      Plaintiffs, )
                                  )
       vs.                        )
                                  )
TEVA PHARMACEUTICAL INDUSTRIES )
LTD., TEVA PHARMACEUTICALS USA, )
INC., EREZ VIGODMAN, EYAL DESHEH, )
SIGURDUR OLAFSSON, YAACOV         )
ALTMAN, ALLAN OBERMAN, YITZHAK )
PETERBURG, DIPANKAR               )
BHATTACHARJEE, MICHAEL            )
McCLELLAN, DEBORAH GRIFFIN and    )
MAUREEN CAVANAUGH,                )
                                  )
                      Defendants.
                                  )
                                       DEMAND FOR JURY TRIAL
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   DEFINED
                                                  DEFINITION
    TERMS
2Q2013 Form 6-K   Form 6-K, filed on August 1, 2013, signed by defendant Desheh, with
                  second quarter 2013 financial results
3Q2013 Form 6-K   Form 6-K, filed on October 31, 2013, signed by defendant Desheh, with
                  third quarter 2013 financial results
4Q2013 Form 6-K   Form 6-K, filed on February 6, 2014, signed by defendant Altman, with
Press Release     fourth quarter and full year 2013 financial results press release
2013 Form 20-F    Form 20-F, filed on February 10, 2014, signed by defendant Desheh
1Q2014 Form 6-K   Form 6-K, filed on May 1, 2014, signed by defendant Desheh, with first
                  quarter 2014 financial results
2Q2014 Form 6-K   Form 6-K, filed on July 31, 2014, signed by defendant Desheh, with
                  second quarter 2014 financial results
3Q2014 Form 6-K   Form 6-K, filed on October 30, 2014, signed by defendant Desheh, with
                  third quarter 2014 financial results
4Q2014 Form 6-K   Form 6-K, filed on February 5, 2015, signed by defendant Desheh, with
Press Release     fourth quarter and full year 2014 financial results press release
2014 Form 20-F    Form 20-F, filed on February 9, 2015, signed and certified by defendants
                  Desheh and Vigodman
1Q2015 Form 6-K   Form 6-K, filed on April 30, 2015, signed by defendant Desheh, with first
                  quarter 2015 financial results
2Q2015 Form 6-K   Form 6-K, filed on July 30, 2015, signed by defendant Desheh, with
                  second quarter 2015 financial results
3Q2015 Form 6-K   Form 6-K, filed on October 29, 2015, signed by defendant Desheh, with
                  third quarter 2015 financial results
4Q2015 Form 6-K   Form 6-K, filed on February 11, 2016, signed by defendant Desheh, with
Press Release     fourth quarter 2015 financial results press release
2015 Form 20-F    Form 20-F, filed on February 11, 2016, signed by defendant Desheh;
                  defendants Vigodman and Desheh signed the consolidated balance sheet.
1Q2016 Form 6-K   Form 6-K, filed on May 9, 2016, signed by defendant Desheh, with first
                  quarter 2016 financial results; defendants Vigodman and Desheh signed
                  the consolidated balance sheet
2Q2016 Form 6-K   Form 6-K, filed on August 2, 2016, signed by defendant Desheh, with
                  second quarter 2016 financial results; defendants Vigodman and Desheh
                  signed the consolidated balance sheet
3Q2016 Form 6-K   Form 6-K, filed on November 15, 2016, signed by defendant Desheh,
                  with third quarter 2016 financial results; defendants Vigodman and
                  Desheh signed the consolidated balance sheet
4Q2016 Form 6-K   Form 6-K, filed on February 13, 2017, signed by defendant Desheh, with
Press Release     fourth quarter 2016 financial results press release
2016 Form 20-F    Form 20-F, filed on February 15, 2017, signed by defendant Desheh;
                  defendants Peterburg and Desheh signed the consolidated balance sheet
1Q2017 Form 6-K   Form 6-K, filed on May 11, 2017, signed by defendant Desheh, with first
                  quarter 2017 financial results; defendants Peterburg and Desheh signed
                  the consolidated balance sheet



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   DEFINED
                                                    DEFINITION
    TERMS
2Q2017 Form 6-K  Form 6-K, filed on August 3, 2017, signed by defendant McClellan, with
                 second quarter 2017 financial results; defendants McClellan and
                 Peterburg also signed the consolidated balance sheet
3Q2017 Form 6-K Form 6-K, filed on November 2, 2017, signed by defendant McClellan,
                 with third quarter 2017 financial results
ADS Offering     $3.375 billion offering of 54 million American Depository Shares to
                 finance the Actavis acquisition
ADS Offering     The ADS/Preferred Registration Statement, the Rule 424(b)(5)
Materials        prospectus supplement dated and filed on November 30, 2015, the ADS
                 Prospectus Supplement, the ADS Underwriting Agreement, and the SEC
                 filings incorporated therein, including the 2014 Form 20-F, the 1Q2015
                 Form 6-K, the 2Q2015 Form 6-K, the 3Q2015 Form 6-K, and the July 28,
                 2015 Form 6-K with the Master Purchase Agreement
ADS Prospectus   Prospectus supplement for the ADSs, dated December 2, 2015, filed on
Supplement       December 3, 2015, with Registration No. 333-208238
ADS Underwriting Form 6-K, filed on December 8, 2015, signed by defendant Desheh, with
Agreement        an underwriting agreement relating to the ADS Offering, dated
                 December 2, 2015, and signed by defendants Teva and Desheh
ADS/Preferred    Form F-3 registration statement and the prospectus that formed a part of
Registration     the registration statement, dated and filed on November 30, 2015, with
Statement        Registration No. 333-208238, signed by, among others, defendants
                 Peterburg, Vigodman, Desheh and Griffin
Collusive Profit The amount of profit generated by Teva as a result of its collusive price
                 increases as quantified by counsel and industry experts
ILS              Israel New Shekels
Inflated Profit  The amount of profit generated by Teva as a result of its price increases as
                 quantified by counsel and industry experts
Master Purchase  Master Purchase Agreement, dated as of July 26, 2015, by and between
Agreement        Allergan plc and Teva Pharmaceutical Industries Limited, signed by
                 defendants Vigodman, Desheh and Olafsson, filed as a Form 6-K on
                 July 28, 2015, signed by defendant Desheh
Notes            The $3.5 billion 3.150% Senior Notes due 2026 and the $2 billion
                 4.100% Senior Notes due 2046
Notes Offering   The Notes Registration Statement, Notes Registration Statement
Materials        Amendment No. 1, Notes Prospectus Supplement and Notes Underwriting
                 Agreement
Notes Offering   The $3.5 billion 3.150% Senior Notes due 2026 and the $2 billion
                 4.100% Senior Notes due 2046
Notes Prospectus Prospectus Supplement for the Notes Offering, dated July 18, 2016, filed
Supplement       on July 19, 2016, with Registration No. 333-201984




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    DEFINED
                                                    DEFINITION
     TERMS
Notes Registration   Form F-3 registration statement and the prospectus that formed part of
Statement            the registration statement, dated and filed on February 9, 2015, with
                     Registration No. 333-201984, signed by, among others, defendants
                     Peterburg, Vigodman, Desheh and Griffin
Notes Registration   Post-Effective Amendment No. 1 to the Notes Registration Agreement
Statement            and the accompanying prospectus, dated and filed on July 13, 2016, with
Amendment No. 1      Registration No. 333-201984, signed by defendants Vigodman,
                     Peterburg, Desheh and Griffin
Notes                Form 6-K , filed on July 21, 2016, signed by defendant Desheh, with an
Underwriting         underwriting agreement relating to the Notes Offering, dated July 18,
Agreement            2016, and signed by defendants Teva and Desheh
Offerings            The ADS Offering, the Preferred Offering and the Notes Offering
Preferred Offering   $3.375 billion offering of 3.375 million mandatory convertible preferred
                     shares to finance the Actavis acquisition
Preferred            Prospectus supplement for the 7.00% mandatory convertible preferred
Prospectus           shares, dated December 2, 2015, filed on December 3, 2015, with
Supplement           Registration No. 333-208238
Preferred            Form 6-K, filed on December 8, 2015, signed by defendant Desheh, with
Underwriting         an underwriting agreement relating to the Preferred Offering, dated
Agreement            December 2, 2015, and signed by defendants Teva and Desheh




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       The Phoenix Insurance Company Ltd., The Phoenix Pension Ltd., Excellence Gemel &

Hishtalmut Ltd., Excellence Kesem ETNS and Excellence Mutual Funds (collectively,

“Plaintiffs”), by the undersigned attorneys, allege the following based upon personal knowledge

as to Plaintiffs and Plaintiffs’ own acts, and on information and belief as to all other matters based

on the investigation conducted by and through Plaintiffs’ attorneys, which included, among other

things, a review of defendants’ public documents, conference calls and announcements made by

defendants, U.S. Securities and Exchange Commission (“SEC”) filings made by Teva

Pharmaceutical Industries Ltd. (“Teva” or the “Company”), wire and press releases published by

and regarding Teva, analysts’ reports and advisories about Teva, government investigations and

reports related to the generic drug industry, information obtainable on the Internet, civil and

regulatory complaints and court filings, drug pricing and market share information from

proprietary databases, and consultation with industry experts. Plaintiffs believe that substantial

evidentiary support will exist for the allegations set forth herein after a reasonable opportunity for

discovery.

I.     NATURE AND SUMMARY OF THE ACTION

       1.      Plaintiffs bring this action under the Securities Exchange Act of 1934 (the

“Exchange Act”), the Securities Act of 1933 (the “Securities Act”), the Pennsylvania Securities

Act of 1972 (the “PSA”), and Israel Securities Law, 1968, against Teva, Teva Pharmaceuticals

USA, Inc. (“Teva USA”) and certain of Teva’s former and current officers and directors to recover

damages for losses Plaintiffs have suffered in connection with their acquisition of Teva securities

between October 30, 2013 and February 8, 2018, inclusive (the “Relevant Period”). Plaintiffs

purchased or otherwise acquired Teva American Depositary Shares (“ADSs”) and ordinary shares

at artificially inflated prices during the Relevant Period and suffered damages as a result of the

violations of the securities laws alleged herein.


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       2.      Plaintiffs assert claims under §§10(b) and 20(a) of the Exchange Act and Rule 10b-

5 promulgated thereunder, and §§1-402(c) and 1-501(c) of the PSA, and Israel Securities Law,

1968, against Teva, Teva USA, and 10 of Teva’s current and former executives (collectively,

“Defendants”).

       3.      Plaintiffs also assert strict liability and negligence claims, which do not sound in

fraud, under §§11 and 12(a)(2) of the Securities Act. These claims are asserted against defendants

(“Securities Act Defendants,” defined below) who are statutorily responsible for material

misstatements of fact or omissions in the registration statements and prospectuses by which Teva

offered ADSs to the public in December 2015 (the “ADS Offering”). Plaintiffs also bring §15

claims against certain of the Securities Act Defendants for control person liability. Plaintiffs

expressly disclaim any allegations of fraud or intentional misconduct in connection with these non-

fraud claims, which are treated separately in this Complaint from the Exchange Act, PSA and

Israel Securities Law claims.

       4.      These claims arise from a series of material misstatements and omissions about:

(i) Teva’s U.S. generic drugs business, including its financial performance and projections, its

participation in an anti-competitive collusive scheme to manipulate the market for generic drugs,

the source and sustainability of Teva’s revenues, profits and growth, the rate of price erosion on

Teva’s generic drugs, and Teva’s acquisition of Actavis Generics; and (ii) Teva’s overstatement

of its goodwill valuation for its generics business and inflation of its balance sheet and operating

results by billions of dollars. These material misstatements and omissions misled the market and

caused the prices of Teva’s ADSs and ordinary shares to be inflated. When the truth about Teva’s

financial condition and operations began to leak into the market, the prices of these securities fell

significantly, causing damage to Plaintiffs.




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        5.      Teva develops, manufactures and markets generic medicines and a portfolio of

specialty medicines worldwide. Teva is the largest generic drug manufacturer and one of the 15

largest pharmaceutical companies in the world. Prior to the Relevant Period, Teva was under siege

on all fronts – its top selling generic drug suffered from new competition, its top revenue driver

(the specialty drug Copaxone) was about to lose exclusivity, and its stock price was flat. Under

pressure to turn the Company around, Defendants resorted to fraud.

        6.      Beginning in mid-2013, Teva began to collude with its competitors to increase

generic drug prices in order to decrease competition and artificially inflate revenues. In particular,

throughout the Relevant Period, Teva entered into agreements to fix the prices of or allocate the

market for at least 25 generic drugs. Throughout the Relevant Period, Defendants issued financial

reports and made public statements that misstated the Company’s financial position and concealed

Teva’s and Teva USA’s participation in this vast collusion and its involvement in an illegal price

fixing, bid rigging, and market and customer allocation scheme.            The scheme was highly

profitable, contributing close to $1.48 billion to Teva’s bottom line.

        7.      In addition to collusive price hikes, Teva systematically raised prices across a large

swath of its generic drug portfolio, often in tandem with other drug manufacturers (together with

collusive price hikes, the “Price-Hike Strategy”). The impact of the Price-Hike Strategy was

staggering, totaling approximately $2.6 billion in profits attributable solely to the price increases

(the “Inflated Profit”):




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       8.      Teva’s Price-Hike Strategy, including collusive price hikes, immediately drove the

Company’s rebound. During the third quarter of 2013, U.S. generics revenues turned around and

rose over $1 billion with a 6% increase year-over-year. U.S. generics ended the year as the most

profitable part of Teva’s business, with 14% top-line revenue growth and 50% gross margins. In

turn, Teva’s stock price ended its year-long flat streak, and by the first quarter of 2014, posted the

biggest quarterly rally since 2005 at 32%.

       9.      Defendants were highly effective at concealing that the Price-Hike Strategy was

driving Teva’s rapid growth. They invariably attributed the improved profits to legitimate sources.

Neither Teva, nor any of its peers, regularly disclosed to the investing public information

concerning individual drug prices, changes in price, or revenues per drug, let alone profits. Wall

Street analysts, intimately familiar with Teva’s business and disclosures, had no way to know if

Teva was profiting from systematic price increases, except to ask Defendants. When analysts

asked whether Teva’s profits and performance were at all connected to price increases, the Officer

Defendants (as defined below) answered with explicit and false denials – repeatedly representing

that: (1) Teva was not engaged in any collusive activity; (2) Teva’s Relevant Period growth,

revenues and profits were not the product of generic drug price increases; and (3) because Teva’s

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success was not reliant on generic drug price increases, the Company was not susceptible to, and

had not experienced, substantial price erosion. In fact, defendant Cavanaugh blatantly told

investors that Teva brought “‘cost savings to patients each year and also reduce[d its] costs on an

ongoing basis.’”

       10.     Defendants had to conceal that the massive generic drug price increases were the

primary contributor of Teva’s massive boost in Relevant Period profits. The strategy was

inherently risky and unsustainable for a variety of reasons, including that two-thirds of the

increases were done in tandem with other drug manufacturers. Wholesale purchasers of generic

drugs routinely set pricing through a competitive RFP bidding process. Thus, assuming no

collusion, when Teva raised prices any manufacturer in the generic drug market could underbid

Teva and wipe out Teva’s market share. Additionally, the appearance of price gouging or collusion

could draw public outrage, law enforcement scrutiny, and civil and criminal liability. Had Teva

disclosed the true facts behind its core business strategy, investors would have valued Teva very

differently from a company with a strategy driven by fundamental growth and cost cutting, as the

Defendants falsely proclaimed.

       11.     Substantial facts support the allegations that Teva in fact did collude to fix the

prices of at least two dozen drugs. The drugs’ prices moved in near-perfect unison, and increased

suddenly and simultaneously at each drug company. The price increases were exponential. And

there is a clear pattern of an industry conference attendance by Teva and its competitors, followed

by an abrupt and unprecedented spike in Teva’s prices closely timed with spikes in Teva’s

competitors’ prices.

       12.     There is no non-collusive explanation for Teva’s sudden, synchronized price

increases – there were no supply shortages, production problems, or sudden increases in demand

for these drugs during this period, and no major competitor left the market. Moreover, the markets


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for these drugs are highly susceptible to collusion – they are dominated by only a few companies,

and this market concentration makes collusion easy. The market for the price-fixed drugs featured

several other characteristics that facilitated collusion: demand was inelastic, with increases or

miniscule reductions in the quantities sold even after massive and sudden price hikes; they were

commodity-like products – generic drugs for which the only distinguishing factor for purchasers

was price; there was no viable substitute; the drugs had high barriers to entry; and information

sharing and price discovery were common. Finally, the drug prices did not decrease following the

initial price increases as one would expect if the sudden price increases reflected temporary supply

shortages, cost increases or other benign market explanations.

       13.     Teva’s extraordinary and historic price increases would have been against Teva’s

economic self-interest absent the existence of a price-fixing scheme. Generic drugs are commodity

products. Absent price collusion, if one manufacturer raises the price of a given drug, its

competitors will seek to increase their own market share by selling the drug to the first

manufacturer’s customers at lower prices. Indeed, under the “maximum allowable cost” (“MAC”)

pricing regime that governs much of the U.S. generic pharmaceutical market, drug cost

reimbursements from insurance companies are capped at a certain price, and if a drug manufacturer

raises its prices above this cap while its competitors do not, the reimbursements for the higher

priced drug will cease. Thus, it would not be in any drug manufacturer’s interest to increase the

prices of its generic drugs unless it had an agreement with the other manufacturers that they would

do the same.

       14.     The suspicious price increases by Teva and other drug manufacturers have spawned

investigations by Congress, the U.S. Department of Justice (“DOJ”), and at least 45 state Attorneys

General (“AGs”). In October 2014, Congress initiated an inquiry, calling for testimony from Teva

and other competitors to explain the egregious price spikes. Teva, however, refused to appear or


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to even produce documents.        In short order, Congress called on the U.S. Government

Accountability Office (“GAO”) to conduct an audit of Medicare expenditures on generic drugs,

the Connecticut AG issued subpoenas, and the DOJ launched a criminal investigation. Those

inquiries expanded from narrowly focused probes into specific drugs and manufacturers to an

ongoing industry-wide investigation that has already produced guilty pleas from top executives

who have admitted to colluding with Teva.

       15.     As the price hikes gained attention, Teva went on the offensive, repeatedly and

falsely denying any wrongdoing and that Teva’s success was price-driven. Defendants insisted

that price increases were only taken “due to some abnormalities in the market,” emphasized that

the Company was “very responsible in everything that pertains to prices,” and assured investors

that margin improvements were “driven by quantities, and by mix, and by efficiency measures,

not by price, [in] 2014, 2015.” In reality, there were no “abnormalities in the market” associated

with the generic drugs subject to price hikes, and Teva’s outsized profits were driven by collusion

and other massive, but unsustainable, price increases.

       16.     The investigations began to bear fruit in the fall of 2016. On September 12, 2016,

the GAO publicly released its audit report, Generic Drugs Under Medicare Part D (“GAO

Report”). After the year-long review, the GAO’s conclusions were stunning. The Medicare data

revealed hundreds of unexplained “extraordinary price increases,” defined as a particular drug’s

price increasing over 100% within a 12-month period, including numerous price increases of more

than 1,000%. Teva owned the rights to at least 40% of the drugs the GAO Report identified as

having exhibited an extraordinary price increase between 2013 and 2015. Following the GAO

Report, Defendants continued to falsely deny that Teva had driven performance through price

hikes and was susceptible to erosion from “giv[ing] back” prior price increases.




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       17.     On November 3, 2016, Bloomberg reported that the DOJ investigation had

implicated Teva in the price-fixing scheme, that criminal charges would be issued before year-

end, and that the Connecticut AG could also soon file charges. As predicted, on December 14,

2016, the DOJ unsealed allegations against the Chief Executive Officer (“CEO”) and the President

of Teva’s competitor Heritage Pharmaceuticals Inc. (“Heritage”), Jeffrey Glazer (“Glazer”) and

Jason Malek (“Malek”), respectively. The charges included “knowingly enter[ing] into and

engag[ing] in a combination and conspiracy with other persons and entities engaged in the

production and sale of generic pharmaceutical products, . . . the primary purpose of which was to

allocate customers, rig bids, and fix and maintain prices.” The charges pertained to two drugs,

Glyburide and Doxycycline Hyclate, both also sold by Teva.

       18.     On December 15, 2016, the AGs of 20 states, led by the Connecticut AG, filed a

civil complaint against Teva and several of its co-conspirators (“December 2016 AG Complaint”).

The State AGs’ initial complaint accused Teva of allocating customers and market share and

agreeing to collectively raise prices of generic drugs along with other manufacturers. The

allegations expressly implicated Teva in colluding to fix the pricing and market share for

Glyburide – a generic drug for which Teva had dominated 75% of sales from 2012 to 2017. As

the Connecticut AG put it, this “fraud [was] on an almost unimaginable scale,” and the allegations

around these two drugs are just the “tip of the iceberg.”1 In March 2017, the AGs amended their

complaint and added the claims of AGs of 24 additional states, the Commonwealth of Puerto Rico

and the District of Columbia (“State AGs”) against Teva and its co-conspirators (“March 2017

AG Complaint”).




1
    All emphasis has been added unless otherwise noted.

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       19.     In January 2017, Glazer and Malek pleaded guilty to the DOJ’s criminal charges in

exchange for a grant of immunity as to a host of additional drugs, a list of which was filed under

seal. They also admitted liability to the claims levied by the State AGs. Most importantly, they

admitted that they conspired with Teva. Specifically, they admitted that in April 2014, for

example, Heritage prepared a list of drugs and price increases for collusion. According to the State

AGs’ allegations, “Malek himself was responsible for communicating with defendant Teva,

which was a competitor on several of the drugs on the list, including Glyburide.” Although the

names and positions of the participants are redacted, they included the “executives at the highest

levels of many of the Defendant companies.”

       20.     On October 31, 2017, the State AGs filed a motion for leave to file a Consolidated

Amended Complaint (the “October 2017 AG Complaint”) (collectively with the December 2016 AG

Complaint and the March 2017 AG Complaint, the “AG Complaints”) in Connecticut v. Aurobindo

Pharma USA, Inc., Civ. A. No. 17-3768 (E.D. Pa.) (ECF No. 3). The October 2017 AG Complaint

contains additional detailed allegations regarding Teva’s collusive activities. In total, Teva was

implicated in the misconduct surrounding eight of the 15 generic drugs alleged by the State AGs in

their amended complaint: (i) Glyburide; (ii) Acetazolamide ER; (iii) Glipizide-Metformin;

(iv) Glyburide-Metformin;     (v) Leflunomide;     (vi) Nystatin;   (vii) Theophylline   ER;    and

(viii) Verapamil. As both the DOJ and State AGs have stated, the investigations are ongoing and

more charges are to come.

       21.     In the meantime, Plaintiffs have conducted an extensive investigation and

uncovered additional evidence that Teva’s misconduct applies to at least three times as many drugs

as alleged by the State AGs. Through this scheme, Teva was able to generate approximately

$1.48 billion in profits from 2013 through 2017 from more than two dozen drugs that Plaintiffs

were able to identify and analyze. For example, as set forth in more detail below, Teva’s illicit


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profits during the Relevant Period from the conspiracy to hike the price of Pravastatin, one of

Teva’s better selling generics, amounted to nearly $320 million. Similarly, the collusion with

respect to Carbamazepine, an epilepsy drug, yielded price increases of more than 1,500% and over

$200 million in illicit profits. Teva similarly gained over $160 million in such profits from

increases of up to 430% in its prices for Baclofen, a multiple sclerosis drug, and over $160 million

from increases of up to 434% in its prices for Fluocinonide, a high-potency topical corticosteroid.

Teva, through its purchase of Actavis Generics, also gained more than $23 million in illicit profits

from increases of up to 2,500% for Doxycycline Hyclate, an acne medication. Importantly,

Plaintiffs calculated these illicit profits from a limited subset of the more than 250 generic drug

products sold by Teva in the United States, dozens of which were also subject to extraordinary

price hikes according to the GAO.

       22.     Teva’s illicit profits led to increased revenues beginning in mid-2013; however,

Teva kept the source of its revenues hidden from investors. With Teva’s dramatically increased

profitability beginning in 2014, analysts and investors were focused on the reasons for Teva’s

improving fortunes. In the face of probing questions, Defendants repeatedly omitted the true

source of Teva’s increased revenues, and instead falsely asserted that Teva was profiting from

competition on the merits.       For instance, Teva’s former CEO, defendant Erez Vigodman

(“Vigodman”), in response to a direct question on pricing practices during an October 29, 2015

investor conference, stated: “We are very responsible . . . in everything that pertains to prices, on

the generic side and on the specialty side. . . . I will even put [it] another way, all the improvement

you see in margins is not driven by price. It is driven by quantities, and by mix, and by efficiency

measures, not by price, 2014, 2015. And that’s a very important message.”

       23.     Likewise defendant Eyal Desheh (“Desheh”), who during the Relevant Period

served first as Teva’s Interim CEO and later as its Chief Financial Officer (“CFO”), went so far as


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to describe the success of the division as “nothing short of a revolution,” bragging that Teva had

steeply increased its margins in generics by simultaneously growing revenue through increasing

quantities and new drugs, and cutting the sales and marketing costs needed to “drive the sale.” In

a November 2015 investor conference, Desheh addressed pricing head on:

       There is a lot of noise around pricing issues. Some of it’s coming from politicians
       driving agenda[s] . . . . Our exposure to all these things is very minimal. . . . I
       believe there are many examples for competitive environment, real competition,
       like we see in the generic market in the United States.

       24.     Defendants repeated their false denials throughout the Relevant Period:

              On November 19, 2015, Desheh eased investor concerns by attesting that Teva
               played “by the book and by the rule[s],” and as such, its “exposure to any initiative
               on price reduction in the United States is as small as anybody can have.”

              On January 5, 2016, defendant Cavanaugh told investors that “‘[a]s the largest
               supplier of generics in the U.S. market, we bring cost savings to patients each year
               and also reduce our costs on an ongoing basis. We are continuously working to
               make products more accessible, especially when there are drug shortages in the
               market.’”

              During a February 11, 2016 earnings call, Sigurdur Olafsson (“Olafsson”), the
               former President and CEO of Teva’s Global Generic Medicines Group, conveyed
               that competition was fierce. In both the United States and Europe, Teva fought “on
               a molecule by molecule basis” and there was “fierce competition between Actavis
               Generics and Teva.” In addition, Olafsson told investors that Teva’s record
               performance was achieved “not by pricing.”

              On August 4, 2016, defendant Olafsson stated that competition from
               Emcure/Heritage resulted in “significant volume impact, but very little impact on
               profitability or the top line,” and Teva regularly competed with Actavis. In
               addition, opportunities to raise prices only came with shortages or “some kind of
               dysfunction in the market,” and “the small pricing opportunity . . . usually comes
               in and comes out.”

              During a November 15, 2016 earnings call, defendant Vigodman professed that,
               with respect to the DOJ’s “investigation into price collusion in the generic drug
               industry, which has been in the news this month[,] I would like to emphasize that
               based on all of our efforts to date, internal and external, we disclosed, and I’m
               reiterating it here today, that we are not aware of any fact that would give rise to an
               exposure to Teva with respect to the investigation.”

              On the same conference call, when an analyst asked whether the accelerated price
               decreases during the 2016 third quarter were due to increased competition or
               “having to tame previous price increases, or give back some of those,” Olafsson
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               emphatically answered “no” and falsely explained that the increased price erosion
               was due to a one-time event of the Federal Trade Commission (“FTC”) requiring
               divestiture of products relating to the Actavis Generics acquisition.

              In all of its filings disclosing the receipt of subpoenas from prosecutors concerning
               price collusion activities in the U.S. generic drug market, Teva told investors that
               it was “not aware of any facts that would give rise to an exposure to [the Company]
               with respect to these subpoenas.”

              In a November 2, 2017 filing with the SEC disclosing the receipt of subpoenas from
               prosecutors concerning price collusion activities in the U.S. generic drug market,
               Teva denied “having engaged in any conduct that would give rise to liability with
               respect to the above-mentioned subpoenas and civil suits.”

       25.     Investors relied on these false statements. For example, as analysts at Leerink

echoed: Teva’s management “provided some reassurance that the company is less exposed to the

unwinding of generic price inflation . . . which was reassuring after competitor results stoked

investor concerns about the groups’ exposure to unwinding generic price inflation.”

       26.     And, as Teva’s price hikes increased, the price of Teva ADSs rose from $40 to a

Relevant Period high of $72 in mid-2015, and the price of ordinary shares rose from ILS 13,000

to a high of ILS 27,120. Defendants made millions in personal compensation from the scheme.

       27.     Defendants also used Teva’s soaring stock price to fund a long-conceived

acquisition binge. Vigodman and Desheh stated early in the Relevant Period that they wanted to

convert Teva securities into “currency” to acquire a competitor, further consolidating Teva’s

market share. They first tried making an offer for Mylan N.V. (“Mylan”) in April 2015. This

offer was rejected. Undeterred, Defendants ratcheted up their bidding, and with Teva’s ADS and

ordinary share prices reaching all-time highs, on July 27, 2015, Defendants announced the

purchase of Allergan plc’s (“Allergen”) generics division, Actavis.

       28.     The deal would cost Teva approximately $40 billion, most of which was funded

through three offerings. First, in December 2015, Teva undertook a secondary offering of

$3.375 billion in ADSs and an offering of $3.375 billion in preferred shares. Like their other

public statements, the ADS Offering Materials (as defined below) were materially false, claiming
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that Teva had achieved its outstanding results notwithstanding “intense competition,” and

concealing the true source of Teva’s profits. These offerings were a success, and an additional

debt offering was slated for later in 2016 once the Actavis transaction closed.

       29.     In 2016, however, Teva’s scheme began to unravel. Increased scrutiny from

investigators made it more difficult for Teva to maintain its high prices, let alone raise prices on

additional drugs. Unbeknownst to Plaintiffs, under pressure from the investigations, Teva’s

Inflated Profits were diminishing.      Other pharmaceutical companies reported disappointing

earnings, attributed to increased pressure to reduce prices. This pricing pressure was a by-product

of heightened government scrutiny and public outcry. But when asked whether Teva faced the

same risks, Olafsson falsely claimed that Teva was not exposed: “Teva has not seen any

fundamental change or worsening in the pricing environment.” Vigodman claimed that “[w]hat

we see is a 4% to 5% erosion [in pricing] . . . . That’s not something which is different from what

we said during 2015.” In reality, the denied pricing pressure was eating into Teva’s Inflated

Profits; in the first quarter of 2016, Inflated Profits were 46% lower than they were a year earlier.

       30.     Adding to the pressure, the FTC’s approval of the Actavis acquisition took longer

than expected. With the investigations mounting, Teva urgently sought to close the Actavis

acquisition before the fraud became public. Without warning, during a pre-arranged investor call

on July 13, 2016, defendant Vigodman announced that the debt offering (the “Notes Offering”),

which was used to consummate the Actavis acquisition, would be launched that day. The Notes

Offering raised $15 billion for the acquisition, which was closed on August 2, 2016.

       31.     What Vigodman failed to disclose in the July 13, 2016 investor conference call and

the Notes Offering Materials was that, on July 12, 2016, Teva had been served with subpoenas by

the Connecticut AG, and three weeks earlier, on June 21, 2016, by the DOJ, indicating that Teva

was now a focus of the investigations into illegal price-fixing and collusive conduct. These


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subpoenas were not disclosed until Teva filed a Form 6-K with the SEC on August 4, 2016, after

the Notes Offering and Actavis deal had closed.

        32.    As criminal charges, guilty pleas, and the State AGs’ allegations mounted in the

latter half of 2016, the prices of Teva securities precipitously declined. The wide- ranging scope

of the investigation took its toll on Teva’s ability to continue with its Price-Hike Strategy, and the

Company’s financial performance suffered. Over the course of 2016, Inflated Profits plunged

50%. Nevertheless, Teva continued to push back against charges of generic price inflation, and

misled investors about the Company’s exposure to the concommitant price erosion.

        33.    As Teva’s troubles mounted, key executives resigned or were fired. Defendant

Olafsson, President and CEO of Teva’s Global Generic Medicines Group, was fired on

December 5, 2016. Vigodman was terminated on February 6, 2017, and on June 30, 2017, Desheh

also left.

        34.    On August 3, 2017, in the first financial report issued after Desheh, Vigodman and

Olafsson were gone, Teva announced disappointing results due to the poor performance of its U.S.

generics business and wrote down more than $6.1 billion of goodwill related to the Actavis

Generics acquisition. Teva attributed the poor performance of its U.S. generics business to

“accelerated price erosion,” a natural result of increased scrutiny of increased pricing.

        35.    Without the Price-Hike Strategy driving Inflated Profits, Teva’s ability to service

its over $30 billion in debt also raised fears; the credit-rating agencies immediately downgraded

the Company’s debt to just above “junk.” And after 30 years of maintaining or increasing its

dividend, the new Board of Directors and management of Teva were forced to cut the dividend by

75%. In reality, without the Price-Hike Strategy and collusive activities, Teva was a fundamentally

weaker company than investors were led to believe. Teva’s share price plummeted in reaction to

this news.


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       36.     On October 31, 2017, the State AGs, now numbering more than 40, published the

proposed amended complaint that expanded on the states’ allegations against Teva. The expanded

allegations, developed by evidence uncovered through the ongoing investigation, specifically

implicated Teva in conspiring with its competitors to fix the prices and allocate market share for

eight generic drugs.

       37.     On February 8, 2018, Teva announced another staggering $10.4 billion goodwill

impairment related to its generics business for the fourth quarter of 2017. The February 8, 2018

Form 6-K stated that “[d]uring the fourth quarter of 2017, we noted further deterioration in the

U.S. generics market and economic environment, further limitations on our ability to influence

generic medicines pricing in the long term and a decrease in value from future launches.” These

developments included “additional pricing pressure in the U.S. generics market as a result of

customer consolidation into larger buying groups capable of extracting greater price reductions”

and “pricing challenges due to government regulation.” As such, another goodwill impairment

was recorded for the generics segment.

       38.     As these revelations came to light over time, the price of Teva ADSs collapsed from

an all-time high of $72 to less than $20, and Teva’s ordinary shares fell from an all-time high of

ILS 27,120 to ILS 6,700. As a result, Teva’s market capitalization declined from approximately

$61 billion to $20 billion, revealing that Teva’s skyrocketing value during the Relevant Period,

built on the supposed success of its U.S. generics business, had been a fraud.

II.    JURISDICTION AND VENUE

       39.     The claims asserted herein arise under §§10(b) and 20(a) of the Exchange Act, 15

U.S.C. §§78j(b) and 78t(a), and the rules and regulations promulgated thereunder, including SEC

Rule 10b-5, 17 C.F.R. §240.10b-5; §§11, 12(a)(2) and 15 of the Securities Act, 15 U.S.C. §77k,




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77l(a)(2) and 77o; §§1-402(c) and 1-501(c) of the PSA, 70 Pa. Stat. §§1-402(c) & 1-501(c); and

the Israel Securities Law, 1968.

       40.     This Court has jurisdiction over the subject matter of Counts I, II, V, VI and VII

pursuant to §27(a) of the Exchange Act, 15 U.S.C. §78aa(a), §22 of the Securities Act, 15 U.S.C.

§77v, and 28 U.S.C. §§1331, 1337. This Court has supplemental jurisdiction over Counts III and

IV pursuant to 28 U.S.C. §1367(c).

       41.     Venue is proper in this District pursuant to §27(a) of the Exchange Act, 15 U.S.C.

§78aa(a), §22 of the Securities Act, 15 U.S.C. §77v, and 28 U.S.C. §1391. In two separate

securities cases, Teva moved to transfer venue to this District from the Central District of

California. See, e.g., Galmi v. Teva Pharm. Indus. Ltd., No. 16-cv-08259 (C.D. Cal.), ECF No.

37-1. In support of its motion, Teva submitted a sworn declaration from Austin D. Kim (“Kim”),

its Vice President and Deputy General Counsel, Corporate/M&A, who detailed the substantial

connections between this District and the events giving rise to this lawsuit. Id. ECF No. 37-2

(“Kim Declaration”). Kim explained that Teva’s “principal United States subsidiary is Teva

USA,” a defendant in this case, which keeps both its headquarters and principal executive offices

within this District in North Wales, Pennsylvania. Kim admitted that the individuals “who

participated in drafting and preparing” Teva’s U.S. SEC filings between at least 2014 and 2016,

“or who otherwise controlled the drafting process, are located in or around Petach Tikva, Israel

and North Wales, Pennsylvania.” Kim further described how Teva conducts much of its global

operations through the Teva USA North Wales offices, “including investor relations and sales and

marketing for the North American generic medicines business.” Kim confirmed that “all sales,

marketing, and finance executives with responsibility for U.S. generics pricing are based in

Pennsylvania.” Finally, he noted that many “materials related to Teva USA, drug pricing, and

U.S. competitors” are located in this District.


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       42.     In connection with the acts alleged herein, Defendants directly or indirectly used

the means and instrumentalities of interstate commerce, including the U.S. mails, interstate

communications, and the facilities of a national securities exchange, namely the New York Stock

Exchange (“NYSE”).

III.   EXCHANGE ACT, PSA AND ISRAEL SECURITIES LAW
       ALLEGATIONS

       A.      Parties

               1.        Plaintiffs

       43.     Plaintiffs are subsidiaries of The Phoenix Insurance Company Ltd (“Phoenix”), an

insurance and financial services conglomerate headquartered in Israel, which provide insurance

products and services, including life insurance, long-term savings, pension and provident funds,

general insurance, healthcare insurance, ETNS indexes and mutual funds.

               2.        Defendants

                         a.     The Company

       44.     Defendant Teva Pharmaceutical Industries Ltd. is incorporated in Israel with its

principal executive offices at 5 Basel Street, P.O. Box 3190, Petach Tikva, 4951033, Israel.

       45.     Defendant Teva Pharmaceuticals USA, Inc. is defendant Teva’s wholly-owned

subsidiary and has its principal offices at 1090 Horsham Road, North Wales, Pennsylvania, 19454.

Teva conducts much of its global operations through the Teva USA North Wales offices, including

investor relations and sales and marketing for the North American generic medicines business. In

addition, all sales, marketing and finance executives with responsibility for U.S. generics pricing

are based in Pennsylvania, and Teva’s Relevant Period SEC filings were drafted, prepared and/or

controlled by individuals located in Teva USA’s North Wales, Pennsylvania headquarters, in

conjunction with individuals at Teva’s headquarters in Israel.




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       46.     Teva engages in interstate commerce within this District. Teva ADSs are listed and

traded on the NYSE under the symbol “TEVA.” Teva ordinary shares trade on the Tel Aviv Stock

Exchange (“TASE”) under the symbol “TEVA.”

                       b.      The Officer Defendants

       47.     Defendant Erez Vigodman served as Teva’s President and CEO from February 11,

2014 to February 6, 2017 and as a Teva director from June 22, 2009 to February 6, 2017.

Vigodman signed and certified certain of Teva’s reports on Forms 20-F and 6-K filed with the

SEC during the Relevant Period, as set forth herein. Vigodman made false and misleading

statements and omitted to disclose the truth during the course of numerous conferences with

investors and analysts, alleged specifically herein.

       48.     Defendant Eyal Desheh served as Teva’s CFO from July 2008 to June 30, 2017,

except from October 30, 2013 to February 11, 2014, a period during which he served as Teva’s

Interim CEO and Interim President. Desheh also served as Teva’s Group Executive Vice President

(“EVP”) from 2012 to June 30, 2017. Desheh signed and certified certain of Teva’s reports on

Forms 20-F and 6-K filed with the SEC during the Relevant Period, as set forth herein. Desheh

made false and misleading statements and omitted to disclose the truth during the course of

numerous conferences with investors and analysts, alleged specifically herein.

       49.     Defendant Yaacov Altman (“Altman”) served as Teva’s Acting CFO from

October 31, 2013 to February 11, 2014. Altman signed and certified certain of Teva’s reports on

Forms 20-F and 6-K filed with the SEC during the Relevant Period, as set forth herein. Altman

made false and misleading statements and omitted to disclose the truth during the course of

numerous conferences with investors and analysts, alleged specifically herein.

       50.     Defendant Allan Oberman (“Oberman”) served as President and CEO of Teva

Americas Generics from November 5, 2012 to December 31, 2014. Oberman made false and


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misleading statements and omitted to disclose the truth during the course of numerous conferences

with investors and analysts, alleged specifically herein.

       51.     Defendant Sigurdur Olafsson served as President and CEO of Teva’s Global

Generic Medicines Group from July 1, 2014 to December 5, 2016 and was CEO of Teva USA.

Prior to joining Teva, Olafsson served in various roles, including senior leadership positions,

within Actavis (also known as Actavis Pharma, Actavis plc, (Watson) and the Actavis Group) from

2003 to 2014. Olafsson made false and misleading statements and omitted to disclose the truth

during the course of numerous conferences with investors and analysts, alleged specifically herein.

       52.     Defendant Yitzhak Peterburg (“Peterburg”) served as Teva’s Interim President and

CEO from February 6, 2017 to October 31, 2017. Prior to that date, he was Chairman of Teva’s

Board from January 1, 2015. He also served as a Teva director from June 2009 to July 2010 and

after a brief departure he rejoined Teva’s Board from 2012 until February 6, 2017. Peterburg

signed and certified certain of Teva’s reports on Forms 20-F and 6-K filed with the SEC during

the Relevant Period, as set forth herein. Peterburg made false and misleading statements and

omitted to disclose the truth during the course of numerous conferences with investors and

analysts, alleged specifically herein.

       53.     Defendant Dipankar Bhattacharjee (“Bhattacharjee”) served as the President and

CEO of Teva’s Global Generic Medicines Group from December 5, 2016 to December 31, 2017.

He previously served as President and CEO of Teva’s Generics Europe from 2013 and 2016 and

as CEO of Teva UK Ltd. and later as Senior Vice President (“SVP”) of Teva’s Western Europe

from 2009 to 2013. Bhattacharjee made false and misleading statements and omitted to disclose

the truth during the course of numerous conferences with investors and analysts, alleged

specifically herein.




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       54.     Defendant Deborah Griffin (“Griffin”) serves as Teva’s SVP and Chief Accounting

Officer (Principal Accounting Officer), and served as the Authorized U.S. Representative of Teva,

and the Authorized U.S. Representative of Teva Finance during the Relevant Period. She was also

Vice President (“VP”) and CFO of Teva USA during the Relevant Period. Griffin signed the

ADS/Preferred Registration Statement. While at Teva, Griffin possessed the power and authority,

and in fact did approve and control the contents of the Company’s SEC filings alleged herein to

be false and misleading, as they pertained to Teva USA’s financial reporting.

       55.     Defendant Maureen Cavanaugh (“Cavanaugh”) served as Teva USA’s SVP and

Chief Operating Officer, North America Generics during the Relevant Period. During her tenure

at Teva, Cavanaugh possessed the power and authority to, and in fact did approve and control the

contents of the Company’s SEC filings alleged herein to be false and misleading, as they pertained

to Teva USA’s financial reporting.

       56.     Defendant Michael McClellan (“McClellan”) has served as EVP and CFO of Teva

since November 2017. Prior to becoming CFO, he was Teva’s SVP and Interim CFO from

July 2017 to November 2017, and SVP and CFO of the Global Specialty Medicines division

July 2015 to July 2017. McClellan signed and certified certain of Teva’s reports on Forms 20-F

and 6-K filed with the SEC during the Relevant Period, as set forth herein. McClellan made false

and misleading statements and omitted to disclose the truth during the course of numerous

conferences with investors and analysts, alleged specifically herein.

       57.     Defendants Vigodman, Desheh, Altman, Oberman, Olafsson, Peterburg,

Bhattacharjee, McClellan, Griffin and Cavanaugh are sometimes referred to herein collectively as

the “Officer Defendants.” Teva, Teva USA and the Officer Defendants are sometimes referred to

herein collectively, as pertaining solely to the claims under the PSA, the Exchange Act, and the

parallel provisions of the Israel Securities Law, 1968, as the “Defendants.”


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       B.      A Brief Overview of the U.S. Generic Drug Market

       58.     In 2015, sales of generic pharmaceuticals in the United States were an estimated

$84 billion, with the industry accounting for approximately 88% of all prescriptions written in the

United States. Teva controlled as much as 16% of the U.S. market as of year-end 2016.

       59.     Under U.S. law, newly discovered drugs maintain patent protection. But once

expired, other companies may obtain government approval to manufacture and market “generic”

drugs to compete. According to the U.S. Food and Drug Administration’s (“FDA”) glossary, a

generic drug shall be “the same as a brand name drug in dosage, safety, strength, how it is taken,

quality, performance, and intended use.” Once the FDA approves a generic as “‘therapeutically

equivalent’” to a brand name drug, the generic version “can be expected to have equal effect and

no difference when substituted for the brand name product.” Thus, “[d]rug products classified as

therapeutically equivalent [to a branded drug] can be substituted with the full expectation that the

substituted product will produce the same clinical effect and safety profile as the prescribed

product.”

       60.     The regulatory filings necessary to market generic drugs are typically made before

the patent expiration, so that generics manufacturers can maximize the amount of time they can

sell the drug. Under the Federal Food, Drug, and Cosmetic Act (“FDCA”), manufacturers that

create a new drug must obtain FDA approval to sell the product by filing a New Drug Application

(“NDA”). 21 U.S.C. §§301-392. An NDA must include specific data concerning the safety and

effectiveness of the drug, as well as information on applicable patents. 21 U.S.C. §355(a), (b).

       61.     The Hatch-Waxman Act of 1984 simplified the regulatory hurdles for prospective

generics manufacturers by allowing a manufacturer seeking approval to sell a generic version of a

brand-name drug to file an Abbreviated New Drug Application (“ANDA”), a much simpler filing.

Once the FDA determines that a drug company’s application contains sufficient scientific evidence


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establishing the bioequivalence of the product to the branded drug, an applicant may manufacture,

market, and sell the generic drug product. This approval process can be lengthy, with the median

time to approval standing at 47 months as of September 2016, thus creating an effective barrier to

entry into a market for new competitors.

       62.     Because each generic must be identical, the only real means for the manufacturers

to compete is by price. As reported in the August 2016 GAO Report concerning generic drug

prices, each of the five manufacturers interviewed by the GAO – including Teva – “reported that

competition is the primary driver of generic drug prices.” U.S. Gov’t Accountability Off., GAO-

16-706, Generic Drugs Under Medicare Part D 11-12, 16 (Aug. 2016).

       63.     Ordinarily and consistent with established economic principles and common sense,

once the first lower-priced generic enters the market, the brand-name drug rapidly loses sales, and

sales continue to decrease. As new generic competitors enter the market, the price of the drug

typically continues to decrease. In a normally functioning market for a generic drug, the market

participants compete to maintain market share, and if one manufacturer raises prices, the others

will lower prices and steal its customers.

       64.     Over the past decades, further increasing pressure on generic manufacturers, the

purchasers of generic drugs (i.e., pharmaceutical wholesalers, retail pharmacies, Group Purchasing

Organizations (“GPOs”) and institutional buyers like hospitals) have become highly consolidated

through various mergers and acquisitions. Likewise, the global market for generic pharmaceutical

manufacturers has undergone substantial consolidation since at least 2005, which fueled the

growth of a handful of large manufacturers, like Teva, who together dominate many of the generic

drug markets. Teva gained the status as the world’s largest manufacturer of generic drugs, leading

the U.S. generic market in total prescriptions and new prescriptions, through a series of

acquisitions. For example, Teva acquired Ivax Corp. for $7.4 billion in 2006, Barr Laboratories


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for $7.4 billion in 2008, Ratiopharm – Germany’s second largest generic drug producer – for

$5 billion in 2010, and Allergan Generics (also known as “Actavis”) in 2016 for $40 billion.

       65.    Teva’s competitors also went on acquisition sprees. By mid-2015, a handful of

players controlled 50% of the market: Teva (13%), Mylan (11%), Actavis (8%), the Sandoz

division of Novartis AG (“Sandoz”) (8%), Sun Pharmaceutical Industries, Inc. (“Sun”) (4%), Endo

International plc (“Endo”) (3%), and Par Pharmaceutical (“Par”) (3%). In 2016, the consolidation

continued with Endo’s acquisition of Par.

       C.     Teva Suffered a Series of Setbacks Before the Relevant Period Began

       66.    During the first half of 2013, prior to the beginning of the Relevant Period, Teva

was a company under siege on all fronts. Teva’s specialty drug segment, which represented close

to 40% of its company-wide revenue, was dominated by one drug – Copaxone. Copaxone made

up two-thirds of the Company’s profits in the specialty segment and faced looming generic

competition from Mylan and Sandoz. Analysts characterized the drug as Teva’s “white elephant

in the room,” and defendant Desheh called it a “large product towards the autumn of its life.”

Similar problems marred Teva’s generics segment, which represented close to 50% of company-

wide revenues. The segment’s profitability was likewise dominated by one drug – budesonide,

also known as generic Pulmicort – which was facing the heightened risk of losing exclusivity with

a generic entrant from Actavis. Excluding profits from generic Pulmicort, Teva’s generics

segment was close to break-even. As a Deutsche Bank analyst concluded in a report published on

May 3, 2013, Teva’s overall generics business had “significantly underperformed” as compared

to its competitors. Teva was the worst performing generics drug company compared to its peers

despite being the largest. By August 14, 2013, Teva’s then-CEO Jeremy M. Levin acknowledged

that “Generic growth in the United States [was] slowing fundamentally.”




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       67.     In addition to product problems, the Company was in the midst of sweeping

management and board changes, with a new CEO who had only been in his position for a year.

       68.     Publicly, Levin and Teva reacted to these headwinds and the decline of U.S.

generics by touting an extensive “cost-cutting” program designed to make the Company more

efficient and purportedly save the Company billions. By mid-year 2013, the supposed cost-cutting

had produced few visible results as the revenues from Teva’s generics segments continued to

plummet.

       69.     On October 30, 2013, Teva’s Board of Directors forced CEO Levin to step down

as President and CEO, less than 18 months into the job. Given the sudden nature of Levin’s

termination, without a replacement identified, the Board named defendant Desheh, Teva’s EVP

and CFO, to fill the role of President and CEO on an interim basis, effective immediately, and

formed a committee to search for a permanent successor. Defendant Altman took over as the

acting CFO.

       70.     In an October 30, 2013 investor call about Levin’s firing, the then-chairman of

Teva’s Board, Phillip Frost, and defendant Desheh assured investors that they were focused on

turning the Company around. Desheh informed the market that Teva “ha[d] decided to accelerate”

the cost reduction plan and promised “to create a much better, efficient generic machine.”

Chairman Frost disclosed that “friends of [his] . . . have bought hundreds of millions of dollars

[worth] of stock during the last couple of weeks.”

       71.     Teva’s only means of delivering immediate value to investors was implementing a

stock buyback program of 10 to 15 million shares on average purchased annually. The buyback

program temporarily propped up the stock price, which was close to flat and traded around the

average of $39 throughout 2013.




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       72.     But flat stock performance was not enough for investors or the Company.

Frustrated investors urged Teva to divest assets, break up the Company or position Teva to become

an acquisition target.    These options were vehemently opposed by Board members and

management, with Chairman Frost stating that Teva “was not seeking to be bought.” Instead, Teva

hired Paul Sekhri as the Head of Business Development to look for acquisition opportunities.

However, with the stock price below $40, Teva’s CFO concluded that “[i]t’s just too expensive.

There’s no deal in the world that will justify using our stocks.”

       73.     With limited options to deliver a quick boost to profitability, Teva resorted to

collusive activities during the third quarter of 2013 and kicked off a long series of price hikes with

at least three drugs: Pravastatin – one of the Company’s more prominent generic drugs – along

with Enalapril Maleate and Diclofenac.         As set forth in §III.H, infra, between July and

August 2013, Teva hiked prices on the three drugs on a similar scale and timing as its co-

conspirators. With respect to Pravastatin, for which Teva had close to 50% market share, the

Company increased prices from 90% to 200% for different dosage forms. Similarly, for Enalapril

Maleate, Teva initially hiked prices by 260% for the 10 milligram strength tablets and over 340%

for the 5 milligram strength tablets. For Diclofenac, the initial round of price hikes was 22%.

       74.     The collusive price hikes relating to Pravastatin, Enalapril Maleate and Diclofenac

marked the beginning of years of anticompetitive activities involving at least 25 generic drugs.

Unexplainable by any market forces, the price hikes propped up Teva’s declining revenues,

without incurring a penny more in research and development costs, the hiring of additional sales

force, or any other additional expenditures. Instead, the Company slashed those line item costs as

they unlawfully fixed market share and prices. Collectively, these collusive prices hikes in 2013

turned Teva’s financial trajectory completely around.




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       D.      Collusive Price Hikes Drove Teva’s Rebound

       75.     The effects of Teva’s collusive price hikes were immediate and significant. During

the third quarter of 2013, U.S. generics revenues turned around and rose over $1 billion with a 6%

increase year-over-year. U.S. generics ended the year as the most profitable part of Teva’s

business, with top-line revenue growth of 14% and gross margins of 50% – far exceeding other

regions such as Europe (gross margins of 40%) and Japan (gross margins of 35%).

                               Millions        1Q2013       2Q2013       3Q2013       4Q2013
          U.S. Generics Revenues                $895         $970        $1,138       $1,178
          Year-Over-Year Change                 -27%         -8%           6%          14%

       76.     On October 31, 2013 (the first day of the Relevant Period), Defendant Oberman

falsely told investors that the improvements were the result of Teva’s product-by-product “margin

enhancement strategy” and its ability “to take pricing on a number of products this year.” On

December 10, 2013, Defendant Desheh agreed and predicted price erosion would slow down in

the United States. He assured investors that “it wouldn’t take long, where all the improvement

will go to the bottom line of the generic business.” What Defendants failed to disclose, however,

was that Teva had engaged in collusive activity to raise the prices.

       77.     Analysts reacted positively to Teva’s surprising and rapid turn-around. Cowen and

Company analysts wrote: “The bottom line is that this story is reversing (for the positive) much

faster than previously anticipated, and the belief that ‘growth’ could reemerge is very real.” J.P.

Morgan predicted an “upside to near/longer term EPS” because of Teva “taking several steps to

regain its generic leadership including . . . focusing more heavily on portfolio selection and

management.”

       78.     In turn, Teva’s stock price ended its year-long flat streak, and in the first quarter of

2014 posted the biggest quarterly rally since 2005 at 32%.




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        79.    When Defendant Vigodman was named as President and CEO of Teva in

February 2014, he immediately told investors that improving profitability was a “must win[ ]” for

2014 and “Teva will do everything which is needed in order to win. Everything that is needed in

order to win.” Jefferies analysts noted that Vigodman “Impresses in His Wall Street Debut” due

to his determination to reestablish “Teva’s dominance in its core generic business.” In fact, Teva

did do everything and anything to drive profits in 2014. Unbeknownst to investors, this included

implementing collusive price-fixing activities on over a dozen additional generic drugs.

Consequently, for each quarter during 2014, Teva’s revenues and/or profitability growth were

attributed to the U.S. generics business:

              First quarter 2014 earnings call – Desheh: “In generics, we experienced significant
               growth in the United States market, with 17% year-over-year growth to a total of
               $1 billion. . . . The profitability of our major business segment was driven by
               global generic, with 31% improvement resulting from the strong performance in
               the US market and higher profitability in Europe.”

              Second quarter 2014 earnings call – Desheh: “Revenues. The improvement in
               sales this quarter was driven by the growth of our global generic business, primarily
               in the US. . . . Looking at what impacted profitability this quarter, the improvement
               of operating profit and profitability was driven by strong results of our global
               generic business, with profit improvement of 41% compared to last year. Launch
               of generic Xeloda in March and generic Lovaza this quarter in the US market.”

              Third quarter 2014 earnings call – Vigodman: “Q3 was a solid quarter for Teva.
               Significant improvement in all profit margins. Generic profitability improved
               substantially.”

              Fourth quarter 2014 earnings call – Desheh: “When we look at the profit
               distribution, we see the improvement in the generic profit and a lower dependency
               on Copaxone profit, which we are developing. We will see the same impacts for
               the entire year.”

        80.    During 2014, the prices of Teva ADSs and ordinary shares rallied 43% and 59%,

respectively, on the Company’s improved financial performance, largely driven by its collusive

activities.

        81.    As heightened generic drug pricing drew Congressional attention in late 2014,

Defendants falsely assured investors that Teva only sought out price hike opportunities on specific
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products – such as drugs that encountered shortages in the market.             Defendant Olafsson

emphatically stated during the October 30, 2014 earnings call that:

       [T]here’s never a price increase on the base business as whole. Like any other
       business, if there’s a pricing opportunity that comes in the market, we look for
       that. . . . When there is an opportunity, when there is a shortage in the market, we
       obviously look for pricing like any other business.

       82.     On the same call, a UBS analyst asked Vigodman: “[C]ould you talk about generics

a little bit in the US? . . . [whether there were] price increases in some of your base business. And

whether that impacted” profit. Vigodman fraudulently explained that the market was functioning

normally and that prices were decreasing:

       When there is an opportunity, when there is a shortage in the market, we obviously
       look for pricing like any other business. But overall, as I’ve said many times before,
       the base business itself is slowly eroding, the overall of the base business.

       83.     Again, analysts, unaware of the true facts, reacted positively to Teva’s financial

results, and the Company’s ordinary share and ADS prices continued to climb. For example, a

Cowen and Company analyst noted that Teva’s “Operations Are Improving, [and] Cash Flows Are

Accelerating.” Piper Jaffray wrote, “Importantly, operating profit . . . for the generics segment

during the quarter was up 40% versus the same period a year ago.” Morgan Stanley increased its

price target for Teva from $57 to $61, stating: “We are encouraged by progress that Teva is making

on global generics under Siggi Olafsson.”

       84.     In truth, the generic drugs subject to the highly profitable price hikes represented a

substantial portion of Teva’s generic drugs portfolio and no shortages had in fact occurred. In

2013 and 2014 alone, Teva implemented at least 50 massive price jumps across its portfolio as

part of the Price-Hike Strategy. At least 35 of the price increases were executed in tandem with

other drug manufacturers, with at least 15 collusive price hikes. The price hikes mitigated price

declines in other Teva products.



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       85.     Still, despite $942 million of Inflated Profits driving Teva’s turnaround in 2014,

analysts continued to press management to break up the Company. Desheh flatly responded

“[a]bsolutely not,” while Vigodman unequivocally stated: “On the scenario of breaking up the

businesses, this scenario is not on the table.”

       86.     In lieu of breaking up the business, Vigodman set out to create “a new Teva.” He

considered 2015 an important year for the Company: “Once we put Teva on a solid footing . . . we

moved to the next phase in the grand plan of Teva.” While the Company sought out acquisition

candidates to transform itself in 2015, the Price-Hike Strategy continued in an effort to continue

to drive profitability and keep stock prices on their upward trajectory. Teva needed a more

valuable currency to pay for a transformative acquisition.

       87.     Once again, revenues and profits skyrocketed with 14 additional massive price

hikes during the first quarter of 2015 – U.S. generics revenues increased 37% year-over-year, gross

profit jumped 23% and gross margins reached 50% of revenues. Throughout the first half of the

year, Defendants continued to laud the success of Teva’s generics segment in a series of misleading

statements, while concealing the true source and unsustainability of the results:

              On an April 30, 2015, earnings call, Olafsson announced a “1,000 basis points
               improvement over a two years period” in “operating profit in the generic segment.”
               He attributed this to “a significant improvement in our cost of goods . . . portfolio
               offering . . . [including] when we have more of the launches . . . [and] the cost
               infrastructure.

              On May 13, 2015, at a Bank of America Conference, Desheh declared that Teva’s
               improved generics business was “nothing short of a revolution,” explaining that
               “[i]n 2013 our gross margin of generic business was 41.3%, it was 46% in Q1 2015.
               Our operating margin was 16.7%, it is 27%, this is full 10 percentage points,” i.e.,
               a $1 billion improvement.

              During a June 10, 2015 Goldman Sachs Global Healthcare Conference, Vigodman
               explained: “[W]e started 2014 with a clear message, clear focus getting the [house
               in order] first, solidifying the foundation of Teva. You see the profound change
               in the generic business. . . . [These are] things [that] are not confined to
               numbers, [inaudible]: 16.7% operating profit in 2013, 21.9% operating profit in


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               2014.” He fraudulently attributed all of this success to “cost reduction” and “[f]ull
               transformation of our operational network.”

       88.     By the time Teva announced its $40.5 billion acquisition of Actavis, its ADS and

ordinary share prices had rallied another 25% and 18%, respectively, since the end of 2014 –

reaching their all-time highs.

       89.     Teva’s illicit anticompetitive activities and concealed Price-Hike Strategy enabled

the Company to achieve a stellar year in 2015 and facilitated its issuance of securities to finance

the acquisition. The U.S. generics business finished 2015 with $4.8 billion in revenues, an increase

of 8% from 2014. Gross profit from the generics segment increased 6%, driven by the U.S.

business. Vigodman attributed the performance to the generics segment: “We delivered in 2015

record operating income, EPS and cash flow, while improving profitability margins across the

board. Our financial performance was based on excellent execution in generics, with significant

improvement in profitability.”

       90.     Analysts, unaware of the truth, continue to adopt the Defendants’ misleading

narrative. Piper Jaffray wrote, “Margins for the generics business continue to improve. . . .

Though top-line growth for the generics segment has been anemic, margins have continued to

expand.” Jefferies’ analysts highlighted that, “Generic Drug Margins Continue to Improve,”

noting that “on the live Q3 presentation, management highlighted the significant improvement in

profitability from its core generics business.”

       91.     Specifically, the generic segment drove Teva’s profit margin and EBITDA growth

between 2013 to 2015. During the third quarter 2015 earnings call on October 29, 2015, defendant

Olafsson touted the generics business’s contribution to Teva’s profitability, stating that, “overall,

we will be in the range of 28% operating profits from generics, which really is first class with the

countries we’re operating in today.”



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       92.     On the same call, after a series of questions on the sustainability of Teva’s generics

success, Vigodman reaffirmed the false premise that Teva had generated its profits solely from

sustainable, ordinary business practices, and not price hikes:

       We are very responsible . . . in everything that pertains to prices, on the generics
       side . . . . And I will even put [it] another way, all the improvement you see in
       margins is not driven by price. It is driven by quantities, and by mix, and by
       efficiency measures, not by price, 2014, 2015. And that’s a very important
       message.

       93.     Then, when a Barclays analyst asked for management’s thoughts on the proposed

legislation’s “potential limit to generic [drug] price increases,” Olafsson denied that Teva was

exposed, and acknowledged the only price increases were those “due to some abnormalities in the

market,” like supply shortages: “In terms of the proposed legislation on pricing control on

generics, . . . we have told you that overall on our whole portfolio, we have a decline in price. . . .

The talk about the inflation in generics, when you have a big portfolio . . . is really not there.”

       94.     Misled, analysts took explicit note. That day, UBS repeated the Defendants’

fraudulent denials: “[Management] highlighted that the [generic business] improvement was not

driven by price, but by volume, mix, and efficiency.”

       95.     When the full year 2015 results came in, Desheh recognized the increasing

importance of the generics business as a percentage of the Company’s annual operating profit:

       Looking at EBITDA, this important measurement will continue to drive very strong
       EBITDA growth, with 7.8% [compound annual growth rate (“CAGR”)] over the
       past three years. The improved generic business generated 37% of annual operating
       profit without G&A while Copaxone’s share of this profit was down from 46% to
       42%.




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       96.     Defendants continued to conceal the impact of Teva’s collusive activities and Price-

Hike Strategy on the Company’s profitability, instead falsely attributing the increased profits to

Teva’s operations. During the September 2016 “Generic Medicine Business Overview,” Olafsson

summed it up, claiming that Teva’s financial outperformance was all bottom line as top-line

revenue growth was stagnant: “I think over the last two and-a-half years, there has been double-

digit growth on the bottom line. There hasn’t been a growth on the top line. We needed to do that

just to clean up the organization, to clean up what we were doing.”


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       97.     On January 6, 2017, Vigodman, again, attributed the improvement of Teva’s

profitability since 2014 to everything except collusive activities and the Price-Hike Strategy:

“Since the start of 2014, one of our greatest priorities has been to increase the profitability of our

generics business. . . . This has been accomplished with a strong emphasis on the cost of goods

sold, product mix, and the overall cost structure.” Indeed, at every opportunity, in Teva’s financial

disclosures filed with the SEC and on conference calls, Defendants denied that Teva was engaged

in price increases, let alone that those increases were driving profits. Defendants told investors

that the Company’s increased profits came from ordinary business strategies, like cost cutting and

new product launches.

       98.     In truth, without the Price-Hike Strategy and its associated collusive activities,

revenues for the U.S. generics segment would have suffered negative growth in 2014 and endured

dismal growth in 2015. As such, the Price-Hike Strategy and collusive activities drove both top-

and bottom-line growth. The associated increase in revenues went straight to the bottom line with

no incremental increase in cost, generating significant profit margin improvement and the

substantial Inflated Profit and Collusive Profit:

                                         million        2015           2014           2013
      U.S. Generics Revenues                           $4,793         $4,418         $4,172
      Year-Over-Year Increase                          +$375          +$246
      Year-Over-Year Change                            +8.5%          +5.9%

      U.S. Price-Hike Strategy Inflated Profit          $848           $692            $250
      Year-Over-Year Increase                          +$156          +$445
      Year-Over-Year Change                           +22.5%        +176.8%

      Global Generic Segment Gross Profit              $2,682         $2,148         $1,668
      Year-Over-Year Increase                          +$534          +$480
      Year-Over-Year Change                           +24.9%         +28.8%

       99.     Defendants concealed the Price-Hike Strategy because it was inherently risky and

unsustainable and could subject Teva to governmental and law enforcement scrutiny, if not

prosecution. Specifically, the strategy was unsustainable and risky because the U.S. generic drug
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market was designed to be extremely competitive; generic drugs are a commodity, fully

interchangeable and identical in every respect, except for price. Wholesale customers solicit

pricing though a “blind” RFP bidding process. Thus, even if Teva increased its prices, the profits

could be short lived if other manufacturers undercut Teva’s price to secure more market share.

Moreover, generic drugs are an essential part of the lives of millions of Americans. Dramatic

increases in prices would, and in fact did, garner public criticism and Congressional action that

further undercut the sustainability of the strategy. Additionally, many of Teva’s price increases

occurred in tandem with competitors. As described herein, there is significant and compelling

evidence that Teva colluded to fix the prices of generic drugs and allocate markets. But whether

illegal or not, Teva’s pricing behavior is indicative of a lack of competition, if not collusion, and

could, and again did, come under intense civil and criminal law enforcement investigations. Had

Teva disclosed that its core business strategy was to aggressively increase prices on generic drugs,

investors would have valued the Company very differently from one with a strategy driven by

fundamental growth and cost cutting, as the Defendants falsely proclaimed.

       E.      The Actavis Acquisition

       100.    In late 2014, Teva urgently sought to announce an acquisition and enter into a

merger agreement. At the end of 2014, Teva reached out to Allergan but was rebuffed. After

Mylan likewise rebuffed Teva’s offer in the first half of 2015, Teva tapped Allergan again and

speedily executed the transaction “in the course of . . . two weeks.”

       101.    After implementing two years of collusive schemes and the Price-Hike Strategy,

which drove up profitability and Teva’s stock price, Defendants upped their ante by acquiring

Actavis to drive up their own paychecks. According to Defendants’ numbers, the Actavis

acquisition was projected to take Teva’s net revenues from $19.7 billion in pre-closing 2015 to a

projected $22 billion in 2016 and $25-$26 billion in 2017; EBITDA from $6 billion in 2015 to a


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projected $7.5-$7.9 billion in 2016 and close to $10 billion in 2017; and free cash flow from

$4.9 billion in 2015 to a projected $7.6-$8.1 billion in 2016 and close to $6.5 billion in 2017.

These numbers translated to giant paydays for defendants Vigodman, Olafsson and Desheh, as

their cash bonus objectives were based on the following performance indicators: 35% non-GAAP

operating profit (EBITDA), 20% net revenue, 15% free cash flow.

       102.    Defendants also portrayed the deal as good for employees. Olafsson emphasized:

       [T]o me, for this to be a successful company, we need to have the best teams. . . .
       [B]ecause, yes, we are buying [tablet presses] and files and things like that, but at the
       end of the day, the success of this position and of this integration is the human capital.

               People are the essence of the company going forward.

Less than 18 months after closing, Teva cut 14,000 jobs or 25% of its employees.

       103.    The Actavis acquisition was represented as a cure-all for the new Teva, with

benefits such as:

              The creation of a platform to grow top and bottom line and “help the Street to assign
               a higher multiple on higher EPS to Teva.”

              The “incredible value [of] the pipeline of new products . . . as a part of this
               acquisition.”

              Although originally pitched as “not driven by any necessity that pertains to
               Copaxone,” Vigodman later admitted that the acquisition was part of “everything
               that we have been doing the last 20 months is in a quest to be fully prepared for . .
               . generic competition to 40 milligram [Copaxone],” and “in the story, the narrative,
               that we have been building, the new one for Teva, Copaxone will become less and
               less prominent and important in that story.”

              A solution to customer consolidation: “there has been such a transformation on our
               customers side, I think this move will change the generic space, in terms of product
               supply, in terms of pipeline, in terms of offering what our customers are looking
               for” because “they basically reduce over time and limit the number of suppliers that
               basically they work with. So in general, you need to be big. You need to be able
               to apply economy of scale in order to compete successfully and to translate, then
               transform the challenge here into an opportunity.”

              After closing, it was again emphasized that: “Yes, there has been [customer]
               consolidation, but we are strategically aligned and already communicating with
               these companies as we bring the two organizations together . . . big to big provides

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                a value to all of these companies. Less transactions. It’s a lot easier to do business
                with Teva.”

        104.    Defendants pitched the deal to investors as risk-mitigated based on Olafsson’s

credentials. During the second quarter 2015 earnings call, an analyst mentioned Olafsson’s long

tenure at Actavis and that it “eliminated the biggest risk to any major M&A . . . in that you know

what you’re buying.” Olafsson agreed and stated that “on the integration, yes, it’s true. We’re in

a special situation of knowing both companies very well.”

        105.    Olafsson also used his credentials as the former President of Actavis to ease

investors’ concerns about Actavis’s revenues and strategic value. During a May 10, 2016 industry

conference, an analyst confronted Olafsson with concerns about Actavis’s first quarter results,

stating that “revenues were down 26% year-over-year, and the operating income was down like

30%.” Olafsson responded that, “as we sit here today, and me understanding what has happened

in the in and out of the business, there’s nothing alarming in the numbers that we are seeing this

morning.” In fact, he blamed Actavis’s dismal performance on one product, Lidoderm, as the

“single biggest issue,” and warned investors that it was “very dangerous to compare discontinued

operation number[s] with a real reporting a year ago.” On June 8, 2016, two months prior to

closing, in addressing the market’s perception that Teva overpaid for Actavis, Olafsson assured

investors that “the [strategic] value of the deal is exactly the same, and even better . . . than it was

in July. If you look at the performance of the Actavis business . . . I was running that for 11 years

up until July 2014.” Again, during the July 13, 2016 outlook conference call, less than a month

before closing, he affirmed that

        overall, the revenue hasn’t changed in the Actavis business. We understand, it is
        in good shape. We are pleased with the business as is.

                The underlying business of what we’re acquiring is in very, very good
        shape, and in the same shape as we were hoping when we did the transaction a year
        ago.


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        106.    After closing, during the November 15, 2016 earnings call, Olafsson continued to

justify the Actavis acquisition, stating: “We are very pleased with . . . the Actavis asset when it

comes in,” but the overall underperformance of the generics business was blamed on delays in new

launches. He assured investors that “the good news on this bad news is they will come later . . . it

doesn’t undermine at all the fundamental of the generic business, because these are not lost

opportunities. These are opportunities that we are moving into next year and the year after.”

        107.    In reality, however, Olafsson knew that the combined company’s performance was

not due to delayed launches, but the foreseeable consequence of the companies’ unsustainable

collusive practices and Price-Hike Strategy. During the same investor conference call, defendant

Vigodman directly addressed the DOJ investigation into price collusion in the generic drug

industry that had been in the news that month, emphasizing that, “based on all of our efforts to

date, internal and external . . . we are not aware of any fact that would give rise to an exposure to

Teva with respect to the investigation.” When Olafsson announced that pricing erosion had

jumped to 7%, a Wells Fargo analyst immediately questioned whether “it’s not a result of having

to tame previous price increases or give back some of those?” Olafsson pushed back against such

claim and emphatically stated:

                No, basically, the main reason, David, was that we had to divest a very good
        portfolio of products that had limited competition . . . . So, there was an instability
        that happened in the market during the month of August . . . .

                It didn’t change the fundamental of the market. It didn’t change the
        structure of the market, or the chemistry of the market, but we saw the impact on
        divested molecule significantly more than we saw for on the rest of the portfolio
        which gave us a 7% versus 5%, which we assumed going into the quarter.

        108.    Thus, while Defendants acknowledged that pricing pressure was impacting profits,

they falsely attributed these negative results to divestiture of certain generic products related to the

Actavis acquisition, and continued to conceal Teva’s anticompetitive conduct and Price-Hike



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Strategy, improper financial reporting and disclosures, and Teva’s true financial and business

condition.

       109.    Less than 20 days later, Teva fired Olafsson and immediately started the process of

revising guidance. While shocking Wall Street with the announcement of Olafsson’s departure,

Vigodman told investors that:

       [W]e are fully aware and mindful of the uncertainties that are elevated in a way that
       is driven by [Olafsson’s] departure. So, that’s why we decided to just to move the
       guidance we provide to the Street on 2017 from February to January. So, we are
       accelerat[ing] . . . the internal processes, and in the course of January [you will be]
       provide[d] the guidance.

       F.      Defendants Falsely Denied Price Inflation and the Resulting Erosion
               and Provided Misleading Projections Using Artificially Inflated
               Metrics

       110.    On July 27, 2015, when the Actavis acquisition was announced, Defendants

provided false and misleading projections to investors on the expected benefits of the acquisition.

During the acquisition announcement conference call, defendant Vigodman stated “[d]uring [the]

2016 to 2018 timeframe, we expect to grow pro forma net revenues by CAGR of 5%, pro forma

EBITDA by 10.1%, pro forma cash flow from operations by 12.5%, and pro forma free cash flow

by 14.4%.” During the February 11, 2016 earnings call, defendant Vigodman reaffirmed the

projections, “using 2015 as the base year.”

       111.    On July 13, 2016, three weeks before the completion of the acquisition, defendant

Vigodman provided a new set of projections:




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       112.    Using 2015 as a base year, revenues were projected to grow at midpoint CAGR of

9% from $19.5 billion in 2015 to $26.7 billion to $27.8 billion in 2019; EBITDA was projected to

grow at midpoint CAGR of 14% from $6.6 billion in 2015 to $10.7 billion to $11.5 billion in 2019.

Similarly, free cash flow was projected to grow at midpoint CAGR of 11% from 2015.

       113.    Defendants Vigodman, Desheh and Olafsson – all of whom participated in each of

the conference calls providing false and misleading projections to investors – knew that the

projections lacked a reasonable basis, as 2015, the base year, was a record year for U.S. generics

revenues, operating income, EBITDA, earnings per share (“EPS”), cash flow and profitability

margin. These metrics were driven by the generics segment and were artificially and unsustainably

inflated by the Price-Hike Strategy and collusive price-fixing and market allocation activities.

       114.    As 2015 came to a close, the effects of industry-wide pressure on generics pricing

spurred by the investigations and scrutiny on pricing practices had come to the fore as a number

of industry participants reported a new trend of downward pricing pressure. In the first half of

2016, Teva’s customers and industry peers began announcing increased pricing erosion or

expectations of heightened generic drug price deflation. For example, during the January 11, 2016

industry conference, JPMorgan’s analyst raised the concern that “McKesson this morning

announced some maybe challenging pricing on the generics side or an expectation of that going
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forward.” Olafsson flatly rejected the claim and stated that Teva did not take part in generics price

inflation, stating that:

        [W]e need to keep in mind there’s a lot of talk about inflations in generic pricing.
        But what we see is there’s – overall on our total portfolio of 270 products, there is
        a slight decrease in pricing. It’s low single digit.

               There’s a lot of headlines of examples of big price increases in generics.
        But when you are a company of the size of Teva and you have the portfolio that we
        have today . . . there is a decline.

Again, during the May 9, 2016 earnings call, analysts flagged that AmerisourceBergen, Endo and

Perrigo were seeing worsening price deflation. Olafsson derided these companies as “leaking

houses” that were “blaming the neighborhood for their maintenance issues. . . . You have to look

at it differently for a company that has a big portfolio, strong new product launches, a differentiated

portfolio, and a high quality portfolio.”

        115.    Along the same line, throughout 2016, Olafsson repeatedly denied ever having

participated in generics pricing inflation, and accordingly, that Teva had encountered the

concomitant pricing erosion:

               January 11, 2016 – Olafsson: “[W]e need to keep in mind there’s a lot of talk about
                inflations in generic pricing. But what we see is there’s – overall on our total
                portfolio of 270 products, there is a slight decrease in pricing. It’s low single digit,
                but year on year we see a low single-digit decrease because on 95% of our portfolio,
                we experience price decline. And then on 5%, we might be flat or a slight increase.
                So, overall, we see that in the business.”

               February 11, 2016 – Olafsson: “As I’ve previously stated, we and the generic
                industry overall don’t see price inflation of generics as it sometimes is portrayed in
                the media. On the contrary, for 2015, we saw a mid-single-digit price decline for
                the overall business. In the US, our largest market, we saw approximately 4% price
                erosion.”

               March 8, 2016 – Olafsson: “I think overall the pricing hasn’t changed that much.
                There was a lot of talk about inflation in generic pricing. But we never saw that.
                That was an individual molecule basis, they used example of products that really
                were not generic products, even though they were off-patent, and in an environment
                where there was an inflation never really happened in the generic business. And
                there has been a decline there.”


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              June 8, 2016 – Olafsson: “When we signed that [Actavis] deal in July [2015], we
               talked about 4% price erosion in the US generic business. And we are still talking
               about the same number, what we see in the base business.”

              September 9, 2016 – Olafsson: “Government is struggling with increased
               healthcare costs, and really the generics are the key to the solution. They are really
               not the problem. There is no inflation in the generic pricing. . . . So far, what we
               saw in the end of second quarter was approximately 4% in the US and 5% global.”

              November 15, 2016 – Olafsson: “[T]he overall prices in the US of generics always
               go down. I’ve been in the business for 23 years, and the prices, even though there
               are examples giving of a product going up significantly, maybe a single molecule,
               even one SKU, but overall, when you look at the 300 to 400 products we have on
               the market, our price erosion on average is about 5% per year.”

        116.   In truth, Teva had raised prices on dozens of drugs, generating more than

$2.2 billion in Inflated Profit by the end of 2016.

        117.   Furthermore, as Olafsson made the above false statements and denials, Teva’s

Inflated Profit from collusive activities and the Price-Hike Strategy was on a rapid downward

trajectory:




        118.   Contrary to Olafsson’s representations, Teva’s portfolio experienced heightened

pricing erosion throughout 2016 – much higher than the 4% conveyed to investors. During Teva’s

January 6, 2017 business outlook conference call, Vigodman announced that “the entire healthcare

sector has faced significant headwinds, and we have not been immune,” resulting in a $1.2 billion
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EBITDA gap. Vigodman stated that “[t]he guidance we provided today is significantly below

what we provided in the July [13, 2016] preliminary outlook . . . [and] we have an EBITDA gap

of $1.2 billion emanating from our generic business.” He falsely claimed that:

       [T]he majority of the $1.2 billion gap is attributable to not being able to realize new
       launches in our Teva legacy business in a way that is consistent with our past track-
       record. As we communicated in November, this impacted the second half of 2016
       and will have an impact on 2017 as well.

               In addition, the long waiting period for the closing of the transaction had an
       adverse impact on our ability to fully exploit all opportunities from the business
       during this long transition period.

       119.    Defendants’ explanations for the $1.2 billion gap were marred by inconsistencies.

The July 2016 projection was provided a mere three weeks prior to the Actavis closing, which was

originally scheduled to occur in the first quarter of 2016. Thus, the long waiting period for the

closing had already occurred at that point and would have been accounted for in the projections.

Vigodman provided a further explanation for the $1.2 billion gap at the J.P. Morgan Healthcare

Conference a few days later, stating that:

       [T]he assumption was that we launch $600 million, which is very reasonable, given
       the numbers . . . . In retrospect that was a tough year for us for a number of reasons
       and we were able eventually to launch only $140 million in 2016 for new
       products . . . and it created a new run rate for 2017.

In essence, Vigodman asserted a $460 million new launch delay – which Olafsson previously had

characterized as “the good news” because these delayed products were “opportunities” that Teva

could move “into next year and the year after” – generated a $1.2 billion earnings gap.

       120.    In addition, Vigodman emphasized that “we use basically very reasonable

assumptions in the model, we modeled, based on past performance in the US and pipeline assets

of Teva.” But the “past performance in the US” was inflated by collusive activities and the

unsustainable Price-Hike Strategy, which Defendants concealed from investors. In reality, the

Inflated Profit declined by 40%, dropping from $848 million in 2015 to $513 million in 2016,

which significantly contributed to the EBITDA gap.
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       121.    Nevertheless, Defendants continued to mislead investors with false and misleading

projections that lacked a reasonable basis and were tainted by artificially and unsustainably inflated

assumptions. Although Defendants adjusted the EBITDA guidance downwards by $1.2 billion,

the revised 2017 projections were still artificially inflated by unreasonable pricing assumptions:




       122.    After Vigodman’s unexpected termination, during Teva’s first quarter 2017

earnings conference call on May 11, 2017, defendant Peterburg affirmed the false and misleading

projections even though pricing erosion had reached 7%. He attributed the heightened pricing

pressure to “the ongoing consolidation of our key customers and the increase in generic drug

approval by the FDA, which has created additional competition” – without disclosing that dramatic

price hikes from collusive activities and the Price-Hike Strategy had led to the FDA’s initiative to

speed up and increase generic drug approval and had attracted additional competitors, which

resulted in customer renegotiation of contracts as competition increased. Inflated Profit for the

first quarter of 2017 dwindled to $103 million, a 17% drop year-over-year and 19% decline from

the fourth quarter of 2016.

       123.    On August 3, 2017, Peterburg announced that Teva would have to lower its 2017

projections again due to U.S. generics pricing erosion and customers negotiating lower prices:
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       124.    Interim CFO McClellan revealed that Teva had been lying about the true level of

pricing erosion all along. He stated that pricing erosion for the base business was 8% on the

twelve-month moving average measurement “we have used in the past,” but 6% on a year-over-

year basis:

               Regarding the key topic of price erosion, as mentioned by Yitzhak, if we
       look at Q2 ‘17 compared to Q2 ‘16, rather than a 12-month moving average that
       we have used in the past, price erosion of our base products was slightly over 6%.
       We believe this methodology better captures the rapid changes in the market, which
       we’ve been seeing recently. Had we used the previous MAT methodology, Q2
       erosion would have been near 8%.

       125.    In order for a trailing twelve-month moving average to be 8% between the second

quarter of 2016 and the second quarter of 2017, when year-over-year change was only 6%, Teva

had to experience substantially higher than 8% pricing erosion during the twelve-month period.

However, except for the third quarter of 2016 and the first quarter of 2017 – in which Olafsson

and Peterburg announced pricing erosion of 7% – Defendants had represented to investors that

Teva’s pricing erosion was 4% or 5% each quarter since 2015. In fact, during the September 2016

generics outlook conference call, Olafsson reiterated that, because of the size of Teva’s portfolio,




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“we are more shield towards the prices up and down.” A stable portfolio with pricing erosion

between 4% to 7% could not have reached 8% pricing erosion on an average basis.

       126.    Finally, on February 8, 2018, Teva provided 2018 guidance, with revenues down

30% from the projection at the time of the Actavis acquisition closing:




       G.      Multiple Governmental Investigations Uncovered Evidence of Teva’s
               Illegal Price Fixing, Bid Rigging and Market Allocation

               1.     The Congressional Inquiry

       127.    Beginning in 2014, the price hikes by Teva and its co-conspirators in the generics

market were sufficiently extensive that they had garnered some attention within the industry. In

January 2014, the CEO of the National Community Pharmacists Association wrote Congress

stating that “[o]ver the last six months . . . many of our members across the U.S. . . . have seen

huge upswings in generic drug prices,” and requesting an investigation into the matter. The State

of Connecticut also found that:

       Prices for dozens of generic drugs have uncharacteristically risen – some have
       skyrocketed – for no apparent reason, sparking outrage from public officials,
       payers, and consumers across the country whose costs have doubled, tripled, or in
       some cases, increased up to 1,000% or more. The growing outrage and public
       reports of unexplained and suspicious price increases caused the State of
       Connecticut to commence an investigation in July of 2014, which was followed
       shortly by . . . the United States Department of Justice Antitrust Division.
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       128.      Congress launched its investigation by October 2014, based on conclusions drawn

from data accumulated on generic drug prices by the private Washington, D.C.-based Healthcare

Supply Chain Association (the “HSCA”).            The HSCA surveyed average prices paid by

organizations that assist hospitals, nursing homes and home health agencies in negotiating with

pharmaceutical companies and other vendors for discounts. The survey largely confirmed that

there had been recent enormous price hikes for generics drugs that appeared to be unexplained by

market conditions. (Healthcare Supply Chain Assn., Surv. of Group Purchasing Org. (Oct. 2013

to Apr. 2014)).

       129.      Congress sent letters to Teva and many of its peers, requesting documents and

information concerning “the recent staggering price increases for generic drugs used to treat

everything from common medical conditions to life threatening illnesses” and requested that Teva

provide a series of documents and information for the time period covering January 1, 2012 to

October 7, 2014. Id. Teva refused to provide these documents.

       130.      The other generics manufacturers that received similar letters from Congress

included:     (i) Actavis;   (ii) Amphastar   Pharmaceuticals;   (iii) Apotex   Corp.   (“Apotex”);

(iv) Dr. Reddy’s Laboratories Ltd. (“Dr. Reddy’s”); (v) Endo; (vi) Global Pharmaceuticals;

(vii) Heritage; (viii) Lannett Company, Inc. (“Lannett”); (ix) Marathon Pharmaceuticals, LLC;

(x) Mylan; (xi) Par; (xii) Sun; (xiii) Turing Pharmaceuticals LLC; (xiv) Valeant Pharmaceutical

International, Inc.; (xv) West-Ward Pharmaceutical Corp. (“West-Ward”); and (xvi) Zydus

Pharmaceuticals USA Inc. (“Zydus”).            Press Release, Sen. Bernard Sanders, Congress

Investigating Why Generic Drug Prices Are Skyrocketing (Oct. 2, 2014).

       131.      On November 20, 2014, the Senate Subcommittee on Primary Health and Aging

held a hearing to explore “if there was a rational economic reason as to why patients saw these

huge price increases [in generic drugs] or whether it was simply a question of greed of companies


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who were able to raise prices to whatever level they wanted, and that is, in fact, what they did.”

Why Are Some Generic Drugs Skyrocketing in Price?: Hrg. Before the Subcomm. on Primary

Health and Aging of the S. Comm. of Health, Education, Labor, and Pensions, 113 Cong. 3 (2014).

Although Teva was specifically invited to testify, it refused. Id. at 8.

                2.         The September 2016 GAO Report

        132.    As a result of its inquiry, Congress requested that the GAO undertake an

independent audit of the generic drugs that the federal government purchased by means of the

Medicare Part D program. The GAO performed its audit from June 2015 to August 2016 in

accordance with generally accepted government auditing standards, requiring that the “evidence

obtained provide[d] a reasonable basis for [the GAO’s] findings and conclusions based on [its]

audit objectives.” U.S. Gov’t Accountability Off., GAO-16-706, Generic Drugs Under Medicare

Part D 5 (Aug. 2016).

        133.    Publicly released on September 12, 2016, the GAO’s conclusions were significant.

The GAO found hundreds of unexplained “extraordinary price increases,” defined as a particular

drug increasing over 100% within a 12-month period, and that some drug prices increased more

than 1000%. Id. at 14. The GAO’s analysis indicates that Teva was one of the largest offenders.

See e.g., id. at 5 n.11.

        134.    Over the study period of the first quarter of 2010 through the second quarter of

2015, the GAO found that as a general matter, overall generic drug prices had declined over time

– as would be expected in a competitively functioning generics market. According to the GAO,

consistent with expectations, “generic drug prices fell 59 percent from the first quarter of 2010

through the second quarter of 2015.” Id. at “What GAO Found.” In other words, when looked at

as a whole, the entire set of generic drugs, including new entrants to the market, saw a price decline.




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       135.    However, over the same period, the GAO “analyzed an established basket of 1,441

generic drugs that were present during the entire period of analysis,” and found price increases for

a subset of drugs that was at odds with the trend for the overall generics market:

       More than 300 of the 1,441 established generic drugs analyzed had at least one
       extraordinary price increase of 100 percent or more between first quarter 2010
       and first quarter 2015. GAO found that drugs with extraordinary price increases
       moderated the overall decline in generic drug prices. Additionally, the
       extraordinary price increases generally persisted for at least 1 year and most had no
       downward movement after the extraordinary price increase. Given the low cost of
       generic drugs relative to their brand counterparts, stakeholders indicated limited
       changes to benefit design, including drug coverage.

Id.

       136.    The GAO Report concluded that these price increases had begun in earnest in 2012,

and accelerated into 2015. Specifically, the GAO found that between the first quarter of 2010 and

the fourth quarter of 2012, the price for this established basket of generic drugs had decreased by

22%, or about 2.2% per quarter on average. However, between the end of 2012 and the second

quarter of 2015, the price of the GAO’s “established generic drug basket increased by 10%, or

about 0.9% per quarter on average, which was four times the overall rate of general inflation of

approximately 2.3% over the same time period.” Id. at 10.

       137.    In all, “[t]he 315 drugs that experienced an extraordinary price increase during [the

GAO’s] study period have moderated the decline in generic drug prices for [the] basket of 1,441

established drugs, despite only representing slightly more than one in five established generic

drugs.” Id. at 16.

       138.    Contemporaneously with the increases, manufacturers publicly blamed the price

increases on external pressures such as ingredient supply disruption, market consolidation, or

similar factors. The GAO took issue with those assertions, concluding that the primary driver of

prices in the generics industry is competition: “Manufacturers reported that competition,

determined by the price and availability of the same drug from other manufacturers, is the primary

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driver of generic drug prices, as less competition could drive prices higher.” Id. at “What GAO

Found.”

        139.     Indeed, according to the manufacturers interviewed by the GAO, including Teva:

        The generic drug market operates like a commodities market, and manufacturers
        told us they are asked to submit a proposal offering their best possible price to their
        customers – for example, companies that operate pharmacies or wholesalers. If
        another manufacturer offers a lower price to a customer, manufacturers we
        interviewed indicated that they are usually asked to match it or risk losing market
        share to the other manufacturer.

Id. at 23.

        140.     As a matter of empirical fact, however, competition had not moderated the price

hikes back to the historically normative price levels. Instead, the GAO Report states that, “[o]f

the 351 annual extraordinary price increases that occurred from first quarter 2010 to first quarter

2015, we were able to track 248 of these annual increases for 1 or more additional years, and found

that nearly all persisted at 100 percent or more above the original price for at least 1 year.” Id. at

17. As a result, the benefit from each drug price increase to the bottom line of the manufacturers

involved was cumulative over time, and did not just provide an immediate benefit to the drug

manufacturers.

        141.     Teva owned the rights to FDA-approved products associated with at least 40% of

the drugs identified in the GAO Report as having exhibited an “extraordinary price increase” in

the 2013 to 2014 or 2014 to 2015 timeframes (42 of 105 active ingredients, 90 of 191

ingredient/form/strength alignments), as determined by cross-referencing the GAO Report against

the FDA’s list of “Approved Drug Products with Therapeutic Equivalence Evaluations”

(commonly known as the “Orange Book”).

        142.     The drugs identified by the GAO Report specifically included Acetazolamide,

Baclofen, Carbamazepine, Cephalexin, Clobetasol Propionate, Desonide, Doxycycline Hyclate,

Enalapril Maleate, Fluocinonide, Ketoconazole, Nystatin, Pravastatin Sodium, Theophylline and

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Tretinoin. All of these drugs, which are discussed in more detail below, have also either been

implicated in the State AGs’ investigation and/or have been identified by Plaintiffs as having

collusive price increases.

               3.      The DOJ and State AG Investigations

       143.    On or around July 8, 2014, the State of Connecticut began a non-public

investigation into suspicious price increases of generic drugs. The Connecticut AG quickly began

issuing document subpoenas to Teva’s peer generics manufacturers. Specifically, the Connecticut

AG issued subpoenas to Impax on July 14, 2014, to Lannett on July 15, 2014, and to Par on

August 6, 2014, all relating to pricing of the generic drug Digoxin. Lannett, Current Report (Form

8-K) at 2 (July 16, 2014); Impax, Current Report (Form 8-K) at 2 (July 15, 2014); Par, Annual

Report (Form 10-K) (Dec. 31, 2014).

       144.    According to reports, within days of the initial Connecticut AG subpoenas to drug

manufacturers, the DOJ Antitrust Division, Criminal I Section, contacted the Connecticut AG’s

office to inquire into the investigation. See Mark Pazniokas, How a small-state AG’s office plays

in the big leagues, C.T. Mirror, Jan. 27, 2017 (“Pazniokas”).

       145.    By November 2014, the DOJ reportedly initiated an investigation and convened a

grand jury in Philadelphia, Pennsylvania. The grand jury began to issue document, testimony and

information subpoenas.

       146.    The DOJ’s and the State AGs’ investigations quickly accelerated with dozens of

subpoenas being issued in 2014, 2015 and 2016. To date, the Connecticut AG alone has issued

hundreds of subpoenas to various manufacturers, individuals and other entities in the generic drug

industry, including Actavis, Teva, Impax, Heritage, Lannett, Par, Mylan, Mayne Pharma (USA)

(“Mayne”), and Dr. Reddy’s. Plaintiff State of New York has issued a total of 30 investigative

subpoenas to telephone carriers regarding current and former employees of targets of the


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investigation, including to AT&T on February 6, 2018 and to 29 additional carriers between

February 15, 2018 and March 27, 2018. The AGs of California and Texas have also issued

subpoenas. Generic drug manufacturers have received subpoenas for documents or testimony

from the federal criminal grand jury, including Teva, Impax, Lannett, Par, Mylan, Mayne,

Dr. Reddy’s, Sun, Taro, Baxter International and Allergan. These subpoenas include those served

directly on individuals, including high ranking executives. The DOJ has also served search

warrants on Citron (June 2016), Mylan (November 2016), Perrigo Company plc (May 2017), and

Pfizer Inc. (July 2017).

       147.    Teva was one of the last of the conspirators to receive a subpoena from the DOJ,

which it did in June 2016, as it is the largest member of the conspiracy.

               4.      Civil Antitrust Litigations

       148.    Teva and numerous peers are the subject of more than two dozen civil antitrust suits

brought by market participants alleging per se illegal price fixing across numerous specific drugs.

Consistent with the AGs Complaints’ allegations of a wide spread antitrust conspiracy, the DOJ

Antitrust Division has intervened in these civil actions, seeking stays and also asserting that they

overlap with the DOJ’s criminal investigation. This indicates that, at a minimum, the dozens of

drugs in the civil suits – including several against Teva and Actavis – are the same drugs that are

the subject of the ongoing criminal investigation.

               5.      The DOJ Investigation Yields Admissions of a Wide-Ranging
                       Illegal Conspiracy Involving Teva

       149.    On December 14, 2016, the DOJ announced that it had charged Glazer, the former

CEO of Heritage, and Malek, the former president of Heritage, with violations of the federal

antitrust laws concerning a conspiracy relating to the prices of generic drugs.

       150.    Glazer and Malek were charged with “knowingly enter[ing] into and engag[ing] in

a combination and conspiracy with other persons and entities engaged in the production and sale

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of generic pharmaceutical products, . . . the primary purpose of which was to allocate customers,

rig bids, and fix and maintain prices.” Information, ¶6, USA v. Glazer, No. 16-cr-00506-RBS

(E.D. Pa., Dec. 12, 2016) (ECF No. 1) (“Glazer Information”); Information, ¶6, USA v. Malek,

No. 16-cr-00508 (E.D. Pa., Dec. 13, 2016) (ECF No. 1) (“Malek Information”).

       151.    The criminal information related to these charges specified that these practices

included two specific drugs, Glyburide (used to treat type-2 diabetes) and Doxycycline Hyclate

(used to treat acne); they also indicated that the conspiracy involved numerous other unspecified

drugs and parties. See Glazer Information, ¶106; Malek Information, ¶106.

       152.    Teva was the dominant participant in the Glyburide market during the Relevant

Period, with approximately 70% to 75% of the market from 2012 to 2017. The market for

Glyburide was an estimated $650 million in sales from 2012 to 2016. Teva was also a major player

in the Doxycycline Hyclate market through its acquisition of Actavis, with an estimated

$708 million in sales in 2015 for Doxycycline Hyclate capsules alone.

       153.    On December 9, 2016, Glazer and Malek both pled guilty to the federal charges. In

exchange for immunity as to a whole host of generic drugs, they each agreed to provide full

cooperation with the DOJ’s ongoing investigation, specifically with “the current federal

investigation of violations of federal antitrust and related criminal laws involving the production

and sale of generic pharmaceutical products in the United States.” Plea Agreement, ¶18, USA v.

Glazer, No. 16-cr-00506-RBS (E.D. Pa., Jan. 9, 2017) (ECF No. 18) (“Glazer Plea”); Plea

Agreement, ¶17, USA v. Malek, No. 16-cr-00508-RBS (E.D. Pa., Jan. 1, 2017) (ECF No. 17)

(“Malek Plea”) (collectively, the “Pleas”). The full list of generic drugs on which Malek and

Glazer conspired to raise prices, including those manufactured by Teva, has been filed under seal,

and is the subject of the continued criminal grand jury inquiry.




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         154.   With respect to the Pleas, Malek and Glazer specifically admitted to participating

in a conspiracy to allocate the market share, rig bids, and fix the prices of Doxycycline from at

least April 2013 through at least December 2015. They also admitted to participating in a

conspiracy to allocate the market share, rig bids, allocate customers and fix the prices of Glyburide

from April 2014 through at least December 2015. Teva was a member of the conspiracy. Glazer

Plea, ¶106; Malek Plea, ¶106.

         155.   Heritage, a New Jersey company owned by India-based manufacturer Emcure, fired

Glazer and Malek in August 2016 and admitted to their conduct, stating: “‘We are deeply

disappointed by the misconduct and are committed to ensuring it does not happen again,’”

promising full cooperation with authorities. Nathan Vardi, The Man The Feds Are Using To First

Crack Open Their Big Antitrust Case Against Generic Drug Makers, Forbes (Dec. 16, 2014).

                6.     Forty-Five State AGs, the District of Columbia and the
                       Commonwealth of Puerto Rico Accuse Teva of Participating in
                       an Illegal Conspiracy Which Artificially Inflated the Value of
                       Teva Securities

         156.   On December 15, 2016, Connecticut and nineteen other states’ AGs filed civil

charges against Teva and five other generic drug manufacturers – Aurobindo Pharma USA, Inc.

(“Aurobindo”); Citron Pharma, LLC (“Citron”); Heritage; Mayne; and Mylan (the

“December 2016 AG Complaint”). The December 2016 AG Complaint was based on, and

referenced, direct evidence of the conspiracy that was gathered in the State AGs’ multiyear

investigation. Additional states have since joined the action, which currently totals 47 State AGs,

the District of Columbia and the Commonwealth of Puerto Rico.

         157.   The December 2016 AG Complaint alleged direct evidence, accumulated through

years of investigation and discovery, of a massive horizontal conspiracy between Teva and other

companies to illegally allocate the market for, rig bids for the sale of, and fix the prices of, generic

drugs.

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       158.    According to the December 2016 AG Complaint, the scheme consisted of two types

of anticompetitive practices: First, to allocate customers and market share “either upon their entry

into a given generic market or upon the entry of a new competitor into that market.” The co-

conspirators “communicated with each other to determine and agree on how much market share

or which customers each competitor was entitled to.” Teva and its co-conspirators would

effectuate the agreement either by refusing to bid for particular customers (e.g., drug wholesalers

or GPOs) or by providing a cover bid that they knew would not be successful. This conduct

effectively reduced or eliminated competition for a particular drug, and allowed Defendants to

maintain artificially supra- competitive prices in these markets throughout the United States.

       159.    Second, and often in conjunction with the first practice, competitors would simply

communicate – typically either in person, by telephone, or by text message – and agree to

collectively raise prices for a particular generic drug. While maintaining a presence in the market

for a particular drug, these agreements kept the appearance of competition, though prices and

markets were fixed.

       160.    Glazer and Malek have also admitted liability to the claims levied by the State AGs

and as part of their settlements have agreed to cooperate fully with the State AGs’ investigation

and suit. As the Connecticut AG George Jepsen has stated, Glazer and Malek’s cooperation “‘will

significantly strengthen [the State AG’s] ability to prosecute the litigation and further [their]

investigation.’” Eric Sagonowsky, Ex-Heritage execs turn state’s evidence in far-reaching generic

pricing probe, FiercePharma, May 25, 2017.

       161.    The December 2016 AG Complaint focused on the same two drugs as the DOJ:

Doxycycline and Glyburide. However, like the DOJ, the State AGs made clear that these were

simply examples of the much greater continuum of illegal agreements, and only a small part of its

tremendous scope. Specifically, the State AGs’ complaint, amended on March 1, 2017 (the


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“March 2017 AG Complaint”), alleged that the still-ongoing investigation “uncovered evidence of

a broad, well-coordinated and long-running series of schemes to fix the prices and allocate the

markets for a number of generic pharmaceuticals in the United States.”

       162.    According to the State AGs’ allegations, although the names and positions of all

participants are redacted, except for Glazer and Malek, “many of these schemes were conceived

and directed by executives at the highest levels of many of the Defendant companies.”

       163.    As discussed in more detail below, Teva was expressly implicated in the

December 2016 AG Complaint concerning the collusion over pricing and market share for

Glyburide. These allegations included direct communications and explicit agreements among

Teva and its co-conspirators. Specifically, on April 22, 2014, Malek identified “a large number of

different drugs that Heritage targeted for price increases.” Malek “instructed members of the sales

team to immediately reach out to their contacts at each competitor on the list of drugs, and attempt

to reach agreement on the price increases.” However, Malek had a “direct relationship” with his

contact at Teva, whom he spoke to regarding “rais[ing] prices on Glyburide, among other drugs.”

       164.    The State AGs also alleged that the efforts to conceal the conspiracy were deliberate

and extensive. “Going back to at least 2012, for example, Heritage executives took overt steps to

conceal their illegal activity, and destroy evidence of any wrongdoing.” In that regard, “all

[defendants] made consistent efforts to avoid communicating with each other in writing, or to

delete written electronic communications after they were made.” Indeed, “as [d]efendants became

more aware that they were under state and federal investigation, there was even more urgency to

avoid detection.” March 2017 AG Complaint, ¶¶125-126, 131.

       165.    Moreover, the State AGs have found that the explanations provided by the generic

drug manufacturers for their price increases were a mere pretext:

       Generic drug manufacturers [have] argued publicly that the significant price
       increases were due to a myriad of benign factors, such as industry consolidation,

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           FDA-mandated plant closures, or elimination of unprofitable generic drug product
           lines. What the Plaintiff States have found through their investigation, however, is
           that the reason underlying many of these price increases is much more
           straightforward, and sinister – collusion among generic drug competitors.

Id., ¶6.

           166.   In addition to the specific claims already made in the State AG complaint, the AGs

allege that “the Plaintiff States have uncovered wide-ranging conduct implicating numerous

different drugs and competitors, which will be acted upon at the appropriate time.” Id., ¶9.

According to an article citing the Connecticut AG lawyers who prepared the complaint, the full

extent of the scheme involves “fraud on a broader, nearly unimaginable scale.” Mark Pazniokas,

How a small-state AG’s office plays in the big leagues, C.T. Mirror, Jan. 27, 2017 (“Pazniokas”).

           167.   Consistent with this, Connecticut’s AG, Jepsen, in a December 2016 article

published by The New York Times, noted that “‘this is just the tip of the iceberg . . . . I stress that

our investigation is continuing, and it goes way beyond the two drugs in this lawsuit, and it

involves many more companies than are in this lawsuit.’” Katie Thomas, 20 States Accuse Generic

Drug Companies of Price Fixing, N.Y. Times, Dec. 15, 2016. Jepsen “promised that more charges

were coming.” Id.

           168.   Similarly, in an interview with Bloomberg that aired December 14, 2016, Jepsen

described the breadth of the price fixing scheme: “‘[W]e believe it is massive, we believe it is quite

widespread. This is only the first legal action that is being taken; we expect quite a bit more.’”

Asked to describe the mechanics of the scheme, Jepsen said “what we’re finding, and what the

evidence will show, is very explicit price fixing. This isn’t circumstantial evidence . . . . This is

very explicit price fixing . . . in text messages, in emails, in conversations; we have cooperating

witnesses. The case is very strong.” Jepsen also explained that “the number of drugs that are

being investigated goes well beyond the[] two drugs [Doxycycline and Glyburide].”



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       169.    Jepsen summarized, as reported in The New York Times, that the investigation had

uncovered “‘very damning’” evidence, and “‘a culture of cronyism where, whether it’s over a

game of golf or a dinner or drinks, there’s just systematic cooperation.’”

                       a.     Trade Groups and Social Events Facilitated the
                              Collusion

       170.    Both the DOJ and the State AGs focused in part on the participation of generic

manufacturers in trade groups and other social industry events as a means to facilitate the

conspiracy. The State AGs alleged that “the [d]efendants and other generic drug manufacturers

also attend various industry trade shows throughout the year, including those hosted by the

National Association of Chain Drug Stores (‘NACDS’), Healthcare Distribution Management

Association (‘HDMA’) (now the Healthcare Distribution Alliance), the Generic Pharmaceutical

Association (‘GPhA’) and Efficient Collaborative Retail Marketing (‘ECRM’),” among others.

       171.    The DOJ is reported to have stated that “prosecutors are taking a close look at trade

associations as part of its investigation as having been one potential avenue for facilitating the

collusion between salespeople at different generic producers.”

       172.    At these various conferences and trade shows, sales representatives from many

generic drug manufacturers, including from Teva, had the opportunity to interact with each other

and discuss their respective businesses.

       173.    As alleged by the State AGs, in addition to these frequent conferences and trade

shows, sales representatives got together separately, in more limited groups, allowing high level

executives to meet face-to-face with their competitors and discuss their business, gatherings that

included “industry dinners.” For example, the State AGs allege that “in January 2014, at a time

when the prices of a number of generic drugs were reportedly soaring, at least thirteen (13) high-

ranking [male] executives, including CEOs, Presidents and Senior Vice Presidents of various

generic drug manufacturers, met at a steakhouse in Bridgewater, New Jersey.”

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       174.   Further, “[f]emale generic pharmaceutical sales representatives also get together

regularly for what they refer to as a ‘Girls Night Out’ (‘GNO’), or alternatively ‘Women in the

Industry’ meetings and dinners. During these GNOs, meetings and dinners, these representatives

meet with their competitors and discuss competitively sensitive information.”

       175.   According to the State AGs’ allegations:

               Several different GNOs were held in 2015, including: (1) at the ECRM
       conference in February (involving defendants Citron and Heritage, among others);
       (2) in Baltimore in May (involving defendants Citron, Heritage and Teva, among
       others); and (3) at the NACDS conference in August (involving defendants Citron
       and Heritage, among others).

       176.   Teva belonged to numerous additional trade organizations and attended numerous

trade shows with its competitors over the Relevant Period, including: NACDS, HDMA (now the

Healthcare Distribution Alliance), ECRM, and the GPhA. Executives from Teva and its co-

conspirators served on the GPhA Board of Directors, including defendant Oberman, President and

CEO of Teva Generics (2014); Debra Barrett, Teva SVP of Government and Public Affairs (2012-

2013, 2015-2016); Glazer, President and CEO of Heritage (2013- 2016); Jeff Watson, President

of Apotex (2013-2014, 2015-2017); and Joseph Renner President and CEO of Zydus (2013-2017).

Trade meetings provided ample opportunity for collusion by high-level executives with authority

over price setting. For example, price hikes on Pravastatin tablets occurred soon after February

and June 2013 GPhA Conferences attended by representatives from Teva and its co-conspirators.2

                      b.     The State AGs Expand Their Allegations Against Teva
                             to Eight Drugs

       177.   On October 31, 2017, the State AGs filed a motion for leave to file a Consolidated

Amended Complaint (the “October 2017 AG Complaint”) in Connecticut v. Aurobindo Pharma

USA, Inc., Civ. A. No. 17-3768 (E.D. Pa.), ECF No. 3. The October 2017 AG Complaint, which


2
   See “Appendix C” for a non-exhaustive list of corporate and individual attendees at various
industry meetings and conferences attended by Defendants.

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was filed as Exhibit A to the motion, increased the number of generic drug manufacturer

defendants from 6 to 18 and the number of drugs at issue in the litigation from 2 to 15. Several of

the new drugs implicated in the conspiracy are manufactured by Teva. The motion for leave to

amend was granted on June 5, 2018.

       178.    Specifically, the October 2017 AG Complaint made additional detailed allegations

regarding the following drugs manufactured by Teva: (i) Acetazolamide; (ii) Glipizide-

Metformin;     (iii) Glyburide;   (iv) Glyburide-Metformin;      (v) Leflunomide;       (vi) Nystatin;

(vii) Theophylline; and (viii) Verapamil. The allegations, though redacted to protect the identities

of certain individuals, provided additional detailed information about Teva’s involvement in the

illegal price-fixing conspiracy related to seven new drugs, in addition to Glyburide.

       179.    The October 2017 AG Complaint provided additional detailed information about

how high-level executives, including CEOs, Presidents and SVPs at many generic drug

manufacturers, including Teva, regularly discussed competitively sensitive information at industry

events, in private meetings and via phone, text and email conversations. As a result of these

communications, sales and marketing executives in the generic pharmaceutical drug industry are

aware of their competitors’ current and future business plans. This familiarity and opportunity led

to agreements among competitors to allocate markets to avoid price competition.

       180.    For example, senior sales executives and other individuals responsible for the

pricing, marketing and sale of generic drugs at Teva frequently spoke by phone and/or exchanged

text messages with representatives of every other U.S.-based corporate defendant named in the

October 2017 AG Complaint between July 1, 2013 and July 30, 2014, as represented in the

following “Table 2,” which is based on phone and text message records from some of the

executives and salespeople at issue, and therefore shows only some of the phone calls and text

messages between Teva and the other defendants named by the State AGs during that period:


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       181.    According to the October 2017 AG Complaint, these close communications led to

price increases for several drugs in 2014, including those manufactured by Teva. For instance, in

April 2014, Heritage’s Malek identified 18 different drugs targeted for price increases, of which

Teva was a competitor on eight of the drugs. Malek had a direct relationship with an unnamed

executive at Teva, whom he called on April 15, 2014 and spoke to for 17 minutes. During the call,

Malek and the Teva executive agreed that if Heritage increased prices for the drugs on the list,

Teva would follow or, at a minimum, would not challenge Heritage’s price increases by

underbidding Heritage.

       182.    For two of the drugs – Nystatin and Theophylline ER – Teva had already been

planning a price increase and Malek and an unnamed executive at Teva agreed that Teva would

take the lead on those increases. In the next few months after April 2014, Malek spoke to the Teva

executive several more times, and Malek kept the executive informed with more details about

when Heritage would be increasing prices for those drugs.

       183.    On June 23, 2014, Heritage employees had a call to discuss the specific percentage

amounts they would seek to increase the pricing of certain drugs, including drugs for which they

had already obtained agreement from all competitors (or potential future competitors), including


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Teva, and the strategies for doing so. Included on the list of drugs slated for an increase were four

drugs manufactured by Teva: Acetazolamide (75% increase); Glyburide (200% increase);

Theophylline (150% increase); and Nystatin (95% increase).

       184.    As alleged in the October 2017 AG Complaint, Malek continued to push Heritage

employees to discuss the planned price increases with competitors, and he continued to do the

same. On June 25, 2014, Malek spoke to an unnamed executive at Teva for nearly 14 minutes and

informed the executive that Heritage would soon be increasing prices for a number of drugs sold

by Teva.

       185.    On information and belief, the unnamed Teva executive referenced in the

October 2017 AG Complaint is Nisha Patel (“Patel”), one of Teva’s US National Account

Managers during the Relevant Period.

       186.    As discussed, Teva was implicated in the misconduct alleged by the State AGs in

their amended complaint for eight of the 15 generic drugs. Additional detailed allegations

regarding these Teva-manufactured drugs subject to collusive price increases are laid out below.

                               (1)    Glyburide

       187.    The State AGs’ investigation indicates that price hikes in 2014 by Teva for its

generic Glyburide were the result of collusion among market participants.

       188.    Glyburide is an oral diabetes medication used to treat Type 2 diabetes. Over time,

people who have diabetes and high blood sugar can develop serious or life-threatening

complications, including heart disease, stroke, kidney problems, nerve damage, and eye problems.

       189.    Glyburide comes in the form of a tablet, with strengths of 1.25, 2.5 and 5

milligrams. Teva’s ANDA for generic Glyburide was approved in 1995.




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       190.    As of April 2014, Teva’s main competitors for Glyburide were Heritage and

Aurobindo. Teva dominated approximately 75% of the $650 million market in Glyburide between

2012 and 2017.

       191.    Price increases on Glyburide were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through

phone and text communications (as identified in ¶180), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶431; App. B).

For instance, in the months preceding the April 2014 price increases for Glyburide, representatives

from Teva, Aurobindo and Heritage communicated via phone and text at least 114 times, and their

corporate representatives, including defendant Oberman, met in person at numerous industry

events, including events held in February and April 2014.          These frequent meetings and

communications culminated in an agreement among competitors to fix prices and restrain

competition for Glyburide.

       192.    On April 22, 2014, Heritage held a conference call on which Malek identified a

large number of different drugs targeted for price increases, which included Glyburide. As alleged

by the State AGs, “Malek instructed members of the sales team to immediately reach out to their

contacts at each competitor on the list of drugs, and attempt to reach agreement on the price

increases.” In response to Malek’s directive, the sales team immediately began contacting their

competition, including Teva.

       193.    On June 23, 2014, Heritage employees discussed “the specific percentage amounts

they would seek to increase certain drugs, and the strategies for doing so.” Among those discussed

was Glyburide, “which was slated for a 200% increase.”

       194.    According to the State AGs, “Malek himself was responsible for communicating

with Defendant Teva, which was a competitor on several of the drugs on the list, including


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Glyburide.” Malek “had a direct relationship” with his contact at Teva who was capable of making

binding decisions regarding price increases. Malek “was able to successfully communicate with

her and reach an agreement to raise prices on Glyburide, among other drugs.”

       195.     As alleged by the State AGs, “[a]fter reaching agreement with competitors

Aurobindo, Citron and Teva to raise prices for Glyburide, Heritage began implementing the price

increases. By July 9, 2014, Heritage had been able to successfully increase prices for Glyburide

to at least 17 different customers.”

       196.     The State AGs further alleged that Malek and his counterpart at Teva had been

discussing the price increases as early as April 15, 2014, when they spoke for approximately 18

minutes. During the call, they “discussed Heritage’s intention to raise the price of Glyburide and

other drugs” and “agreed that if Heritage did raise the price of Glyburide (and/or the other drugs),

Teva would follow with its own price increase or, at least, would not challenge Heritage’s price

increases by seeking to underbid and take Heritage’s accounts.” Malek and his contact at Teva

“spoke several more times over the next several months and confirmed the agreement to raise

prices.”

       197.     Teva also began to evaluate its own price increases on Glyburide, and by July 9,

2014, “Teva had also increased its WAC pricing on Glyburide.”3 On July 15, 2014, Citron also

increased its WAC and average wholesale price, or AWP, pricing for Glyburide to be in line with

the price increases adopted by Heritage.




3
   Generic drug manufacturers typically report, via subscription-based industry publications and
compendia such as MediSpan and First Data Bank, a drug-by-drug pricing metric known as
Wholesale Acquisition Cost (“WAC”). WAC is, in effect, the manufacturers’ list price for a given
drug; it does not reflect discounts or rebates applied to transactions between manufacturers and
wholesalers or other institutions.

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       198.    Indeed, the March and October 2017 AG Complaints alleged that “[t]he unlawful

agreement resulted in specific price increases to customers who sold Glyburide to customers

nationwide.” The price increases on Glyburide prompted a large national retail chain to contact

Teva on July 9, 2014, requesting a bid. The request was discussed internally at Teva, with one

Teva official reiterating that Heritage and Teva had an “agreement” regarding “the two drugs at

issue,” i.e., Glyburide and Nystatin, another drug that Teva also had entered into a price fixing

agreement with Heritage.

       199.    After Heritage raised its prices in July 2014, another large wholesaler solicited bids

from both Teva and Aurobindo in an effort to obtain lower pricing. On July 25, 2014, that

wholesaler sent an email to a Teva official requesting a bid for Glyburide and certain other drugs.

The same day, the wholesaler sent an identical email to Aurobindo.

       200.    According to the October 2017 AG Complaint, the bid requests “sparked

immediate communication between the competitors as they tried to ensure uniformity and

compliance with the scheme.” On July 25, 2014, Malek sent directions via text message, then had

a thirteen minute call to convey “the direction that Aurobindo should not provide a bid to the

wholesaler.”

       201.    Malek also called a contact at Teva the same day and spoke for more than fifteen

minutes. After speaking with Heritage, both Teva and Aurobindo declined to provide a bid to the

wholesaler. These communications indicate that Teva coordinated with its competitors and

declined to take market share in the face of price increases by Heritage.

       202.    The October 2017 AG Complaint alleged that the anticompetitive agreement

between Heritage, Teva, Aurobindo and Citron “to avoid competition and unlawfully increase

prices for Glyburide continued until at least December 2015, and the effects continue to this day.”




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        203.    Indeed, as described in §III.G.5, supra, in December 2016 both the former CEO

and the former President of Heritage, Glazer and Malek, respectively, were charged with and pled

guilty to federal charges of “knowingly enter[ing] into and engag[ing] in a combination and

conspiracy with other persons and entities engaged in the production and sale of generic

pharmaceutical products, . . . the primary purpose of which was to allocate customers, rig bids,

and fix and maintain prices.” As part of their pleas, Glazer and Malek admitted to participating in

a conspiracy to allocate the market share, rig bids, allocate customers and fix the prices of

Glyburide from April 2014 through at least December 2015. As described above, Teva was a

member of this conspiracy.

                                (2)   Acetazolamide ER

        204.    The State AGs’ investigation indicates that Teva colluded with its competitors in

2014 to increase prices for generic Acetazolamide ER (“Acetazolamide”).

        205.    Acetazolamide, also known by the brand name Diamox®, among others, is an

extended-release version of a medication used to treat glaucoma (a condition in which increased

pressure in the eye can lead to gradual loss of vision), epilepsy, altitude sickness, periodic

paralysis, and heart failure.

        206.    Acetazolamide comes in the form of a capsule in a strength of 500 milligrams.

Teva’s first NDA for Acetazolamide, under the brand name Diamox®, was approved in 1962.

        207.    Teva’s main competitors for Acetazolamide were Heritage and Zydus. As of

April 2014, Heritage and Teva combined for approximately 78% of the market.

        208.    Price increases on Acetazolamide were the result of collusive agreements to

increase pricing and restrain competition. These collusive agreements were furthered, in part,

through phone and text communications (as identified in ¶180), and in-person discussions

conducted at meetings and industry events hosted by GPhA, HDMA and others (as identified in


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¶431; App. B).     For instance, in the months preceding the April 2014 price increases for

Acetazolamide, representatives from Teva, Heritage and Zydus communicated via phone and text

at least 593 times, and their corporate representatives, including defendant Oberman, met in person

at numerous industry events, including events held in February and April of 2014. These frequent

meetings and communications culminated in an agreement among competitors to fix prices and

restrain competition for Acetazolamide.

       209.    According to the AG Complaints, Heritage’s Malek was responsible for obtaining

Teva’s agreement to raise prices. On April 15, 2014, Malek spoke with his contact at Teva for

more than 17 minutes during which time they discussed Heritage’s intention to raise the price of

Acetazolamide and other drugs. The State AGs alleged that, during the call, the unnamed contact

at Teva agreed that if Heritage did raise the price of Acetazolamide, “Teva would follow with its

own price increase or, at least, would not challenge Heritage’s price increases by seeking to

underbid and take Heritage’s accounts.” Over the next several months, Malek and his Teva contact

spoke several more times to confirm their agreement to raise prices, and to provide updates

regarding the Heritage increases.

       210.    Teva employees were also in close communication with employees at Zydus during

this time frame. According to the October 2017 AG Complaint, Malek and an unnamed contact

at Zydus had been communicating since April 24, 2014 regarding Heritage’s “intention to raise

prices” during the second week of May 2014. Then, on May 14, 2014, right around the time these

price increases were planned to take effect, numerous text messages between Teva and Zydus

employees were exchanged.

       211.    The State AGs alleged that during this time period Heritage avoided bidding on any

potential Acetazolamide customers already being supplied by Zydus in order to maintain market




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share among the competitors. Then, on June 23, 2014, Malek and members of the Heritage sales

team discussed an intention to raise prices for Acetazolamide by 75%.

       212.    Indeed, three days later, on June 26, 2014, Heritage began sending out price

increases to its customers, notifying them that Acetazolamide prices would be increasing by 75%.

As alleged by the State AGs, Heritage raised Acetazolamide prices to at least 17 different

customers nationwide by July 9, 2014.

                               (3)     Glipizide-Metformin

       213.    The State AGs’ investigation indicates that Teva colluded with its competitors in

2014 to increase prices for generic Glipizide-Metformin (“Glip-Met”).

       214.    Glip-Met, also known by the brand name Metaglip®, is a combination medicine

used to treat high blood sugar levels that are caused by a type of diabetes mellitus or sugar diabetes

called Type 2 diabetes. Over time, people who have diabetes and high blood sugar can develop

serious or life-threatening complications, including heart disease, stroke, kidney problems, nerve

damage, and eye problems.

       215.    Glip-Met comes in the form of a tablet in strengths of 2.5 mg/250 mg, 2.5 mg/500

mg, and 5 mg/500 mg. Teva’s ANDA to manufacture Glip-Met was approved in 2005.

       216.    As of April 2014, Teva’s main competitors for Glip-Met were Heritage and Mylan.

       217.    Price increases on Glip-Met were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through

phone and text communications (as identified in ¶180), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶431; App. B).

For instance, in the months preceding the April 2014 price increases for Glip-Met, representatives

from Teva, Actavis, Heritage, Mylan and Zydus communicated via phone and text at least 888

times, and their corporate representatives, including defendant Oberman, met in person at


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numerous industry events, including events held in February and April of 2014. These frequent

meetings and communications culminated in an agreement among competitors to fix prices and

restrain competition for Glip-Met.

       218.    As alleged in the October 2017 AG Complaint, Heritage’s Malek took

responsibility for communicating with Teva about Glip-Met price increases and spoke with an

unnamed contact at Teva on April 15, 2014 for more than 17 minutes. During the call they

discussed Heritage’s intention to raise the price of Glip-Met and other drugs. The State AGs

alleged that the unnamed contact at Teva agreed that if Heritage raised the price of Glip-Met,

“Teva would follow with its own price increase or, at least, would not challenge Heritage’s price

increases by seeking to underbid and take Heritage’s accounts.” Over the next several months,

Malek and his Teva contact spoke several more times to confirm their agreement to raise prices

and to provide updates regarding the Heritage price increases.

       219.    According to the State AGs, Mylan also agreed to raise prices for Glip-Met and two

other drugs on April 23, 2014. Teva employees were in close communication with employees at

Mylan during this time period. According to the October 2017 AG Complaint, an unnamed contact

at Mylan spoke with an unnamed contact at Teva multiple times on May 9, 2014, including one

call that lasted more than seven minutes. The two continued to stay in close contact throughout

the rest of 2014.

       220.    The agreed price increases went into effect shortly thereafter. On May 9, 2014,

Heritage held another internal call regarding increasing the price of Glip-Met. Then, on June 26,

2014, an unnamed Heritage employee informed a customer, a large wholesaler, that a 100%

market-wide price increase for Glip-Met market would be going into effect as of July 1, 2014.

Heritage began sending out Price Increase Notices to its customers for Glip-Met the same day. By




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July 9, 2014, Heritage had increase prices nationwide to at least 27 different customers for Glip-

Met.

       221.    Teva and Mylan went along with Heritage on its price increases, and “Teva, in fact,

increased its bid prices to potential customers.”

                              (4)    Glyburide-Metformin

       222.    The State AGs’ investigation indicates that Teva colluded with its competitors in

2014 to increase prices for generic Glyburide-Metformin.

       223.    Glyburide-Metformin, also known by the brand name Glucovance®, is an oral

medication used to treat Type 2 diabetes, a condition in which the body does not use insulin

normally and therefore cannot control the amount of sugar in the blood.

       224.    Glyburide-Metformin comes in the form of tablet, in strengths of 1.25 mg/250 mg,

2.5 mg/500 mg, and 5 mg/500 mg. Teva’s ANDA to manufacture Glyburide-Metformin was

approved in 2005.

       225.    As of April 2014, Teva’s competitors in the market for Glyburide-Metformin were

Heritage, Aurobindo and Actavis. Heritage had only 5% market share at that time, but nonetheless

wanted to raise prices.

       226.    Price increases on Glyburide-Metformin were the result of collusive agreements to

increase pricing and restrain competition. These collusive agreements were furthered, in part,

through phone and text communications (as identified in ¶180), and in-person discussions

conducted at meetings and industry events hosted by GPhA, HDMA and others (as identified in

¶431; App. B). For instance, in the months preceding the April 2014 price increases for Glyburide-

Metformin, representatives from Teva, Actavis, Aurobindo, Citron and Heritage communicated

via phone and text at least 340 times, and corporate representatives at Teva, Actavis, Aurobindo,

Heritage and Impax, including defendant Oberman, met in person at numerous industry events,


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including events held in February and April of 2014.              These frequent meetings and

communications culminated in an agreement among competitors to fix prices and restrain

competition for Glyburide-Metformin.

       227.    According to the October 2017 AG Complaint, “Malek was responsible for

communicating with Teva regarding Glyburide-Metformin price increases,” and on April 15, 2014

Malek spoke with his contact at Teva for more than 17 minutes. During the call they discussed

Heritage’s intention to raise the price of Glyburide-Metformin and agreed that if Heritage did raise

the price of Glyburide-Metformin “Teva would follow with its own price increase or, at least,

would not challenge Heritage’s price increases by seeking to underbid and take Heritage’s

accounts.” Over the next several months Malek and his Teva contact spoke several more times to

confirm their agreement to raise prices, and to provide updates regarding the Heritage price

increases.

       228.    During this timeframe other manufacturers also agreed to increase the price of

Glyburide-Metformin. The State AGs allege that on April 22, 2014, Actavis participated in a nine-

minute call where Actavis reached an agreement to raise the price of Glyburide-Metformin. An

unnamed Actavis employee conveyed the message internally to the sales and pricing team that

Heritage was planning a price increase on Glyburide-Metformin, and an Actavis pricing manager

discussed the potential price increases in an internal email dated April 28, 2014.

       229.    As alleged by the State AGs, the same Actavis employee who had received the

April 28, 2014 email discussed above, then called an unnamed Teva contact and spoke for five

minutes on May 1, 2014. They communicated frequently over the next several months and spoke

three more times on May 6, 2014, with one of the calls lasting 15 minutes. Between May 19 and

May 22, 2014, 30 text messages were exchanged with an unnamed contact at Teva.




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       230.    Price increases resulted from these numerous communications. As alleged by the

State AGs, on July 2014, Heritage increased its WAC prices for Glyburide-Metformin. An internal

Citron email dated July 9, 2014 noted that “Heritage and Teva had increased their WAC pricing

on 3 different drugs, including Glyburide-Metformin.”

                               (5)    Leflunomide

       231.    The State AGs’ investigation indicates that Teva colluded with its competitors in

2014 to raise the price of Leflunomide.

       232.    Leflunomide, also known by the brand name Arava®, is an immunosuppressive

drug used to treat active moderate-to-severe rheumatoid arthritis and psoriatic arthritis (conditions

in which the body attacks its own joints, causing pain, swelling, and loss of function).

       233.    Leflunomide comes in the form of a tablet in strengths of 10 and 20 milligrams.

Teva’s ANDA to manufacture Leflunomide was approved in 2005.

       234.    As of April 2014, Teva’s main competitors in the market for Leflunomide were

Heritage and Apotex. Heritage was the dominant player, holding a 61% share.

       235.    Price increases on Leflunomide were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through

phone and text communications (as identified in ¶180), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶431; App. B).

For instance, in the months preceding the April 2014 price increases for Leflunomide,

representatives from Teva, Apotex and Heritage communicated via phone and text at least 37

times, and their corporate representatives, including defendant Oberman, met in person at

numerous industry events, including events held in February and April of 2014. These frequent

meetings and communications culminated in an agreement among competitors to fix prices and

restrain competition for Leflunomide.


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       236.    According to the October 2017 AG Complaint, “Malek was responsible for

communicating with Teva about Leflunomide price increases,” and he spoke with his contact at

Teva on April 15, 2014 for more than 17 minutes. During the call they discussed Heritage’s

intention to raise the price of Leflunomide and other drugs. The State AGs alleged that the

unnamed contact at Teva agreed that if Heritage did raise the price of Leflunomide, “Teva would

follow with its own price increase or, at least, would not challenge Heritage’s price increases by

seeking to underbid and take Heritage’s accounts.” Over the next several months, Malek and his

unnamed contact at Teva spoke several more times to confirm their agreement to raise prices, and

to provide updates regarding the Heritage price increases.

       237.    The State AGs further alleged upon information and belief, that Heritage and

Apotex also agreed to raise prices on Leflunomide.           Malek “confirmed the strategy” with

representatives at Apotex on a May 2, 2014 call that lasted more than 13 minutes, followed by

calls on May 6 and 7. On May 9, 2014, Heritage discussed internally the planned price increase

of Leflunomide, and in late June, began sending out Price Increase Notices to its customers. By

July 9, 2014, Heritage had raised prices for at least 15 different customers nationwide.

       238.    Despite Teva’s initial agreement to follow Heritage’s price increase, Teva began to

exit the market for Leflunomide in or around July 2014.

                              (6)     Nystatin

       239.    The State AGs’ investigation has indicated that price hikes in 2014 by Teva for

Nystatin Oral Tablets (“Nystatin”) were the result of collusion among market participants.

       240.    Nystatin is a medication used to fight fungal infections, also known by the brand

name Mycostatin®, among others.

       241.    Nystatin comes in the form of a tablet in a strength of 500,000 units. Teva’s ANDA

to manufacture Nystatin was approved in 1984.


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       242.    In 2013 and 2014, Teva’s two main competitors for Nystatin were Heritage and

Sun, through its division Mutual Pharmaceuticals (“Mutual”).

       243.    Price increases on Nystatin were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through

phone and text communications (as identified in ¶180), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶431; App. B).

For instance, in the months preceding the April 2014 price increases for Nystatin, representatives

from Teva, Heritage and Sun communicated via phone and text at least 34 times, and their

corporate representatives, including defendant Oberman, met in person at numerous industry

events, including events held in February and April of 2014. These frequent meetings and

communications culminated in an agreement among competitors to fix prices and restrain

competition for Nystatin.

       244.    Sun, through its division Mutual, had increased Nystatin prices on April 15, 2013.

In or about June 2013, Teva also began to consider raising its price of Nystatin.

       245.    According to the October 2017 AG Complaint, an unnamed Teva representative

began speaking to Heritage’s Malek soon thereafter, and on July 9, 2013, they spoke for more than

21 minutes. They spoke again on July 23, 2013 for nearly ten minutes, and twice on July 30, 2013

with the second of those two calls lasting more than 12 minutes. In the time between Malek’s two

July 30, 2013 calls with Teva’s representative, a Heritage employee also spoke to a Sun/Mutual

employee for nearly 11 minutes.

       246.    The State AGs also alleged that Heritage and Mutual/Sun were in close contact,

both before and after Mutual took the Nystatin price increase in April 2013. In fact, the day after

Mutual increased its price for Nystatin – April 16, 2013 – an unnamed Sun employee called an




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unnamed Heritage employee and they spoke for nearly 40 minutes, and they continued to

communicate regularly throughout the summer of 2013.

       247.    After these conversations with Teva and Mutual/Sun, Heritage also began

exploring a price increase for Nystatin. On August 20, 2013, Malek sent an email, with a copy to

Glazer, providing a list of four drugs, one of which was Nystatin.

       248.    On February 5, 2014, Malek spoke with a Teva representative for more than an

hour, and two days later Nystatin was identified as a candidate for price increases. Follow-up calls

ensued in February and March 2014, and by April 2014, Teva decided to increase prices for

Nystatin. Heritage planned to match Teva’s price increases.

       249.    In fact, as alleged by the State AGs, in April 2014 Malek and an unnamed Teva

official “agreed that Teva would take the lead on those increases.” In the ensuing months, Malek

and the Teva official spoke several times and Malek gave Teva detailed information “about when

Heritage would be increasing prices for those drugs.”

       250.    As alleged in the October 2017 AG Complaint, once Heritage had its agreement

with Teva in place, “Teva began implementing the price increases for Nystatin with an effective

date of April 4, 2014, doubling the WAC price from $47.06 to $100.30.”

       251.    Heritage allegedly followed suit. On May 9, 2014, Heritage employees held

another call regarding raising prices for Nystatin, and on June 23, 2014, discussed the specific

percentage amounts they would seek to increase certain drugs, and the strategies for doing so.

Nystatin was slated for a 95% increase. An unnamed Heritage employee noted that “Heritage had

to increase its WAC pricing for Nystatin, because Teva had.”

       252.    On June 25, 2014, Heritage held another call regarding the planned price increase

for Nystatin. Price Increase Notices were sent the next day, as agreed by Heritage and Teva, and




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by July 9, 2014, Heritage had successfully increased prices for at least 14 different customers

nationwide.

       253.    In addition to leading the price increases, the State AGs alleged that Teva also

refused to bid or challenge the Heritage price increases when requested by Heritage customers.

For example, on July 8, 2014, a large retail customer sent an email to a Teva representative

requesting a quote for Nystatin, given a price increase from its current supplier. The Teva

representative forwarded that email to Heritage, to which the Heritage employee “responded that

she was aware.”

       254.    Although Plaintiffs do not have the benefit of discovery at this stage, Plaintiffs’

investigation has uncovered nearly identical information confirming that Teva doubled the WAC

price in April 2014. Teva’s WAC price for Nystatin tablets increased 110% for a 100-count bottle,

from $47.76 to $100.03.

       255.    Moreover, this price increase occurred in concert with Teva’s competitors’

increases, which were remarkably similar in terms of scale and timing, and occurred in close

proximity to several industry gatherings. See Appendix D.

       256.    As detailed in §III.H.3, Teva generated an estimated $9 million from the second

quarter of 2014 through 2017 as a result of collusive increases in its prices for Nystatin:

$2.6 million in 2014, $2.7 million in 2015, $2.4 million in 2016, and $1.8 million in 2017. The

price hikes came at no additional expense to Teva. This increased revenue, therefore, went straight

to Teva’s bottom line.

                              (7)      Theophylline

       257.    The State AGs’ investigation indicates that price hikes in 2014 by Teva for its

generic Theophylline, manufactured through its wholly-owned subsidiary Pliva, were the result of

collusion among market participants.


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       258.   Theophylline, also known by the brand name Theo-Dur®, among others, is a

medication used to treat asthma and airway narrowing associated with long-term asthma or other

lung problems, such as chronic bronchitis and emphysema.

       259.   Teva manufactures Theophylline in tablet form, with strengths of 100, 200, 300 and

450 milligrams. Teva’s ANDAs to manufacture the 100, 200 and 300 milligram strengths of

Theophylline were approved in 1990, and the 450 milligram strength was approved in 1992.

       260.   In 2014, Teva’s primary competitor for Theophylline was Heritage.

       261.   Price increases on Theophylline were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through

phone and text communications (as identified in ¶180), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶431; App. B).

For instance, in the months preceding the April 2014 price increases for Theophylline,

representatives from Teva and Heritage communicated via phone and text at least 22 times, and

their corporate representatives, including defendant Oberman, met in person at numerous industry

events, including events held in February and April of 2014. These frequent meetings and

communications culminated in an agreement among competitors to fix prices and restrain

competition for Theophylline.

       262.   According to the October 2017 AG Complaint, Teva began to consider raising the

price of Theophylline in early 2014. On February 5, 2014, Malek spoke with a Teva representative

for more than an hour, and two days later Theophylline was identified as a candidate for price

increases. Follow-up calls ensued in February and March 2014.

       263.   As alleged by the State AGs, “[b]y April 2014, Teva had decided to increase prices

for Theophylline, and Heritage had planned to follow the price increases to match Teva.”




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       264.    In fact, as alleged by the State AGs, in April 2014 Malek and an unnamed Teva

official “agreed that Teva would take the lead on those increases.” In the ensuing months, Malek

and the Teva official spoke several times and Malek gave Teva detailed information “about when

Heritage would be increasing prices for those drugs.”

       265.    Effective April 4, 2014, Teva implemented price increases across the board for

Theophylline. During an April 22, 2014 Heritage meeting, “Malek specifically instructed the

Heritage sales team during that meeting that Heritage would be following the Teva price increase

on Theophylline.”

       266.    Shortly thereafter, on April 24, 2014, Teva received an email from a consumer of

Theophylline, which was forwarded to Teva’s Government Affairs Department and to the

individuals “who had directed and agreed to the price increases” in the conspiracy with Heritage.

       267.    In May and June 2014, Heritage continued to discuss internally its planned price

increase on Theophylline.     On June 23, 2014, Heritage employees discussed the specific

percentage amounts they would seek to increase the prices of certain drugs, and the strategies for

doing so. As alleged by the State AGs, Theophylline “was slated for a 150% increase.”

       268.    According to the October 2017 AG Complaint, on June 25, 2014, Malek also

“reported that Heritage would be sending out Price Increase Notices shortly for Theophylline and

several of the other drugs for which Heritage and Teva had agreed to raise prices.” The next day

Heritage began sending out Price Increase Notices to its customers. By July 9, 2014, Heritage had

followed Teva’s lead and raised prices for at least 20 different customers nationwide.

       269.    Although Plaintiffs do not have the benefit of discovery at this stage, Plaintiffs’

investigation has uncovered nearly identical information confirming that Teva increased the WAC

price of Theophylline in April 2014. Teva’s WAC price for Theophylline 300 milligram tablets

increased 82% for a 100-count bottle, from $30 to $54. Parallel price increases occurred in the


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100, 200 and 450 milligram tablets during April 2014, rising abruptly by 78%, 70% and 28%,

respectively.

       270.     Moreover, these price increases occurred in concert with Teva’s competitors’

increases which were remarkably similar in terms of scale and timing, and occurred in close

proximity to industry gatherings. See Appendix D.

       271.     As detailed in §III.H.3, Teva has generated an estimated $19.2 million from the

second quarter of 2014 through 2017 as a result of collusive increases in its prices for all strengths

of Theophylline: $8.1 million in 2014, $8.4 million in 2015, and $2.7 million in 2016-2017. The

price hikes came at no additional expense to Teva; this increased revenue, therefore, went straight

to Teva’s bottom line.

                               (8)     Verapamil

       272.     The State AGs’ investigation indicates that price hikes in early 2015 by Actavis for

its generic Verapamil was the result of collusion among market participants. The collusion and

collusive effect on overall sales continued after Teva’s acquisition of Actavis on August 2, 2016.

       273.     Verapamil, also known by various brand names, is a calcium channel blocker used

to treat hypertension, angina and certain heart rhythm disorders.

       274.     On October 29, 2013, Actavis hosted a conference call to discuss the Company’s

third quarter 2013 financial results. During this call, defendant Olafsson acknowledged that

“there’s [sic] opportunities to take pricing increases [in the U.S. generics market], and that is

what has changed since maybe 5 years ago when there wasn’t an opportunity.” A few months

later, Actavis participated in the Citi Global Healthcare Conference on February 25, 2014. At the

conference, Olafsson indicated that, despite increased pricing pressure, “when you are in this top

four range – Teva, Mylan, Actavis, and Sandoz – I think you can make this a win-win.”




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       275.    In April 2014, Actavis’s main competitors for Verapamil were Mylan and Heritage.

Together, over the past five full years, these entities were responsible for over 90% of the generic

Verapamil capsules sold in the United States.

       276.    Price increases on Verapamil were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through

phone and text communications (as identified in ¶180), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶431; App. B).

For instance, in the months preceding the March 2015 price increases for Verapamil,

representatives from Actavis communicated with Heritage on at least two occasions,

communicated frequently with Mylan, and their corporate representatives met in person at

numerous industry events, including events held from February 2014 through February 2015.

These frequent meetings and communications culminated in an agreement among competitors to

fix prices and restrain competition for Verapamil.

       277.    In phone calls that took place on April 22 and April 23, 2014, senior sales

executives at Actavis, Mylan and Heritage reached an agreement to raise prices for Verapamil.

       278.    On April 22, 2014, unnamed conspirators at Heritage and Actavis spoke for more

than nine minutes. The State AGs alleged, upon information and belief, that during that call

Heritage and Actavis reached an agreement to raise the price of Verapamil and another drug,

Glyburide-Metformin.

       279.    The message was conveyed internally to the sales and pricing team at Actavis that

Heritage was looking to take a price increase on Verapamil. Two different Senior Pricing

Managers at Actavis were involved. As alleged by the State AGs, “[t]he information spread

quickly throughout the sales and pricing teams at Actavis” and the potential price increases were

discussed in an internal email dated April 28, 2014.


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        280.    Just over a week later, on May 6, 2014, an Actavis employee, who had also received

the April 28, 2014 email discussed above, called a Mylan employee and left a message. That

Mylan employee returned the call on May 9, 2014 and the two spoke for just over three minutes.

They spoke again on May 19, 2014 for almost seven minutes, and continued to communicate

frequently over the next several months.

        281.    On May 8, 2014, Malek emailed the Heritage sales team asking them to confirm

which competitors they had each been able to obtain agreements from in order to move forward

with price increases discussed during the April 22, 2014 call.

        282.    On May 9, 2014, Heritage held another conference call, and Verapamil was again

on the list of drugs targeted for a price increase.

        283.    Although Heritage did not increase prices for Verapamil market wide in July 2014,

like it did for many other drugs, it did raise the price of Verapamil for at least one customer as part

of its price increase initiative.

        284.    As alleged by the State AGs, on August 20, 2014, text messages were exchanged

with an unnamed executive at Sun, which “described agreements that Heritage had reached with

Actavis to increase prices of both Glyburide/Metformin and Verapamil.”

        285.    Although Plaintiffs do not have the benefit of discovery at this stage, Plaintiffs’

investigation has uncovered information confirming that Actavis increased the WAC price of

Verapamil around March 2015. Teva’s WAC price for the highest strength Verapamil capsules

increased by 95% for a 100-count bottle, from $155 to $303. The unprecedented price increases

for Verapamil by the colluding manufacturers were highly correlated, meaning that there is a 99%

chance that the probability of “no correlation” can be rejected, and that a relationship exists.

        286.    As detailed in §III.H.3, Actavis and Teva have generated an estimated $84 million

from the first quarter of 2015 through 2017 as a result of collusive increases in prices for


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Verapamil, approximately $53 million of which was generated after Teva acquired Actavis in

August 2016: $15.8 million in 2016 and $37.4 million in 2017. The price hikes came at no

additional expense to Actavis or Teva; following the Actavis acquisition, this increased revenue,

therefore, went straight to Teva’s bottom line.

            287.    These eight examples of Teva reaching anticompetitive agreements are drawn just

from the limited subset of drugs manufactured by both Teva and Heritage, a relatively small player

in the industry. The State AGs have indicated that the AG Complaints’ common thread is Heritage,

and that they plan to bring separate complaints focused on companies other than Heritage. The

State AGs are investigating collusive conduct relating to nearly 200 additional drugs.

            H.      Plaintiffs’ Investigation Has Uncovered 17 Additional Drugs that
                    Were the Subject of Collusion

                    1.        Plaintiffs’ Research Has Identified Drugs with Large Collusive
                              Price Increases

            288.    Plaintiffs’ investigation to-date has revealed that the markets for numerous

additional drugs sold by Teva have indicia of large collusive price hikes by Teva, bringing the total

number of price-fixed drugs to twenty four.

            289.    These are examples that Plaintiffs have been able to uncover without the benefit of

discovery. Plaintiffs believe discovery will reveal numerous other drugs in which the market

participants colluded to fix prices, set market share, allocated customers, and rigged bids.

Specifically, these examples are:

   Additional Collusive       Teva   Actavis
          Drugs               Drug    Drug                                      Medical Indications
                                               Treats spasticity associated with multiple sclerosis, particularly for the relief of
 Baclofen                      X
                                               repeated flexor spasms and accompanying pain and muscular rigidity
 Carbamazepine (tablet and                     Treats epilepsy, trigeminal neuralgia, manic and mixed episodes of bipolar I disorder,
                               X
 chewable tablet forms)                        and attention deficit and hyperactivity disorder
 Cephalexin (oral                              Treats bacterial infections, including streptococcal pharyngitis, bone and joint
                               X
 suspension form)                              infections, pneumonia, cellulitis, and urinary tract infections
 Clobetasol (topical cream)            X       Reduces swelling, redness, and itching
 Desonide (topical lotion                      Treats redness, swelling, itching, and discomfort of skin conditions such as eczema,
                                       X
 and external cream)                           seborrheic dermatitis, contact dermatitis and psoriasis
 Diclofenac Potassium          X               Reduces pain, fever, and inflammation
                                               Treats infections caused by bacteria, such as pneumonia; infections of the skin, eye,
 Doxycycline                           X
                                               and the lymphatic, intestinal, genital, and urinary systems

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       Additional Collusive        Teva   Actavis                                    Medical Indications
               Drugs               Drug    Drug
    Enalapril Maleate                               Treats high blood pressure, heart and kidney disease
    Estradiol (tablet form)         X       X       A hormone replacement therapy for insufficient estrogen production
    Fluocinonide (cream,                            Reduces swelling, itching, and redness associated with conditions such as psoriasis,
                                    X
    ointment, and gel forms)                        eczema, dermatitis, and vitiligo.
    Glyburide (micronized)          X               Reduces blood glucose to improve glycemic control in adults with type 2 diabetes
    Ketoconazole (tablet and
                                    X               Treats fungal infections
    cream forms)
    Pravastatin Sodium              X               Reduces the risk of heart attack, stroke, and cardiovascular mortality
                                                    Treats high blood pressure, irregular heart rhythms, pheochromocytoma, and certain
    Propranolol (capsule)                   X       types of tremor, and hypertrophic subaortic stenosis; prevents angina and migraine
                                                    headaches; and improves survival after a heart attack
                                                    Treats high blood pressure, irregular heart rhythms, pheochromocytoma, and certain
    Propranolol (tablet)            X               types of tremor, and hypertrophic subaortic stenosis; prevents angina and migraine
                                                    headaches; and improves survival after a heart attack
    Tretinoin                               X       Treats acne
    Ursodiol                                X       Treats gallstone


             290.          For the Teva collusive drugs, Teva implemented extraordinary price increases, and

did so without the price hikes having any meaningful effect on Teva’s market share. In other

words, the market participants did not, as would be expected in a functioning, non-collusive

market, try to undercut each other’s prices to gain market share. The price hikes were in the

competitors’ self-interests only if they all agreed to act in tandem.

             291.          For the Actavis collusive drugs, Actavis and its competitors engaged in anti-

competitive conduct by colluding to improperly raise and maintain prices of the generic drugs.

The collusion and its effect on overall sales continued after Teva’s acquisition of Actavis on

August 2, 2016.

             292.          Plaintiffs’ investigation has found that there is no rational alternative explanation

for these price hikes other than collusion. There was no shortage of supply or unexpected increase

in demand.4 Moreover, as the graphs below depict (App. C), prices generally did not decrease

following the initial price increases to their pre-increase equilibrium price points as one would

expect if the sudden price increases reflected temporary supply shortages, cost increases, or other

benign market explanations.


4
    See FDA, Current and Resolved Shortages and Discontinuations Reported to FDA,
https://www.accessdata.fda.gov/scripts/drugshortages/default.cfm.

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significant number of units as well. Together, over the past five full years, these entities were

responsible for 99% (2013), 99% (2014), 97% (2015), 94% (2016) and 94% (2017) of the generic

Pravastatin sold in the United States.

       299.    In mid-2013, as Teva was experiencing a sharp downward trend in its U.S. generics

business, Teva and its competitors dramatically raised the list prices of their Pravastatin products.

Teva’s WAC increases, which took effect in August 2013, ranged from over 150% (for a 90-count

package of 20 milligram strength) to over 200% (for a 1,000-count package of 40 milligram

strength); Teva’s increases on the 80-milligram strength were somewhat smaller but still

significant, on the order of approximately 90%. By way of example, Teva’s list WAC for a 1,000-

count package of 10 milligram Pravastatin, previously $165, immediately increased to $482.

       300.    Price increases on Pravastatin were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through

phone and text communications (as identified in ¶180), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶431; App. B).

For instance, in the months preceding the August 2013 price increases for Pravastatin,

representatives from Teva, Apotex, Glenmark and Zydus communicated via phone and text at least

126 times, and corporate representatives from Teva, Apotex, Glenmark, Lupin and Zydus,

including defendant Oberman, met in person at industry events, including events held in February

and June of 2013. These frequent meetings and communications culminated in an agreement

among competitors to fix prices and restrain competition for Pravastatin. The competitors’

increases in the list prices of generic Pravastatin were remarkably similar in terms of scale and

timing, and occurred in close proximity to several industry gatherings. See ¶¶293, 431; App. B.

       301.    As detailed in §III.H.3, Teva generated an estimated $320 million from mid-2013

through the first quarter of 2016 as a result of collusive increases in its prices for Pravastatin:


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$120.5 million in 2013, $149.7 million in 2014, $47.9 million in 2015, and $1.5 million in 2016.

The price hikes came at no additional expense to Teva; this increased revenue, therefore, went

straight to Teva’s bottom line.

                        b.      Enalapril Maleate

          302.   In 2013 and 2014, Teva and its competitors engaged in anti-competitive conduct

by colluding to improperly raise and maintain the price of generic Enalapril Maleate (“Enalapril”).

          303.   Enalapril comes in the form of a tablet, with strengths of 2.5, 5, 10, and 20

milligrams. Teva’s ANDA to manufacture Enalapril tablets, in all four strengths, was approved

August 22, 2000.

          304.   During most of the Relevant Period, the primary competitors in the market for

generic Enalapril were Teva, Mylan, Taro, Legacy Pharmaceuticals International (“Legacy”), and

Wockhardt. Together, over the past five full years, these entities were responsible for 90% (2013),

100% (2014), 99% (2015), 91% (2016), and 88% (2017) of the generic Enalapril sold in the United

States.

          305.   In mid-2013, as Teva was experiencing a sharp downward trend in its U.S. generics

business, Teva and its primary competitors raised the list prices of their Enalapril products. Teva’s

WAC increases, which took effect around July 2013, ranged from over 260% (applied to all

package sizes of 10 milligram tablets) to over 340% (applied to all package sizes of 5 milligram

tablets). By way of example, Teva’s list WAC for a 1,000-count package of 20 milligram

Enalapril, previously around $50, immediately increased to over $230.

          306.   In 2014, Teva and its primary competitors instituted an even larger increase in the

list prices of their Enalapril products. Around August 2014, Teva instituted a 230% across-the-

board increase, over and above the increases implemented in 2013. Continuing to use the 1,000-




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count package of 20 milligram Enalapril as an example, Teva’s list WAC, around $50 just over

one year prior, now stood at $788, more than 13 times higher than it was.

       307.    Price increases on Enalapril were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through

phone and text communications (as identified in ¶180), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶431; App. B).

For instance, in the months preceding the July 2013 and August 2014 price increases for Enalapril,

representatives from Teva and Mylan communicated via phone and text at least 88 times, and

corporate representatives from Teva, Mylan, Taro and Wockhardt, including defendant Oberman,

met in person at numerous industry events, including events held in April and June of 2013 and

April through August of 2014. These frequent meetings and communications culminated in an

agreement among competitors to fix prices and restrain competition for Enalapril.                 The

competitors’ increases in the list prices of generic Enalapril were remarkably similar in terms of

scale and timing, and occurred in close proximity to several industry gatherings. See ¶¶293, 431;

App. B-C.

       308.    As detailed in §III.H.3, Teva has generated an estimated $105 million from mid-

2013 through 2017 as a result of collusive increases in its prices for Enalapril: $5.3 million in 2013,

$47.7 million in 2014, $44.1 million in 2015, $6.2 million in 2016, and $1.8 million in 2017. The

price hikes came at no additional expense to Teva; this increased revenue, therefore, went straight

to Teva’s bottom line.

                         c.    Cephalexin Oral Suspension

       309.    In 2014, Teva and its competitors engaged in anti-competitive conduct by colluding

to improperly raise and maintain the price of generic Cephalexin.




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       310.    Teva’s ANDA to manufacture 125 mg/5 mL and 250 mg/5 mL strength oral

suspension Cephalexin was approved February 13, 1987.

       311.    During the Relevant Period, the main competitors in the market for generic

Cephalexin were Teva and Lupin. Together, over the past five full years Teva and Lupin were

responsible for 94% (2013), 99% (2014), 96% (2015), 89% (2016) and 88% (2017) of the generic

Cephalexin oral suspension sold in the United States. Karalex Pharma, LLC also held a lesser

share of the market for Cephalexin, between 1% and 12% from 2013 to 2017.

       312.    In late 2013 and early 2014, respectively, Lupin and Teva – which already had

established identical pricing structures – made identical increases in their prices for Cephalexin

oral suspension. Teva’s April 2014 price increases ranged from 109% (for the stronger dose) to

165% (for the weaker dose). In dollar terms, a large package of the weaker strength configuration,

which previously listed for $13, now was priced at $35.

       313.    Price increases on Cephalexin were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through in-

person discussions conducted at meetings and industry events hosted by GPhA, HDMA and others

(as identified in ¶431; App. B). For instance, in the months preceding the April 2014 price

increases for Cephalexin, corporate representatives of Teva and Lupin, including defendant

Oberman, met in person at numerous industry events, including events held in October 2013 and

February 2014. These frequent meetings and communications culminated in an agreement among

competitors to fix prices and restrain competition for Cephalexin. The competitors’ increases in

the list prices of generic Cephalexin were remarkably similar in terms of scale and timing, and

occurred in close proximity to several industry gatherings. See ¶¶293, 431; App. B-C.

       314.    As detailed in §III.H.3, Teva has generated an estimated $35 million from the

second quarter of 2014 through 2017 as a result of collusive increases in its prices for Cephalexin


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oral suspension: $14 million in 2014, $11.5 million in 2015, $6.5 million in 2016, and $3.1 million

in 2017. The price hikes came at no additional expense to Teva; this increased revenue, therefore,

went straight to Teva’s bottom line.

                       d.     Ketoconazole Tablets and 2% Cream

       315.    In 2014, Teva and its competitors engaged in anti-competitive conduct by colluding

to improperly raise and maintain the price of generic Ketoconazole tablets and 2% cream.

       316.    Teva received the first ANDAs to sell generic Ketoconazole tablets (approved

June 15, 1999) and generic 2% Ketoconazole cream (approved April 25, 2000).

       317.    The markets for Ketoconazole tablets and 2% cream are highly concentrated with

all three major manufacturers being previously identified together in other drug price-fixing cases.

During the Relevant Period, the main competitors in the market for both tablets and 2% cream

were Teva and Taro; in each market, a third competitor – Mylan with respect to tablets and Fougera

Pharmaceuticals Inc. (“Fougera”), a part of Sandoz, with respect to 2% cream – held a smaller

portion of the market. In or around July 2015, Teva began exiting the market for Ketoconazole

2% cream. Together, over the past five full years, in the markets for both forms of the drug, the

top three competitors controlled the entire market.

       318.    In April 2014, Teva and Taro dramatically raised the price of Ketoconazole tablets

and 2% cream. Before that the price had been essentially flat for many years. Both competitors

instituted identical 110% price increases, to the same exact price points, across all package sizes

of the 2% cream; with respect to the tablet form, price increases were on the order of 250% for

Teva and 230% for Taro, again to identical price points. By way of example, a 100-count package

of tablets that had cost around $64, increased to $222, and a mid-size container of 2% cream,

previously $20, increased to $42.




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       319.    Price increases on Ketoconazole were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through

phone and text communications (as identified in ¶180), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶431; App. B).

For instance, in the months preceding the April 2014 price increases for Ketoconazole,

representatives from Teva, Mylan and Sandoz communicated via phone and text at least 103 times,

and corporate representatives at Teva, Fougera, Mylan, Sandoz and Taro, including defendant

Oberman, met in person at numerous industry events, including events held in February and April

of 2014. These frequent meetings and communications culminated in an agreement among

competitors to fix prices and restrain competition for Ketoconazole.            The Ketoconazole

competitors’ price increases occurred in close proximity to several industry gatherings, with

remarkable similarity in timing and scale. See ¶¶293, 431; App. B-C.

       320.    The price increase was maintained through at least July 2015, when Taro and

Fougera/Sandoz again raised their prices. Although Teva did not raise its WAC price at the time,

it soon exited the market altogether. The timing of Teva’s exit coincides approximately with the

FTC’s review of Teva’s purchase of Actavis.

       321.    As detailed in §III.H.3, Teva has generated an estimated $58 million from the

second quarter of 2014 through the third quarter of 2016 as a result of collusive increases in its

prices for Ketoconazole tablets and 2% cream: $26.5 million in 2014, $26.8 million in 2015,

$4.4 million in 2016, and $.2 million in 2017. The price hikes came at no additional expense to

Teva; this increased revenue, therefore, went straight to Teva’s bottom line.

                      e.      Baclofen Tablets

       322.    In 2014, Teva and its competitors engaged in anti-competitive conduct by colluding

to improperly raise and maintain the price of generic Baclofen tablets.


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        323.   Baclofen is almost always administered orally, in tablets containing either 10 or 20

milligrams of active ingredient; Teva manufactures tablets in both the 10 and 20 milligram

strengths under ANDAs, approved in 1988, that it acquired in its 2006 acquisition of Ivax Corp.

        324.   For July 2017, Baclofen was one of Teva’s top 50 generic drugs in the United States

market, both in terms of revenue and in terms of quantity of units manufactured.

        325.   During the Relevant Period, the main competitors in the market for generic

Baclofen tablets were Teva, Qualitest Pharmaceuticals Co. (“Qualitest”) (now part of Par), and

Upsher-Smith Laboratories (“Upsher-Smith”). Manufacturers that held a smaller share of the

market included Lannett and Northstar Rx LLC. Together, between 2013 and 2017 these entities

were responsible for 100% of the generic Baclofen tablets sold in the United States.

        326.   Around April 2014, Teva and Upsher-Smith increased their WAC list price, in

equal or nearly equal amounts. Teva increased its WAC prices for 100-unit packages of 10

milligram tablets by 359%, from $6.52 to $29.93, and for 20 milligram tablets by 430%, from

$9.32 to $49.40.

        327.   Price increases on Baclofen were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through

phone and text communications (as identified in ¶180), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶431; App. B).

For instance, in the months preceding the April 2014 price increases for Baclofen, representatives

from Teva, Lannett and Qualitest/Par communicated via phone and text at least 90 times, and

corporate representatives of Teva, Lannett, Qualitest/Par and Upsher-Smith, including defendant

Oberman, met in person at numerous industry events, including events held in February and April,

2014.   These frequent meetings and communications culminated in an agreement among

competitors to fix prices and restrain competition for Baclofen. The competitors’ increases in the


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list prices of generic Baclofen were remarkably similar in terms of scale and timing, and occurred

in close proximity to several industry gatherings. See ¶¶293, 431; App. B-C.

       328.    As detailed in §III.H.3, Teva has generated an estimated $163 million from the

second quarter of 2014 through 2017 as a result of collusive increases in its prices for Baclofen:

$56.1 million in 2014, $58.6 million in 2015, $38.3 million in 2016, and $10.1 million in 2017.

The price hikes came at no additional expense to Teva; this increased revenue, therefore, went

straight to Teva’s bottom line.

                       f.     0.05% Fluocinonide

       329.    In 2014, Teva and its competitors engaged in anti-competitive conduct by colluding

to improperly raise and maintain the price of generic .05% Fluocinonide cream, ointment, and gel.

For purposes of this Complaint, unless otherwise noted, references to “.05% Fluocinonide”

encompass the cream, ointment, and gel forms of .05%-strength generic Fluocinonide.

       330.    During the Relevant Period, Teva sold .05% Fluocinonide under ANDAs approved

in February 1989 (cream, gel) and December 1991 (ointment).

       331.    During the Relevant Period, the main competitors in the combined market for

generic .05% Fluocinonide were Teva and Taro. Actavis/Mayne, which manufactures only the

cream form of .05% Fluocinonide, had a lesser share of the market, and did not enter in any

material way until June 2014. Fougera/Sandoz held a small share of the Fluocinonide topical gel

market before exiting in mid-2014. Together, over the past several years, these entities were

responsible for 98% (2013), 99% (2014), 100% (2015), and 96% (2016) of the .05% Fluocinonide

sold in the United States.

       332.    Fluocinonide is among Teva’s top-50 generic drugs in terms of sales.

       333.    In mid-2014, Taro and Teva made massive, and identical, increases in WAC list

prices. Around June 2014, both manufacturers raised the average prices for Fluocinonide cream


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by 434% and ointment by 415%.            In July 2014, both manufacturers raised the price for

Fluocinonide gel by 255%. These price increases meant that a mid-sized package of .05%

Fluocinonide ointment, previously listed at $22, now listed for $113.

       334.    Price increases on Fluocinonide were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through

phone and text communications (as identified in ¶180), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶431; App. B).

For instance, in the months preceding the June and July 2014 price increases for Fluocinonide,

representatives from Teva, Actavis and Mayne communicated via phone and text at least 358

times, and corporate representatives from Teva, Actavis and Taro, including defendant Oberman,

met in person at numerous industry events, including events held from February through

June 2014. These frequent meetings and communications culminated in an agreement among

competitors to fix prices and restrain competition for Fluocinonide. The competitors’ increases in

the list prices of generic Fluocinonide were remarkably similar in terms of scale and timing, and

occurred in close proximity to several industry gatherings. See ¶¶293, 431; App. B-C.

       335.    As detailed at in §III.H.3, Teva has generated an estimated $168 million from mid-

2014 through 2017 as a result of collusive increases in its prices for the cream, gel and ointment

forms of .05% Fluocinonide: $41 million in 2014, $75.6 million in 2015, $38 million in 2016, and

$13.3 million in 2017. The price hikes came at no additional expense to Teva; this increased

revenue, therefore, went straight to Teva’s bottom line.

                       g.      Carbamazepine Tablets and Chewable Tablets

       336.    During 2014, Teva and its competitors engaged in anti-competitive conduct by

colluding to improperly raise and maintain the price of generic Carbamazepine tablets and

chewable tablets (cf. sustained release tablets).


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       337.      Teva manufactures 200 milligram Carbamazepine tablets under an ANDA

approved September 17, 1986, and 100 milligram chewable tablets under an ANDA approved

July 29, 1992.

       338.      During the Relevant Period, the main competitors in the market for generic

Carbamazepine tablets and chewable tablets were Teva and Taro. Torrent Pharmaceuticals Ltd.

(“Torrent”), Novartis and Apotex held smaller shares of the market (Novartis and Apotex did not

compete in the chewables market).       Together, over the past five years these entities were

responsible for 100% (2013), 99% (2014), 99% (2015), 100% (2016) and 99.5% (2017) of the

combined market for generic Carbamazepine tablets and chewable tablets sold in the United States.

       339.      Around August 2014, the five competitors in Carbamazepine tablets and three

competitors in chewable tablets all increased WAC list prices for Carbamazepine tablets and

chewable tablets. The competitors – whose price points generally varied prior to these increases

– all established largely identical pricing structures, with identical WACs for 100-count packages,

and only slight variations at larger package sizes. Teva’s new WAC for 1,000-count tablets was

$1276, which was nearly identical to Taro’s price increase. Teva’s new list price for the tablets

had been massively inflated by more than 1,500%. Teva’s increase for chewable tablets was also

significant: nearly 270%. The practical effect of these changes was enormous: for example, a 100-

count package of tablets, which Teva previously listed at $8, suddenly listed for $128, and with no

cheaper alternative on the market; similarly, a 100-count package of chewable tablets, formerly

listed by Teva for $14, now listed for $53, again with no cheaper alternative on the market.

       340.      Price increases on Carbamazepine were the result of collusive agreements to

increase pricing and restrain competition. These collusive agreements were furthered, in part,

through phone and text communications (as identified in ¶180), and in-person discussions

conducted at meetings and industry events hosted by GPhA, HDMA and others (as identified in


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¶431; App. B). For instance, in the months preceding the August 2014 price increases for

Carbamazepine, representatives from Teva and Apotex communicated via phone and text at least

7 times, and corporate representatives of Teva, Apotex and Taro, including defendant Oberman,

met in person at numerous industry events, including events held in February and June of 2014.

These frequent meetings and communications culminated in an agreement among competitors to

fix prices and restrain competition for Carbamazepine. The Carbamazepine competitors’ price

increases occurred in close proximity to several industry gatherings, with remarkable similarity in

timing and scale. See ¶¶293, 431; App. B-C.

       341.    Again, the market participants went into 2014 at different price points, but the new

WAC prices established in mid-2014 established largely identical pricing structures.

       342.    As detailed in §III.H.3, Teva has generated a combined estimated $217 million

from mid-2014 through 2017 as a result of collusive increases in its prices for Carbamazepine

tablets and chewable tablets: $38 million in 2014, $81.3 million in 2015, $56.9 million in 2016,

and $40.6 million in 2017. The price hikes came at no additional expense to Teva; this increased

revenue, therefore, went straight to Teva’s bottom line.

                       h.     Estradiol Tablets

       343.    In 2015, Teva and Actavis engaged in anti-competitive conduct by colluding to

improperly raise and maintain the price of generic Estradiol tablets.

       344.    Teva sells .5, 1, and 2 milligram tablets of Estradiol under an ANDA approved

October 22, 1997, the rights to which Teva acquired via its 2008 acquisition of Barr Laboratories.

Estradiol is among Teva’s top-20 generic drugs in terms of sales.

       345.    From 2013 through 2017, Teva dominated the market for Estradiol with annual

market shares ranging from 74% to 85%. As of early 2015, Teva’s largest competitor in the

Estradiol market was Actavis, which held approximately 10% of the market until Teva and Actavis


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merged in August 2016. Teva and Actavis together were responsible for 96% of units sold in 2014

and 95% in 2015. In 2016, Teva and Actavis, now combined, controlled 87% of the market.

Before 2013, Mylan was a significant competitor, but its market share dropped significantly in

July 2013, before increasing in 2016 and 2017.

       346.   Prior to the Estradiol price increases, Actavis hosted a conference call on

October 29, 2013 to discuss the company’s third quarter 2013 financial results. During this call,

defendant Olafsson acknowledged that “there’s [sic] opportunities to take pricing increases [in

the U.S. generics market], and that is what has changed since maybe 5 years ago when there

wasn’t an opportunity.” A few months later, Actavis participated in the Citi Global Healthcare

Conference on February 25, 2014. At the conference, Olafsson indicated that, despite increased

pricing pressure, “when you are in this top four range – Teva, Mylan, Actavis, and Sandoz – I

think you can make this a win-win.”

       347.   In early 2015, Teva and Actavis dramatically raised the list WAC of Estradiol

tablets. In February 2015, Teva raised prices by 90% across the board. Thus, for example, a 500-

count package of 1 milligram tablets, previously listed at $81, now was listed at $154. In

May 2015, a few months later, Actavis matched Teva’s pricing structure to the penny. See ¶293;

App. C.

       348.   Price increases on Estradiol were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through

phone and text communications (as identified in ¶180), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶431; App. B).

For instance, in the months preceding the February and May 2015 price increases for Estradiol,

corporate representatives from Teva, Actavis and Mylan communicated via phone and text at least

422 times and met in person at numerous industry events, including events held in November and


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December of 2014, and in February and April of 2015. Defendant Olafsson attended the annual

GPhA meeting in February 2013 while President of Actavis. Concurrent with the February 2015

price spike, defendant Olafsson attended the annual GPhA meeting while President of Teva. These

frequent meetings and communications culminated in an agreement among competitors to fix

prices and restrain competition for Estradiol.

        349.   As detailed in §III.H.3, Teva has generated an estimated $71.4 million from early

2015 through 2017 as a result of collusive increases in its prices for Estradiol: $27.3 million in

2015, $19.5 million in 2016, and $24.6 million in 2017. Additionally, Actavis generated an

estimated $7 million in collusive profit from mid-2015 through mid-2017 ($1.2 million of which

was generated post-acquisition). Actavis’s collusive profits were a fact that Teva was aware of

when it announced it would acquire Actavis in July 2015. These price hikes came at no additional

expense to Teva or Actavis; this increased revenue, therefore, went straight to Teva’s bottom line.

                       i.     Clobetasol Propionate Topical Cream

        350.   In 2015, Actavis and its competitors engaged in anti-competitive conduct by

colluding to improperly raise and maintain the price of generic Clobetasol Propionate

(“Clobetasol”).   The collusion and collusive effect on overall sales continued after Teva’s

acquisition of Actavis on August 2, 2016.

        351.   Clobetasol comes in the form of a topical cream, lotion, spray and topical solution.

The topical cream form comes in a strength of 0.05%. Teva’s ANDA for generic Clobetasol

topical cream, also known under the brand name Temovate®, was approved in 1994.

        352.   Clobetasol is among Teva’s top-40 generic drugs, both in terms of revenues and

units sold.

        353.   During the Relevant Period, both before and after Teva’s acquisition of Actavis,

Actavis’s main competitors in the market for generic Clobetasol were Akorn, Inc./Hi-Tech


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Pharmacal Co., Inc., Taro, and Fougera/Sandoz. Together, over the past five full years these

entities were responsible for 100% of the generic Clobetasol topical cream sold in the United

States.

          354.   Prior to the Clobetasol price increases, Actavis hosted a conference call on

October 29, 2013 to discuss the company’s third quarter 2013 financial results. During this call,

defendant Olafsson acknowledged that “there’s [sic] opportunities to take pricing increases [in

the U.S. generics market], and that is what has changed since maybe 5 years ago when there

wasn’t an opportunity.” A few months later, Actavis participated in the Citi Global Healthcare

Conference on February 25, 2014. At the conference, Olafsson indicated that, despite increased

pricing pressure, “when you are in this top four range – Teva, Mylan, Actavis, and Sandoz – I

think you can make this a win-win.”

          355.   In early-2015, Actavis and its competitors dramatically raised the list price of

Clobetasol topical cream. Actavis’s WAC increase, which took effect around February 2015, was

587%. By way of example, Actavis’s list WAC for a large tube of Clobetasol, previously $58,

immediately increased to $400.

          356.   Price increases on Clobetasol were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through

phone and text communications (as identified in ¶180), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶431; App. B).

For instance, in the months preceding the February 2015 price increases for Clobetasol, corporate

representatives from Actavis, Akorn, Fougera, Hi-Tech, Taro and Sandoz met in person at

numerous industry events, including events held from February 2013 through February 2015.

These frequent meetings and communications culminated in an agreement among competitors to

fix prices and restrain competition for Clobetasol. The competitors’ increases in the list prices of


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generic Clobetasol were remarkably similar in terms of scale and timing, and occurred in close

proximity to several industry gatherings. See ¶¶293, 431; App. B-C.

       357.    As detailed in §III.H.3, Teva and Actavis generated an estimated $93.1 million

from 2015 through 2017 as a result of collusive increases in prices for Clobetasol, approximately

$33 million of which was generated after Teva acquired Actavis in August 2016: $19.8 million in

2016, and $12.9 million in 2017. The price hikes came at no additional expense to Actavis or

Teva; following the Actavis acquisition, this increased revenue, therefore, went straight to Teva’s

bottom line.

                       j.     Diclofenac Potassium Tablets

       358.    In 2013, Teva and its competitors engaged in anti-competitive conduct by colluding

to improperly raise and maintain the price of generic Diclofenac Potassium (“Diclofenac”) tablets.

       359.    Diclofenac is the most widely prescribed NSAID worldwide, with more than

10 million Diclofenac drug product prescriptions dispensed in the United States in 2012.

       360.    Teva manufactures Diclofenac in the form of a tablet, with a strength of 50

milligrams available in quantities of 100 or 500. Teva’s ANDAs to manufacture Diclofenac were

approved in 1998.

       361.    During the Relevant Period, the main competitors in the market for generic

Diclofenac were Teva, Mylan and Sandoz. Together, over a five year time span (2013-2017) these

entities were responsible for 100% of the generic Diclofenac tablets sold in the United States.

       362.    In mid-2013, as Teva was experiencing a sharp downward trend in its U.S. generics

business, Teva and its competitors dramatically raised the list prices of their Diclofenac products.

Teva’s WAC increase, which took effect around August 2013, increased 22%. By way of

example, Teva’s list WAC for a 100-count bottle of 50 milligram Diclofenac, previously $57.07,

immediately increased to $69.72. A second WAC price hike, of an additional 50%, occurred


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around August 2014. A 100-count bottle of 50 milligram Diclofenac, previously $69.72, increased

again to $104.58.

       363.    Price increases on Diclofenac were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through

phone and text communications (as identified in ¶180), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶431; App. B).

For instance, in the months preceding the August 2013 and August 2014 price increases for

Diclofenac, representatives from Teva, Mylan and Sandoz communicated via phone and text at

least 112 times, and their corporate representatives, including defendant Oberman, met in person

at numerous industry events, including events held in August 2013 and August 2014. These

frequent meetings and communications culminated in an agreement among competitors to fix

prices and restrain competition for Diclofenac. The competitors’ increases in the list prices of

generic Diclofenac were remarkably similar in terms of scale and timing, and occurred in close

proximity to several industry gatherings. See ¶¶293, 431; App. B-C.

       364.    As detailed in §III.H.3, Teva generated an estimated $12.8 million from mid-2013

through the second quarter of 2017 as a result of collusive increases in its prices for Diclofenac:

$0.4 million in 2013, $3.0 million in 2014, $5.9 million in 2015, $3.05 million in 2016, and

$0.5 million in 2017. The price hikes came at no additional expense to Teva; this increased

revenue, therefore, went straight to Teva’s bottom line.

                      k.      Glyburide Micronized

       365.    In 2015, Teva and its competitors engaged in anti-competitive conduct by colluding

to improperly raise and maintain the price of the generic micronized form of Glyburide

(“Glyburide Micronized”).




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       366.    Teva’s first ANDA for generic Glyburide Micronized was approved in 1999.

Glyburide Micronized comes in the form of a tablet, with strengths of 1.5, 3 and 6 milligrams.

       367.    During the Relevant Period, the main competitors in the market for generic

Glyburide Micronized were Teva, West-Ward Inc. and Mylan. Manufacturers with lesser shares

of the market included Dava Pharma. Together, from 2013 to 2017, these entities were responsible

for 99% of the generic Glyburide Micronized sold in the United States.

       368.    Around August 2015, Teva and its competitors reduced the discounts offered to

wholesalers, thereby increasing their net prices on Glyburide Micronized. The effect on prices by

reducing these discounts can be seen in the following chart:




       369.    Price increases on Glyburide Micronized were the result of collusive agreements to

increase pricing and restrain competition. These collusive agreements were furthered, in part,

through phone and text communications (as identified in ¶180), and in-person discussions

conducted at meetings and industry events hosted by GPhA, HDMA and others (as identified in

¶431; App. B). For instance, in the months preceding the August 2015 price increases for

Glyburide Micronized, representatives from Teva and Mylan communicated via phone and text at

least 88 times, and corporate representatives from Teva, Mylan and West-Ward, including

defendant Olafsson, met in person at numerous industry events, including events held from

February through August of 2015. These frequent meetings and communications culminated in
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an agreement among competitors to fix prices and restrain competition for Glyburide Micronized.

The competitors’ increases in the list prices of generic Glyburide Micronized were remarkably

similar in terms of scale and timing, and occurred in close proximity to several industry gatherings.

See ¶¶293, 431; App. B-C.

         370.   As detailed in §III.H.3, Teva generated an estimated $0.5 million from mid-2015

through 2017 as a result of collusive increases in its prices for Glyburide Micronized: $.2 million

in 2015, $.3 million in 2016, and $.1 million in 2017. The price hikes came at no additional

expense to Teva; this increased revenue, therefore, went straight to Teva’s bottom line.

                       l.      Propranolol Tablets

         371.   In 2015, Teva and its competitors engaged in anti-competitive conduct by colluding

to improperly raise and maintain the price of generic Propranolol tablets (“Propranolol Tablets”).

         372.   Teva’s main competitors in the market for generic Propranolol Tablets were

Actavis, Mylan and Heritage. Between early to mid-2015, Teva and its competitors dramatically

raised the list prices of their Propranolol Tablets. Teva’s WAC increase, which took effect around

January 2015, was over 630%.

         373.   Price increases on Propranolol Tablets were the result of collusive agreements to

increase pricing and restrain competition. These collusive agreements were furthered, in part,

through phone and text communications (as identified in ¶180), and in-person discussions

conducted at meetings and industry events hosted by NACDS, IGPA, GPhA and others (as

identified in ¶431; App. B). For instance, in the months preceding the January 2015 price increase,

corporate representatives from Actavis, Mylan and Heritage met in person at numerous industry

events, including events held between October and December of 2014. In November 2014,

defendant Oberman attended the IGPA annual conference with counterparts from Actavis and

Mylan.      In December 2014, defendant Cavanaugh attended the NACDS dinner with


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representatives from Actavis and Mylan.          These frequent meetings and communications

culminated in an agreement among competitors to fix prices and restrain competition for

Propranolol Tablets. The competitors’ increases in the list prices of generic Propranolol Tablets

were remarkably similar in terms of scale and timing, and occurred in close proximity to several

industry gatherings. See ¶¶293, 431; App. B-C.

          374.   As detailed in §III.H.3, Teva generated an estimated $98 million from 2015 through

2017 as a result of collusive increases in prices for Propranolol Tablets: approximately $41 million

in 2015, $47 million in 2016, and $11 million in 2017. The price hikes came at no additional

expense to Teva and went straight to Teva’s bottom line.

                        m.     Desonide Topical Lotion and External Cream

          375.   In 2013, Actavis and its competitors engaged in anti-competitive conduct by

colluding to improperly raise and maintain the price of generic Desonide Topical Lotion and

External Cream (“Desonide”). The collusion and its effect on overall sales continued after Teva’s

acquisition of Actavis on August 2, 2016.

          376.   Actavis marketed generic Desonide under an ANDA approved in 1992.

          377.   During the Relevant Period, both before and after Teva’s acquisition of Actavis,

Actavis’s main competitors in the market for generic Desonide were Taro and Fougera/Sandoz.

Together, over the past five full years these entities were responsible for 100% (2013), 100%

(2014), 99% (2015), 99% (2016) and 100% (2017) of the generic Desonide sold in the United

States.

          378.   In 2013, Actavis and its competitors dramatically raised the list prices of their

Desonide products. Actavis’s WAC increase, which took effect around August 2013, was 96%.

By way of example, Actavis’s list WAC for a 2-ounce bottle of Desonide Topical Lotion,

previously $3.45, immediately increased to $6.77. This followed an approximately eight-fold


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increase by Actavis’s competitors for Desonide External Cream in March 2013, from

approximately $0.50 per ounce to $4.25 per ounce. Instead of competing on price, Actavis entered

the collusive arrangement in August 2013 by setting its price at elevated levels exactly in line with

competitors, as depicted in the following chart:




       379.    After the Desonide price increases, Actavis hosted a conference call on October 29,

2013 to discuss the company’s third quarter 2013 financial results. During this call, defendant

Olafsson acknowledged that “there’s [sic] opportunities to take pricing increases [in the U.S.

generics market], and that is what has changed since maybe 5 years ago when there wasn’t an

opportunity.” A few months later, Actavis participated in the Citi Global Healthcare Conference

on February 25, 2014. At the conference, Olafsson indicated that, despite increased pricing

pressure, “when you are in this top four range – Teva, Mylan, Actavis, and Sandoz – I think you

can make this a win-win.”

       380.    Price increases on Desonide were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through

phone and text communications (as identified in ¶180), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶431; App. B).

For instance, in the months preceding the August 2013 price increases for Desonide, corporate

representatives from Actavis, Taro and Sandoz met in person at numerous industry events,
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including events held in February and June of 2013. Mere months before the price spike, defendant

Olafsson attended the annual GPhA meeting in February 2013 while President of Actavis. These

frequent meetings and communications culminated in an agreement among competitors to fix

prices and restrain competition for Desonide. The competitors’ increases in the list prices of

generic Desonide were remarkably similar in terms of scale and timing, and occurred in close

proximity to several industry gatherings. See ¶¶293, 431; App. B-C.

       381.    As detailed in §III.H.3, Teva and Actavis generated an estimated $60 million from

mid-2013 through 2017 as a result of collusive increases in prices for Desonide topical lotion and

external cream, approximately $6.3 million of which was generated after Teva acquired Actavis

in August 2016: $4 million in 2016 and $2.3 million in 2017. The price hikes came at no additional

expense to Actavis or Teva; following the Actavis acquisition, this increased revenue, therefore,

went straight to Teva’s bottom line.

                      n.      Doxycycline Hyclate Capsules

       382.    In 2013, Actavis and its competitors engaged in anti-competitive conduct by

colluding to improperly raise and maintain the price of generic Doxycycline Hyclate Capsules

(“Doxycycline”). Doxycycline was also implicated in the investigations conducted by the DOJ

and the State AGs. The collusion and the collusive effect on overall sales continued after Teva’s

acquisition of Actavis on August 2, 2016.

       383.    Actavis’s first ANDA for generic Doxycycline was approved in 1982. Actavis

manufactures Doxycycline in the form of a capsule, with strengths of 50 and 100 milligrams.

       384.    Following the acquisition of Actavis, Doxycycline became one of Teva’s top-50

generic drugs, both in terms of revenues and units sold.

       385.    During the Relevant Period, both before and after Teva’s acquisition, Actavis’s

main competitors in the market for generic Doxycycline were Sun and West-Ward Inc. Other


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competitors entered the market in 2014, but held a lesser share of the market, including Citron and

Mylan. Together, from 2013 to 2016, these entities were responsible for 100% (2013), 100%

(2014), 97% (2015), and 89% (2016) of the generic Doxycycline sold in the United States. Even

as new competitors entered the market in 2017, the entities above maintained control of 59% of

the market.

       386.    In early 2013, Actavis and its competitors dramatically raised the list prices of their

Doxycycline products. Actavis’s WAC increases, which took effect around February 2013, ranged

for the 50 and 100 milligram strengths from 1,711% (for the 50 milligram strength) to 2,558% (for

the 100 milligram strength). By way of example, Actavis’s list WAC for a 500-count bottle of

100 milligram Doxycycline capsules, previously $49.58, immediately increased to $1,317.89.

       387.    After the Doxycycline price increases, Actavis hosted a conference call on

October 29, 2013 to discuss the company’s third quarter 2013 financial results. During this call,

defendant Olafsson acknowledged that “there’s [sic] opportunities to take pricing increases [in

the U.S. generics market], and that is what has changed since maybe 5 years ago when there

wasn’t an opportunity.” A few months later, Actavis participated in the Citi Global Healthcare

Conference on February 25, 2014. At the conference, Olafsson indicated that, despite increased

pricing pressure, “when you are in this top four range – Teva, Mylan, Actavis, and Sandoz – I

think you can make this a win-win.”

       388.    Price increases on Doxycycline were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through in-

person discussions conducted at meetings and industry events hosted by GPhA, HDMA and others

(as identified in ¶431; App. B). For instance, in the months preceding the February 2013 price

increases for Doxycycline, corporate representatives from Actavis, Mylan, and Sun met in person

at industry events, including events held in October 2012 and February 2013. Concurrent with the


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price spike, defendant Olafsson attended the annual GPhA meeting in February 2013 while

President of Actavis. These frequent meetings and communications culminated in an agreement

among competitors to fix prices and restrain competition for Doxycycline. The competitors’

increases in the list prices of generic Doxycycline were remarkably similar in terms of scale and

timing, and occurred in close proximity to several industry gatherings. See ¶¶293, 431; App. B-

C.

       389.    As detailed in §III.H.3, Actavis and Teva generated an estimated $581 million from

2013 through 2017 as a result of collusive increases in prices for Doxycycline, approximately

$24 million of which was generated after Teva acquired Actavis in August 2016: $17.5 million in

2106 and $6.3 million in 2017. The price hikes came at no additional expense to either Actavis or

Teva; following the Actavis acquisition, this increased revenue, therefore, went straight to Teva’s

bottom line.

                      o.      Propranolol Hydrochloride

       390.    In 2014, Actavis and its competitors engaged in anti-competitive conduct by

colluding to improperly raise and maintain the price of generic Propranolol Hydrochloride

(“Propranolol”). The collusion and collusive effect on overall sales continued after Teva’s

acquisition of Actavis on August 2, 2016.

       391.    Actavis’s first ANDA for generic Propranolol extended release was approved in

2007. Propranolol extended release capsules come in strengths of 60, 80, 120, and 160 milligrams.

       392.    During the Relevant Period, both before and after Teva’s acquisition, Actavis’s

main competitors in the market for generic Propranolol extended release capsules were

Breckenridge and Ani/Rouses. Manufacturers with lesser shares of the market included Upsher-

Smith and Mylan. Together, from 2013 to 2017 these entities were responsible for 100% of the

generic Propranolol extended release capsules sold in the United States.


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       393.    Following the acquisition of Actavis, Propranolol became one of Teva’s top-50

generic drugs in terms of sales.

       394.    In early 2014, Actavis and its competitors dramatically raised the list prices of their

Propranolol extended release capsules. Actavis’s WAC increase, which took effect around

January 2014, was 91% across the board for all four strengths. By way of example, Actavis’s list

WAC for a 100-count package of 160 milligram Propranolol, previously $167, immediately

increased to $319.

       395.    Shortly after the Propranolol price increases, Actavis hosted a conference call on

October 29, 2013 to discuss the company’s third quarter 2013 financial results. During this call,

defendant Olafsson acknowledged that “there’s [sic] opportunities to take pricing increases [in

the U.S. generics market], and that is what has changed since maybe 5 years ago when there

wasn’t an opportunity.” A few months later, Actavis participated in the Citi Global Healthcare

Conference on February 25, 2014. At the conference, Olafsson indicated that, despite increased

pricing pressure, “when you are in this top four range – Teva, Mylan, Actavis, and Sandoz – I

think you can make this a win-win.”

       396.    Price increases on Propranolol were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through

phone and text communications (as identified in ¶180), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶431; App. B).

For instance, in the months preceding the January 2014 price increases for Propranolol, corporate

representatives from Actavis, Breckenridge, Mylan and Upsher-Smith met in person at numerous

industry events, including events held in October and December of 2013. Months before the price

spike, defendant Olafsson attended the annual GPhA meeting in February 2013 while President of

Actavis. These frequent meetings and communications culminated in an agreement among


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competitors to fix prices and restrain competition for Propranolol. The competitors’ increases in

the list prices of generic Propranolol extended release capsules were remarkably similar in terms

of scale and timing, and occurred in close proximity to several industry gatherings. See ¶¶293,

431; App. B-C.

          397.   As detailed in §III.H.3, Actavis and Teva generated an estimated $92 million from

2014 through 2017 as a result of collusive increases in prices for Propranolol, approximately

$6.5 million of which was generated after Teva acquired Actavis in August 2016: $5.5 million in

2016 and $.9 million in 2017. The price hikes came at no additional expense to either Actavis or

Teva; following the Actavis acquisition, this increased revenue, therefore, went straight to Teva’s

bottom line.

                        p.      Tretinoin External Cream

          398.   In 2014, Actavis and its competitors engaged in anti-competitive conduct by

colluding to improperly raise and maintain the price of generic Tretinoin External Cream

(“Tretinoin”).    The collusion and collusive effect on overall sales continued after Teva’s

acquisition of Actavis on August 2, 2016.

          399.   Actavis marketed generic Tretinoin under an NDA approved in 1997. Tretinoin

comes in a strength of 0.025%, in 20 or 45 gram tubes.

          400.   During the Relevant Period, both before and after Teva’s acquisition, Actavis’s

main competitors in the market for generic Tretinoin were Perrigo, Perrigo/Rouses and Spear

Derm Prod. Manufacturers, with a lesser share of the market going to Valeant. Together, from

2013 to 2017 these entities were responsible for 100% of the generic Tretinoin sold in the United

States.

          401.   In early 2014, Actavis and its competitors dramatically raised the list prices of their

Tretinoin products. Actavis’s WAC increase, which took effect around April 2014, was 218%.


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By way of example, Actavis’s list WAC for a small tube of Tretinoin, previously $23, immediately

increased to $73.

       402.    Price increases on Tretinoin were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through in-

person discussions conducted at meetings and industry events hosted by GPhA, HDMA and others

(as identified in ¶431; App. B). For instance, in the months preceding the April 2014 price

increases for Tretinoin, corporate representatives from Actavis and Perrigo met in person at

numerous industry events, including events held in October 2013 and February 2014. Months

before the price spike, defendant Olafsson attended the annual GPhA meeting in February 2013

while President of Actavis. These frequent meetings and communications culminated in an

agreement among competitors to fix prices and restrain competition for Tretinoin.               The

competitors’ increases in the list prices of generic Tretinoin were remarkably similar in terms of

scale and timing, and occurred in close proximity to several industry gatherings. See ¶¶293, 431;

App. B-C.

       403.    As detailed in §III.H.3, Teva generated $28 million of Collusive Profit from

Tretinoin after acquiringed Actavis in August 2016. The price hikes came at no additional expense

to either Actavis or Teva; following the Actavis acquisition, this increased revenue, therefore, went

straight to Teva’s bottom line.

                       q.      Ursodiol Capsules

       404.    In 2014, Actavis and its competitors engaged in anti-competitive conduct by

colluding to improperly raise and maintain the price of generic Ursodiol Capsules (“Ursodiol”).

The collusion and collusive effect on overall sales continued after Teva’s acquisition of Actavis

on August 2, 2016.




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       405.    Actavis marketed generic Ursodiol under an NDA approved in 1987. Ursodiol

comes in capsules with a strength of 300 milligrams.

       406.    Following the acquisition of Actavis, Ursodiol became one of Teva’s top-30

generic drugs, in terms of sales.

       407.    During the Relevant Period, both before and after Teva’s acquisition, Actavis’s

main competitors in the market for generic Ursodiol were Lannett and Epic Pharma LLC.

Together, over the past five full years these entities were responsible for 96% (2013), 98% (2014),

98% (2015), 96% (2016) and 94% (2017) of the generic Ursodiol sold in the United States.

       408.    In mid-2014, Actavis and its competitors dramatically raised the list prices of their

Ursodiol products. Actavis’s WAC increase, which took effect around May 2014, was 562%. By

way of example, Actavis’s list WAC for a 100-count bottle of Ursodiol, previously $77,

immediately increased to $511.

       409.    Shortly before the Ursodiol price increases, Actavis hosted a conference call on

October 29, 2013 to discuss the company’s third quarter 2013 financial results. During this call,

defendant Olafsson acknowledged that “there’s [sic] opportunities to take pricing increases [in

the U.S. generics market], and that is what has changed since maybe 5 years ago when there

wasn’t an opportunity.” A few months later, Actavis participated in the Citi Global Healthcare

Conference on February 25, 2014. At the conference, Olafsson indicated that, despite increased

pricing pressure, “when you are in this top four range – Teva, Mylan, Actavis, and Sandoz – I

think you can make this a win-win.”

       410.    Price increases on Ursodiol were the result of collusive agreements to increase

pricing and restrain competition. These collusive agreements were furthered, in part, through

phone and text communications (as identified in ¶180), and in-person discussions conducted at

meetings and industry events hosted by GPhA, HDMA and others (as identified in ¶431; App. B).


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For instance, in the months preceding the May 2014 price increases for Ursodiol, corporate

representatives from Actavis, Lannett and Epic met in person at numerous industry events,

including events held in October 2013 and February 2014.            These frequent meetings and

communications culminated in an agreement among competitors to fix prices and restrain

competition for Ursodiol. The competitors’ increases in the list prices of generic Ursodiol were

remarkably similar in terms of scale and timing, and occurred in close proximity to several industry

gatherings. See ¶¶293, 431; App. B-C.

       411.    As detailed in §III.H.3, Teva generated approximately $46.8 million of Collusive

Profit from Ursodiol after acquiring Actavis in August 2016. The price hikes came at no additional

expense to either Actavis or Teva; following the Actavis acquisition, this increased revenue,

therefore, went straight to Teva’s bottom line.

               2.      The Structure of the Markets for the Twenty Five Alleged
                       Drugs Facilitated Teva’s Collusion

       412.    The markets for the 25 drugs that are the subject of the State AGs ongoing

investigation and Plaintiffs’ investigation were highly conducive to price fixing. Characteristics

that facilitated collusion include: (i) a high level of market concentration, (ii) near perfectly

inelastic demand, (iii) the commoditized-nature of generic drugs, (iv) significant barriers to entry,

and (v) the ease of information sharing.

                       a.      High Level of Market Concentration

       413.    The Herfindahl-Hirschman Index (“HHI”) is a widely accepted market

concentration measurement and is used by antitrust enforcement agencies, such as the FTC and

the DOJ, for assessing market competitiveness. An HHI score of 0 is indicative of perfect

competition and an HHI score of 10,000 is indicative of a monopoly. The DOJ and FTC’s

Horizontal Merger Guidelines classify a market as unconcentrated when HHI is below 1,500,



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moderately concentrated when HHI is between 1,500 and 2,500, and highly concentrated when

HHI exceeds 2,500.

       414.     The HHI score is calculated by squaring the market share of each firm competing

in the market and then summing the resulting numbers. For example, in a market consisting of

three companies with market shares of 10%, 40% and 50%, the HHI is 4,200 (100 + 1,600 + 2,500).

       415.     As indicated in the chart below, HHI scores for the drugs that have so far been

implicated in the State AGs’ investigation and by Plaintiffs’ investigation well exceeded 1,500,

with most exceeding 2,500, and were thus all considered moderately to highly concentrated.
              Teva & Actavis's Generic Drugs HHI               2013   2014   2015   2016   2017
              Acetazolamide SR Capsules HHI                    3555   3204   3428   4381   4438
              Baclofen Tablets HHI                             3521   3679   3653   3108   2275
              Carbamazepine Tablets HHI                        3775   3683   3127   2572   2627
              Cephalexin Oral Suspension HHI                   4328   4969   4614   4115   4002
              Clobetasol External Cream HHI                    4333   4286   3371   2693   2771
              Desonide Topical Lotion HHI                      8738   5551   4006   3513   3574
              Diclofenac Potassium Tablets HHI                 3998   3689   3517   3622   3842
              Doxycycline Hyclate Capsules HHI                 2550   2495   2047   2064   1823
              Enalapril Tablets HHI                            2888   2795   2446   2407   2276
              Estradiol Tablets HHI                            5137   6416   6756   6390   6463
              Fluocinonide External Ointment HHI               4572   4796   5977   5228   3908
              Glipizide Metformin Tablet HHI                   2668   4609   3550   3731   3481
              Glyburide Metformin HCL Tablets HHI              4945   5111   5104   3738   4333
              Glyburide Micronized Tablets HHI                 4208   5227   5612   4838   4399
              Glyburide Tablet HHI                             5007   5382   6065   5838   5730
              Ketoconazole Cream HHI                           4092   3698   3169   2985   3353
              Leflunomide Tablet HHI                           5284   4757   2284   2494   2618
              Nystatin Tablet HHI                              3378   4499   3835   4075   3973
              Pravastatin Sodium Tablets HHI                   3318   2419   2280   2177   2065
              Propranolol HCL Sustained Release Capsules HHI   3726   4446   3569   3372   4016
              Theophylline Anhydrous SR Tablets 100MG HHI      9738   9595   9537   9256   8843
              Theophylline Anhydrous SR Tablets 200MG HHI      9958   9897   9862   9631   9302
              Theophylline Anhydrous SR Tablets 300MG HHI      7320   6675   5381   6183   9711
              Theophylline Anhydrous SR Tablets 450MG HHI      6842   6594   5553   7174   9907
              Tretinoin External Cream HHI                     4284   3977   3912   3770   3109
              Ursodiol Capsules HHI                            5494   3579   3257   3061   2965
              Verapamil SR Capsules HHI                        3602   3652   3886   3994   4200


       416.     During the Relevant Period each of the 25 combined drugs were in highly

concentrated markets with only a handful of competitors. A highly concentrated market is

vulnerable to coordinated activities because fewer firms are involved in the negotiation, collusive

profits are high for each firm, and the cartel tends to be stable with the absence of cheating.

                         b.      Inelastic Demand

       417.     Elasticity of demand (“Ed”) is measured by the change in quantity of goods sold

relative to the change in price. When Ed is zero, demand is perfectly inelastic as there is no change

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respective branded version. In addition, the FDA’s Orange Book shows that Teva’s versions are

therapeutically equivalent to other manufacturers’ generic versions of the same drugs. As stated

in its Orange Book, the “FDA believes that products classified as therapeutically equivalent can

be substituted with the full expectation that the substituted product will produce the same clinical

effect and safety profile as the prescribed product.” As such, pharmacists are able to substitute

one manufacturer’s version of a drug for another.

       420.    For commodity-like products such as these, all of the manufacturers must raise

prices for the collusion to be viable. Price hikes by Teva without the co-conspirators’ agreement

to join the heightened price levels would enable competitors to take market share away by simply

setting prices below Teva’s price point. Thus, the coordinated massive price hikes could only be

sustainable with the cooperation of and agreement among the co-conspirators.

                       d.     No Viable Substitute

       421.    The lack of a viable substitute encourages cartel behavior because consumers

cannot replace the product with a cheaper alternative after significant price hikes. For example:

              Carbamazepine, Cephalexin and Enalapril are listed prominently on the World
               Health Organization’s “essential medicine” list and are considered crucial to the
               priority health care needs of the population.

              Baclofen is one of two recognized first-line treatments for spasticity induced by
               multiple sclerosis, according to the United Kingdom National Institute of Health
               and Care Excellence. Patients who cannot tolerate gabapentin – the alternative
               first-line treatment – or those for whom gabapentin proves ineffective have little to
               no viable choice.

              Estradiol alternatives – synthetic estrogens and conjugated equine estrogens – have
               disproportionate effects on synthesis of proteins in the liver, which in turn creates
               a considerably higher risk of cardiovascular side effects relative to the risks of
               Estradiol.

              Fluocinonide .05% is a prominent high potency (Group II) corticosteroids and is
               one of “the mainstay[s] of therapy for psoriasis.” Jonathan D. Ference, PharmD.
               and Allen R. Last, M.D., Choosing Topical Corticosteroids, 79 American Family
               Physician 2, at 135 (Jan. 15, 2009).


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              Pravastatin is critical to the health of patients with high cholesterol and is
               considered a medical necessity that must be purchased at whatever the cost.
               Pravastatin is unique among statins for its relatively low level of binding to blood
               plasma proteins, which is an important consideration for patients whose other
               medications require binding to plasma proteins in order to be effective, such as the
               widely used blood thinner warfarin.

              Propranolol’s creation is considered to be one of the most important contributions
               to clinical medicine and pharmacology of the 20th century. The drug was invented
               in the 1960s by James Black.

              Ursodiol is the principal non-invasive non-surgical medical treatment for
               cholesterol gallstones. Ursodiol is usually taken two or three times a day to treat
               gallstones, and must be taken for months, or even years, to have an effect. Up to
               50% of patients who dissolve their stones on bile acid therapy have a recurrence of
               stones within five years. Gallstone disease is one of the most common and costly
               of all digestive diseases when factoring in the cost of surgeries and hospital
               admissions.

       422.    In addition to the fact that few or no effective substitutes exist for patients on many

of the collusive drugs, various barriers in the medical field also serve to promote the resistance to

prescription changes.        These barriers include doctors’ reluctance to change well-known

prescriptions, insurance and Medicare’s absorption of most of the price shock, lags in co-payment

tiering changes, and the restriction on Medicare from negotiating drug prices with pharmaceutical

companies.

       423.    The lack of a viable substitute enabled the collusive price fixing to be sustained

over an extended period.

                        e.      Barriers to Entry

       424.    Collusion is more effective in markets with high barriers to entry because new

competitors cannot easily enter the market and undercut the agreed-upon price.

       425.    A competitor attempting to enter the generic drug market faces the barrier of both

time and costs. The generic drug approval process created a significant barrier to entry in the

markets for each of the 25 combined drugs alleged above. An ANDA approval by the FDA takes



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an average of 36 months. Upon approval, the manufacturing facility is subject to regulatory

oversight and compliance expenses.

       426.    A high barrier to entry to the markets for each of the 25 drugs enabled the collusive

price fixing to be sustained over an extended period.

                       f.     Information Sharing

       427.    Information sharing is important in a conspiracy to enable the cartel to come to an

agreement and monitor pricing decisions and compliance.

       428.    Teva and its co-conspirators were in constant contact prior to the collusive price

hikes through industry conferences and trade association meetings. The State AGs stated that

“[t]hese trade shows and customer conferences provide generic drug manufacturers, including but

not limited to the Defendants, with ample opportunity to meet, discuss, devise and implement a

host of anticompetitive schemes that unreasonably restrain competition in the United States’

market for generic drugs.” As such, the DOJ is scrutinizing “trade associations as part of their

investigation as having been one potential avenue for facilitating the collusion between salespeople

at different generic producers.”

       429.    According to the GPhA’s website, GPhA is “the nation’s leading trade association

for manufacturers and distributors of generic prescription drugs, manufacturers of bulk active

pharmaceutical chemicals, and suppliers of other goods and services to the generic industry.” The

GPhA provides a forum for frequent in-person meetings and opportunities to collude.

       430.    In addition, Teva has always occupied a leadership role at the GPhA. Executives

from Teva and its co-conspirators served on the GPhA Board of Directors, including: Oberman,

President and CEO of Teva Generics (2014); Debra Barrett, Teva SVP of Government and Public

Affairs (2012-2013, 2015-2016); Glazer, President and CEO of Heritage (2013- 2016); Jeff




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Watson, President of Apotex (2013-2014, 2015-2017); and Joseph Renner President and CEO of

Zydus (2013-2017).

       431.     In addition to the GPhA, Teva also belonged to numerous additional trade

organizations and attended numerous trade shows with its competitors over the Relevant Period.

Teva and other drug manufacturers had opportunities to meet and collude at association meetings

hosted by: NACDS, HDMA (now the Healthcare Distribution Alliance), and ECRM:

         Meeting / Conference          Location                              Corporate Attendees
      GPhA 2012 Technical        Bethesda North           Teva:
       Conference                Marriott Hotel &           Debbie Jaskot, Vice President, US Generic Regulatory
      October 1-3, 2012          Conference Center,           Affairs & North American Policy
                                 Bethesda, MD               Jonathan Kafer, VP Sales & Marketing
                                                          Other Corporate Attendees:
                                                            Actavis           Heritage            Sun
                                                            Akorn              Impax              Taro
                                                            Apotex             Lannett            UDL (Mylan
                                                            Aurobindo          Lupin                Institutional)
                                                            Breckenridge       Mylan              Upsher-Smith
                                                            Dr. Reddy’s        Par                Wockhardt
                                                            Fougera            Perrigo            Zydus
                                                            Glenmark           Sandoz
      GPhA 2013 Annual Meeting   JW Marriott Orlando      Teva:
      February 20-22, 2013       Grande Lakes,              Allan Oberman, President & CEO
                                 Orlando, FL              Actavis
                                                            Sigurdur Olafsson, President
                                                          Other Corporate Attendees:
                                                            Akorn              Heritage           Sandoz
                                                            Apotex             Impax              Taro
                                                            Aurobindo          Lupin              Teligent (IGI
                                                            Breckenridge       Mylan                Laboratories)
                                                            Dr. Reddy’s        Par                Wockhardt
                                                            Glenmark           Perrigo            Zydus
      2013 NACDS Annual          Palm Beach, FL           Teva:
      Meeting                                               Jeremy Levin, President and CEO
      April 20-23, 2013                                     Allan Oberman, President and CEO of Teva Americas
                                                              Generics
                                                            Maureen Cavanaugh, Sr. VP and Chief Operating
                                                              Officer of North America Generics
                                                            Teri Coward, Sr. Director Sales and Trade Relations
                                                            Michael Sine, Director, Corporate Account Group
                                                            Jonathan Kafer, Executive VP, Sales and Marketing
                                                            David Marshall, VP of Operations
                                                            Dave Rekenthaler, VP of Sales
                                                          Other Corporate Attendees:
                                                            Actavis               Par
                                                            Mylan                 Upsher-Smith
      GPhA 2013 CMC Conference   Bethesda North           Teva
      June 4-5, 2013             Marriott Hotel &         Other Corporate Attendees:
                                 Conference Center,         Actavis            Hi-Tech            Sandoz
                                 Bethesda, MD               Apotex             Impax              Sun
                                                           Breckenridge        Lannett            Taro
                                                            Dr. Reddy’s        Morton Grove       UDL (Mylan
                                                            Fougera            Mylan               Institutional)
                                                            Glenmark           Par                Upsher-Smith
                                                            Heritage           Perrigo            Zydus
      2013 NACDS Total Store     Sands Expo               Teva:
      Expo                       Convention Center,         Theresa Coward, Senior Director of Sales
      August 10-13, 2013         Las Vegas, NV              David Rekenthaler, Vice President, Sales
                                                            Maureen Cavanaugh, Senior Vice President and Chief
                                                              Operating Officer N.A. Generics
                                                            Kevin Galowina, Head of Marketing Operations
                                                            Jessica Peters, Manager of Corporate Accounts
                                                            Allan Oberman, President and CEO Teva Americas
                                                              Generics
                                                          Other Corporate Attendees:
                                                            Actavis            Heritage           Par
                                                            Breckenridge       Mylan              Upsher-Smith


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   Meeting / Conference            Location                              Corporate Attendees
GPhA 2013 Fall Technical     Bethesda North           Teva
 Conference                  Marriot Hotel &          Other Corporate Attendees:
October 28-30, 2013          Conference Center,         Actavis            Hi-Tech             Taro
                             Bethesda, MD               Akorn              Impax               Teligent (IGI
                                                        Apotex             Lannett              Laboratories)
                                                        Aurobindo          Lupin               UDL (Mylan
                                                        Breckenridge       Mylan                 Institutional)
                                                        Dr. Reddy’s        Par                 Upsher-Smith
                                                        Fougera            Perrigo             Wockhardt
                                                        Glenmark           Sandoz              Zydus
                                                        Heritage           Sun
2013 NACDS NYC Week          New York City            Teva:
  Annual Foundation Dinner                               Theresa Coward, Senior Director of Sales
December 3, 2013                                         David Rekenthaler, Vice President, Sales
                                                         Maureen Cavanaugh, Senior Vice President and Chief
                                                          Operating Officer N.A. Generics
                                                      Other Corporate Attendees:
                                                        Actavis            Mylan               Upsher-Smith
GPhA 2014 Annual Meeting     JW Marriott Orlando      Teva:
February 19-21, 2014         Grande Lakes,               Allan Oberman, President & CEO
                             Orlando, FL              Other Corporate Attendees:
                                                        Actavis            Hi-Tech             Sun
                                                        Apotex             Impax               Taro
                                                        Aurobindo          Lupin               Teligent (IGI
                                                        Breckenridge       Mylan                Laboratories)
                                                        Dr. Reddy’s        Par                 Upsher-Smith
                                                        Epic               Perrigo             Wockhardt
                                                        Heritage           Sandoz              Zydus
2014 NACDS Annual            The Phoenician           Teva:
Meeting                      Resort, Scottsdale,         Theresa Coward, Senior Director of Sales
April 26–29, 2014            Arizona                     David Rekenthaler, Vice President, Sales
                                                         Maureen Cavanaugh, Senior Vice President and Chief
                                                          Operating Officer N.A. Generics
                                                         Allan Oberman, President and CEO Teva Americas
                                                          Generics
                                                      Other Corporate Attendees:
                                                        Actavis            Heritage            Par
                                                        Breckenridge       Mylan               Upsher-Smith
2014 MMCAP National          Bloomington, MN          Teva:
  Member Conference                                      Nick Gerebi, National Account Manager
May 12-15, 2014                                       Other Corporate Attendees:
                                                        Actavis            Heritage            Upsher-Smith
                                                        Breckenridge       Mylan
2014 HDMA Business and       JW Marriott Desert       Actavis              Mylan               Upsher-Smith
  Leadership Conference      Ridge, Phoenix, AZ
June 1-4 2014
GPhA 2014 CMC Conference     Bethesda North           Teva:
June 3-4, 2014               Marriot Hotel &            Scott Tomsky, Generic Regulatory Affairs, North America
                             Conference Center,         Siva Vaithiyalingam, Director, Regulatory Affairs
                             Bethesda, MD             Other Corporate Attendees:
                                                        Actavis            Impax              Sandoz
                                                        Apotex             Lannett            Sun
                                                        Dr. Reddy’s        Lupin              Taro
                                                        Fougera            Morton Grove       Teligent (IGI
                                                        Glenmark           Mylan               Laboratories)
                                                        Heritage           Par                Upsher-Smith
                                                        Hi-Tech            Perrigo            Zydus
2014 NACDS Total Store       Boston Convention        Teva:
Expo                         Center, Boston, MA         David Rekenthaler, Vice President, Sales
August 23-26, 2014                                      Maureen Cavanaugh, Senior Vice President and Chief
                                                          Operating Officer N.A. Generics
                                                        Kevin Galowina, Head of Marketing Operations
                                                        Jessica Peters, Manager of Corporate Accounts
                                                        Nisha Patel, Director of National Accounts
                                                      Other Corporate Attendees:
                                                        Actavis            Heritage           Par
                                                        Breckenridge       Mylan              Upsher-Smith
2014 HCSCA LogiPharma        Princeton, NJ            Teva
  Supply Chain Conference                             Other Corporate Attendee:
September 16-18, 2014                                   Actavis




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   Meeting / Conference            Location                                 Corporate Attendees
GPhA 2014 Fall Technical     Bethesda North             Teva:
 Conference                  Marriot Hotel &              Scott Tomsky, Generic Regulatory Affairs, North America
October 27-29, 2014          Conference Center,         Other Corporate Attendees:
                             Bethesda, MD                 Actavis             Impax              Teligent (IGI
                                                          Apotex              Lannett              Laboratories)
                                                          Aurobindo           Lupin              Upsher-Smith
                                                          Breckenridge        Mylan              UDL (Mylan
                                                          Citron              Par                 Institutional)
                                                          Dr. Reddy’s         Perrigo            West-Ward
                                                          Fougera             Sandoz             Wockhardt
                                                          Glenmark            Sun                Zydus
                                                          Heritage            Taro
2014 IGPA Annual             Ritz-Carlton, Key          Teva:
Conference                   Biscayne, Miami, FL          Allan Oberman, President & CEO, Teva Americas
November 19-21, 2014                                        Generics
                                                          Yehudah Livneh, Ph.D., Vice President, Global Public
                                                            Policy, Asia and EMIA
                                                        Other Corporate Attendees:
                                                          Actavis             Dr. Reddy's        Sandoz
                                                          Apotex              Mylan
2014 NACDS NYC Week          New York City              Teva:
  Annual Foundation Dinner                                Theresa Coward, Senior Director of Sales
December 3, 2014                                          David Rekenthaler, Vice President, Sales
                                                          Maureen Cavanaugh, Senior Vice President and Chief
                                                            Operating Officer N.A. Generics
                                                          Jessica Peters, Director National Accounts
                                                        Other Corporate Attendees:
                                                          Actavis             Mylan
GPhA 2015 Annual Meeting     Fontainebleau Miami        Teva:
February 9-11, 2015          Beach, Miami, FL             Sigurdur Olafsson, President & Chief Executive Officer,
                                                            Global Generic Medicines Group
                                                          Brian Rubenstein, Executive Counsel
                                                        Other Corporate Attendees:
                                                          Actavis             Heritage           Taro
                                                          Akorn               Impax              Teligent (IGI
                                                          Apotex              Lupin             Laboratories)
                                                          Aurobindo           Mylan              Upsher-Smith
                                                          Breckenridge        Par                West-Ward
                                                          Dr. Reddy’s         Perrigo            Wockhardt
                                                          Epic                Sandoz             Zydus
                                                          Glenmark
2015 HCSCA National          Tampa, FL                  Teva:
  Pharmacy Forum                                          Nick Gerebi, Director of National Accounts
February 16-18, 2015                                      Jeff McClard, Sr. Director of National Accounts
                                                          Cam Bivens, Director of National Accounts
                                                          Brad Bradford, Director of National Accounts
                                                        Other Corporate Attendees:
                                                          Actavis             Breckenridge       Mylan
2015 NACDS Annual            The Breakers Resort,       Teva
Meeting                      Palm Beach, FL             Other Corporate Attendees:
April 25-28, 2015                                         Actavis             Mylan              Upsher-Smith
                                                          Breckenridge        Par
2015 HDMA Business &         JW Marriott San            Teva:
  Leadership Conference      Antonio Hill Country,        Christine Bader, Vice President, Commercial Operations
June 7-10, 2015              San Antonio, TX              Brad Bradford, Director National Accounts
                                                          Theresa (Teri) Coward, Senior Director of National Sales
                                                          Christopher (Chris) Doerr, Senior Director, Trade
                                                            Operations
                                                          Cassie Dunrud, Associate Director
                                                          Nick Gerebi, Director National Accounts
                                                          Jeff Herberholt, Senior Manager, Regional Accounts
                                                          Jeff McClard, Senior Director National Accounts
                                                          Jason Nagel, Associate Director, Trade Relations
                                                          Michelle Osmian, Director, Customer Operations
                                                          Nisha Patel, Director, National Accounts
                                                          Jessica Peters, Director, National Accounts
                                                        Other Corporate Attendees:
                                                          Actavis             Heritage           Sandoz
                                                          Apotex              Impax              Sun
                                                          Aurobindo           Lannett            Upsher-Smith
                                                          Breckenridge        Lupin              Wockhardt
                                                          Citron              Mylan              Zydus
                                                          Dr. Reddy’s         Par




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          Meeting / Conference          Location                              Corporate Attendees
       GPhA 2015 CMC Conference   Bethesda North           Teva:
       June 9-10, 2015            Marriot Hotel &            Scott Tomsky, Generic Regulatory Affairs, North America
                                  Conference Center,         Siva Vaithiyalingam, Director, Regulatory Affairs
                                  Bethesda, MD             Other Corporate Attendees:
                                                             Actavis            Impax              Sun
                                                             Apotex             Lannett            Taro
                                                             Citron             Lupin              UDL (Mylan
                                                             Dr. Reddy’s        Mylan               Institutional)
                                                             Fougera            Par                Upsher-Smith
                                                             Glenmark           Perrigo            West-Ward
                                                             Heritage           Sandoz             Wockhardt
                                                                                                     Zydus
       2015 NACDS Total Store     Colorado Convention      Teva
       Expo                       Center, Denver, CO       Other Corporate Attendees:
       August 22-25, 2015                                    Actavis            Heritage           Par
                                                             Breckenridge       Mylan              Upsher-Smith


        432.     Often within weeks after these industry meetings took place, Teva and its

competitors implemented unprecedented massive price hikes in lock-step. See¶¶293, 431; App.

B-C.

        433.     Besides in-person meetings, pricing and market information were communicated

through investor conference calls.

        434.     In addition to issuing directives through investor calls, pricing and market

information was shared through subscription-based databases. The availability of market-sensitive

information facilitates the coordination and collusion between manufacturers. Teva and other

manufacturers have the ability to share pricing, market share, quantities and sales information on

a weekly basis through subscription-based data providers such as Symphony Health Solutions,

IMS, and First Data Bank

                 3.        Teva Increased Revenues by Approximately $1.48 Billion
                           Through Collusion on the Eight Drugs Identified by the State
                           AGs and the Seventeen Additional Drugs Uncovered by
                           Plaintiffs

        435.     Teva does not publicly disclose its revenues on sales of the specific generic drugs

described above. Despite this, Plaintiffs, through their investigation and analysis, have estimated

the revenues that Teva derived from the collusive increase of the prices of certain drugs identified

through Plaintiffs’ investigation and by the State AGs as the subject of collusion, enumerated




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above. Plaintiffs derived this estimated revenue using subscription-based data and publicly

available information.

       436.    In examining the revenues generated by the collusion for each drug, Plaintiffs

examined: (i) the relationship between price and quantity; (ii) the relationship between price and

cost of manufacturing; (iii) the prior price trends and volatility of price in the relevant drug;

(iv) expected inflation/deflation; and (v) prices over the entire prescription market to calculate

average prices. Plaintiffs applied a reasonable proxy for rebates and discounts provided to public

purchasers based on publicly available Medicare rebates, as that information is not publicly

disclosed.

       437.    Plaintiffs estimate that just for the drugs described above in §III.G, H.1, Teva

generated approximately $1.48 billion in total revenue from the collusion. This is a small sample

given that Teva generated revenue from hundreds of generic drugs at the time. This also does not

include any revenue from other drugs with price hikes that were the result of collusion, or the

revenues generated by other anticompetitive activities such as collusive price fixing, price

maintenance, customer allocation, or market allocation.

       438.    Given the breadth of the conspiracy, Teva also undoubtedly made additional price

hikes, or agreed with its co-conspirators to allocate markets or decline to compete on price in other

markets, thereby generating additional illicit revenues that contributed to Teva’s reported 2013

fourth quarter success in U.S. generics. Thus, Plaintiffs’ estimate for just the drugs listed below

vastly understates the true impact of Teva’s collusion in the generic drugs market.

       439.    2013. Plaintiffs, looking only to the drugs described above, estimate that in 2013

Teva generated approximately $126 million in revenue attributable to improper collusion with its




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goodwill for their U.S. generics reporting unit by at least $8.0 billion or 52% of Teva’s

$15.5 billion goodwill amount reported as of September 30, 2017. Defendants accomplished this

scheme by using bogus inputs for the discounted cash flow (“DCF”) model used to calculate the

fair value and goodwill of Teva’s U.S. generics unit. By inflating goodwill, Defendants avoided

recording impairment charges necessary to properly account for the true value of the reporting

unit. More specifically, Defendants, in violation of generally accepted accounting principles

(“GAAP”),6 used inflated future cash flow projections, abnormally low discount rates, and

abnormally high terminal growth rates to improperly inflate goodwill. Teva’s disclosures

regarding its goodwill valuations and testing was also false and misleading in the 2016 Form 20-

F, filed on February 15, 2017 (see §III.J.4).

        444.      Teva reported goodwill impairment and goodwill balances as of the end of

December 31, 2016, March 31, 2017, June 30, 2017, September 30, 2017 and December 31, 2017

as shown in the following chart:

                 Teva's Reported Goodwill Impairment and Goodwill Amounts as of the End of Each Quarter
                                                 (in millions of dollars)
                                                                                     Quarters
                                                              31‐Dec‐16 31‐Mar‐17     30‐Jun‐17    30‐Sep‐17   31‐Dec‐17
Goodwill Impairment Recognized By Teva                      $       ‐     $   ‐    $     (6,100) $      ‐    $   (10,400)
Goodwill Amount Reported By Teva                            $ 23,100 $ 23,100 $         15,500 $     15,500 $      5,500


As described herein, Teva’s goodwill and corresponding goodwill impairment charges were

materially false and misleading for each quarter from the fourth quarter of 2016 through the third




6
    GAAP are the principles recognized by the accounting profession as the conventions, rules,
and procedures necessary to define accepted accounting practice at a particular time. SEC
Regulation SX, 17 C.F.R. §210.4-01(a)(1), states that financial statements filed with the SEC that
are not prepared in compliance with GAAP are presumed to be misleading and inaccurate, despite
footnotes and other disclosure. Regulation S-X requires that interim financial statements must also
comply with GAAP, with the exception that interim financial statements need not include
disclosures that would be duplicative of disclosures accompanying annual disclosures, pursuant to
17 C.F.R. §210.10-01(a).

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quarter of 2017. Teva ultimately took a late catch-up impairment charge of $10.4 billion in the

fourth quarter of 2017.

                      a.      Teva’s Discounted Cash Flow Models (“DCF”) Were
                              Inflated

       445.    In the 4Q2016 Form 20-F filed on February 15, 2017, Teva assured investors that

only the Rimsa reporting unit’s goodwill was impaired (by $900 million) and stated that “[t]here

was no impairment for our remaining reporting units [including the U.S. generics reporting unit].”

But Defendants’ DCF model for the fourth quarter of 2016 was inflated because Defendants

applied improper inputs to Defendants’ DCF model. Defendants, in violation of GAAP, used

inflated projected cash flows, applied an abnormally low discount rate and applied an abnormally

high terminal growth rate that they knew market participants would not use to value the reporting

unit. Therefore, the goodwill for the U.S. generics reporting unit was also inflated by at least

$7.6 billion or 33% of Teva’s reported $23.1 billion goodwill as of the fourth quarter of 2016.

       446.    One of the critical inputs for goodwill impairment testing is the projected future

cash flow and the implicit compounded annual growth rate (“CAGR”). For Defendants’ fourth

quarter 2016 goodwill impairment test, Teva’s DCF model effectively applied an aggressive,

biased CAGR of 20%. But in Teva’s own July 2015 plan, Defendants used a “Pro Forma Free

Cash Flow” CAGR of 14.4% and Defendants themselves characterized the expected 14.4% cash

flow CAGR as representing “[s]trong free cash flow.”7 Defendants had no credible basis to

arbitrarily boost their expected 14.4% CAGR to 20%, an increase of 39% in the CAGR in the

fourth quarter of 2016. And in July 2016, Teva used a CAGR of 11% for their projected cash

flows (see ¶§III.F). Defendants had no basis to increase the cash flow CAGR to 20% just five

months later as of December 31, 2016. Therefore, the maximum CAGR that Defendants should



7
    See Teva, Current Report (Form 6-K), Enhancing Teva’s Growth Profile (July 27, 2015).

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have applied for their fourth quarter 2016 DCF model was their own 14.4% CAGR that was

disclosed to investors, and that Defendants themselves used to support the existence of Teva’s

original $23.1 billion goodwill for the U.S. generics reporting unit when Teva acquired Actavis in

2016.

        447.   In the 1Q2017 Form 6-K filed on May 11, 2017, Teva assured investors of its

continuous monitoring of “events or changes in circumstances that may impact the valuation of

our goodwill” and concluded that nothing affected its conclusion that the fair value estimates were

greater than the carrying amounts of the goodwill. In fact, not only did Teva fail to recognize any

impairment of its overvalued goodwill, it actually increased the amount of goodwill relating to its

Actavis acquisition and its generics segment. Teva increased the goodwill of its generics segment

by $590 million from $32.863 billion to $33.453 billion as of March 31, 2017. Since Teva’s

goodwill was still impaired at the first quarter of 2017, the reported goodwill was overstated by at

least $7.6 billion or 33% of Teva’s reported $23.1 billion goodwill as of the first quarter of 2017.

        448.   In the 2Q2017 Form 6-K filed on August 3, 2017, Defendants reported “a goodwill

impairment charge of $6.1 billion related to its U.S. generics reporting unit.” Defendants however,

knew that GAAP required a much larger goodwill impairment charge of at least $8.9 billion –

$2.8 billion more than they recorded for the second quarter of 2017. In their DCF model for the

second quarter of 2017, Defendants again purposefully inflated the fair value of the U.S. generics

reporting unit by applying an abnormally low discount rate and an abnormally high terminal

growth rate that they knew market participants would not use to value the reporting unit.

        449.   For the second quarter of 2017, Defendants stated in their November 2, 2017

3Q2017 Form 6-K that Teva applied the following expected future cash flow assumptions:

        Teva expects revenue and operating profits to continue to decline in the next two
        years, as its ability to successfully launch new generic products is not expected to
        offset or exceed the price and volume erosion for its existing portfolio prior to 2020,


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       following which time, in 2020 and 2021, Teva expects to return to moderate
       growth.

Defendants’ however, applied an effective CAGR of 7.4% for the second quarter of 2017 which

did not comport with a “cash flow decline in the next two years,” followed by a “return to moderate

growth.” A 7.4% cash flow CAGR is mathematically equivalent to a small decline in the first two

years, followed by consecutive 16.6% increases in cash flows for future years 2020 and 2021.

Defendants’ effective 16.6% CAGR for future years 2020 and 2021 does not comport with

“moderate growth” since Defendants themselves have characterized a 14.4% CAGR as “strong

free cash flow” growth.

       450.    Furthermore, Defendants have also admitted in the 3Q2017 Form 6-K to

       certain developments in the U.S. market [during the second quarter of 2017], which
       negatively impacted Teva’s outlook for its U.S. generics business [including the
       following]: (i) additional pricing pressure in the U.S. market as a result of customer
       consolidation into larger buying groups to extract further price reductions;
       (ii) accelerated FDA approval of additional generic versions of off-patent
       medicines, resulting in increased competition for these products; and (iii) delays in
       new launches of certain of Teva’s generic products.

Nonetheless, to give Defendants the benefit of the doubt, Plaintiffs have made no changes to

Defendants’ aggressive, biased 7.4% implicit cash flow CAGR assumption for the second quarter

of 2017. And even though such an aggressive, biased assumption cuts against Teva’s own

recognized $6.1 billion goodwill impairment at the second quarter of 2017, which was greatly

understated, Plaintiffs’ analysis assumes no adjustments to Defendants’ cash flow assumptions for

the second quarter of 2017.8

       451.    For the third quarter of 2017, Teva did not take any impairment for goodwill. In

the 3Q2017 Form 6-K, filed on November 2, 2017, Teva falsely assured investors that the

Company conducted impairment testing of goodwill for the third quarter of 2017 and that the


8
   Had a more appropriate CAGR rate of 6.4% been used, Teva’s impairment charge would have
been understated by $3.1 billion.

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goodwill fair value was actually higher than carrying value even though the Company claimed that

it had lowered future cash flow projections. Defendants falsely stated that the amount of goodwill

was $29.2 billion for the generics segment and $39.4 billion for all reporting units as of

September 30, 2017. Defendants stated in the 3Q2017 Form 6-K: “As of September 30, 2017,

Teva adjusted the projections for its U.S. generics reporting unit to reflect favorable events,

partially offset by further increased pressure in the U.S. generics market.” Since Teva’s goodwill

was still impaired at the third quarter of 2017, the reported goodwill was overstated by at least

$8.0 billion or 52% of Teva’s reported $15.5 billion goodwill as of the third quarter of 2017.

                       b.     Teva’s Discount Rate and Terminal Growth Rates
                              Were Improperly Inflated

       452.    Two other critical inputs for goodwill in the DCF model are the discount rate and

terminal growth rate.9 The discount rate is “a rate of return used to convert a future monetary sum

into [a] present value.” AICPA, Statements on Standards for Valuation Services, VS Section 100,

Valuation of a Business, Business Ownership Interest, Security, or Intangible Asset (June 2007).

The discount rate reflects macroeconomic risk, such as interest rate risk and the risk of recession,

as well as industry risks. “The discount rate is a market-driven rate. It represents the expected

yield rate – or rate of return – necessary to induce investors to commit available funds to the

subject investment, given its level of risk.” Shannon P. Pratt and Alina V. Niculita, Valuing a

Business: The Analysis and Appraisal of Closely Held Companies 182 (2008) (emphasis in

original). The terminal growth rate measures the perpetual cash flow growth rate after the end of

the discrete period and is used to measure the terminal or residual value of the business. “If [the]

company is in an industry subject to vigorous competitive pressure, with little prospect for real



9
    These two inputs have a greater impact on the goodwill measurement than projected cash flow
because relatively small decreases in the discount rate and/or relatively small increases in the
terminal growth rate can dramatically inflate the goodwill fair value measurement.

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growth without large capital expenditures, then perpetual growth at the rate of expected long-term

inflation may be reasonable (i.e., zero real growth).” Id. at 248.

       453.    Defendants used a 6.8% discount rate and a 2.0% terminal growth rate for the fourth

quarter of 2016, first quarter of 2017, second quarter of 2017, and third quarter of 2017. For the

fourth quarter of 2017, Defendants increased the discount rate to 7.3% and continued to apply a

2.0% terminal growth rate. Defendants knew that a 6.8% discount rate for the fourth quarter of

2016, first quarter of 2017, second quarter of 2017, and third quarter of 2017 was abnormally low

and a 2.0% terminal growth rate for those quarters was abnormally high. The discount rate and

the terminal growth rate that Defendants used did not reflect rates that market participants would

use in a DCF model of the U.S. generics reporting unit, as required by GAAP. As discussed below,

GAAP also required that Defendants use observable inputs to the extent possible. And Defendants

had no empirical or verifiable basis to support their inputs, which inflated the U.S. generics

reporting unit’s fair value in violation of GAAP.

       454.    For the fourth quarter of 2017, Defendants belatedly wrote down $10.4 billion for

goodwill impairment for the U.S. generics reporting unit, wiping out a total of $16.5 billion of

goodwill in fiscal 2017, representing more than 71% of the reporting unit goodwill balance that

was originally reported in fiscal 2016.

       455.    When the cash flow projections discount rate and the terminal growth rate for the

fourth quarter of 2016 through the third quarter of 2017 are adjusted to rates that market

participants would use in accordance with GAAP, the U.S. generics reporting unit’s goodwill was

actually impaired by $8.5 billion in the fourth quarter of 2016, $7.6 billion in the first quarter of

2017, $7.6 billion in the second quarter of 2017, and $8.9 million in the third quarter of 2017. As

a result of improperly accounting for goodwill, Teva’s operating income, net income and EPS were

materially overstated as depicted in the chart below.


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                2.     GAAP Provisions Concerning Goodwill and Goodwill
                       Impairment

       456.     Goodwill represents the excess of the purchase price over the fair value of the net

assets acquired in a business combination. Accounting Standards Codification (“ASC”) 805-10-

05-4 “requires that a business combination be accounted for by applying . . . the acquisition

method.” ASC 805-20-30-1 describes the acquisition method, which requires the acquiring

company to record the assets acquired and liabilities assumed at their respective fair market values

as of the date of the acquisition. ASC 805-10-20 describes fair value as “[t]he price that would be

received to sell an asset or paid to transfer a liability in an orderly transaction between market

participants at the measurement date.” ASC 350-20-35-16 states that “[t]he excess of the fair value

of a reporting unit over the amounts assigned to its assets and liabilities is the implied fair value

of goodwill.”

       457.     “A reporting unit is an operating segment [of a company] or one level below an

operating segment (also known as a component).” ASC 350-20-20 Glossary. Although Teva

classified generics as a separate segment, for goodwill reporting purposes, Defendants treated the

U.S. generic part of the generics segment as a separate reporting unit for measuring applicable

goodwill impairment.

       458.     ASC 350-20-35-2 states that “[i]mpairment is the condition that exists when the

carrying amount [or book value] of goodwill exceeds its implied fair value.” Following an

acquisition, companies are required to account for any goodwill recorded as part of the acquisition



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in accordance with ASC 350-20. ASC 350-20-35-28 requires goodwill to be tested annually and,

as is at issue here, for any quarter when certain circumstances are present.

       459.    ASC 350-20-35-3A requires that a company test goodwill for any quarter when an

assessment of “qualitative factors” determines that “more likely than not (that is, a likelihood of

more than 50 percent) that the fair value of a reporting unit is less than its carrying amount,

including goodwill.” This qualitative assessment is sometimes referred to as “step zero,” since the

goodwill impairment test itself involves GAAP procedures referred to as “step one,” followed by

“step two,” if required, as discussed in detail below.10

       460.    GAAP required goodwill impairment analysis testing for any quarter when certain

triggering events are present “that would more likely than not reduce the fair value of a reporting

unit below its carrying amount.” ASC 350-20-35-30.11 As noted in ASC 350- 20-35-3C, examples

of such triggering events include, but are not limited to, the following:

                      Macroeconomic conditions such as deterioration in general
       economic conditions, limitations on accessing capital, fluctuations in foreign
       exchange rates, or other developments in equity and credit markets
                      Industry and market considerations such as a deterioration in the
       environment in which an entity operates, an increased competitive environment, a
       decline in market-dependent multiples or metrics (consider in both absolute terms
       and relative to peers), a change in the market for an entity’s products or services,
       or a regulatory or political development
                      Cost factors such as increases in raw materials, labor, or other costs
       that have a negative effect on earnings and cash flows
                      Overall financial performance such as negative or declining cash
       flows or a decline in actual or planned revenue or earnings compared with actual
       and projected results of relevant prior periods



10
    Instead of performing step zero, “[a]n entity has an unconditional option to bypass the
qualitative assessment . . . and proceed directly to performing the first step of the goodwill
impairment test. An entity may resume performing the qualitative assessment in any subsequent
period.” ASC 350-20- 35-3B.
11
    “Goodwill of a reporting unit shall be tested for impairment between annual tests if an event
occurs or circumstances change that would more likely than not reduce the fair value of a reporting
unit below its carrying amount.” ASC-350-20-35-30.

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                     Other relevant entity-specific events such as changes in
       management, key personnel, strategy, or customers; contemplation of bankruptcy;
       or litigation
                     Events affecting a reporting unit such as a change in the composition
       or carrying amount of its net assets, a more-likely-than-not expectation of selling
       or disposing all, or a portion, of a reporting unit, the testing for recoverability of a
       significant asset group within a reporting unit, or recognition of a goodwill
       impairment loss in the financial statements of a subsidiary that is a component of a
       reporting unit
                     If applicable, a sustained decrease in share price (consider in both
       absolute terms and relative to peers).

       461.    ASC 350-20-35-3E required Defendants to test for goodwill impairment if any

triggering events, including but not limited to any of the examples given above, alone or in

combination, made it more likely than not the fair value of the reporting unit is less than the book

value or carrying amount. ASC 350-20-35-3E also provides that the triggering events must be

considered holistically. In other words, even if no individual triggering event is sufficient, on its

own, to make it more likely than not the fair value of the reporting unit is less than the book value,

if the “totality” of the events and circumstances described above, as applied to Teva’s U.S. generics

reporting unit, made it more likely than not that the fair value of a reporting unit at each quarter

was less than its carrying amount, then Defendants were required to perform the first step of the

two-step goodwill impairment test.

       462.    Moreover, factors that were based on observable inputs are entitled to greater

weight than those based on inputs (such as forecasts) in the step zero analysis because observable

inputs reflect the assumptions market participants would use. ASC 820-10-05-1C requires that:

       When a price for an identical asset or liability is not observable, a reporting entity
       measures fair value using another valuation technique that maximizes the use of
       relevant observable inputs and minimizes the use of unobservable inputs. Because
       fair value is a market-based measurement, it is measured using the assumptions that
       market participants would use when pricing the asset or liability, including
       assumptions about risk.




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Cf. FASB Statement of Accounting Concepts No. 8 (“SFAC No. 8”) at 18 (accounting must strictly

avoid bias, slanting and manipulation undertaken “to increase the probability that financial

information will be received favorably”).

       463.    During the first three quarters of 2017, by Defendants’ own admissions and/or

objective facts, Teva’s U.S. generics reporting unit met at least three of the specific triggering

circumstances set forth in ASC 350-20-35-3C, as well as other factors that they were required to

consider under ASC 350-20-35-3F. These circumstances and factors indicated that this reporting

unit’s goodwill was more likely than not impaired, requiring testing of goodwill.

       464.    Decline in overall financial performance. The generic segment’s continuous poor

overall financial performance indicated that the U.S. generics reporting unit’s goodwill was more

likely than not impaired. ASC 350-20-35-3C(d).           Because the decline in overall financial

performance was an observable input available to market participants, it was entitled to substantial

weight in the step zero analysis. ASC 820-10-05-1C.

       465.    Increased competition and changes in industry conditions and the market for

generic drugs. Defendants repeatedly represented that the generics segment and the U.S. generics

reporting unit in particular faced increased competition and changed industry conditions. Pursuant

to ASC 350-20-35-3C(b), the existence of increased competition and changed industry and/or

market conditions added to the requirement that the Company test for goodwill impairment each

quarter. Because increased competition, the change in industry conditions, and the market for

Teva’s generic drug products were observable inputs available to market participants, they were

entitled to substantial weight in the step zero analysis. ASC 820-10-05-1C.

       466.    A sustained decrease in share price (and corresponding decline in market

capitalization). ASC 350-20-35-3C(g) also indicates that “a sustained decrease in share price

(consider[ed] in both absolute terms and relative to peers),” can be a triggering event that requires


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testing for goodwill impairment. In fact, when Defendants belatedly reported that the U.S.

generics reporting unit’s goodwill was impaired as of the second quarter of 2017 and the fourth

quarter of 2017, they themselves ascribed the decrease in the Company’s market capitalization as

indicators of goodwill impairment. Because Teva’s stock price decline and its corresponding

decline in market capitalization were observable inputs available to market participants, they were

entitled to substantial weight in the step zero analysis. ASC 820-10-05-1C.

       467.    Importantly, Teva did not need to perform step two to comply with GAAP.

Completing step one of the goodwill impairment test was sufficient. Defendants acknowledged

this as follows:

       In January 2017, the Financial Accounting Standards Board (“FASB”) issued
       guidance on goodwill impairment testing. The new guidance reduces the
       complexity of goodwill impairment tests by no longer requiring entities to
       determine goodwill impairment by calculating the implied fair value of goodwill
       by assigning the fair value of a reporting unit to all of its assets and liabilities as if
       that reporting unit had been acquired in a business combination. Teva adopted the
       provisions of this update in the first quarter of 2017. The amount of goodwill
       impairment charge was determined in accordance with this new guidance.

2Q2017 Form 6-K, filed August 3, 2017.

               3.      Defendants Failed to Properly Perform the Goodwill
                       Impairment Tests Required by GAAP

       468.    The Defendants well understood goodwill and the proper procedures and

calculations for determining goodwill impairment under GAAP as described above. “Goodwill is

largely attributable to expected synergies following the acquisitions, as well as future economic

benefits arising from other assets acquired that could not be separately recognized at this time.”

3Q2017 Form 6-K. The Defendants recognized that when applying the DCF income valuation

method that “Cash flow projections are based on management’s estimates of revenue growth rates

and operating margins, taking into consideration industry and market conditions.”                   2016

Form 20-F. The Defendants also knew that in the DCF model the discount rate used is based on


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the “weighted-average cost of capital adjusted for the relevant risk associated with business-

specific characteristics.” Id.

       469.    Teva ultimately disclosed information about those inputs and assumptions. When

Teva belatedly took its $10.4 billion write-down in February 2018, it also disclosed information

that revealed the inputs and assumptions used to compute the fair values and the carrying values

(book values) of the U.S. generics reporting unit during the fourth quarter of 2016 through the

third quarter of 2017.

       470.    Defendants’ DCF models used during the pertinent period relied entirely on

unsupported and unreasonable inputs and assumptions that Defendants knew did not comport with

GAAP. Defendants knew, for example, that:

       Estimates of future cash flows used to test the recoverability of a long-lived asset
       (asset group) shall incorporate the entity’s own assumptions about its use of the
       asset (asset group) and shall consider all available evidence. The assumptions
       used in developing those estimates shall be reasonable in relation to the
       assumptions used in developing other information used by the entity for
       comparable periods, such as internal budgets and projections.

ASC 360-10-35-30.12 In particular, GAAP states that, “[i]n developing unobservable inputs, a

reporting entity may begin with its own data, but it shall adjust those data if reasonably available

information indicates that other market participants would use different data.” ASC 820-10-

35-54A.

       471.    According to GAAP, a “reporting entity shall measure the fair value of an asset or

a liability using the assumptions that market participants would use in pricing the asset or liability,




12
    Although ASC 360 applies to long-lived assets, specifically property, plant and equipment,
this guidance similarly applies to the ASC 350 income approach’s use of future cash flows in the
DCF model. “If the guidance for a transaction or event is not specified within a source of
authoritative GAAP for that entity, an entity shall first consider accounting principles for similar
transactions or events within a source of authoritative GAAP for that entity and then consider
nonauthoritative guidance from other sources.” ASC 105-10-05-2.

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assuming that market participants act in their economic best interest.” ASC 820-10-35-9. GAAP

defines market participants as:

               Buyers and sellers in the principal (or most advantageous) market for the
       asset or liability that [among other things] are independent of each other, that is,
       they are not related parties [and] are knowledgeable, having a reasonable
       understanding about the asset or liability and the transaction using all available
       information, including information that might be obtained through due diligence
       efforts that are usual and customary.

ASC 820-10-20, Glossary.

       472.    For Defendants’ discount rates and terminal growth rates, they also deliberately

failed to apply reasonable, supportable, and verifiable inputs in accordance with GAAP. For

example, ASC 820-10-05-1C requires that:

       When a price for an identical asset or liability is not observable, a reporting entity
       measures fair value using another valuation technique that maximizes the use of
       relevant observable inputs and minimizes the use of unobservable inputs.
       Because fair value is a market-based measurement, it is measured using the
       assumptions that market participants would use when pricing the asset or
       liability, including assumptions about risk.

Cf. SFAC No. 8 at 18 (accounting must strictly avoid bias, slanting and manipulation undertaken

“to increase the probability that financial information will be received favorably”). “The fair value

hierarchy gives the highest priority to quoted prices (unadjusted) in active markets for identical

assets or liabilities (Level 1 inputs) and the lowest priority to unobservable inputs (Level 3

inputs).” ASC 820-10-35-37 (emphasis in original). “Level 2 inputs are inputs other than quoted

prices included within Level 1 that are observable for the asset or liability, either directly or

indirectly.” ASC 820-10-35-47 (emphasis in original). “Level 2 inputs include . . . market-

corroborated inputs.” ASC 820-10-35-48 (emphasis in original).

       473.    Defendants’ failure to recognize and book the goodwill impairment charge at the

fourth quarter of 2016 for the U.S. generics reporting unit, when GAAP required the goodwill

impairment charge, is a common fraud scheme. In an academic study, Kevin K. Li and Richard

G. Sloan concluded that the implementation of what was previously referred to as SFAS 142
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(currently ASC 350) has resulted in “relatively inflated goodwill balances and untimely

impairments.” They also concluded that, precisely as Defendants did here, “managers . . . [exploit]

the discretion afforded by SFAS 142 [using non-neutral, biased projections and assumptions that

do not comport with GAAP] to delay goodwill impairments, causing earnings and stock prices to

be temporarily inflated.”13

       474.    Timely recognition of goodwill impairments is critical to investors because, when

a goodwill impairment is announced, investors revise their company performance expectation

downward. An academic study by Zining Li, Pervin Shroff, Ramgopal Venkataraman, and Ivy

Zhang confirms this is the case:

               Our results show that on average the market revises its expectations
       downward on the announcement of a goodwill impairment loss and the downward
       revision is related to the magnitude of the impairment loss.

                                          *      *       *

              We further examine how the market reacts . . . when a firm with potentially
       impaired goodwill does not announce a goodwill impairment loss . . . .

                                          *      *       *

       [W]e find no evidence that market participants revise their expectations at the time
       of revelation [reporting] of a zero impairment loss.

“We further show that the impairment loss serves as a leading indicator of a decline in future

profitability due to a slow-down in sales and/or higher operating costs.”14 Id. at Abstract. In other




13
    Kevin K. Li and Richard G. Sloan, Has Goodwill Accounting Gone Bad?, Social Science
Research Network (Jan. 23, 2015), http://ssrn.com/abstract=1466271 (last visited Aug. 2, 2018).
Professor Sloan is the Emile R. Nimela Chair in Accounting and International Business at the Hass
School of Business, University of California, Berkeley, and serves as an editor, associate editor,
or on the editorial board of Review of Accounting Studies, Accounting Review, Accounting and
Finance, Journal of Accounting and Economics, and Journal of Finance Economics.
14
    Zining Li, Pervin K. Shroff, Ramgopal Venkataraman, and Ivy Zhang, Causes and
Consequences of Goodwill Impairment Losses, Social Science Research Network (May 2010),
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=590908 (last visited Aug. 2, 2018).

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words, when a company announces a goodwill impairment, investors revise their future cash flow

expectations downward and the stock price falls in relation to the magnitude of the reported

impairment loss. On the other hand, if investors are aware of factors that could potentially result

in goodwill impairment (called “triggers” in accounting), but the company concludes that goodwill

is not impaired, then investors do not revise their expectations downward even though they are

aware of goodwill impairment indicators.

       475.    When Defendants belatedly recognized $6.1 billion and $10.4 billion goodwill

impairments as of the second quarter of 2017 and the fourth quarter of 2017, respectively, financial

analysts provided commentary about the adverse consequences of the goodwill announcements to

the future of the Company. The “$14 billion in additional goodwill and other impairments taken

this quarter [fourth quarter 2017] foreshadows further deterioration in the business.” Morningstar

Equity Research, February 8, 2018 report. “We expect these challenges to continue for the next

several quarters and the company took a large goodwill impairment charge in 4Q (~$11Bn) mainly

due to these challenges.” Credit Suisse, February 11, 2018 report. “Teva reported goodwill [and

other] impairments of $17.1B in 2017, mainly due to headwinds in its U.S. generics unit.

Therefore, it is not clear if U.S. generic drug pricing has stabilized yet.” Cantor Fitzgerald Equity

Research, February 8, 2018 report. “Teva took a $17.1 billion goodwill [and other] impairment[s],

which investors should see as reflective of how challenging the situation is.” Wells Fargo Equity

Research, February 8, 2018 report.

       476.    The consensus total Company terminal growth rate that financial analysts used for

the second quarter of 2017, however, was 0.0%. Consequently, Teva’s 2% terminal growth rate

that it used for the second quarter of 2017 was not “in line with [the] recent general outlook for

[the] U.S. generics [market].” For the data used to be “neutral” and to have “verifiability” in

accordance with the requirements of SFAC No. 8, Teva should have used a 0.0% terminal growth


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rate assumption for the U.S. generics reporting unit as of the second quarter of 2017. Similarly,

using the consensus terminal growth rates based on the corresponding financial analyst reports for

each quarter, the consensus terminal growth rates that market participants would use was 0.8% for

the fourth quarter of 2016, 0.0% for the second quarter of 2017 and 0.3% for the third quarter of

2017.

         477.   Teva should also have relied on the consensus financial analyst terminal growth

rates because that data was verifiable and supported, whereas Teva’s 2.0% terminal growth rate

assumption lacked the verifiability required by GAAP. “Verifiability helps assure users that

information faithfully represents the economic phenomena it purports to represent. Verifiability

means that different knowledgeable and independent observers could reach consensus, although

not necessarily complete agreement, that a particular depiction is a faithful representation.” SFAC

No. 8.

         478.   When Plaintiffs applied the inputs and assumptions that market participants would

use, as required by GAAP, and even incorporated some of Defendants’ overoptimistic (biased)

cash flow growth assumptions, Defendants should have recognized the following goodwill

impairments:




         479.   And when the corrected goodwill impairments to the U.S. generics reporting unit

were made to Teva’s financial statements, operating income, net income, and EPS were materially


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overstated for each quarter in the fourth quarter of 2016 through the third quarter of 2017, as

follows:




       J.      Actionable False and Misleading Statements and Omissions

       480.    During the Relevant Period, Defendants made six types of false and misleading

statements or omissions on conference calls with investors, in SEC filings, and in Company reports

and documents:

              False Statements Regarding Competition. These statements falsely indicated that
               Teva was participating in competitive and functioning markets for generic drugs.
               To the contrary, Teva made dozens of price increases in tandem with its
               competitors. Teva and these companies deliberately did not compete on price.

              False and Misleading Pricing Statements. These statements concealed Teva’s
               Price-Hike Strategy and the profits it generated. Later, the statements concealed
               that the Price-Hike Strategy fell apart as Teva was unable to make more price
               increases or sustain the Inflated Profit, including the Collusive Profit. These
               statements were particularly misleading, as Defendants touted, and investors were
               highly attuned to, the sources of the generics segment’s purported success.

              Concealed Receipt of Subpoenas and Subsequent Denials. Defendants failed to
               disclose in the Notes Offering Materials Teva’s receipt of subpoenas from the DOJ
               and the State AGs in connection with their antitrust investigations into the generics
               industry. Even after the disclosures of the subpoenas, Teva continued to deny
               having participated in any collusive conduct.

              False and Misleading Statements Relating to Goodwill. Beginning in 4Q1, and
               through the end of the Relevant Period, Teva materially overstated the value of its
               goodwill and inflated its balance sheet and operating results by billions of dollars.
               In particular, Defendants, in violation of GAAP, used bogus inputs for Teva’s DCF
               model which included inflated future cash flow projections, based on abnormally
               low discount rates and abnormally high terminal growth rates. In addition,
               Defendants made false and misleading disclosures about Teva’s goodwill
               valuations and testing.



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              False and Misleading Statements Explaining Financial Results. These statements
               explained the sources and drivers of Teva’s financial results but failed to disclose
               that the Company’s financial performance was positively impacted or mitigated by
               the Inflated Profit, including the Collusive Profit.

              False and Misleading Statements Concerning Legal Compliance. These statements
               falsely and unequivocally represented that Teva was in compliance with laws and
               regulations and covenanted to the Company’s continual compliance. In truth, Teva
               was engaged in illegal anti-competitive activities that constituted violations of
               antitrust laws and exposed the Company to significant risk of prosecution, along
               with the attendant financial and reputational harm.

               1.      False and Misleading Statements Regarding Competition

       481.    Throughout the Relevant Period, on conference calls, in Teva’s SEC filings, and in

the Company’s reports and publications, Defendants made materially false and misleading

statements concerning the purported: (i) “intense” competition on price in the U.S. market for

generic drugs, and (ii) “fierce” competition against “strong competitors” such as Mylan, Perrigo,

Actavis, Sandoz and Heritage. These statements gave investors the false impression that the

markets for generic drugs were functioning as intended. Given that their products are

undifferentiated commodities, the only way that generics manufacturers can compete is on the

price of their products. Such competition is the very purpose of the generics market, which was

created to drive the price of generic drugs towards their marginal cost of production, providing

access for patients to life-saving medicines.

       482.    Defendants’ statements about supposed competition on price by generics

manufacturers were false and misleading because Teva was not in fact competing on price. Instead,

Teva and its competitors, on at least 48 occasions, raised their prices in tandem, often in very large

amounts of well over 100%, rather than using lower prices to increase market share. Of the 48

occasions, at least 17 price increases were conducted collusively. Teva would also raise the price

of drugs on which it had a monopoly, while other generics manufacturers stayed on the sidelines

instead of entering the market. Teva was profiting from a lack of competition, not from thriving in

a competitive market environment. The markets for generic drugs were not functioning
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competitively; rather than compete, generic drug manufacturers would deliberately and

intentionally choose not to.

       483.    In each of the 2013 Form 20-F (filed February 10, 2014), 2014 Form 20-F (filed

February 9, 2015), 2015 Form 20-F (filed February 11, 2016), and 2016 Form 20-F (filed

February 15, 2017), Defendants made substantially similar false and misleading statements with

slight insignificant variations (incorporated by reference in each quarterly filing and the Notes

Registration Statement) that: (i) warned investors that “intense” competition was a primary risk

Teva faced in the U.S. generic drug market, and that competition would force the price of generic

drugs down as competitors “compet[ed] for advantage based on pricing,” as would be expected;

and (ii) described how the Company’s competitive advantages included its “competitive pricing

strategy,” its product portfolio, and the ability to launch new generics:

               Our generic drugs face intense competition. Prices of generic drugs
       typically decline, often dramatically, especially as additional generic
       pharmaceutical companies (including low-cost generic producers based in China
       and India) receive approvals and enter the market for a given product and
       competition intensifies. Consequently, our ability to sustain our sales and
       profitability on any given product over time is affected by the number of new
       companies selling such product and the timing of their approvals.

                                          *       *      *

              Sales of generic pharmaceuticals have benefitted from increasing awareness
       and acceptance on the part of healthcare insurers and institutions, consumers,
       physicians and pharmacists globally. . . . These conditions also result in intense
       competition in the generic market, with generic companies competing for
       advantage based on pricing, time to market, reputation, customer service and
       breadth of product line.

                                          *       *      *

       In the United States, we are subject to intense competition in the generic drug
       market from other domestic and foreign generic drug manufacturers, brand-
       name pharmaceutical companies through lifecycle management initiatives,
       authorized generics, existing brand equivalents and manufacturers of
       therapeutically similar drugs. Price competition from additional generic versions
       of the same product typically results in margin pressures. We believe that our
       primary competitive advantages are our ability to continually introduce new and
       complex generic equivalents for brand-name drug products on a timely basis, our
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       quality and cost-effective production, our customer service and the breadth of
       our product line. We believe we have a focused and competitive pricing strategy.

       484.    Each of the 2013 Form 20-F, 2014 Form 20-F, 2015 Form 20-F and 2016 Form 20-

F contained signed certifications pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) by Desheh

(2013 Form 20-F, 2014 Form 20-F, 2015 Form 20-F, and 2016 Form 20-F), Altman (2013 Form

20-F), Vigodman (2014 Form 20-F and 2015 Form 20-F) and Peterburg (2016 Form 20-F) stating

that the financial information contained in the Forms 20-F was accurate and disclosed any material

changes to the Company’s internal control over financial reporting. In addition, Desheh, Altman,

Vigodman and Peterburg certified that they were “responsible for establishing and maintaining

disclosure controls and procedures” and that such controls and procedures ensured that

“information required to be disclosed in reports that [Teva] files or submits under the Exchange

Act [was] recorded, processed, summarized and reported, within the time periods specified in the

SEC rules and forms, and that such information is accumulated and communicated to its

management, including the chief executive office and chief financial officer, as appropriate to

allow timely decisions regarding required disclosure.”

       485.    The statements in ¶¶483-484 were materially false and misleading or omitted

material facts. In particular:

               (i)     Defendants’ statements above concerning Teva’s “primary competitive

advantages” and “competitive pricing strategy,” that the Company “compet[ed] for advantage

based on pricing” and “face[d] intense competition,” and that “[p]rices of generic drugs typically

decline, often dramatically” when new competitors entered the market were materially false and

misleading when made because: (a) Teva had gained its competitive advantage through illegal

price fixing and market allocation schemes and the anti-competitive Price-Hike Strategy;

(b) Teva’s pricing strategy was not competitive and the Company conducted at least 76 price

increases on selected generic drugs between 2013 to 2016 without competitors competing on price,

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with at least 48 increases made in tandem with purported competitors and at least 17 increases

made collusively; and (c) Teva engaged in collusive and anti-competitive price-fixing and market

allocation schemes on at least 25 generic drugs; and

               (ii)    Defendants’ statements above concerning “margin pressures” from “[p]rice

competition” were materially false and misleading when made because Teva’s profit margin

improved significantly between 2013 to 2017 with over $2.6 billion of Inflated Profit, of which

$1.48 billion was Collusive Profit – all of which was generated with insignificant price

competition.

       486.    In addition to Forms 20-F and filings that incorporated them by reference, in each

of its Form 6-K quarterly financial results filings, Teva touted its competitive position and pledged

to increase its U.S. leadership position through its commitment to regulatory compliance:

       We expect that our U.S. market leadership position will continue to increase as a
       result of the enhancement of our specialty business, our ability to introduce new
       generic equivalents for brand-name products on a timely basis, our emphasis on
       customer service, the breadth of our product line, our commitment to regulatory
       compliance and quality and our cost-effective production.

       487.    On July 27, 2015, Teva filed a Form 6-K signed by Desheh that described the

Company’s “strong generics portfolio” as a competitive advantage that drove the delivery of

generic drugs at “competitive prices”:

               When combined with Teva’s strong generics portfolio, Allergan Generics’
       world-class generics pipeline, which holds a leading position in first-to-file
       opportunities in the U.S., will further enhance Teva’s goals of delivering the
       highest quality generic medicines at the most competitive prices and cultivating
       the best development pipeline in the industry.

       488.    On the same day, Teva hosted a conference call in which Olafsson emphasized the

competitiveness of the U.S. generics market and characterized Teva’s co-conspirators as “strong

competitors in the market.” In turn, Vigodman claimed that “[w]e believe in competition” while

discussing the Company’s improved performance:


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       [Olafsson:] I think both Mylan and Perrigo individually are strong competitors
       in the market. Remember, the US generic market is very competitive. There are
       over 200 generic companies. So it’s a fierce competition on most of the portfolio
       if not all of the portfolio.

                                          *        *       *

       [Vigodman:] [W]e promise to do everything in our power to basically take the
       Company to be able to continue the improvement that we have been witnessing
       here. We believe in competition, and will do what is needed in order to win in all
       the markets we operate.

       489.   During Teva’s third quarter 2015 earnings call on October 29, 2015, Olafsson

boasted about the Company’s stellar performance in the generics business despite competition in

the market, including from Actavis, and emphatically stated that “pricing is obviously based on

the competition”:

       But overall, we will be in the range of 28% operating profit from the generics,
       which really is first class with the countries we’re operating in today. . . .

              . . . It is not easy in the competition today . . . .

                                          *        *       *

       So what has happened with the Actavis generics?

              . . . We’re competing with them in the market on a day-to-day business.

                                          *        *       *

             So on the pricing, I think pricing is obviously based on the competition.
       We have talked about that the overall pricing trend is down.

       490.   During the Jefferies LLC Global Healthcare Conference on November 19, 2015,

Desheh highlighted the competitiveness of the U.S. generic drug market and falsely represented

that Teva played the competitive game fairly, “by the book and by the rule”:

       Generic prices? There are no – I believe there are many examples for competitive
       environment, real competition, like we see in the generic market in the United
       [S]tates.

                                          *        *       *

       So we are playing the competitive game. We are playing it fairly. We, of course,
       play by the book and by the rule. And we believe that our exposure to any
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       initiative on price reduction in the United States is as small as anybody can
       have. . . .

               But we also saw that there is a floor to this. And the floor is an economic
       and business model. And wherever prices have come down to a level that it doesn’t
       make sense, companies like us just pull out. We refuse to participate in tenders that
       generate no profit and we just pull out. You pull out, prices go up because there is
       less supply over the demand. And we are, in short, playing in a very competitive
       market. And that’s a global phenomenon, not just limited to the US.

       491.    The statements in ¶¶486-490 were materially false and misleading or omitted

material facts. In particular:

               (i)     Defendants’ statements above concerning Teva operating in a “competitive

environment” and a “very competitive market,” facing “fierce competition on most . . . if not all

of the portfolio,” playing “the competitive game . . . fairly,” believing in competition and

delivering “generic medicines at the most competitive prices,” with pricing “based on the

competition,” and that “the overall pricing trend is down” were materially false and misleading

when made because: (a) Teva did not operate in a competitive market, as the marketplace for many

of its key generic drugs was tainted by illegal price-fixing and market allocation schemes and the

anti-competitive Price-Hike Strategy; (b) pricing for Teva’s generic drugs was not competitive or

trending down, as the Company implemented at least 71 massive price increases on selected

generic drugs between 2013 to 2015 without competitors competing on price, with at least 48

increases made in tandem with purported competitors and at least 17 increases made collusively;

and (c) Teva engaged in collusive and anti-competitive price-fixing and market allocation schemes

on at least 25 generic drugs; and

               (ii)    Defendants’ statements above that “Mylan and Perrigo individually are

strong competitors in the market” and that Teva was competing with Actavis on a “day-to-day”

basis were materially false and misleading when made because Teva had engaged in collusive anti-

competitive activities with Mylan, Perrigo and Actavis and implemented price hikes in tandem

with these purported competitors.
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       492.    On January 5, 2016, Teva published its 2014 Global Citizenship Report, signed by

Vigodman. In the report, the Company emphasized its “operational efficiencies” as a competitive

advantage in maintaining “competitive market pricing positions”:

               Much of our core business drives access to affordable healthcare through
       our ongoing investment in new generic products and their registration in national
       markets for the benefit of local patients. Our continued focus on operational
       efficiencies enables us to maintain competitive market pricing positions.

       493.    On February 11, 2016, during the fourth quarter 2015 earnings call, Olafsson again

stressed to investors the intense competitiveness of the U.S. generics drug market for every generic

drug, with Teva “fighting on a molecule by molecule basis” after product launches and engaging

in “fierce competition” with Actavis in particular:

       There is a lot of competition in the US, there is no question about it. As you well
       know, there are over 200 generic competitors in the US market and the
       competition is fierce.

                                         *       *       *

       There is a [sic] still a very fierce competition between Actavis Generics and Teva
       in the market today, there’s no question about that. We basically launched the
       product. We compete on pricing. And you have to keep in mind that especially in
       the – in the bigger market, both in the US and Europe, you are really fighting on
       a molecule by molecule basis. If there is a lowering of the prices, you either have
       to walk away from the business and that’s that. And that is the fact of the US
       business, and that doesn’t change anything around the combination of the two
       companies.

       494.    On May 9, 2016, Teva held its first quarter 2016 earnings call, in which Olafsson

discussed the U.S. generics market competition. Again, he reiterated there was fierce competition

in the market and that Teva was competing “forcefully” against Actavis. He further represented

that Teva “walk[ed] away when competition [was] too fierce” and discussed competition in the

topical space with pricing pressures faced by co-conspirators such as Perrigo and Sandoz:

       We know, if we look at the US market, there’s 230 generic companies that are
       competing, so the competition is fierce. . . .

              . . . I think overall, the consolidation of the customers hasn’t changed that
       much in the last 24 months, as I said in my prepared remarks on, the change in the
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       competition hasn’t been that much. So at this point in time, I don’t see [sic]
       foresee any big changes in the pricing environment in the US or globally. There’s
       nothing on the horizon that changes my mind.

                                         *       *       *

       We also walk away when the competition is too fierce on a product. We are not
       trying to grow our market share, which affects the 4% market share.

                                         *       *       *

       [A]round the information we get from Allergan. First of all, we have – we are
       competitors in the market. . . . We are competing very forcefully in the market
       until closing.

                                         *       *       *

       So on topicals now, I think there is some pricing pressure. You’ve seen that maybe
       in the companies that are more exposed to topicals like Per[r]igo and Sando[z], to
       some extent they have been talking about more pricing pressure than we have been
       talking about, or Mylan or Allergan, so that could be a reason.

              Overall, in topicals, the competition is a little bit less. We are talking about
       usually maybe three to five competitors in the market, where you have on
       commodities maybe 18, 19 – up to 18, 19 competitors. But currently, we are not
       that exposed to topicals ourselves.

       495.    On August 2, 2016, Teva filed a Form 6-K signed by Desheh that touted the

acquisition of Actavis, which enhanced Teva’s competitive position in delivering generic

medicines “at the most competitive prices”:

              This strategic acquisition brings together two leading generics businesses
       with complementary strengths, R&D capabilities, product pipelines and portfolios,
       geographical footprints, operational networks and cultures. The result is a
       stronger, more competitive Teva, well positioned to thrive in an evolving global
       marketplace, to realize the opportunities the very attractive global and U.S. generics
       markets offer, and to deliver the highest-quality generic medicines at the most
       competitive prices, unlocking value to patients, healthcare systems and investors
       around the world.

       496.    Two days later, during the second quarter 2016 earnings call, Olafsson again

emphasized the fierce competition in the generic drug market – in particular, competition against

Actavis and Emcure/Heritage, with Heritage having a significant impact on Teva’s volume, but

“very little impact on our profitability or the top line.” And when questioned about the opportunity

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to raise prices on selected products, he responded that market competition kept pricing in check,

even for a sizeable company like Teva:

       But we also have versus previous years, there’s an impact from a third-party
       manufacturer in India, Emcure [Heritage] which has a significant volume
       impact, but very little impact on our profitability or the top line.

                                         *         *       *

       [T]here has been a regular competition between Actavis and Teva, but Teva
       always has used Anda in the past.

                                         *         *       *

       [W]ith the 208 generic companies in the US market, the competition is fierce.
       There’s no question about it. . . .

              . . . I think most companies have started to understand how the market
       functions. But it is a fierce competition in the market. There’s no question in my
       mind, that with 208 companies with an – on average now from the FDA,
       approximately 55 to 60 approvals every month, we need to be on top of our game.

                                         *         *       *

       [Chris Schott – JPMorgan – Analyst:] As you kind of review the pro forma
       business, do you see the opportunity to raise price on select products here? . . .

               . . . [Olafsson:] On the pricing, as you know, and we know that, the size
       really doesn’t affect the pricing. And I have a strong feeling when you have over
       200 competitors, size has nothing to do about pricing.

       497.    On September 9, 2016, Teva held a Generic Medicines Business Overview

conference call during which Olafsson insisted that, because of the intense competition for each

molecule, competitors were always willing “to take a little bit lower price”:

                Remember that there’s 208 generic companies out there that are offering
       product, and an average of every molecule we have, there is more than five
       competitors. So there’s always somebody happy to take a little bit lower price. So
       it’s a very competitive business we’re in.

       498.    The statements in ¶¶492-497 were materially false and misleading or omitted

material facts. In particular:

               (i)     Defendants’    statements       above   concerning   Teva   maintaining   its

“competitive market pricing positions” through operational efficiencies were materially false and
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misleading when made because Teva had gained its competitive positions through illegal price

fixing and market allocation schemes and the anti-competitive Price-Hike Strategy;

               (ii)    Defendants’ statements above concerning Teva driving “access to

affordable healthcare,” facing “a lot of competition” and fierce competition in the U.S. generics

market, delivering “generic medicines at the most competitive prices” through “R&D capabilities,

product pipelines and portfolios,” and “always” encountering “somebody happy to take a little bit

lower price” were materially false and misleading when made because: (a) Teva did not operate in

a competitive market, as the marketplace for many of its key generic drugs was tainted by illegal

price-fixing and market allocation schemes and the anti-competitive Price-Hike Strategy;

(b) pricing for Teva’s generic drugs was not competitive, as the Company implemented at least 76

instances of massive price increases on selected generic drugs between 2013 to 2016 without

competitors competing on price, with at least 48 increases made in tandem with purported

competitors and at least 17 increases made collusively; and (c) Teva engaged in collusive and anti-

competitive price-fixing and market allocation schemes on at least 25 generic drugs;

               (iii)   Defendants’ statements above concerning the “very fierce competition”

between Actavis and Teva on pricing and competition with Perrigo and Sandoz in the topical

market were materially false and misleading when made because Teva had engaged in collusive

anti-competitive activities with Actavis, Perrigo and Sandoz and implemented price hikes in

tandem with these purported competitors;

               (iv)    Defendants’ statements above that there had been no significant change in

the competitive and pricing environment in the United States were materially false and misleading

when made because the anti-competitive practices in the generics industry that contributed

substantially to the Company’s financial results were drawing increased scrutiny, which made it

difficult for Teva and other manufacturers to continue to implement price hikes; and


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               (v)     Defendants’ statements above that Teva experienced “significant volume

impact, but very little impact” on profitability from Heritage and that it walks away “when the

competition is too fierce on a product” were materially false and misleading when made because

Teva was engaged in an anti-competitive market allocation scheme by agreeing with Heritage and

other manufacturers to not compete with each other by walking away from selected customers in

certain markets to maintain heightened pricing.

       499.    On May 11, 2017, during the first quarter 2017 earnings call, Peterburg claimed

that Teva faced increased competition caused by the FDA, which led to pricing erosion:

               Our generic business is not immune to the challenges other companies in
       our industry are currently facing with increased competition and consolidation.
       This is reflected in the most recent analysis we completed that looks at net price
       erosion in our U.S.-based business, which came in at 7% versus the
       approximately 5% that we communicated previously. The 2 biggest contributing
       factors to this change are the ongoing consolidation of our key customers and
       the increase in generic drug approval by the FDA, which has created additional
       competition.

       500.    The statement above was materially false and misleading or omitted material facts

because the anti-competitive practices in the generics industry that contributed substantially to the

Company’s financial results were drawing increased scrutiny, which made it difficult for Teva and

other manufacturers to continue to conduct price hikes and led to pricing erosion and additional

competition. In addition, Peterburg understated the rate of pricing erosion which was much higher

than 7%.

               2.      False and Misleading Statements Regarding Teva’s Price-Hike
                       Strategy and Collusive Activities

       501.    On October 31, 2013, Teva held its third quarter 2013 earnings call. Participants

from Teva included Desheh and Oberman.

       502.    During the call, Oberman again reassured investors of Teva’s efforts in improving

profit margins, with a focus on tweaking “product by product” in a “margin enhancement


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strategy,” but concealed that such strategy was driven by the Price-Hike Strategy, including

collusive price hikes, to quickly increase profit margins with no incremental increase in cost:

       The word rationalizing leads you to believe there is a massive effort going on, and
       really what we are focused on is product by product. Individual products where
       we want to improve our margins in working together with Carlo and his team in
       reducing our costs . . . . It’s a tweaking here and there of products that we are
       working very consciously on to improve our margin. Have we discontinued some
       products? Yes, but they are very few and very far between. I think you should view
       it more of a margin enhancement strategy than really a massive rationalization
       strategy.

       503.    On December 10, 2013, Teva hosted its 2014 Business Outlook Conference Call.

Defendant Oberman stated that the Company had increased prices on a number of generic products

in 2013, and defendant Desheh affirmed that such price hikes will go directly to the bottom line –

without disclosing that the price increases were part of widespread collusive activities:

       [Oberman:] We have been able to take pricing on a number of products this year
       and are forecasting next year to recoup some of that price erosion.

                                         *       *       *

                [Desheh:] We do estimate, we do see price erosion trends of slowdown in
       Europe and in the United States. You heard it both from Allan and from Dipankar
       Bhattacharjee. So I believe that at one point in time, it wouldn’t take long, where
       all the improvement will go to the bottom line of the generic business.

       504.    At least as early as the end of 2013, Teva published its 2012 Corporate Social

Responsibility Report, signed by Desheh, which emphasized the Company’s business as a provider

of affordable generic medicines and unequivocally assured investors that its “sales and marketing

efforts follow the laws and regulations of markets where we operate.” The report stated, in part:

       Letter from the CEO

               As one of the world’s largest medicine companies, Teva has a tremendous
       responsibility to our patients, as well as to our customers, shareholders and
       employees and to the communities in which we live and work. We consider this
       responsibility a foundation of doing business, and are guided by our values –
       integrity, respect, collaboration, excellence and leadership – in everything we do.

                                         *       *       *


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             We are also the world’s leading provider of affordable generic
       medicines . . . .

                                           *       *       *

              Teva boasts more than 100 years of ethical and responsible business
       practices.

                                           *       *       *

              Teva aims to build a culture of integrity and ethical behavior in every
       country where we do business. We uphold the highest ethical standards for our
       Board of Directors, executives and employees.

                                           *       *       *

       We offer a wide range of products, including many generic alternatives to
       innovative pharmaceuticals, that provide millions of people with sometimes life-
       saving access to affordable medicines.

       505.    On February 6, 2014, Teva held its fourth quarter 2013 and full year 2013 earnings

call. Participants from Teva included Desheh, Oberman and Altman.

       506.    On the call, Defendants discussed the performance of the generics business in the

United States. Although Teva’s U.S. generics business turned in 14% revenue growth in the fourth

quarter and double-digit growth in last six months of 2014, Defendants attributed the improved

profitability to cost reduction and concealed the impact of the Price-Hike Strategy, including the

collusive activities, on profitability growth:

       [Altman:] Non-GAAP gross profit in 2013 was $11.9 billion or 58.6% of revenue,
       a decrease of $0.2 billion or 0.8% compared to 2012. This decrease was mainly
       the result of lower revenues of PROVIGIL, which lost its exclusivity, as well as
       the reduced revenue from additional exclusive generic products, mainly
       atorvastatin.

              These were partially offset by more profitable product mix mainly in the
       US generic business, and higher COPAXONE revenue, as well as early
       contribution of our cost reduction program.

                                           *       *       *

              [Desheh:] As to your question on the profitability our generic. You see the
       profitability of the generic business in Q4. It’s in line with what we have guided
       to 2014 and we believe that we’re going to deliver that, at least. A lot of our cost

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        reduction programs are going to hit the bottom line of the generic business, as
        we said. It’s not a one-sided picture.

               We are going to improve and get a lot of money into the bottom line over
        our generic business in order to improve competitiveness.

                                         *       *       *

               On the scale that we’re seeing, our US generic business is definitely the
        most profitable part, with gross margin at about the 50%. It’s a little over 40% in
        Europe. It’s around 35%, but improving next year, in Japan. It’s close to 50% in
        emerging markets.

                                         *       *       *

        [Oberman:] Building on what Eyal said, we are reporting a 14% top-line growth
        on the US generics business in the fourth quarter. In the back half of the year
        when we have an apples to apples comparison of six months versus six months,
        we reached double-digit growth. At the gross profit levels that Eyal was talking
        about, it is a very valuable business to Teva. And we see it continuing to be on a
        go-forward basis.

        507.    The statements in ¶¶502-506 were materially false and misleading or omitted

material facts. In particular:

                (i)    Defendants’ statements above that Teva was a “leading provider of

affordable generic medicines” that upheld the “highest ethical standards” were materially false and

misleading when made because: (a) Teva was engaged in illegal price-fixing and market allocation

schemes that caused generic drug prices to skyrocket; and (b) Teva implemented at least 18

massive price increases on selected generic drugs during 2013, with at least 15 increases made in

tandem with purported competitors and at least three increases made collusively; and

                (ii)   Defendants’ statements above concerning improving profitability through

cost reduction and “profitable product mix” in the U.S. generic business mitigating profitability

decline were materially false and misleading when made because: (a) Teva’s financial results were

inflated in part by collusive activities and the Price-Hike Strategy; and (b) the Company generated

$250 million in Collusive Profit and Inflated Profit in 2013, which contributed significantly to the

financial results.
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        508.   On May 1, 2014, Teva held its first quarter 2014 earnings call. Participants from

Teva included Vigodman and Desheh.

        509.   During the call, Desheh recognized that Teva’s significant revenue growth in the

first quarter was driven by the U.S. generics business, and Vigodman targeted 600 basis points

profitability improvement in the generics business. Vigodman asserted that Teva planned to

achieve the profitability target by re-evaluating its generics business by product and by market

through portfolio selection and management – without disclosing that such revenue and

profitability growth would be driven by the Price-Hike Strategy and anti-competitive collusive

activities:

        [Desheh:] The improvement of our sales this quarter was nicely split between the
        generic and the specialty businesses. In generics, we experienced significant
        growth in the United States market, with 17% year-over-year growth to a total of
        $1 billion, with a number of new product launches.

                                         *      *       *

        The profitability of our major business segment was driven by global generic,
        with 31% improvement resulting from the strong performance in the US market
        and higher profitability in Europe.

                                         *      *       *

        [Vigodman:] We have been assessing markets and products, in order to terminate
        products and markets, which will not meet a minimum threshold of profitability.

               I strongly believe that there is significant strategic and economic value in
        global generics leadership. Teva must regain focus on its generic business, with
        strong emphasis on portfolio selection and management, on R&D and
        innovation, on markets and product profitability, with the target to improve our
        profitability by the end of 2017 by at least 600 basis points.

        510.   On July 31, 2014, Teva held its second quarter 2014 earnings call. Participants

from Teva included Vigodman, Desheh and Olafsson.

        511.   During the call, Desheh attributed the generic segment’s revenue and profitability

growth to new launches in the United States, without disclosing the significant impact of the



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Company’s Price-Hike Strategy and illegal collusive activities to the segment’s improved

performance:

               [Desheh:] As you can see from the results highlight, this was another good
       quarter, which followed a solid Q1. We delivered 2% increase in revenues, we
       drove an 8% year-over-year improvement in our operating profit, 4% increase in
       net income, and 3% increase in earnings per share. Cash flow generation for the
       quarter was also very strong.

                                         *        *       *

       The improvement in sales this quarter was driven by the growth of our global
       generic business, primarily in the US. This increase resulted mainly from a full
       quarter of sales of Capecitabine, generic Xeloda, which was launched exclusively
       in March 2014, and the launch of Omega-3, generic Lovaza, for which we are
       first to market.

                                         *        *       *

              Looking at what impacted profitability this quarter, the improvement of
       operating profit and profitability was driven by strong results of our global
       generic business, with profit improvement of 41% compared to last year. Launch
       of generic Xeloda in March and generic Lovaza this quarter in the US market,
       together with improvements in profitability in Europe, led to the better results. . . .

               So when we look at profitability by segment this quarter, profit contribution
       of the generic business increased from 24% last year to 32% of total this year.

       512.    On October 30, 2014, Teva held its third quarter 2014 earnings call. Vigodman,

Desheh and Olafsson participated on the call.

       513.    During the call, Desheh and Olafsson attributed the generics business’s profitability

and revenues performance to lower expenses and new launches. In addition, in response to an

analyst’s question on price increases, Olafsson assured investors that price increases were only

taken when opportunities like shortages existed in the market:

               [Desheh:] Profitability, which is our measure for segment operating income
       without G&A allocation, improved through all segments. Mostly for the generic
       segment, with 40% improvement year over year . . . . The improvement is due to
       better gross margins, lower sales and marketing expenses and Copaxone revenue,
       which grew year over year.

                                         *        *       *


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       We can see the gross profit margin over the full year improved from 39.5% to
       44.3%. Total profitability operating profit from 15.9% to almost 23%, an
       improvement of 7 full points.

                                          *       *       *

       [Olafsson:] Let me talk a little bit about the US business. I think overall we have
       a good revenue off the new launches this year.

              [Capecitabine] being the generic Lovaz[a,] omega 3[, and] Entecavir.
       Entecavir was a new launch for us in the quarter. I think all these three products
       have been very significant contributors through the year.

                                          *       *       *

              I think the pricing, I’ve said it before, there’s never a price increase on the
       base business as a whole. Like any other business, if there’s a pricing opportunity
       that comes in the market, we look for that.

               But the base business itself has been eroding overall because of the
       consolidation of the customers. When there is an opportunity, when there is a
       shortage in the market, we obviously look for pricing like any other business. But
       overall, as I’ve said many times before, the base business itself is slowly eroding
       the overall of the base business.

       514.    On December 11, 2014, Teva hosted its 2015 Business Outlook conference call.

Participants from Teva included Vigodman, Desheh, and Olafsson. During the call, Vigodman

and Olafsson attributed the generic segment’s profitability to cost reduction, insisted that media

coverage of dramatic price increases in the U.S. generic drug market was simply a “hot political

issue,” and emphasized that Teva’s generic drugs actually experienced net pricing erosion in the

past two years – while failing to disclose the significant impact of the Price-Hike Strategy and anti-

competitive price-fixing activities on Teva’s U.S. generic drug pricing and profitability:

       [Vigodman:] Our cost reduction program will yield $650 million of net savings
       that flow directly to the bottom line in 2014. It supports the very important
       profitability of our new established Global Generic Medicine group, which will
       deliver 400 basis points in profitability in 2014.

                                          *       *       *

               [Olafsson:] Also the US has done [an] amazing job and over the last two
       years, the operating profit in the US will increase by 10%. And that’s when you
       are the market leader like we are in the US. This is the fruit of the strategy we

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       have in place. We are not growing the top line at the same rate, but the bottom
       line is very important to us.

                                          *       *       *

       I have to disagree that [wholesalers] have experienced tremendous price
       increase. I think overall the pricing in the US of generics has been flat to a slight
       down. There has been a lot of press about price increases on individual
       molecules, and this has been a hot political issue, selecting a few products.

                                          *       *       *

               [Vigodman:] First, maybe on – just to underscore the point that was made
       by Siggi. What we see in terms of pricing, we see an erosion, still a net erosion,
       generic prices. It is lower than what we saw two years ago, but still net/net we
       see net erosion. That’s a message that shall be spelled out in a very clear way.

       515.    On December 15, 2014, the Company issued its 2013 Corporate Social

Responsibility Report, signed by Vigodman, which misleadingly represented that the Company

adhered to ethical guidelines in all countries, even if doing so put it in a competitive disadvantage:

       A Letter from Erez Vigodman, Teva’s President & CEO

                                          *       *       *

               Teva is shifting its focus and reorienting its business model in order to stay
       ahead of the changes and deliver on our promise to our patients. These are
       transformative and exciting times for us. As such, they underscore not only what
       we need to change, but what must remain constant: our unwavering commitment
       to conducting our business responsibly and ethically. . . .

              . . . As one of the top 12 global pharmaceutical companies and a world leader
       in Generics, we are committed to increasing access to high-quality, affordable
       healthcare.

                                          *       *       *

       Going forward, we aim at targeting a unique space in the industry, at the
       intersection between innovative and off-patent drugs, in a way that will enable us
       to meet more and more unmet needs of patients along their journey, with affordable
       and integrated solutions that improve their adherence and compliance and
       enhance treatment effectiveness.

                                          *       *       *

               As we quest towards the differentiated leadership space we wish to claim
       and make our own, our strategic decisions and actions are guided by our deep-
       seated sense of social responsibility.
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                                       *       *      *

             We bring safe, effective, innovative and affordable medications to patients
       worldwide, while delivering results for our customers, shareholders and
       employees. . . .

              Our corporate culture and our focus on broadening the access to
       affordable medicines is what drives our success.

                                       *       *      *

              As the world’s largest generic drug manufacturer, Teva plays a key role in
       providing patients with access to affordable medicines. Our broad portfolio of
       generic drugs helps us bring the latest advances in medicine to millions of
       patients, while keeping costs down throughout national healthcare systems. Our
       generic drugs offer affordable medicines that address pressing health issues in
       the developed world.

                                       *       *      *

               Teva plays an important role in generating value to the healthcare systems
       and wider economies in which we operate. The scale of production and the
       accessible price of our products help to limit rising healthcare costs and improve
       patient health outcomes.

                                       *       *      *

       While marketing regulations may differ by region, we adhere to the ethical
       marketing guidelines in our Code of Business Conduct in all countries, even if
       this puts us at a competitive disadvantage.

                                       *       *      *

              Each action Teva takes, each action our employees take, shapes the ethical
       character of our company. That character is at the heart of how we operate and it
       is what sets us apart in the marketplace. It drives our deep commitment to
       expanding the availability and affordability of medicines for patients worldwide.

               From the Board of Directors and CEO to each individual employee in
       each unit, we are unwavering in our commitment to doing what is right while
       striving to reach our financial and business goals. Although we face complex
       challenges as we transform our business, no objective is worth compromising our
       values or ethical standards.

       516.   On January 6, 2015 and January 13, 2015, Vigodman participated in the Goldman

Sachs CEOs Unscripted Healthcare Conference and the JPMorgan Healthcare Conference,

respectively. During the conferences, in answering analysts’ questions about when Teva would

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begin to focus on topline revenue growth for the generics segment and what would drive such

growth, Vigodman reiterated that Teva’s market and product optimization and selection processes

would drive revenue growth – without disclosing that such processes had already driven the

Company’s U.S. generics revenue and profitability growth by selecting numerous drugs for

participation in illegal market allocation and price-fixing activities and the Price-Hike Strategy:

              Goldman Sachs January 6, 2015 conference:

              [Jami Rubin – Goldman Sachs – Analyst:] The focus for generics has been
       on growing profitability, not the top line. And as you have remarked, the
       improvement in profitability has been very impressive. But when do you start to
       focus on topline growth, and what will drive that growth beginning in 2017? . . .

              . . . [Vigodman:] First, look at the measures that we are conducting now.
       The decisions, the optimization of markets and product, that’s something that in
       most of the cases reduces the top line. Number one.

              Number two, decisions on product selection. Over time it will basically
       enable us to drive our top line.

              JPMorgan January 13, 2015 conference:

       [Chris Schott – JPMorgan Securities – Analyst:] You’re driving very, very
       impressive operating margin expansion as we look through 2015. Can we just talk
       a little bit about once that’s complete, is there further opportunity for margin
       expansion within that generic business or is that largely going to be taken care of
       in 2015? I’m just trying to think about how we think about growth in that business
       over time beyond the step-up we’re expecting this year?

              [Vigodman:] So, there is this strong focus today on bottom line;
       optimization of products and markets, product selection decisions and also
       basically the acceleration of FTFs, strong focus on margins and profitability in
       a way which has manifested itself in a very clear manner. All of the time, the
       generic business will drive up also the topline. So we believe that in 2017 onward,
       we start to see the generic business driving up also the topline without derogating
       from the efforts to continue excess high pressure on margins and bottom line.

       517.    The statements in ¶¶509-515 were materially false and misleading or omitted

material facts. In particular:

               (i)     Defendants’ statements above concerning Teva as a provider of affordable

generic medicines, experiencing net erosion of generic drug prices, making “strategic decisions


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and actions” that were “guided by our deep-sense of social responsibility,” and adhering to ethical

guidelines “even if this puts us at a competitive disadvantage” were materially false and misleading

when made because: (a) Teva was engaged in illegal price-fixing and market allocation schemes

and the anti-competitive Price-Hike Strategy that caused generic drug prices to skyrocket; and

(b) Teva implemented at least 50 massive price increases on selected generic drugs during 2013

and 2014, with at least 35 increases made in tandem with purported competitors and at least 17

increases made collusively;

               (ii)    Defendants’ statements above concerning improving sales and profitability

through new product launches, lower expenses, cost reduction and the optimization of markets and

products in the generic business driving profitability were materially false and misleading when

made because: (a) Teva’s financial results were inflated in part by illegal collusive activities and

the Price-Hike Strategy; and (b) the Company generated $942 million in Collusive Profit and

Inflated Profit during 2013 and 2014, which contributed significantly to the financial results; and

               (iii)   Defendants’ statements above concerning price increases occurring only

during periods of drug shortages were materially false and misleading when made because the

Price-Hike Strategy was implemented on drugs for which no shortages had in fact occurred.

       518.    On April 30, 2015, Teva held its first quarter 2015 earnings call. Vigodman,

Desheh and Olafsson participated in the call.

       519.    During the call, Desheh and Olafsson emphasized the significant profitability and

revenue growth of the generics segment and the increased contribution from the U.S. market, but

attributed the results to new launches without disclosing the impact of the Price-Hike Strategy and

anti-competitive activities to the top and bottom line:

              [Olafsson:] We have done [an] outstanding quarter for generics this first-
       quarter 2015. All of our regions shows the significant improvement over first-
       quarter 2014. And despite the FX impact, the profit for the generics increased
       59% to $799 million. The revenues were up 9% to $2.6 billion. And our

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       operating profit in [the] first-quarter was 30.5%, which is a significant
       improvement over the 2014 operating profit of 21.9% and 16.7% in operating
       profit in 2013. We successfully launched generic Nexium, esomeprazole, on
       February 17.

                                          *     *       *

               [Desheh:] We are tracking the turn around in our generic business closely.
       As you heard from Siggi, this is doing very well. This quarter, gross margins
       reached nearly 50% for our generic business. Segment profitability was 30.5%,
       above our plan for the year, which I have to remind you was 27%. This is a 10
       [point] percentage point improvement from last year, driven primarily by the
       launch of esomeprazole in the US and other new generic products.

               US market [increasing in prominence] is reflecting our strong focus on
       the US generic business. FX impact also had a contribution to that and other
       markets. In total, that [will grow our] business in the United States to 59% of our
       total sales worldwide.

                                          *     *       *

       [Olafsson:] What plays into the operating profit in the generics are probably three
       or four things.

               First of all, we have a significant improvement in our cost of goods.

                                          *     *       *

              I think the next thing is the portfolio offering. I think the more we have
       of exclusive complex generics on offering, we have a higher margin on these
       products . . . .

               The third thing is the cost infrastructure.

                                          *     *       *

             When you look at the top line growth, you see that already in first-quarter,
       we have improved our top-line growth. That mainly comes from our new
       launches but also our emphasis on the branded generic markets.

       520.    On May 13, 2015, Desheh participated in the Bank of America Merrill Lynch

Healthcare Conference. During the conference, Desheh touted the profitability of Teva’s generics

business and attributed the improved profitability to numerous factors while concealing the Price-

Hike Strategy and collusive activities:

       First, the generic business. This is nothing short of a revolution. In 2013 our
       gross margin of generic business was 41.3%, it was 46% in Q1 2015. Our
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       operating margin was 16.7%, it is 27%, this is full 10 percentage points
       improvement. . . . [T]he operating profit grew – profit margin grew faster than
       the gross, which means that we’re also reducing our expenses that are needed to
       drive the sale. So the improvement is not just on the margins improvement, it is
       also on the expense structure and how we are building the business.

                                          *       *       *

               Generic side of the house is doing very well. It has probably the best leader
       in the generic industry today under Siggi, very strong management team, both in
       Israel and Europe and in emerging market[s], production system or production
       network that is becoming more and more efficient all the time with a great
       program to reduce costs and reduced expenses, and you’ve seen the results in our
       numbers online. We’re very successful in launching new products, and getting
       approval. We had our fair share, better than others over the past number of
       quarter.

       521.    On June 10, 2015, Vigodman and Olafsson participated in the Goldman Sachs

Global Healthcare Conference. During the conference, both defendants touted the 1,000 basis

point profitability improvement in the generics business since 2013 and attributed the financial

performance to cost reductions – without disclosing that the Price-Hike Strategy and illegal

collusive activities also significantly impacted profitability:

       [Vigodman:] [W]e started 2014 with a clear message, clear focus getting the
       house [in order] first, solidifying the foundation of Teva. You see the profound
       change in the generic business, you know these are things that are not confined
       to numbers, but [inaudible] 16.7% operating profit in 2013, 21.9% operating
       profit 2014. We are committed to deliver 27% operating profit 2015. The
       execution of the cost reduction program $600 million dollars of net savings 2014,
       $500 million dollar 2015 . . . . Full transformation of our operational network. We
       closed or divested 11 plants during the last 12 months, we centralized
       procurement . . . .

                So everything that was done during 2014 was based on organic moves
       only . . . .

                                          *       *       *

       [Olafsson:] Erez mentioned the profitability 2013 and the challenge. We have
       improved the generic business by 1,000 basis point[s] on a revenue of around
       $10 billion, that is $1 billion improvement in 14 months, 16 months that we have
       done.




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       522.    On July 27, 2015, Teva filed a Form 6-K, signed by Desheh, attaching a press

release announcing “Teva to Acquire Allergan Generics for $40.5 billion Creating a

Transformative Generics and Specialty Company Well Positioned to Win in Global Healthcare.”

The Form 6-K described Teva as a provider of affordable generic medicines at “the most

competitive prices” and quantified the “substantial financial benefits” of the acquisition. The Form

6-K, however, failed to state that Teva was engaging in anti-competitive activities with substantial

price hikes, and the Company’s projections were based on artificially inflated and unsustainable

historical performance impacted by collusive activities:

               This strategic acquisition brings together two leading generics businesses
       with complementary strengths, brands and cultures, providing patients with
       more affordable access to quality medicines, and creating significant financial
       benefits for Teva stockholders. . . . The new Teva will further transform the global
       generics space through its best-in-class generics pipeline, R&D capabilities,
       operational network, supply chain, global commercial deployment and
       infrastructure to achieve greater efficiencies across the healthcare system and
       provide patients and consumers across the globe with better access to high quality
       affordable medicines.

               When combined with Teva’s strong generics portfolio, Allergan Generics’
       world-class generics pipeline, which holds a leading position in first-to-file
       opportunities in the U.S., will further enhance Teva’s goals of delivering the
       highest quality generic medicines at the most competitive prices and cultivating
       the best development pipeline in the industry.

                                         *       *         *

       Substantial Financial Benefits

               The transaction is expected to provide substantial financial benefits for Teva
       including highly diversified revenues and profits, and substantial cost synergies and
       tax savings. Teva expects Allergan Generics to contribute approximately
       $2.7 billion in EBITDA in 2016, excluding synergies. Following the completion
       of the acquisition, Teva is expected to have pro forma sales of approximately
       $26 billion and EBITDA of approximately $9.5 billion in 2016, including an
       estimated $11 billion in sales outside of the United States. Teva also believes the
       acquisition will be significantly accretive to non-GAAP EPS, including expected
       double digit non-GAAP EPS accretion in 2016 and more than 20% accretion in
       year two and year three following the close of the transaction.

                                         *       *         *

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       This acquisition furthers Teva’s promising future in generics with a focus on
       patient needs, improving compliance, convenience, efficacy and safety, and
       providing affordable generic products to patients and society worldwide.

       523.   On the same day, Teva held a conference call with a slide presentation to discuss

Teva’s acquisition of Actavis, attended by Vigodman, Olafsson, Peterburg and Desheh. On the

call, Vigodman informed investors that the Actavis acquisition would generate 5% CAGR for

revenues, over 10% growth for EBITDA, and 12.5% growth for cash flow from operations:

       [Vigodman:] During [the] 2016 to 2018 timeframe, we expect to grow pro forma
       net revenues by a CAGR of 5%, pro forma EBITDA by 10.1%, pro forma cash
       flow from operations by 12.5%, and pro forma free cash flow by 14.4%. The
       combined Company free cash flow would allow for rapid de-leveraging and the
       ability to continue to pursue future acquisitions to expand our portfolio in both
       specialty pharmaceuticals and generics.




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                                         *      *       *

              I said it and I’m just going to hit it now again, that is not the acquisition
       which focuses on cost savings only, a look at the growth profile that we will be
       portraying between 2016, 2018 top-line growth of 5% now we’re on organic
       moves only basis. EBITDA and profits more than 10% CAGR, cash flow more
       than 12% and 14% CAGR . . . .

       524.    On July 30, 2015, Vigodman, Desheh, and Olafsson hosted the second quarter 2015

earnings call and boasted about the significant outperformance of the U.S. generic drug business –

with outsized profitability growth of close to 1,100 basis point in the past two years – with no

mention of the impact of the Price-Hike Strategy and collusive price-fixing and market allocation

on the performance:

              [Desheh:] When we look at our revenue breakdown by market, the US
       market is increasing in prominen[ce], reflecting our strong focus on US generics
       business and a record quarter for Copaxone sales in the United States. . . .

               . . . When we look at the bridge of our quarterly revenues, strong results of
       our generics driven by the successful launch of aripiprazole, ABILIFY, this
       quarter, and esomeprazole, NEXIUM, which was launched in Q1, increased it
       significantly.

                                         *      *       *


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              The result of all this is a strong trend of improvement in operating margin
       for Teva over the past 18 months of almost 500 basis points in operating profit.
       This was built upon the impressive improvement in the profitability of our generic
       business.

                                          *       *       *

       [Olafsson:] Teva has an outstanding team. If you think about the generic team at
       Teva, they have improved the profitability of the Teva generic business by
       approximately 1,100 basis points in two years.

       525.    On October 29, 2015, Teva held its third quarter 2015 earnings call. Vigodman,

Desheh and Olafsson participated in the call.

       526.    During the call, Olafsson unleashed a diatribe against proposed governmental

efforts to rein in generic prices, criticizing the proposal’s review of pricing on an individual drug

basis, and claimed Teva took price increases only due to “some abnormalities in the market” – all

without disclosing that Teva was engaged in the Price-Hike Strategy and collusive price-fixing

and market allocation schemes to artificially inflate generic drug prices. Vigodman, in turn, falsely

assured investors that Teva was “very responsible” with respect to its pricing and its profitability

was not driven by price:

               [Olafsson:] The talk about the inflation in generics, when you have a big
       portfolio it is really not there. 95% of our portfolio is declining, due to the
       consolidation of the customers I talked about. There might be [5]% of the portfolio
       that is either flat or increasing in pricing, due to some abnormalities in the
       market. The proposal on the table now, is that you cannot increase prices for more
       than inflation of generics. But it doesn’t take into account that I am declining on
       95% of my portfolio, because they want to look at it molecule by molecule. That’s
       number one.

               And then secondly, from what time point will you look at the price? Will
       you look at the price from when the generic launched, which would be fair. Or do
       you looked [sic] at the low point, after four or five quarters, when you have a
       fierce competition in the market? I think this could easily lead to shortages in the
       market, because there is product out there, if you cannot take a price increase, you
       simply go off the market.

               Secondly, it doesn’t take into account that API increases are not according
       to inflation. So not that you don’t notice, but I’m quite excited about this. And
       really I think it’s [a]n unfair proposal. And I think the government is shooting
       their self in the foot, in terms of shortages in the market. And how unfair this
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       will be – I think to the patients at the end of the day, because when the patients
       don’t get their drugs, I think that will really be when people speak up.

                                        *       *      *

              I still think the pricing environment has been quite favorable for generics
       versus six years ago.

                                        *       *      *

       [Vigodman:] We are very responsible to in [sic] everything that pertains to prices,
       on the generic side and on the specialty side. And I will even put in another way,
       all the improvement you see in margins is not driven by price. It is driven by
       quantities, and by mix, and by efficiency measures, not by price, 2014, 2015. And
       that’s a very important message.

       527.   On November 19, 2015, Desheh participated in the Jefferies Autumn Global

Healthcare Conference and assured investors that Teva played the competitive game fairly, “by

the book and by the rule.” Hence, Teva’s exposure to potential government efforts to rein in

generic prices “is as small as anybody can have”:

       There is a lot of noise around pricing issues. Some of it is coming from politicians
       or a driving agenda, which is very, very legitimate. Our exposure to all these
       things is very minimal.

                                        *       *      *

               And Teva was not associated with any of that. So we are playing the
       competitive game. We are playing it fairly. We, of course, play by the book and
       by the rule. And we believe that our exposure to any initiative on price reduction
       in the United States is as small as anybody can have.

       528.   Teva filed its (i) ADS/Preferred Registration Statement on November 30, 2015,

(ii) Preferred Prospectus Supplement on December 3, 2015, and (iii) ADS Prospectus Supplement

on December 3, 2015 – all of which incorporated by reference the materially false and misleading

statements in the 2014 Form 20-F (§III.J.1), and the 1Q2015 Form 6-K, 2Q2015 Form 6-K, and

3Q2015 Form 6-K (§III.J.5).

       529.   In addition, the Preferred Prospectus Supplement and ADS Prospectus Supplement

contained materially false and misleading statements concerning Teva and the combined entities’


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revenues – with no disclosure that the revenues were artificially and unsustainably inflated by

collusive activities:

                For the nine months ended September 30, 2015, our generics segment
        represented approximately 46% of our revenues. Following the consummation
        of the Actavis Generics acquisition, generics will comprise a significantly larger
        component of our business, expected to be approximately 60% of our revenues.
        Accordingly, we will be increasingly subject to the risks associated with that
        business.

                                         *      *       *




        530.    On January 5, 2016, Teva issued its 2014 Global Citizenship Report, which, again,

repeatedly touted Teva as the leading provider of affordable generic medicines with generic drugs

pricing reductions of 8.4% in the United States in 2013. Further, defendant Cavanaugh falsely

claimed that Teva brought “‘cost savings to patients each year’” and worked “‘to make products

more accessible’” – without disclosing that Teva’s Price-Hike Strategy and collusive activities had

made generic medicines unaffordable to millions since 2013:

               We changed the game in healthcare by shaping the U.S. generics market
        and other markets around the world, making medicines affordable for millions of
        patients, and saving healthcare systems many billions of dollars each year.

                                         *      *       *

        Message from Teva’s President and CEO, Erez Vigodman

                                         *      *       *

        We also reduced the price on gold-standard therapies and medicines in key
        markets, helping healthcare services, payers and patients save billions of dollars.

                                         *      *       *

              Our passion – as great today as it was when Teva was founded as a single
        pharmacy in Jerusalem – is the fundamental aim to save money for healthcare
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       systems, allowing for efficient use of resources and ultimately achieve better
       outcomes for patients. I am proud of what the people of Teva have accomplished.
       Guided by our unwavering commitment to conducting our business responsibly
       and ethically, we continue to influence healthcare decisions for billions of people
       around the world.

                                        *      *       *

              Teva’s generic drug prices were reduced by 8.4% in the U.S. in 2013 –
       double the average price reduction of the 280 top generic drugs sold in the U.S.
       market.

                                        *      *       *

       Affordable healthcare

              We believe that affordable healthcare should be available to all and as a
       global pharmaceutical company, we make a constant effort to make this possible.

              Affordable healthcare affects not only emerging economies and those living
       in extreme poverty. It also affects the quality of life for populations of the
       developed world. National economies are strengthened when their populations
       enjoy good health. By helping to increase access to affordable healthcare, we
       make a positive contribution to the global economy.

                                        *      *       *

              “As the largest supplier of generics in the U.S. market, we bring cost
       savings to patients each year and also reduce our costs on an ongoing basis. We
       are continuously working to make products more accessible, especially when
       there are drug shortages in the market.”

       Maureen Cavanaugh, SVP, U.S. Generics Sales & Marketing

                                        *      *       *

       Conscious of the need to ensure generic medicines remain affordable for older
       Americans as well as other patients, we reduced the price of four most frequently
       prescribed generic drugs by 7-21%. Overall, our generic drug prices reduced by
       8.4% – double the average price reduction of 280 generic prescription drugs
       examined by AARP. At the same time, the general inflation rate rose by 1.5%.

       531.   On January 11, 2016, Vigodman and Olafsson participated in the J.P. Morgan

Healthcare Conference. During the conference, Vigodman reiterated the materially false and

misleading projections and emphasized that, with the Actavis acquisition, Teva would generate

$20 billion to $25 billion of free cash flow between 2016 to 2018. At the same time, in response

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to analysts’ concerns that McKesson had warned “some may be [sic] challenging pricing on the

generics side or an expectation of that going forward,” Olafsson assured investors that Teva would

be insulated from any potential generic drug pricing erosion because the Company had made only

a “flat or slight increase” to 5% of its portfolio and experienced price declines on the remaining

95%:

       [Vigodman:] So basically during 2016 – during 2016 to 2018 time frame, we will
       grow the bottom line of Teva by more than 10%, including the effect of the
       acquisition. We’ll grow the EBITDA, the cash flow for operation and free cash
       flow, by 20% CAGR during 2016 to 2018 time frame, including the effect of the
       acquisitions.

               Now, on an organic basis, during 2016 to 2018 time frame we will grow
       top line on organic basis, without – excluding – the effect of the acquisition, by
       4% to 5% CAGR top line, EBITDA by 8% to 10% CAGR, cash from operations
       by 10% to 12% CAGR and free cash flow by 12% to 14% CAGR.

                                         *       *       *

               Teva will generate during 2016 to 2018 time frame between $20 billion to
       $25 billion of free cash flow. Teva will generate on a run rate basis from 2018
       onward between $8 billion to $9 billion of free cash flow. It will enable us to not
       just to relever swiftly but also to direct resources towards unique assets that will
       enable us or help the Street to assign a higher multiple on higher EPS to Teva.

                                         *       *       *

               [Olafsson:] The generic pricing – we need to keep in mind there’s a lot of
       talk about inflations in generic pricing. But what we see is there’s – overall on our
       total portfolio of 270 products, there is a slight decrease in pricing. It’s low single
       digit, but year on year we see a low single-digit decrease because on 95% of our
       portfolio, we experience price decline. And then on 5%, we might be flat or a
       slight increase. So, overall, we see that in the business.

              There’s a lot of headlines of examples of big price increases in generics.
       But when you are a company of the size of Teva and you have the portfolio that
       we have today – as I said, 270 products for the whole of the portfolio – there is a
       decline.

                                         *       *       *

               But if at some point in time the FDA would start to catch up and they would
       start to approve some of these 3,000 applications, there could be an impact on
       pricing of the generic industry. How we think about it is the combined Company
       at closing will have over 300 ANDAs. So if the FDA starts to approve products

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       faster, we will have a net benefit from that versus the pricing pressure that we
       experience.

       532.    On January 25, 2016, Teva filed a Form 6-K, signed by Desheh, to announce the

release of its Corporate Social Responsibility Highlights. Despite the Company’s Price-Hike

Strategy and collusive activities, in the Form 6-K, Vigodman touted Teva’s effort in decreasing

generic drug prices in the United States and making healthcare accessible:

       Teva President and CEO Erez Vigodman [stated:] “The highlights released today
       demonstrate our evolution over the last few years as we make healthcare
       accessible for billions of people around the world and seek to reduce the burden
       on national economies and investing in development to bring new therapeutic
       options to patients.”

              Teva’s work in decreasing generic prescription drug prices in the U.S.,
       saving billions for the UK National Health Service, lowering greenhouse gas
       emissions and other recent insights into the company’s social responsibility and
       innovation efforts can be found in “Innovating for Better Health: Teva Global
       Corporate Social Responsibility Highlights.”

       533.    Furthermore, in the publication, Teva and Vigodman falsely represented that the

Company had reduced medicine prices to save patients billions of dollars and tackled challenges

of affordability through its business, as opposed to philanthropy:

              In this report, we share with you the stories of how we are meeting this
       commitment: how we innovate and collaborate with our stakeholders to address
       unmet patient needs, develop new therapies, expand the availability and
       affordability of our medicines and respond to the needs of our local communities.

               . . . We also reduced the price on gold-standard therapies and medicines
       in key markets, helping healthcare services, payers and patients save billions of
       dollars.

                                         *       *      *

       Guided by our unwavering commitment to conducting our business responsibly
       and ethically, we continue to influence healthcare decisions for billions of people
       around the world.

                                         *       *      *

               As a leading global healthcare company, we are deeply engaged with the
       issues relevant to our stakeholders and our business, such as accessibility and


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       affordability of medicines; patient safety and patient support services;
       strengthening healthcare systems and acting ethically and responsibly.

                                        *      *       *

              To find new ways to make healthcare available to and affordable for all,
       in 2014 Teva spent nearly $1.4 billion on research and development. In generics
       alone, we invested $517 million, an increase of five percent from 2013, to
       enhance the most affordable and accessible drugs in our product line.

                                        *      *       *

       We aim to expand sustainably and tackle challenges of access and affordability
       through our business, not philanthropy.

       534.   On February 11, 2016, Teva held its fourth quarter and full year 2015 earnings call.

Vigodman, Desheh and Olafsson participated in the call.

       535.   During the conference call, all three defendants touted Teva’s performance in 2015

as a record year for operating income, EBITDA, EPS, cash flow and profitability margin driven

by the generics segment – without disclosing that all of these metrics were inflated by the

Company’s Price-Hike Strategy and illegal price-fixing and market allocation activities. In fact,

Olafsson falsely assured investors that the record performance was achieved “[n]ot by pricing,”

and refuted news of generic drug price inflation by asserting that Teva and its competitors all

experienced pricing pressure and declines – albeit Teva experienced less of a decline because “we

ha[d] been right in adjusting the business.” On the basis of these misleading claims, Vigodman

re-affirmed the growth projections made during the Actavis acquisition announcement “[u]sing

2015 as the base year” for top-line, EBITDA, cash flow from operations, and free cash flow

growth:

       [Vigodman:] 2015 was a year of exceptional operational and strategic performance
       for Teva. We delivered in 2015 record operating income, EPS and cash flow,
       while improving profitability margins across the board. Our financial
       performance was based on excellent execution in generics, with significant
       improvement in profitability, strong execution of specialty life-cycle management
       initiatives, continued transformation of our global operations and network, and
       strong focus on cash flow generation.

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                                  *      *       *

EBITDA grew by 6% to $6.6 billion, cash flow for operations grew by 8% to
$5.5 billion, and free cash flow grew by 15% to $4.9 billion. . . .

       In 2015, we continued the operating profit improvement of our generic
business, while maintaining the operating profit of our specialty business, in a year
when we face for the first time generic competition to Copaxone and invested in
building the future of our specialty franchises.

                                  *      *       *

       Our strong focus on solidifying the foundation of Teva and improving our
business fundamentals is manifesting itself in the operational step-up since the
beginning of 2014 and the continuous improvement on all relevant financial
matters.

                                  *      *       *

       Today we are reaffirming our 2018 target, first presented last year when
we announced the proposed Actavis Generics acquisition. Using 2015 as the base
year, we project a CAGR for top-line growth of 12.5% and 20% CAGR growth in
EBITDA, cash flow from operations, and free cash flow.

                                  *      *       *

       Last but not least, we expect to generate $20 billion to $25 billion of free
cash flow during the 2016 to 2018 timeframe.

                                  *      *       *

       [Olafsson:] 2015 was a very good year for Teva Generics. Thanks to our
strong performance of the base business and good new products launches, we
delivered great results in the US and in major markets globally. We continued
improving the operating profit of the generic business, coming from $1.68 billion
operating profit in 2013, or 17% of revenue, to $2.68 billion operating profit in
2015, or 28% of revenue. This is $1 billion improvement in operating profit over
24 months period.

       So how did we do this? Not by pricing but by portfolio mix, new products,
and efficiency measures.

                                  *      *       *

As I’ve previously stated, we and the generic industry overall don’t see price
inflation of generics as it sometimes is portrayed in the media. On the contrary,
for 2015, we saw a mid-single-digit price decline for the overall business.

       In the US, our largest market, we saw approximately 4% price erosion. . . .


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              Looking forward, the conjunction of price erosion with the mix changes,
       focus on cost structure, and the new product launches, we continue to drive our
       business growth, both top line and bottom line. We expect to see the same in
       2016. Nothing today points to a significant change in the generic pricing
       environment.




                                       *       *      *

       As I mentioned in the beginning, we didn’t see anything change in [the] fourth
       quarter. We saw approximately 4% pricing pressure or price decline in the US
       business over 2015 flat over the year. Some of our competitors have seen more
       pressure. I think overall, it might have to do with some dosage form differences.
       But also I think we have been right in adjusting the business.

                                       *       *      *

       But keep in mind that from fourth-quarter 2014 to fourth-quarter 2015, there is
       a 200-basis-point improvement [in] the operating profit. So there were no
       exclusive launches in either quarters. So the base business, overall base business
       improvement from the 12-month period was 200 basis point from fourth quarter
       to fourth quarter. So I think the overall business is improving.

       536.    The statements in ¶¶519-535 were materially false and misleading or omitted

material facts. In particular:

               (i)     Defendants’ statements above concerning Teva providing affordable

generic medicines at the “most competitive prices,” working continuously “‘to make products

more accessible,’” experiencing price declines on 95% of the portfolio and a “mid-single-digit

price decline” for 2015 with price erosion of 4% in the United States contributing to a more

favorable pricing environment for generic drugs versus six years ago, having “minimal exposure”
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to price reduction initiatives in the United States, reducing generic drug prices by 8.4% in the

United States in 2013 and “the price of [the] four most frequently prescribed generic drugs by 7-

21%,” “strengthening healthcare systems and acting ethically and responsibly,” and “tackl[ing]

challenges of access and affordability through our business” were materially false and misleading

when made because: (a) Teva was engaged in collusive price-fixing and market allocation schemes

and the anti-competitive Price-Hike Strategy that caused generic drug prices to skyrocket; (b) Teva

made at least 71 massive price increases on selected generic drugs during 2013 to 2015, with at

least 48 increases made in tandem with purported competitors and at least 19 increases made

collusively; and (c) in 2013, Teva implemented price hikes in the range of 22% to 812% for at

least 18 generic drugs in United States;

                (ii)    Defendants’ statements above that improving sales, revenues and

profitability were achieved through new product launches, lower expenses, cost reduction,

operating efficiency, and an outstanding generics team at Teva and “[n]ot by pricing” were

materially false and misleading when made because: (a) Teva’s financial results were inflated in

part by illegal collusive activities and the Price-Hike Strategy; and (b) the Company generated

$1.79 billion in Collusive Profit and Inflated Profit during 2013 to 2015, which contributed

significantly to the financial results;

                (iii)   Defendants’ statements above concerning pro forma sales and growth

“using 2015 as the base year” were materially false and misleading when made because both

measures were based on and included sales and growth derived from the unsustainable Price-Hike

Strategy and collusive anti-competitive activities;

                (iv)    Defendants’ statements above that price increases occurred only during

periods of “abnormalit[y] in the market,” such as drug shortages or an increase in demand, were




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materially false and misleading when made because the Price-Hike Strategy was implemented on

drugs for which no such abnormality had in fact occurred; and

               (v)     Defendants’ statement that “[n]othing today points to a significant change

in the generic pricing environment” was materially false and misleading when made because:

(a) Teva’s Inflated Profit began to decline by close to 8% and 24% quarter-over-quarter in the third

quarter and fourth quarter of 2015, respectively; and (b) the anti-competitive practices in the

generics industry that contributed substantially to the Company’s financial results were drawing

increased scrutiny, which made it increasingly difficult for Teva and other manufacturers to

continue to hike prices.

        537.   On March 8, 2016, Olafsson attended the Cowen Health Care Conference during

which he discussed pricing erosion and drivers of Teva’s profitability growth between 2013 and

2015. He reiterated that Teva saw less than 4% pricing erosion in 2013, 4% in 2014, and 4%-5%

in 2015 – even though less than three months before, in its 2014 Global Citizenship Report, the

Company represented to investors that “[c]onscious of the need to ensure generic medicines remain

affordable for older Americans . . . our generic drug prices [were] reduced by 8.4%.” In addition,

Olafsson falsely assured investors that Teva’s 1,100 basis point profitability growth between 2013

to 2015 was driven by improvements in cost of goods sold, portfolio selection, and cost

infrastructure – without disclosing the impact of Teva’s Price-Hike Strategy and collusive

activities:

        So we came out in our fourth quarter results, and told the market that we had
        seen approximately 4% price decline in the US market in 2015. And overall for
        Teva generics, we saw approximately 5% price decline in the market in 2015.
        And anyway, when I came out, we were one of the first to come out, I thought I
        was bringing some negative news. But now suddenly I look like the good guy in
        a bad neighborhood. Because some of the other companies saw worse price
        pressure than we saw.

               I think overall the pricing hasn’t changed that much. There was a lot of
        talk about inflation in generic pricing. But we never saw that. That was an

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       individual molecule basis, they used example of products that really were not
       generic products, even though they were off-patent, and in an environment where
       there was an inflation never really happened in the generic business. And there has
       been a decline there.

                                         *       *      *

       So as of today, I came out with 4% in 2015. As of today, I don’t see any big
       changes in the pricing environment. It’s relatively stable. 4% is worse than
       maybe two years ago. But it’s similar to what we saw in 2014.

                                         *       *      *

       [F]rom 2013 to 2015, we grew the operating profit of the generic business from
       17% in 2013, and we exited for the full year of 2015 we were at 28.1%. So it’s
       about 1,100 basis points we improved the profitability on approximately
       $10 billion in revenue. So it was a significant improvement over a 24-month
       period. Part of that was due to the improvement in our cost of goods sold, very
       important in consolidation of plants and looking for the money there. But also
       part of it was due to portfolio selection and the cost infrastructure.

       538.      On May 9, 2016, Teva held its first quarter 2016 earnings call. Vigodman, Desheh

and Olafsson participated in the call.

       539.      During the conference call, Vigodman and Desheh assured investors that – even

though sales declined in the U.S. generics segment – EBITDA, operating income, cash flows from

operations, net income and EPS were unchanged due to improved profitability and “portfolio

optimization,” without disclosing that Teva’s sales from its Price-Hike Strategy and collusive

activities in the generic drug markets flowed directly to the bottom line and inflated each one of

these metrics:

              [Vigodman:] EPS for Q1 2016 is $1.20, at the top end of our quarterly
       guidance. We have improved our profitability, profit margin by 144 basis points,
       and operating margin by 101 basis points. Cash flow from operations in the
       quarter was a robust $1.38 billion. Our solid performance was driven by
       continual improvement of our core business, with a strong focus on profitability,
       cost control, and portfolio optimization.

                                         *       *      *

               Our global generics business generated 26.9% operating margin in the
       quarter, without major new launches in the US and other key markets.


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                                        *      *       *

       [Desheh:] As you can see from the highlights presented here, this was another
       strong quarter for Teva. Sales declined by 3%, mostly due to exchange rates
       impact. However, operating income, EBITDA, net income, and earning per
       share were at the same level of last year, due to improved efficiency, and
       profitability – and Q1 last year was a very strong quarter as well.

       540.   In turn, Olafsson assured investors that customer consolidation had already taken

effect two years ago, and during that period, Teva’s generic business’s operating profit actually

increased by 140 basis points, and emphasized that Mylan and Allergan were seeing a similar level

of price erosion as Teva. However, throughout his discourse, Olafsson failed to disclose that the

Company’s Price-Hike Strategy and widespread collusive pricing-fixing and market allocation

schemes had inflated Teva’s operating profits and mitigated the effects of price erosion for Teva

and its co-conspirators, such as Mylan and Allergan:

       Now, we fast-forward to April and May, to a new reporting season, and we find the
       number of companies citing a tougher pricing environment or price deflation seems
       to have grown at an almost incredible rate. . . .

               . . . Teva has not seen any fundamental change or worsening in the
       pricing environment – something we have been consistent about telling investors
       all year. Teva experienced approximately 4% price erosion in the United States
       last year, and our guidance for this year is that it will remain the same. In fact,
       Allergan, and Mylan, two other companies with broad and diversified portfolios
       and high quality products, have also reported similar trends. From where I sit
       today, there is nothing that changes my mind about that. Nothing has happened
       in the last two quarters that has changed the pricing environment. What this
       boils down to is each individual company’s business model . . . .




               Additionally, we have heard from many of the companies in this sector that
       consolidation of the customers is having an impact on the pricing environment. Of
       course, this consolidation creates pressure on generic manufacturers, but there has
       been no meaningful change in the last two quarters. We believe we have already
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reached a new status quo with the big customers; the fees and charges resulting
from the customer consolidations are more or less already built into the pricing
of the products when most of the consolidation took effect 24 months ago.

       Overall, Teva’s generic business in the first quarter 2016 performed
extremely well. The operating profit compared to last quarter improved by 140
basis points from 25.5% in the fourth quarter 2015, to 26.9% in the first quarter
2016. When compared to first quarter 2015, the operating profit declined by 360
basis points, fully explained by the exclusive launch of generic Nexium,
esomeprazole, in the first quarter 2016. Excluding the exclusivity period of
esomeprazole in first quarter, the profit margin of the generic segment was 24.4%.

       So why is Teva different? Why is our performance better than most
generic companies? Why are other companies continuing to say, there is a
pricing pressure greater than what we at Teva are seeing? . . .

         . . . Some companies are aggressive in going after market share for a variety
of reasons, including to utilize excess capacity with relatively cheap volume. But
in order to do that, you’ll have to drive down price. Buying new market share in
price will cost you on the bottom line. We, on the other hand, are seeing our
volumes go down, deliberately, net-net approximately 1% a year, because we
think that is better for our business, and we would rather reduce capacity, than
fill it with less profitable products.

                              *       *       *

        We have taken a significant step to transform our generic business, solidify
our foundation, increase our profitability, and to better position us to generate
sustainable long-term growth. These many steps have included portfolio
optimization, strengthening our capabilities in R&D, and manufacturing of
complex products, regaining a leading position in submission on first-to-files,
enhancing our go-to-market, and sales force effectiveness capabilities, and
much, much more. These are the very capabilities that companies must possess in
order to thrive at the global level. We have created a unique and differentiated
platform, positioned to extract significant value in the global growing generic
space.

                              *       *       *

        I can’t obviously comment on why ABC [AmerisouceBergen] is seeing a
high single-digit price erosion when we are talking about 4%. But I would remind
you both Cardinal and McKesson are seeing the similar numbers that we are
quoting, that Mylan is talking about, and also what Allergan is talking about. So
it’s not all that bad. That’s number one. Number two, in terms of the – not all
companies are created equal, and one investor asked me is, are you the only good
house, in a really bad neighborhood?

       And I don’t think that’s it, because I think the other houses are blaming the
neighborhood for their maintenance issues. They are working with leaking houses,
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        and it has to do with renewal of the portfolio, of lack of investment in generic R&D.
        That keeps you growing the business, because that is the key at the end of the day.
        So I don’t think you can look at companies, different companies, and say if
        company A is experiencing 7% price erosion, that should be the market norm. You
        have to look at it differently for a company that has a big portfolio, strong new
        product launches, a differentiated portfolio, and a high quality portfolio.

        541.    In the same conference call, in response to an analyst’s question concerning

whether the announced Actavis acquisition price was still considered fair given the environment,

Vigodman answer with an unequivocal “absolutely yes,” because, “from all of the messages that

we are conveying in here, we strongly believe that we will be able to generate the economics that

we promised.” Later in the call, he re-affirmed his projection of generating $20 to $25 billion of

free cash flow in the first three years:

        [Tim Chiang – BTIG – Analyst:] Now, I know that you guys announced this deal
        back in July of last year. What can you comment about, in terms of the price you’re
        putting on the table for Allergan? You think that’s still a fair price in today’s
        environment?

                [Vigodman:] Hi, Tim. The answer is absolutely yes. The strategic value
        of the deal, is at least the one that it was when we announced the deal. We have the
        opportunities in that US generic market, and in the global generic space are huge.
        And we strongly believe, that with everything that we are witnessing now, our
        opportunities for Teva are even bigger, compared to basically where [sic] when
        we announced the deal. So for us, what we’re creating in here, is a very unique
        platform, with the same at least the same strategic value that we alluded to when
        we announced the deal. And at the end of the day, it is also about the economics.
        And from all of the messages that we are conveying in here, we strongly believe
        that we will be able to generate the economics that we promised.

                                           *     *       *

        Furthermore, the combined Company of Teva and Allergan generics will
        generate significant amounts of cash. We mentioned numbers like $20 billion to
        $25 billion during the first three years following the closing.

        542.    On June 3, 2016, Vigodman participated in the Sanford C. Bernstein Strategic

Decisions Conference. During the conference, Vigodman attributed Teva’s substantial operating

profit growth between 2013 to 2015 to its business in emerging markets and touted the Company’s

generics business as generating over $240 billion in savings in the United States during the past

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decade, while concealing that Teva’s Price-Hike Strategy and illegal collusive activities in the

United States directly contributed to its bottom line and offset savings to the U.S. consumers of

generic medicines:

       [Vigodman:] We generated $1.6 billion of operating profit, which basically
       represented 17% operating profit – by our entire generic global generic business
       in 2013. 2015, we generated 28% margin, $2.7 billion of operating profit. . . . We
       are improving significantly also the business in emerging markets. In emerging
       markets, this is a very profitable business.

                                          *       *       *

       [T]he generic industry saved $1.6 trillion during the last decade they were in the
       United States. The contribution of Teva is $240 billion to $260 billion during the
       last 10 years in the United States.

                                          *       *       *

              So we are very consistent. Our message was conveyed, and we will continue
       to convey. What we see is a 4% to 5% erosion. That’s what we see. That’s not
       something which is different from what we said during 2015. By the way, we
       continue saying it in 2016. I think our results in Q1 demonstrated that.

       543.    On June 8, 2016, Olafsson participated in the Goldman Sachs Global Healthcare

Conference and misleadingly reassured investors about the pricing environment by affirming that:

(i) the pricing environment had not changed since the Actavis deal was signed; (ii) Teva, Actavis

and Mylan had experienced a similar magnitude of price erosion; (iii) the cream and ointment

space had experienced greater price erosion as the opportunities to hike prices, which had occurred

two years ago, were no longer in existence; (iv) products with five or more players in the market

were so competitive that prices were “so low anyway”; (v) price increases taken two years ago

were due to shortages created by the FDA with its import ban; and (vi) customer consolidation

would have “little or very insignificant” impact on pricing. Throughout the conference, he failed

to disclose that Teva was engaged in the Price-Hike Strategy and widespread anti-competitive

activities to artificially inflate pricing – including in the cream and ointment space – and that such




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conduct mitigated the price erosion experienced by the Company and its co-conspirators, such as

Mylan and Actavis:

       But really, the environment hasn’t changed. When we signed that [Actavis] deal
       in July, we talked about 4% price erosion in the US generic business. And we
       are still talking about the same number, what we see in the base business.

                                    *       *      *

               So when you are in a niche industry, like if you are in creams and
       ointments now, where there is pricing pressure that is not a big portion of our
       business. But we need to be wide. I think the challenge has been that the
       companies, the medium-sized companies which don’t have a big enough portfolio,
       don’t have a differentiated enough portfolio, companies that have really gained
       significantly from raising prices in the previous years on maybe one or two
       molecules, and have shown growth year on year based on two molecules; those
       days are gone.

              Because the opportunity of raising prices are not exactly the same as they
       were before. . . .

               But I challenge the competition as saying it’s not the environment that is
       bad in pricing. You can blame the environment all you want. But it’s the business
       model itself that is failing when you cannot take the same pricing action you
       could do two years ago.

                                    *       *      *

       So Mylan, Actavis, Teva, Capital Health and McKesson; we all are seeing the
       same or similar things. So two of the big three customers, and three of the big
       four generic companies are seeing the same or similar numbers in terms of price
       erosion.

                                    *       *      *

               So, you know, I’ve been running a US generic business for about 10 years,
       so the last 10 years. And the swings have been from about minus 1% to about
       minus 7%. Those have been the extremes. So minus 1%, about two years ago
       when they started the price increases. There was a lot of shortages in the market.
       This is when the FDA went very strongly and had the import bans and things like
       that, which led to shortages, which meant that the overall business was doing much
       better.

                                    *       *      *

               But overall these are the swings. You will see 3% to 5% every year. I don’t
       expect it to be much worse than 7% to say on a big portfolio. What plays into it
       is I don’t think there could be more consolidation of the customers. For Walmart

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       to go to McKesson really doesn’t move things. Walmart already has very good
       pricing. So I think the impact on pricing is very little or very insignificant.

                                        *       *       *

       And when a product has five or more competitors in the market, the pricing
       doesn’t get much worse. Because it’s so low anyway. Where we are hit on pricing
       is when you’re exclusive or semi-exclusive in the market, and there’s a third and
       a fourth player. That’s really when it hurts in our business.

       544.    On July 13, 2016, Vigodman, Desheh and Olafsson hosted a conference call to

provide a preliminary outlook for 2016-2019 in advance of the consummation of the Actavis

acquisition. During the call, these defendants provided investors with misleading projections for

the combined companies’ financial metrics, including net revenues, EBITDA, free cash flow, and

EPS, while concealing that the assumed generic drug pricing erosion was artificially and

unsustainably inflated by the Price-Hike Strategy and widespread collusive and anti-competitive

activities. In addition, Vigodman represented that Teva had made “huge improvement during the

last two years in cash flow” generation that was “very strongly driven by the improvement of

margin in generics,” but failed to disclosed that the Company’s cash flow and margin

improvements were driven by profits from the Price-Hike Strategy and illegal conduct and were

not sustainable:

              [Vigodman:]     Financially, the [Actavis] transaction yields very
       competitive economics. It is highly synergetic, with $1.4 billion in operational
       and tax synergies achievable by the end of 2019. It is significantly accretive to
       non-GAAP EPS, with approximately 14% accretion in 2017, and approximately
       19% accretion in 2019, and is expected to generate 9.3% ROIC by the end of
       2019. The combined Company will generate more than $25 billion of free cash
       flow from deal close until the end of 2019, including the proceeds from the
       expected divestiture.

                                    *       *       *

              It is also important to note that our 2016 outlook includes five months
       contribution from Actavis Generics. We estimate that we will grow the net
       revenues of the Company from $19.7 billion in 2015 to a range of between
       $26.7 billion and $27.8 billion in 2019, representing midpoint CAGR growth of
       approximately 9% on 2015 through 2019. As for the EBITDA of the Company,
       we estimate that we will grow it from $6.6 billion in 2015 to a range of between
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$10.7 billion to $11.5 billion in 2019, representing midpoint CAGR growth of
approximately 14% from 2015 to 2019.

        Turning next to net income and non-GAAP EPS, we estimate that we will
grow net income from $4.7 billion in 2015 to a range of between $7.5 billion and
$8.1 billion in 2019, representing midpoint CAGR growth of approximately 14%
from 2015 to 2019. This in turn will generate an EPS growth from $5.42 in 2015,
based on a share count of 867 million, to a range between $6.90 to $7.40 in 2019
based on our increased share count of approximately 1.1 billion.

        And finally, free cash flow. We estimate we will grow our free cash flow
from $4.9 billion in 2015 to a range of between $7.2 billion and $7.8 billion in
2019, representing midpoint CAGR growth of approximately 11% from 2015 to
2019. Including the $2.9 billion of proceeds from product divestitures, in 2016,
we expect to generate over $25 billion of cumulative free cash flow between the
close of the Actavis Generics deal and the end of 2019.




                                *      *      *

        [Olafsson:]    Our assumption and what we assume is basically
approximately 5% organic growth that we see year on year. That matters with
the formula I gave you at the earnings call earlier this year – are we assuming
the same pricing of minus 4% or is it minus 5%? It really doesn’t matter what we
say. It is net-net when we have the new launches, minus the price erosion, minus
any volume decline, we are seeing approximately 5% growth year on year.

        In terms of generic pricing in the second quarter, we saw no change in
the pricing. We saw a stable environment, as we talked about, from first quarter
into second quarter. Obviously, in second quarter, as we have highlighted to
investors, there was no significant new launches that we saw in Teva, which
obviously impacts the overall generic numbers. The pricing has remained stable.

                                *      *      *

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        Our assumption for the rest of the year is basically assuming the same pricing
        erosion. It is difficult to say; but as I’m sitting here today, with the information I
        have in hand, we are assuming and now forecasting for the guidance for the
        remainder of the year same pricing assumption as we have had for the first half
        of the year.

                                           *       *       *

        [Vigodman:] Especially looking at the huge improvement during the last two
        years in cash flow. Now we are able to drive up our cash flow generation, cash
        flow from operations and free cash flow in a way that was very strongly driven
        by the improvement of margin in generics. That is the main driving force in
        basically our ability to uplift and step up the cash flow generation from the
        Business.

        545.    On July 13, 2016 and July 19, 2016, Teva filed its Notes Registration Statement

Amendment No. 1 and its Notes Prospectus Supplement, respectively, which incorporated by

reference the materially false and misleading statements in the 2015 Form 20-F, filed February 11,

2016 (§III.J.1); the January 25, 2016 Form 6-K containing the Teva Corporate Social

Responsibility Highlights (¶¶532-533); and the 1Q2016 Form 6-K, filed May 9, 2016 (§III.J.5).

        546.    In addition, the Notes Prospectus Supplement contained materially false and

misleading statements concerning revenues for Teva and the combined entity – with no disclosure

that the revenues were artificially and unsustainably inflated by the Price-Hike Strategy and

collusive activities:

                For the year ended December 31, 2015, our generics segment represented
        approximately 49% of our revenues. Following the completion of the Actavis
        Generics acquisition, the percentage of our revenues and profits attributable to
        sales of generics is expected to increase substantially. . . . [I]t is unlikely that the
        proportion of revenues attributable to generic pharmaceuticals, which will move
        from less than half before the acquisition to nearly two-thirds afterward, will
        change significantly over the next few years. Accordingly, we will be more
        dependent on our generics business and increasingly subject to market and
        regulatory factors affecting generic pharmaceuticals worldwide.

                                           *       *       *




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       547.    On July 27, 2016, Teva filed a Form 6-K, signed by Desheh, announcing it had

received clearance from the FTC for the Actavis acquisition. In the press release, the Company

touted itself as the provider of affordable generic medicines and repeated the false and misleading

projections provided to investors two weeks before:

        Acquisition Strongly Reinforces Teva’s Strategy and Opens New Possibilities in
                                    Generics and Specialty

         Added Capabilities, Assets and Talent Advance Teva’s Focus on Patient Needs
         and Providing Affordable Generic Products to Patients at Every Stage of Life
                                          Worldwide

                                          *       *       *

          Highly Synergistic Transaction Generating Double-Digit Accretion During
                        2017 Through 2019 with 9.3% ROIC in 2019

        Strong Combined Company Free Cash Flow ($25 billion from deal close to the
        end of 2019) will enable rapid deleveraging and continued capital allocation to
                     fuel future growth and generate shareholder value.

       548.    Less than a week later, on August 2, 2016, the Company filed a Form 6-K, signed

by Desheh, announcing “Teva Completes Acquisition of Actavis Generics.” In the Form 6-K,

Teva again touted the Company’s generation of more than $200 billion of savings to the U.S.

healthcare system in the past ten years. In addition, Vigodman repeated the combined companies’

ability to generate “‘significant cash flow’” and top- and bottom-line growth. However, Desheh

and Vigodman failed to disclose that Teva engaged in the Price-Hike Strategy and anti-competitive

price-fixing and market allocation activities that worked to artificially inflate generic drug pricing

and offset any savings to the U.S. consumers of generic medicines.             Furthermore, Teva’s

projections of significant cash flow generation and top- and bottom-line growth lacked a


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reasonable basis and were based on unsustainable pricing levels and revenues due to the Price-

Hike Strategy and collusive activities:

       Erez Vigodman, President and CEO, Teva [stated:] “Through our acquisition of
       Actavis Generics, we are creating a new Teva with a strong foundation,
       significantly enhanced financial profile and more diversified revenue sources and
       profit streams backed by strong product development engines in both generics and
       specialty. This is a platform that is expected to generate multi-year top-line and
       bottom-line growth as well as significant cash flow.”

                                          *       *       *

               Teva’s products generated approximately $215 billion in savings in the
       last decade to the U.S. healthcare system; this number will continue to increase
       and even accelerate as a result of the acquisition.

       549.    On August 4, 2016, Teva held its second quarter 2016 earnings call. Vigodman,

Desheh and Olafsson participated in the call.

       550.    During the call, Vigodman and Olafsson discussed financial projections, pricing

and competition – while concealing Teva’s participation in the Price-Hike Strategy and anti-

competitive activities and the conduct’s impact on pricing and financial projections. Vigodman

repeated the misleading projections, again highlighting the significant accretion and cash flow

generation capabilities of $25 billion free cash flow for the upcoming three years. Olafsson, in

turn, reassured investors of the pricing stability in the market. And when questioned about the

opportunity to raise prices on selected product, Olafsson falsely stated that such opportunities only

arose with exclusive products or when some kind of dysfunction occurred in the market:

              [Vigodman:] Financially, the [Actavis] transaction yields very compelling
       economics. It is highly synergistic with $1.4 billion in operational and tax
       synergies achievable by the end of 2019. It is significantly accretive to non-GAAP
       EPS with 14% accretion in 2017, and 19% accretion in 2019, and is expected to
       generate 9.3% ROIC by the end of 2019. The combined Company will generate
       more than $25 billion of free cash flow from the beginning of August 2016 until
       the end of 2019.

                                          *       *       *

              [Olafsson:] So overall, the business itself is fairly stable. As I mentioned in
       the beginning, we are seeing exactly the 4% price erosion. There is such [sic] not
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       much movement in the other volumes. If you take away these two exceptions, the
       rest of the volume seems to be intact. And then some of the product there has been
       a small volume increase. So overall, a stable business, 4% price erosion in the US,
       and I think a great base to build on now, when we combine the two businesses for
       the future.

                                         *       *       *

       [Chris Schott – J.P. Morgan – Analyst:] As you kind of review the pro forma
       business, do you see the opportunity to raise price on select products here? . . .

               . . . [Olafsson:] On the pricing, as you know, and we know that, the size
       really doesn’t affect the pricing. And I have a strong feeling when you have over
       200 competitors, size has nothing to do about pricing. I think the pricing comes
       with shortages in the market. If you have an exclusive product, if there’s some
       kind of dysfunction in the market, there might be a small pricing opportunity that
       usually comes in and comes out. But overall, the size, and being a combined
       company doesn’t play into that. I feel quite strongly about that.

       551.    On September 7, 2016, Desheh attended a Healthcare Conference hosted by Wells

Fargo Securities. During the conference, Desheh not only maintained that Teva experienced only

4% pricing erosion, but also suggested that for products that Teva had been selling for two years

or more, the Company did not see any pricing erosion at all, and pricing “might even go up a little

bit here and there” – without disclosing that Teva’s pricing was artificially and unsustainably

inflated by the Price-Hike Strategy and collusive activities:

               Now, with talking about prices of the base business, product that we’ve
       been selling more than two years already, the prices are very stable there. Might
       even go up a little bit here and there, depending on demand and supply, and
       demand and availability of competing products in the market, but you don’t see –
       there you don’t see the erosion. Where we see erosion is that you know, you have
       six months exclusivity, you start with the high price, and then obviously more
       competitors go into the market and the price goes down. But when we look at the
       base, there’s no – there’s no pressure on prices.

                                         *       *       *

                Regarding your second question, you know, our role – and that’s how we
       see it, and we truly believe in it – is to bring to the markets, not just the US market
       but global markets, affordable medicines and provide access to billions of people,
       to medicine.




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       552.    On September 9, 2016, Vigodman and Olafsson hosted Teva’s Generic Medicines

Overview conference call. During the call, Olafsson again reiterated the lack of pricing inflation

for generic medicines and 4% pricing erosion for Teva’s U.S. generics segment and assured

investors that its sizeable portfolio shielded the Company from pricing fluctuation – but failed to

disclose that the Price-Hike Strategy and collusive price increases mitigated Teva’s pricing

erosion. Furthermore, Olafsson misrepresented that price increases were only taken when drug

shortages occurred:

       Government is struggling with increased healthcare costs, and really the generics
       are the key to the solution. They are really not the problem.

               There is no inflation in the generic pricing, which I will talk about.

                                     *       *      *

                So I couldn’t conclude the presentation without talking about pricing. So
       first of all, nothing big has changed. We can all breathe in and breathe out.

                                     *       *      *

               So far, what we saw in the end of second quarter was approximately 4%
       in the US and 5% global. So, there will be a fluctuation, and obviously, it will
       affect every generic Company. But the message I want you to take from this slide
       is with our business, with the size of our portfolio, with the flexibility of our
       manufacturing network, with the industry-leading position in the market, we are
       more shielded towards the prices up and down.

                                     *       *      *

       And people that say that the generic – there’s a big generic price inflation, are
       simply wrong.

               You’ve seen it throughout the years. Every year for the last 10 years, the
       price erosion we have seen this between 2% and 7%.

                                     *       *      *

       So first of all, it doesn’t work like we wake up when we are one Company, and we
       can take price increases. Simply, it doesn’t work like that in generics. When price
       increases are taken, there’s some kind of abnormality in the business. There are
       shortages.



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       553.    On November 15, 2016, Teva held its third quarter 2016 earnings call. Vigodman,

Desheh and Olafsson participated in the call. During the call, Olafsson reviewed the performance

of the U.S. generics business and falsely attributed its profitability to cost control and business mix

– while concealing the profitability boost from the Price-Hike Strategy and collusive activities:

               Turning to the performance of our global generics business in the third
       quarter. Total revenues were $2.9 billion, an increase of 32% compared to third
       quarter of 2015, reflecting the results of operation of the Actavis generics business
       from August 2, 2016 or approximately two months contribution. . . .

              In the US, there was a small decline in the Teva legacy generics business,
       which mainly resulted from a loss of exclusivity, and intensified competition for
       generic versions of Pulmicort, Nexium and Xeloda.

                                          *       *       *

              Turning to our profit margins, the generic business came in at 29.9%. By
       exercising strong focus on cost control, and driving the right business mix, we
       compensated for challenges on the top line.

                                          *       *       *

       So I really didn’t expect us to get to 29.9% at this point in time. I think, that
       highlighted with, I think, early synergies, a good work around those synergies,
       but also a very good cost control. But I’m still of the opinion that we can be in
       the 30%s in 2017 with the right mix of product launches.

       554.    Furthermore, on pricing, Olafsson emphasized price erosion was and will be 5%

per year as guided by Teva. In response to an analyst’s question on whether the recent 7% price

erosion had to do with increased competition or reversal of previous price increases, he explained

that the increased price erosion was a one-time event associated with the FTC’s required

divestiture relating to the Actavis acquisition. In addition, Olafsson confirmed that the bullish

growth guidance from the September 9, 2016 conference call remained unchanged, and the recent

underperformance in the legacy Teva generic segment was a temporary event due to a lag in

product launches:

       Let me start on the drug pricing, so overall, like previous quarters, there hasn’t
       been any fundamental change in the US drug pricing. And what we saw in the
       difference between the 5% or mid single-digit we guided for going into it, versus
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exiting at 7%, was the impact of the pricing impact on the divested product. As
we mentioned, to close the transaction and to fulfill the requirement of the FTC, we
had to divest 79 products in the US.

                                  *       *       *

I’m as bullish on the generic business today as I was on September 9 for sure. . . .
The price erosion in the US is similar to what we expected in September. The
impact on the divested product was a little bit more.

      I think the guidance on how we see the pricing environment is very similar
as we guided to in our meeting, the difference being is basically the new
launches. . . .

       . . . But I’m as bullish of seeing the mid single-digit growth as before.

                                  *       *       *

        What has brought the numbers lower than we thought in July for 2016
are the revenue from new launches. That’s very, very simple. We estimated a
significantly higher – there were about three or four key launches that we expected
to get by the end of this year, which are not coming in, that would deliver the
hundreds of millions in revenue which are not coming in. The good news, on this
bad news is, they will come later.

       They will come in 2017 and maybe into 2018. So they’re not lost at all.

                                  *       *       *

        I think maybe to add to the price increases, keep in mind, and we talk a lot
about that, the overall prices in the US of generics always go down. I’ve been in
the business for 23 years, and the prices, even though there are examples giv[en]
of a product going up significantly, maybe a single molecule, even one SKU, but
overall, when you look at the 300 to 400 products we have on the market, our
price erosion on average is about 5% per year.

                                  *       *       *

        [David Maris – Wells Fargo Securities – Analyst:] Just as a follow-up,
Siggi. So what you’re saying is the acceleration in the price decreases that you’ve
seen this past quarter aren’t a result of increased competition on existing molecules,
and it’s not a result of having to tame previous price increases, or give back some
of those?

        [Olafsson:] No, basically, the main reason, David, was that we had to
divest a very good portfolio of products that had limited competition, so we had
to divest it. What our customers did, as they do, is that there is a new player in the
market that took over those products, and that became a pricing pressure on roughly
about 60 molecules of – and these were one of our top – the top molecules we had

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       in our portfolio. So there was an instability that happened in the market during
       the month of August, when the new owners were taking market share.

               It didn’t change the fundamental of the market. It didn’t change the
       structure of the market, or the chemistry of the market, but we saw the impact on
       the divested molecule significantly more than we saw for on the rest of the
       portfolio which gave us a 7% versus 5%, which we assumed going into the
       quarter.

       555.    One month after Olafsson’s firing, on January 6, 2017, Teva held a business

outlook conference call. Vigodman, Desheh and Bhattacharjee participated in the call.

       556.    During the call, defendant Vigodman discussed the drivers of increased

profitability in the generics business since 2014 and attributed the increase to everything but the

Price-Hike Strategy and collusive activities:

               Since the start of 2014, one of our greatest priorities has been to increase
       the profitability of our generics business. In the first three years of this great
       effort, we have been able to improve significantly the margins of Teva’s
       standalone generics business. This has been accomplished with a strong
       emphasis on the cost of goods sold, product mix, and the overall cost structure.

       557.    In addition, during the call, Defendants lowered guidance provided to investors

during the July 13, 2016 conference call – blaming the delay in the Actavis acquisition closing and

new launches, even though the July 2016 guidance was provided a mere three weeks prior to the

completion of the Actavis acquisition. Vigodman falsely assured investors that “very reasonable

assumptions” based on past performances were used in the projections, without disclosing that

Teva’s past performance was unsustainably and artificially inflated by the Price-Hike Strategy and

collusive activities. Furthermore, Bhattacharjee maintained that price erosion expectations would

remain the same, in the mid-single digits, unless threatened by “unique market events,” such as

losing exclusivity due to additional competition. In sum, Defendants continued to provide

misleading projections, with Vigodman stating:

              For 2017, we estimated that Teva’s total revenues will be between
       $23.8 billion and $24.5 billion. For non-GAAP EPS, we estimate a range of
       between $4.90 and $5.30 per share. EBITDA for 2017 is expected to be in a range

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of $8 billion to $8.4 billion. Our cash flow from operations is expected to be
between $5.7 billion and $6.1 billion.

                                  *       *       *

       The 2017 guidance we provided today is significantly below what we
provided in the July [2016] preliminary outlook. Besides FX headwinds ex-US, we
have an EBITDA gap of $1.2 billion emanating from our US generics business.

        . . . The majority of the $1.2 billion gap is attributable to not being able to
realize new launches in our Teva legacy business in a way that is consistent with
our past track-record. As we communicated in November, this impacted the
second half of 2016 and will have an impact on 2017 as well.

       In addition, the long waiting period for the closing of the transaction had
an adverse impact on our ability to fully exploit all opportunities from the
business during this long transition period.




                              *       *       *

We use basically very reasonable assumptions in the model, we modeled, based
on past performance in the US and pipeline assets of Teva. In retrospect a
number of potential launches were not realized in the second half of 2016 as we
indicated already would carry over, affect 2017, and we decided to lower
expectations that pertain to the Teva’s legacy business in 2017, and that explains
the majority of the gap.

                              *       *       *

558.   Further, Desheh and Bhattacharjee stated:

[Desheh:] In 2017 we will deliver 11% top line growth . . . 11% growth in
EBITDA, and strong cash flow from operations of $5.7 billion to $6.1 billion.
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                                     *       *       *

               EBITDA grows by approximately 11% to a range of $8 billion to
       $8.4 billion.

                                     *       *       *

               Our cash flow from operations is expected to be approximately
       $5.9 billion of leverage, and free cash flow which includes the divestment of
       Actavis European business and other non-core assets will reach $6.3 billion to
       $6.7 billion.

                                         *       *       *

       [Bhattacharjee:] On price erosion, as you know price erosion depends on the mix
       of products in the portfolio of a company and differs from company to company.
       We expect to see mid single digit price erosion to continue in our base business
       in the United States. However, if we include products that have unique market
       events, such as moving from an exclusive or semi-exclusive position, to seeing
       additional competition, this erosion could be higher.

       559.    On January 9, 2017, Vigodman participated in the JPMorgan Healthcare

Conference. During the conference, he elaborated on the $1.2 billion EBITDA gap announced in

the business outlook conference call three days earlier and misleadingly blamed the massive

earnings gap on $460 million in new launch delays:

       So, [we] used very reasonable assumptions when we modeled the outlook for 2017
       in July 2016. And the assumption was that we launch $600 million, which is very
       reasonable, given the numbers that I’ve just indicated. In retrospect, that was a
       tough year for us for a number of reasons and we were able eventually to launch
       only $140 million in 2016 for new products. It created – it had an impact on 2016
       and created a new run rate for 2017. We reduced the expectations also for 2017
       in that regard. And that is the main reason that explains the gap between the
       guidance – the outlook and 2017 guidance.

       560.    In addition, during the conference, Vigodman touted Teva as a provider of

affordable generic medicines that saved U.S. consumers $215 billion in the last decade – with no

mention that the Company’s Price-Hike Strategy and collusive activities during the past four years

had caused dramatic price increases on essential drugs that were detrimental to patients and offset

purported savings to consumers:



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       I think maybe this is an opportunity to maybe take three minutes through the generic
       industry . . . . A space that is critical for healthcare systems across the globe. It
       enables access for billions of people to high quality, affordable drugs. The space
       saved, here in the United States, $1.6 trillion during the last decade. The direct
       contribution of Teva to that number is $215 billion during the last decade.

       561.     On February 13, 2017, a week after Vigodman’s unexpected termination, Teva

filed its 4Q2016 Form 6-K Press Release reaffirming the materially false and misleading

projections provided during the January 6, 2017 business outlook conference call:

                Teva reaffirms its 2017 full year non-GAAP guidance, including the items
       below:

               We expect revenues for full year 2017 to be $23.8 - 24.5 billion.

               Non-GAAP EPS for 2017 is expected to be $4.90 - 5.30, based on a
                weighted average number of shares of 1,076 million.

       562.     On the same day, Teva held its fourth quarter 2016 and full year 2016 earnings call.

Desheh, Peterburg and Bhattacharjee participated in the call.

       563.     During the call, Peterburg again reaffirmed the misleading projections provided

during the January 6, 2017 conference call and Bhattacharjee stated that the projections assumed

5% price erosion in the base business:

              [Peterburg:] We are reiterating our guidance for 2017, including our
       earnings per share of $4.90 to $5.30. We are very committed to this EPS range,
       and the management team and I will do what it takes to protect it, including
       additional cost reduction if necessary.

                                      *      *       *

               [Bhattacharjee:] As I have described in past discussions, in the US we
       expect net price erosion in our base business to be around 5%; however, there are
       additional price erosion factors at work, which will depend upon the amount of
       transition products in our portfolio for that specific year.

       564.     The statements in ¶¶537-563 were materially false and misleading or omitted

material facts. In particular:

                (i)    Defendants’ statements above that Teva was a provider of affordable

generic medicines, contributed over $200 billion of savings to the U.S. healthcare system in the

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past decade, experienced a 5% price decline for 2015 with price erosion of 4% in the United States

similar to 2014, had never seen inflation in generic pricing, and saw “no change in the pricing”

with 4% pricing erosion during the second quarter of 2016 were materially false and misleading

when made because: (a) Teva was engaged in collusive price-fixing and market allocation schemes

and the anti-competitive Price-Hike Strategy that caused generic drug prices to skyrocket; (b) Teva

made at least 76 massive price increases on selected generic drugs during 2013 to 2016, with at

least 48 increases made in tandem with purported competitors and at least 19 increases made

collusively; (c) in 2014, Teva implemented price hikes ranging from 22% to 1,543% for at least

28 generic drugs in the United States; (d) in 2015, Teva implemented price hikes ranging from

50% to 632% for at least 15 generic drugs in the United States; and (e) Teva’s rate of pricing

erosion was much higher than reported or disclosed.

               (ii)       Defendants’ statements above concerning improving profitability driven by

cost control, cost of goods sold, portfolio selection and cost infrastructure were materially false

and misleading when made because: (a) Teva’s financial results were inflated in part by collusive

activities and the Price-Hike Strategy; and (b) the Company generated $1.79 billion in Collusive

Profit and Inflated Profit during 2013 to 2015 and $2.3 billion during 2013 to 2016, which

contributed significantly to the financial results;

               (iii)      Defendants’ statements above that “we strongly believe that we will be able

to generate the economics we promised” and that Teva grew net revenues and EBITDA from 2015

levels were materially false and misleading when made because both measures were based on and

included sales and growth derived from the unsustainable Price-Hike Strategy and collusive anti-

competitive activities;




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                 (iv)   Defendants’ statements above concerning price increases taken due to

shortages in the market were materially false and misleading when made because the Price-Hike

Strategy was implemented on drugs for which no shortages had in fact occurred; and

                 (v)    Defendants’ statements that Teva’s portfolio shielded the Company from

pricing variation, that it was not seeing any fundamental change or worsening in the pricing

environment and saw a stable environment during the second quarter of 2016, that the heightened

pricing erosion of 7% in the third quarter of 2016 was due to divested products, that expectation

of price erosion continued to be 5%, and that the $1.2 billion EBITDA gap was caused by a lag in

new product launches and a delay in the closing of the Actavis acquisition were materially false

and misleading when made because: (a) Teva’s Inflated Profit began to decline by close to 50%

year-over-year in 2016; (b) Defendants knew that the anti-competitive practices in the generics

industry that contributed substantially to Teva’s financial results were drawing increased scrutiny,

which made it increasingly difficult for Teva and other manufacturers to continue to implement

price hikes; and (c) Teva’s rate of pricing erosion had accelerated as the Inflated Profit declined

substantially.

       565.      On March 31, 2017, Teva issued its Communication on Progress for 2015,

proclaiming that it upheld “ethical conduct at all times” and saved $215 billion in the past ten years

for various U.S. generic drug market participants – while disguising its involvement in widespread

unethical and collusive anti-competitive activities in the U.S. generic drug market and its

implementation of the Price-Hike Strategy that offset savings to families, insurers and the

government:

       Message from our President and CEO

                                      *       *       *

              To continue to positively impact the lives of our patients and other
       stakeholders, we must operate according to the principles and standards of
       corporate responsibility. This means upholding ethical conduct at all times,
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       protecting the planet, caring for our communities and providing our employees with
       a challenging, rewarding and meaningful work environment.

                                      *       *       *

       Dr. Yitzhak Peterburg
       Teva Interim President & CEO

                                          *       *       *

              Teva saved $215 billion for U.S. families, insurers and government over
       10 years.

                                      *       *       *

       We account for almost 13% of savings generated from generics prescriptions in
       the U.S. equating to approximately $215 billion over the last ten years.

       566.    On May 11, 2017, Teva held its earnings call for the first quarter of 2017.

Peterburg, Desheh and Bhattacharjee participated in the call.

       567.    On the call, the three defendants reaffirmed the misleading projections provided

during the January 6, 2017 conference call and told investors that pricing erosion – which now

stood at a higher 7% – was embedded into the January forecast. Defendants attributed the

heightened pricing erosion to an increase in FDA generic drug approval and customer

consolidation, without disclosing that dramatic price hikes from collusive price fixing and the

Price-Hike Strategy attracted additional competitors and caused customer renegotiation of

contracts as competition increased:

              [Peterburg:] Our generic business is not immune to the challenges other
       companies in our industry are currently facing with increased competition and
       consolidation. This is reflected in the most recent analysis we completed that
       looks at net price erosion in our U.S.-based business, which came in at 7% versus
       the approximately 5% that we communicated previously. The 2 biggest
       contributing factors to this change are the ongoing consolidation of our key
       customers and the increase in generic drug approval by the FDA, which has
       created additional competition.

                                          *       *       *

             As we stated in our press release from this morning, we are reaffirming our
       2017 outlook. We are committing to being transparent. And therefore, we
       wanted to provide more clarity into our business and the moving parts of our
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       projections, specifically regarding the challenges in the U.S. generic market and
       Venezuela. We will continue to keep you informed throughout the year as our team
       works extremely hard to execute on all of our promises and priorities for 2017.

                                          *      *       *

       [Bhattacharjee:] As regarding – in terms of what we would expect and how we will
       track for the rest of the year, we would expect the current levels of price erosion
       that we have spoken about will remain for the rest of the year. It is embedded in
       our forecast.

       568.    On August 3, 2017, Teva held its second quarter 2017 earnings call. Peterburg,

Bhattacharjee and McClellan participated in the call.

       569.    During the call, Defendants announced that profitability had declined for the first

half of 2017 and lowered guidance for 2017. Defendants attributed the negative results to the 8%

price erosion during the second quarter and volume decline – both caused by heightened

competition from increased FDA ANDA approvals and customers’ renegotiation of contract

prices. Nevertheless, Defendants failed to disclose that the increased pricing erosion, competition

and renegotiation of contracts were the direct result of Teva’s substantial and collusive price hikes

and the Price-Hike Strategy, which lured additional competitors to seek approval to manufacture

and supply the drugs and triggered contract renegotiation:

       [Peterburg:] We reported today lower-than-expected Q2 results. Revenues in this
       quarter were $5.7 billion, resulting in a non-GAAP net income of $1.1 billion and
       non-GAAP EPS of $1.02. Cash flow from operation was soft, amounting to
       $741 million. We have also lowered our 2017 revenue outlook to $22.8 billion to
       $23.2 billion and our non-GAAP EPS outlook to $4.30 to $4.50.

              All of us at Teva understand the frustration and disappointment our
       shareholders are feeling. This morning we are going to outline what has changed
       over in the last 3 months, the actions we are taking and some of the positive
       development this quarter.

              In the last 3 months, our results were greatly impacted by the performance
       in the U.S. Generics business and continued deterioration in Venezuela. In our
       U.S. Generics business, we experienced accelerated price erosion and decreased
       volume, mainly due to customer consolidation, greater competition as a result of
       an increase in generic drug approval by the FDA and some new product launches
       that were either delayed this quarter or got subjected to more competition.

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                                  *      *       *

       [McClellan:] Quarterly revenues. Looking at our quarterly revenues.
They’re up 13% from Q2 of 2016. U.S. Generics is up by $410 million, while the
other generic markets have grown by $316 million. Most of the growth in the
generics business is due to the integration of the Actavis business globally, offset
by price erosion and volume loss in the U.S. . . .

       . . . We do not – or we do expect price erosion to accelerate in the
remainder of the year, and we will be using the quarterly comparison going
forward as it better reflects the dynamic nature of our business.

                                  *      *       *

        The reduction in profitability we see in this slide in the first half of 2017
is the result of factors previously mentioned, mainly the price erosion and
relatively low launches in our U.S. Generics business in 2017 as well as the
Venezuela currency impact.

                                  *      *       *

        Now we’ll move to the financial outlook for the year. Our updated
expectations for the annual revenues is down approximately 5% from our
previous expectations, reflecting both the challenging environment in the U.S.
Generics and the Venezuela devaluation. All of our other businesses are on track
to deliver their forecasted targets. The same elements and specifically the U.S.
price erosion and lower number of product launches also drove the majority of
the reduction in our gross profit margin that you see here.




                                  *      *       *

[Bhattacharjee:] First, let me address the question that you have around the
consolidation of the buyers. As you know that, now at this point in time,
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        approximately 80% or a little higher than that, of generics purchases are
        concentrated in 4 GPOs. Specifically in quarter 2, we saw the impact coming from
        finalization of ClarusONE, which is the RFP that was from a combination of
        McKesson and Walmart. We saw some impact of that due to price adjustment in
        the latter part of the quarter as well as some shelf stock adjustments that we had to
        do. It has negatively impacted our prices. And we also largely secured most of the
        volumes that we have seen. Earlier in the year, we had a similar RFP from
        another GPO, which is ECONDISC. And at this point in time, we have no further
        news as to whether there will be further RFPs or not. In terms of the effect of these
        RFPs on the remainder of the year, it will lead to a higher price erosion and that
        is built into our forecast.

        570.    On September 14, 2017, Teva published its 2016 Social Impact Report, which,

again, repeatedly touted the Company as a leading provider of affordable generic medicines and

its ethical business practices and stated, in part:

        Increasingly, people suffer from more than one chronic condition, and too many
        face barriers to accessing the affordable treatments they need. We are committed
        to doing our part to address these challenges and demonstrate social value,
        knowing the way we act – and the way we conduct our business – matters.

                                           *          *   *

        Everything we do.

                In an ever-changing world, we strive to constantly evolve and improve,
        recognizing there is always more to learn – even from missteps. We are dedicated
        to acting with integrity and transparency.

                                           *          *   *

        A letter to our stakeholders

        From Dr. Yitzhak Peterburg, Teva’s Interim President & CEO

                . . . As a global medicines company, we have a tremendous opportunity to
        improve lives and make a positive social impact. To realize this potential good, we
        foster a culture of accountability, responsibility, and ethical business practices
        throughout Teva.

                                           *          *   *

        — Increasing access to affordable, high-quality generic medicines.
        Unfortunately, many individuals around the world are living without access to
        much-needed therapies. Last year, we launched nearly 1,000 generic medicines,
        enabling millions of patients to access and afford safe and reliable treatments.

                                           *       *      *
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Teva at a glance: 2016

                                 *      *       *

We specialize in developing, manufacturing, and delivering affordable generic
medicines, as well as innovative and specialty pharmaceuticals, over-the-counter
healthcare products and Active Pharmaceutical Ingredients (APIs).

                                 *      *       *

Enabling Better Days

       Making medicines affordable

                                 *      *       *

Doing Business Ethically and Responsibly

                                 *      *       *

       Maintaining ethical business standards

       Strengthening compliance

                                 *      *       *

       We advance good health and well-being through our core business of
making medicines affordable and developing specialty treatments to address
unmet needs.

        We promote ethical and responsible business behavior, advancing
diversity, gender equality, and inclusion throughout our business.

                                 *      *       *

       Our promise is simple: enable better days. Making this promise real for the
200 million people we serve each day is a central focus of every decision we make,
every product we develop, and every therapy we bring to market – yet, we can only
have an impact when medicines are accessible and affordable. . . .

In Progress

       Our vast portfolio of generic medicines helps people live their best lives –
with increased access to affordable treatments.

                                 *      *       *

A unique ability to increase access to affordable medicines



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              As a large generics manufacturer with a global footprint, we have proven
       our dedication to making vital treatments accessible. We consistently introduce
       affordable, high-quality medications, while tailoring treatments to patient needs.

                                         *       *       *

               Worldwide, our patients, their caregivers, and the communities in which
       they live trust us to engage in ethical conduct. Since our company was founded
       116 years ago, we have made a commitment to act responsibly, maintain integrity,
       and ensure transparency in every part of our business.

       571.    On November 2, 2017, Teva held its third quarter 2017 earnings call. Peterburg,

Bhattacharjee and McClellan participated in the call.

       572.    During the call, Defendants announced declines in the revenues and profitability of

the U.S. generics business due to heightened price erosion driven by increased competition from

FDA approvals and customer consolidation:

       [McClellan:] The profitability of the company was down to 26.2% from 32.2% in
       2016 Q3. This reflects a lower gross profit of 53% in the quarter compared to
       61% in the same quarter of the previous year. This is driven by several factors.
       The inclusion of ANDA distribution business as well as lower margins in the
       generics, specifically, in our U.S. generic market. . . . U.S. generics revenues
       were down $102 million, despite the increase of an additional month of the
       Actavis generics compared to the same quarter in 2016. The U.S. business was
       impacted from continued price erosion, which was 10% in Q3 2017 on the base
       business as compared to the same quarter of last year as well as accelerated FDA
       approvals of additional generic versions of competitors in our base business as
       well as lower volumes of the Concerta-authorized generic following additional
       competition.

                                         *       *       *

       [Bhattacharjee:] So in the second quarter, we reported a price erosion of a little
       over 6% for our base business compared to the comparable quarter of the prior
       year. Since then, in our third quarter, we have seen an increase in price erosion.
       And as Mike explained that we have now seen, in the third quarter, the price
       erosion to be 10% This is primarily driven by 2 factors. The first is that the
       increasing FDA approvals that are happening for products, for which, already
       generics players exist in the market. So the new players try and drive some gains
       in market share based on volumes – based on lower prices. And the second is
       that the consolidation of the 3 – of the customers into 3 GPOs, which now
       account for more than 85% of generics, which is in the U. S. market has also,
       while their RFPs have created additional pricing pressure. In terms of the rest
       of the year, we expect that these price erosions will remain at these elevated levels.

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                                         *        *       *

       Now in terms of the generics business, it is not a recent development. It has been
       there for a while, which is, that the base business erodes as new and additional
       competitors come into the market. And this, in recent times, has been
       exacerbated by the increase in the FDA approvals.

                                         *        *       *

       [McClellan:] So the overall gross margin, the net margin on generics has been
       declining. We do – it’s driven by a couple of things. One is the level of price
       erosion we’ve seen in the U.S. generic business. We’ve seen lower contribution
       from our business in Venezuela over the quarters and compared to last year.
       We’ve also seen some unfavorable FX and other variance in our costs of goods
       sold. So all of those things have been pressuring margins, especially, in our U.S.
       generic business.

       573.    On December 14, 2017, Teva hosted a conference call to discuss its restructuring

plan and the additional measures it was taking to improve its financial and business performance.

During the call, CEO Kåre Schultz told investors that generic drug price competition in the past

several years had led to a race to the bottom for Teva and other drug manufacturers. However, he

concealed from investors that Teva’s anti-competitive, collusive activities had contributed

significantly to the Company’s profitability:

               Now let me talk a bit about the global generics portfolio. There’s been a
       lot of pricing dynamics on generic products in United States and elsewhere in the
       last couple of years. If you have a very dynamic situation, sometimes you have
       the risk that some of your products will not really meet a sustainable profitability
       benchmark.

              In order to secure that we have a long-term sustainable portfolio, we are
       reviewing each and every product worldwide, and we will make pricing
       adjustments to the extent that this is necessary.

                                         *        *       *

       Then, of course, it’s good to have price competition. . . . The total dynamics have
       just led to that – my guess is that not only Teva, but other manufacturers have
       ended up competing to the bottom where it’s not really sustainable or profitable.

       574.    On January 8, 2018, Schultz participated at the JPMorgan Healthcare Conference,

where he represented to investors that Teva historically had focused on maximizing revenues


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through volume growth – in direct contradiction to defendants Oberman’s, Vigodman’s,

Olafsson’s and Desheh’s repeated representations that Teva’s profitability was not driven by

volume or market share. Schultz failed to disclosed that Teva was actually maximizing revenues

through unsustainable collusive price increases:

       We’re also optimizing our portfolio and there’s been some misunderstandings
       about what is it we’re doing with this optimization of the portfolio. Why am I
       talking about some prices will have to go up, because they’re not sustainable. It’s
       basically a change where you can say, Teva used to focus on maximizing revenue
       in the generics business, believing that if you just maximize revenue, everything
       will fall in place and you’ll get great profitability and so on. That doesn’t really
       work from my point of view. You always need to maximize operating profit. So
       when you think about it, if you maximize revenue, you’re taking really any deal
       you can get, just to get the volume, but you don’t really stay super focused on
       what is the per product, per SKU profitability.

       575.    The statements in ¶¶565-574 were materially false and misleading or omitted

material facts. In particular:

               (i)     Defendants’ statements above that “it’s good to have price competition . . .

manufacturers . . . have ended up competing to the bottom,” and that Teva experienced higher

pricing erosion due to RFPs from GPOs, “saved $215 billion for U.S. families, insurers and [the]

government” during the past decade, upheld “ethical conduct at all times,” was “commit[ted] to

being transparent,” “dedicated to acting with integrity and transparency” with “a culture of . . .

ethical business practices throughout Teva,” and specialized in “delivering affordable generic

medicines” and “making medicines affordable” were materially false and misleading when made

because: (a) Teva was engaged in collusive price-fixing and market allocation schemes and the

anti-competitive Price-Hike Strategy that caused generic drug prices to skyrocket; (b) Teva made

at least 76 massive price increases on selected generic drugs during 2013 to 2016, with at least 48

increases made in tandem with purported competitors and at least 19 increases made collusively;

and (c) Teva’s rate of pricing erosion was much higher than reported or disclosed;



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               (ii)     Defendants’ statements above that the generics business’s growth and

profitability was attributable to the Actavis integration, but was reduced by volume loss and price

erosion in the U.S. and Teva’s past effort at maximizing revenue “to get the volume” without

getting the profitability were materially false and misleading when made because: (a) Teva’s

financial results were inflated in part by collusive activities and the Price-Hike Strategy; and (b) the

Company generated $2.6 billion in Collusive Profit and Inflated Profit during 2013 to 2017, which

contributed significantly to revenues, profitability and growth;

               (iii)    Defendants’ statements above “reaffirming [the] 2017 outlook,” lowering

Teva’s 2017 revenues and EPS outlook, and “expect[ing] the current levels of price erosion” to

“remain for the rest of the year” were materially false and misleading when made because these

measures were based on and impacted by the unsustainable Price-Hike Strategy and collusive anti-

competitive activities; and

               (iv)     Defendants’ statements that Teva “experienced accelerated price erosion

and decreased volume” and pricing erosion of 7% due to customer consolidation and additional

competition created by the FDA’s increased generic drug approvals were materially false and

misleading when made because: (a) Defendants knew that the anti-competitive practices in the

generics industry that contributed substantially to Teva’s financial results and mitigated Teva’s

rate of pricing erosion were drawing increased scrutiny, which made it increasingly difficult for

Teva and other manufacturers to continue to implement price hikes; (b) Teva’s rate of pricing

erosion had accelerated as the Inflated Profit declined substantially; and (c) Teva and other

manufacturers’ dramatic price hikes from collusive activities and its Price-Hike Strategy had led

to the FDA’s initiative to speed up and increase generic drug approval and had attracted additional

competitors, which resulted in customer renegotiation of contracts as competition increased.




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                 3.     False and Misleading Statements Concerning Subpoenas

        576.     Defendants concealed Teva’s receipt of a subpoena from the DOJ on June 21, 2016,

and a subpoena from the State AGs on July 12, 2016, each pursuant to their respective

investigations into potential antitrust violations regarding pricing practices by generics

manufacturers (collectively, the “Subpoenas”).           Even when Teva ultimately disclosed the

Subpoenas, Defendants persistently denied “having engaged in any conduct that would give rise

to liability.”

        577.     Specifically, Defendants failed to disclose the Subpoenas in the Notes Offering

Materials. This was actionably false and misleading because the Subpoenas called into question

Teva’s future earnings potential. They rendered uncertain the Company’s ability to maintain its

earnings from the undisclosed Price-Hike Strategy. Indeed, after Teva received the DOJ subpoena,

it was unable to make any additional price increases pursuant to the Price-Hike Strategy.

Consistent with this, the Notes Prospectus Supplement listed “governmental investigations into

sales and marketing practices” as among the “[i]mportant factors” that could cause Teva’s future

financial performance to “differ significantly from [anticipated] results, performance or

achievements.”

        578.     Additionally, the Notes Offering Materials incorporated by reference the 2015

Form 20-F and the 1Q2016 Form 6-K, which included extensive risk disclosures but did not

disclose the Subpoenas. Among these is a section titled “Government Investigations and Litigation

Relating to Pricing and Marketing,” which included an extensive description of litigation related

to “marketing and promotion of [Teva’s] specialty pharmaceutical products,” and to litigation by

“[a] number of state attorneys general . . . relating to reimbursements or drug price reporting under

Medicaid or other programs.” The detailed and extensive nature of this section falsely and




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misleadingly indicated that the disclosures were complete, while omitting the highly material DOJ

and State AGs Subpoenas.

       579.    On August 2, 2016, in its 2Q2016 Form 6-K, Teva made the first disclosure of the

Subpoenas:

               On June 21, 2015, Teva USA received a subpoena from the Antitrust
       Division of the United States Department of Justice seeking documents and other
       information relating to the marketing and pricing of certain of Teva USA’s generic
       products and communications with competitors about such products. On July 12,
       2016, Teva USA received a subpoena from the Connecticut Attorney General
       seeking documents and other information relating to potential state antitrust law
       violations. Teva is cooperating fully with these requests.

       580.    On November 15, 2016, Teva made substantially similar disclosures concerning

the Subpoenas in its 3Q2016 Form 6-K, discussed Actavis’s receipt of “a similar subpoena in

June 2015,” and issued the following denial:

       Teva is not aware of any facts that would give rise to an exposure to the Company
       with respect to these subpoenas.

       581.    On the same day, Teva held its third quarter 2016 earnings call hosted by

Vigodman, Desheh and Olafsson. Vigodman opened the call with reassurances to investors about

Teva’s culture of compliance with the law and that such culture underpinned “every single

business decision that Teva makes.” In the same breath, he affirmed that – based on “all of our

efforts to date, internal and external” – there were no facts from which exposure would accrue to

Teva with respect to the investigations on its generic drug collusive activities:

               [Vigodman:] Since becoming Teva’s CEO in 2014, I have made
       compliance a top priority in everything we do. The compliance program that Teva
       has in place is serious, rigorous and comprehensive, and is designed to protect the
       Company and its subsidiaries against future violations. Today, Teva has a
       compliance culture that begins with a strong tone at the top, including our
       executive regional and local management, a culture of compliance that
       underpins every single business decision that Teva makes.

                                          *       *      *

       Finally, I cannot conclude this part of my remarks without briefly addressing the
       US Department of Justice investigation into price collusion in the generic drug
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       industry, which has been in the news this month. I would like to emphasize that
       based on all of our efforts to date, internal and external, we disclosed, and I’m
       reiterating it here today, that we are not aware of any fact that would give rise to
       an exposure to Teva with respect to the investigation.

       582.    In the 2016 Form 20-F, filed on February 15, 2017, Teva repeated the disclosures

above concerning the Subpoenas and Actavis’s subpoena, announced the filing of the civil lawsuit

by the State AGs, and assured investors that no evidence existed that “would give rise to liability

with respect to” the Subpoenas and the State AGs’ lawsuit:

       On December 15, 2016, a civil action was brought by the attorneys general of
       twenty states (Connecticut, Delaware, Florida, Hawaii, Idaho, Iowa, Kansas,
       Kentucky, Louisiana, Maine, Maryland, Massachusetts, Minnesota, Nevada, New
       York, North Dakota, Ohio, Pennsylvania, Virginia, and Washington) against Teva
       USA and several other companies. The states seek a finding that the defendants’
       actions violated federal antitrust law (Sherman Act § 1), as well as injunctive relief,
       disgorgement, and costs.

                                         *       *       *

                To date, Teva has not identified any evidence that would give rise to
       liability with respect to the above-mentioned subpoenas and civil suits.

       583.    On May 11, 2017, August 3, 2017, and November 2, 2017, Teva filed its 1Q2017

Form 6-K, 2Q2017 Form 6-K, and 3Q2017 Form 6-K, respectively, which repeated substantially

similar disclosures to those above concerning the Subpoenas, Actavis’s subpoena, and the State

AGs’ lawsuit and denied engaging in “any conduct” that would expose the Company to liabilities

pursuant to the Subpoenas or civil lawsuits:

       Teva denies having engaged in any conduct that would give rise to liability with
       respect to the above-mentioned subpoenas and civil suits.

       584.    The statements in ¶¶576-583 concerning the government investigations into generic

price fixing misled investors by denying any wrongdoing and representing that no anti-competitive

collusive activities had taken place, when in fact, Teva’s engagement in price-fixing and market

allocation schemes constituted a violation of U.S. antitrust laws and exposed the Company to




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significant risk of prosecution by state and federal authorities, along with the attendant negative

financial and reputational harm.

               4.      False and Misleading Statements Relating to Goodwill

       585.    Beginning in the fourth quarter of 2016, Teva overstated the value of its goodwill

and inflated its balance sheet and operating results by billions of dollars.

       586.    In the 2015 Form 20-F filed on February 11, 2016, Teva disclosed the goodwill

policy that Teva failed to follow:

               We regularly review our long-lived assets, including identifiable intangible
       assets, goodwill and property, plant and equipment, for impairment. Goodwill and
       acquired indefinite life intangible assets are subject to impairment review on an
       annual basis and whenever potential impairment indicators are present . . . . The
       amount of goodwill, identifiable intangible assets and property, plant and
       equipment on our consolidated balance sheet . . . is expected to significantly
       increase further following consummation of the Actavis Generics and other future
       acquisitions.

                                          *       *       *

       g.      Long-lived assets:
               Teva’s long-lived, non-current assets are comprised mainly of goodwill,
       identifiable intangible assets and property, plant and equipment. Teva reviews its
       long-lived assets and performs detailed testing whenever potential impairment
       indicators are present. In addition, the Company performs impairment testing as of
       October 1 of each year for goodwill and identifiable indefinite life intangible assets.

               Goodwill
               Goodwill reflects the excess of the consideration paid or transferred plus the
       fair value of contingent consideration and any non-controlling interest in the
       acquiree at the acquisition date over the fair values of the identifiable net assets
       acquired. The goodwill impairment test is performed according to the following
       principles:

              An initial qualitative assessment of the likelihood of impairment may be
               performed. If this step does not result in a more likely than not indication
               of impairment, no further impairment testing is required. If it does result in
               a more likely than not indication of impairment, the impairment test is
               performed.

              In step one of the impairment test, Teva compares the fair value of the
               reporting units to the carrying value of net assets allocated to the reporting
               units. If the fair value of the reporting unit exceeds the carrying value of
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                  Recognized amounts of identifiable assets acquired and liabilities assumed:
        U.S.$ in millions
                                                                    Preliminary
                                                                                 Measurement Preliminary
                                                                      values at
                                                                                    period     values at
                                                                    December 31,
                                                                                 adjustments March 31, 2017
                                                                        2016

                                                *        *          *
                  Goodwill                                                 24,192           390             24,582

                                                *        *          *

        The changes in the carrying amount of goodwill for the period ended March 31,
        2017 were as follows:
                                                                Generics      Specialty      Other        Total
                                                                               (U.S. $ in millions)
          Balance as of January 1, 2017                      $ 32,863 $ 9,323 $ 2,223 $ 44,409

          Changes during the period:
              Goodwill adjustments (1)                              355             —           —              355
              Translation differences                               235              22               5        262

          Balance as of March 31, 2017                       $ 33,453 $ 9,345 $ 2,228 $ 45,026

        (1)       Due to Actavis Generics and Rimsa measurement period adjustments.

                As a result of the acquisition of Actavis Generics, Teva conducted an
        analysis of its business segments, which led to a change to Teva’s segment
        reporting and goodwill assignment in the fourth quarter of 2016. Teva reallocated
        goodwill to its adjusted reporting units using a relative fair value approach.

        590.      On August 3, 2017, Teva filed its 2Q2017 Form 6-K and reported “a goodwill

impairment charge of $6.1 billion related to its U.S. generics reporting unit.” The Form 6-K

further stated:

                 The table below summarizes the fair value estimates of the assets acquired,
        liabilities assumed and resulting goodwill. As the measurement period is now
        closed, the amounts were finalized during the second quarter of 2017.

                                                *        *          *
                                 Preliminary
                                   values at             Measurement
                                 December 31,               period                        Values at June 30,
                                     2016                adjustments                            2017
        Goodwill                          24,192                           961                              25,153

                                                *        *          *



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       591.    On the same day, Teva hosted its second quarter 2017 earnings call and attributed

the belated $6.1 billion goodwill write-down to factors that Teva had encountered for the past year.

The write-down was inadequate and the Company continued to overstate its goodwill:

       [Peterburg:] In the last 3 months, our results were greatly impacted by the
       performance in the U.S. Generics business and continued deterioration in
       Venezuela. In our U.S. Generics business, we experienced accelerated price
       erosion and decreased volume, mainly due to customer consolidation, greater
       competition as a result of an increase in generic drug approval by the FDA and
       some new product launches that were either delayed this quarter or got subjected
       to more competition.

                                         *       *       *

              On a GAAP basis, we are reporting today an EPS loss for the second quarter
       of $5.94. This loss is primarily the result of a $6.1 billion impairment charge to
       reduce goodwill associated with our U.S. Generics business unit, which includes
       both the Teva legacy business and the Actavis Generics business. This
       impairment reflects our revised outlook for the business given the trends we are
       seeing in the market, as I have just articulated.

                                         *       *       *

               [McClellan :] As mentioned by Yitzhak, during the second quarter of
       2017, management identified certain developments in the U. S. market, which we
       feel negatively impact Teva’s outlook for the U. S. Generics business. And this
       has led us to review the value of this business at the half year, though we have
       typically done our goodwill impairment analysis at the end of the year.

              First in Q2, we renegotiated both prices and volumes of our in-line
       products with some of our largest customers. These developments had a much
       greater impact than expected, negatively impacting not only our Q2 results, but
       our results through the rest of the year and our outlook going forward in the near
       term. This manifests itself as an accelerated rate of price erosion on our base
       generic portfolio as well as some reduced volumes sold into the marketplace.

               In addition, since the end of the year, we have seen an increase in generics
       drug approvals by the FDA. This has resulted in additional competition on our
       existing portfolio, which is further accelerating price and volume erosion and
       negatively impacting our overall business and performance outlook.

              Finally, we had some launches for the year in the U.S. that experienced
       delays and some did not materialize.

              All of this led management to revisit its long-term forecast for the U.S.
       Generics unit, as we see these pressures persisting into the near future, leading
       to lower revenue and profit most likely in the U.S. Generics in 2018 and

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       potentially 2019. All of these factors, which became strongly evident during Q2,
       triggered us to review and impair our goodwill to align our revised expectations
       for the performance of this business in our balance sheet.

               The goodwill impairment was the main driver of the changes in our balance
       sheet, and you can see the goodwill went down by $5 billion. This is the
       $6.1 billion impairment, offset by $1 billion, which was reallocated to goodwill in
       the final Actavis purchase price allocation, as we closed the purchase price
       allocation as of June 30. There was also a corresponding reduction in our
       shareholders’ equity for the charge of the goodwill impairment.




       592.    In the 3Q2017 Form 6-K filed on November 2, 2017, Teva falsely assured investors

that the Company had conducted impairment testing of goodwill for the third quarter of 2017 and

that the goodwill fair value was actually higher than carrying value, even though the Company had

lowered projections for 2017:

                              Preliminary
                                values at              Measurement
                              December 31,                period                         Values at June 30,
                                  2016                 adjustments                             2017
       Goodwill                        24,192                            961                              25,153

                                             *         *        *

       The changes in the carrying amount of goodwill for the period ended September 30,
       2017 were as follows:
                                                     Generics           Specialty         Other          Total
                                                                          (U.S. $ in millions)
       Balance as of January 1, 2017             $     32,863       $       9,323     $ 2,223        $   44,409

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        of 1%. Goodwill allocated to this reporting unit remained unchanged as of
        September 30, 2017.

        593.    The foregoing statements concerning Teva’s goodwill are false and misleading

because, as described in §III.I, Teva materially overstated the value of its goodwill, which inflated

the Company’s balance sheet and understated its goodwill impairment charge. This, in turn,

inflated Teva’s operating income and net earnings by billions of dollars.

                5.      False and Misleading Statements Relating to Financial Results

        594.    The sales and profit figures Teva announced during the Relevant Period, listed in

the charts in §§595-619 below, were false and misleading, as were Teva’s reasons for the increases

in sales and profits. Teva certified that its financial information was fairly presented in all material

respects as to the financial condition, results of operations, and cash flows of the Company without

disclosing that revenues and profitability were impacted by the illicit anti-competitive schemes

and the Price-Hike Strategy in its U.S. generics business. Teva’s undisclosed inflation of its sales

through collusive price fixing constituted a violation of U.S. antitrust laws and exposed the

Company to significant risk of prosecution by state and federal authorities, along with the attendant

negative financial and reputational harm. In addition, Teva’s failure to make required disclosures

regarding the impact of artificial price increases from the unsustainable Price-Hike Strategy on its

reported financial results was a violation of SEC disclosure rules.

        595.    On October 31, 2013, Teva reported its third quarter 2013 financial results in its

3Q2013 Form 6-K and hosted its quarterly earnings call:

                                       Three Months Ended Sep. 30,    Nine Months Ended Sep. 30,
                             million      2013           2012            2013           2012
        Total Revenues                   $5,059         $4,972         $14,884        $15,068
        Gross Profit                     $2,630         $2,601          $7,813         $7,867
          Generic Medicines Segment      $2,483             $2,492      $7,209         $7,723
          Revenues
            U.S. Revenues                $1,138             $1,074      $3,003         $3,347
        EBITDA (Non-GAAP
        Operating Income)                $1,330             $1,400      $3,840         $4,369
        Cash Flow from Operations         $444              $1,000
        Free Cash Flow                    ($34)              $577
        3Q2013 Form 6-K:
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           Highlights
                   Our revenues amounted to $5.1 billion, an increase of 2% compared to the third quarter of
                    2012. In local currency terms, revenues also increased 2%. The increase in local currency
                    terms was primarily attributable to higher sales of generic medicines in the United States,
                    higher revenues from global sales of our specialty and OTC medicines and higher revenues
                    from generic medicines (exclusive of APIs) in our ROW markets. This increase was
                    partially offset by a decrease in global API sales to third parties and lower revenues from
                    generic medicines in Europe.
                                                     *        *         *
                    Revenues from generic medicines in the United States during the third quarter of 2013
           amounted to $1.1 billion, an increase of 6% compared to the third quarter of 2012. The increase
           resulted mainly from the exclusive launches of niacin ER, the generic equivalent of Niaspan® and
           temozolomide, the generic equivalent of Temodar®, as well as higher sales of amphetamine salts IR,
           and products that were sold in the third quarter of 2013 that were not sold in the third quarter of 2012,
           the largest of which was fenofibrate, the generic equivalent of Tricor®. The increase was partially
           offset by a decline in sales of escitalopram oxalate, for which we had exclusive rights in the third
           quarter of 2012, and a decline in sales of pioglitazone and pioglitazone/metformin, which were
           launched in the third quarter of 2012.
                                                     *        *         *

                   Revenues from generic medicines in the United States in the nine months ended
           September 30, 2013 amounted to $3.0 billion, a decrease of 10%, compared to $3.3 billion in the
           same period of 2012.
                    Among the most significant generic medicines sold in the United States during the nine
           months ended September 30, 2013 were generic versions of Pulmicort® (budesonide inhalation),
           Adderall IR® (amphetamine salts IR), Niaspan® (niacin ER), Tricor® (fenofibrate), Adderall XR®
           (mixed amphetamine salts ER), Provigil® (modafinil) and Accutane® (isotretinoin, which we market
           as Claravis™).
           3Q2013 Earnings Conference Call:
           Teva’s non-GAAP operating profit this quarter was approximately $1.3 billion, down 5% compared
           to the third quarter of 2012 mainly as a result of higher R&D and sales and marketing spending. The
           over split of operating profits before G&A expenses between our main lines of business for the quarter
           is as follows, global generics 25%, multiple sclerosis, 49%, other specialty brands 22%, OTC and
           other businesses at 4%. Our non-GAAP financial expenses in the quarter were slightly down to
           $71 million.


           596.    On February 6, 2014, Teva reported its fourth quarter 2013 financial results in the

4Q2013 Form 6-K Press Release and hosted an earnings call announcing its quarterly and annual

results:

                                              Three Months Ended Dec. 31,             Year Ended Dec. 31,
                                   million       2013           2012                 2013           2012
           Total Revenues                       $5,430         $5,249               $20,314        $20,317
           Gross Profit                         $2,894         $2,785               $10,707        $10,652
           Generic Medicines Segment:
             Revenues                            $2,697             $2,662           $9,906            $10,385
               U.S. Revenues                     $1,178             $1,034           $4,181            $4,381
             Gross Profit                        $1,149             $1,153           $4,095             $4,518
             Segment Profit                       $482               $505            $1,656             $2,062
           EBITDA (Non-GAAP
                                                 $1,358             $1,346           $5,198             $5,175
           Operating Income)
           Cash Flow from Operations              $816              $1,577
           Free Cash Flow                         $236              $1,000


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4Q2013 Form 6-K Press Release:
         Revenues for the three months ended December 31, 2013, were $5.4 billion, an increase of
3% compared to the fourth quarter of 2012. In local currency terms, revenues increased 4%. The
increase was primarily attributable to higher sales of generic medicines in the U.S. and higher
revenues from our global specialty medicines business, as well as higher sales of OTC products. This
increase was partially offset by a decrease in generics sales outside the U.S., mostly in Japan, due to
the weaker yen, and API sales to third parties.
                                          *        *         *
          Generic medicines net revenues in the fourth quarter were $2.7 billion (including API sales
to third parties of $163 million), an increase of 1% compared to the fourth quarter of 2012. In local
currency terms, revenues increased 3%. Generic revenues consisted of:
        U.S. revenues of $1.2 billion, an increase of 14% compared to the fourth quarter of 2012.
         The increase resulted mainly from the exclusive launches of niacin ER, the generic version
         of Niaspan®, and temozolomide, the generic version of Temodar®, in the third quarter of
         2013, and launches of duloxetine, the generic version of Cymbalta®, and tobramycin, the
         generic version of Tobi®, in the fourth quarter of 2013, as well as higher sales of budesonide
         inhalation, the generic version of Pulmicort®.
                                          *        *         *
         Generic medicines net revenues in 2013 were $9.9 billion (including API sales to third
parties of $692 million), a decrease of 5% compared to $10.4 billion in 2012. Generic revenues
consisted of:
        U.S. revenues of $4.2 billion, a decrease of 5% compared to 2012. The decrease mainly
         reflected the absence of royalties related to sales of atorvastatin, the generic equivalent of
         Lipitor® under our agreement with Ranbaxy, which we received in the first half of 2012, a
         decline in sales of escitalopram oxalate, the generic version of Lexapro®, to which we had
         exclusive rights in the first half of 2012, and a decline in sales of generic versions of Actos®
         (pioglitazone) and Actoplus Met® (pioglitazone/ metformin), which were launched in the
         third quarter of 2012.
4Q2013 Earnings Conference Call:
Non-GAAP gross profit in 2013 was $11.9 billion or 58.6% of revenue, a decrease of $0.2 billion or
0.8% compared to 2012. This decrease was mainly the result of lower revenues of PROVIGIL, which
lost its exclusivity, as well as the reduced revenue from additional exclusive generic products, mainly
atorvastatin.
         These were partially offset by [a] more profitable product mix mainly in the US generic
business, and higher COPAXONE revenue, as well as early contribution of our cost reduction
program.
                                          *        *         *
         Our non-GAAP operating profit in 2013 was $5.2 billion compared to $5.7 billion in 2012.
This 9% decline is mainly the result of slower sales of exclusive generic and specialty products mainly
PROVIGIL, coupled with higher R&D and sales and marketing expenses. For the fourth quarter
operating profit totaled $1.36 billion, an increase of 1% compared to last year. For the full-year 2013
the overall split of operating profit before G&A expenses between our main lines of business is global
generics 29%, MS 50%, other specialty brands 19%, [and] OTC and other businesses 2%.


597.    On February 10, 2014, Teva filed its 2013 Form 20-F:

               million     2013                2012           2011            2010             2009
Total Revenues          $20,314               $20,317       $18,312         $16,121          $13,899
Gross Profit            $10,707               $10,652        $9,515          $9,065           $7,367
Generic Medicines Segment:
 Revenues                $9,906               $10,385       $10,196
    U.S. Revenues        $4,181                $4,381        $3,957
  Gross Profit           $4,095                $4,518        $4,605
  Segment Profit         $1,656                $2,062        $2,059
EBITDA (Non-GAAP         $5,198               $5,715         $5,253
Operating Income)
Cash Flow from           $3,200               $4,500
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        Operations
        Free Cash Flow               $1,220            $2,738
        Significant highlights of 2013 included:
                                                   *        *        *
                Our generic medicines segment generated revenues of $9.9 billion and profitability of
                 $1.7 billion, down 5% and 20%, respectively. The decline in revenues was mainly due to
                 lower sales in the United States and ROW markets. Profitability was affected by product
                 mix and increasing costs.
                                                   *        *        *
                  Revenues from generic medicines in the United States during 2013 amounted to $4.2 billion,
        down 5% compared to $4.4 billion in 2012. The decrease resulted mainly from a decline in sales of
        the generic version of Lexapro® (escitalopram oxalate) for which we had exclusive rights in the first
        half of 2012, the lack of royalties related to the sales of the generic equivalent of Lipitor®
        (atorvastatin) under our agreement with Ranbaxy, which we received in the first half of 2012, and a
        decline in sales of the generic version of Actos® (pioglitazone) and Actoplus met®
        (pioglitazone/metformin), which were launched in the third quarter of 2012. These decreases were
        partially offset by higher sales of the generic version of Pulmicort® (budesonide inhalation) and the
        generic version of Adderall IR® (amphetamine salts IR), the exclusive launch of niacin ER, the
        generic equivalent of Niaspan®, as well as products that were sold in 2013 that were not sold in 2012.
                                                   *        *        *
                  In 2013 gross profit from our generic medicines segment amounted to $4.1 billion, a
        decrease of $423 million, or 9%, compared to $4.5 billion in 2012. The lower gross profit was mainly
        a result of a change in the composition of revenues in the United States and Canada, mainly royalties
        related to sales in the United States of the generic equivalent of Lipitor® (atorvastatin) under the
        agreement with Ranbaxy, higher charges related to inventories, a decrease in profits from API sales
        to third parties, as well as lower sales of other generic medicines, partially offset by sales of higher
        profitability products in the United States.


       598.     The financial figures and the reasons attributed to the figures in ¶¶595-597 were

materially false and misleading or omitted material facts because Teva failed to disclose that its

revenues and profits were inflated by the Price-Hike Strategy and included sales from collusive

price-fixing and market allocation schemes. Significantly, Inflated Profit and Collusive Profit

increased Teva’s profitability by $250 million in 2013 – with contribution of $103 million in the

third quarter of 2013 and $147 million in the fourth quarter of 2013.

       599.     On May 1, 2014, Teva hosted its first quarter 2014 earnings call and reported its

quarterly financial results in the 1Q2014 Form 6-K:

                                                                Three Months Ended Mar. 31,
                                      million                2014                        2013
        Total Revenues                                      $5,001                      $4,901
        Gross Profit                                        $2,697                      $2,590
        Generic Medicines Segment:
          Revenues                                          $2,398                           $2,328
            U.S. Revenues                                   $1,048                            $893
          Gross Profit                                      $1,042                            $951
          Segment Profit                                     $499                             $382
        EBITDA (Non-GAAP Operating
        Income)                                             $1,365                           $1,250

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       Cash Flow from Operations                               $898                          $1,102
       Free Cash Flow                                          $382                           $640
       1Q2014 Form 6-K:
       Significant highlights of the first quarter of 2014 included:
               Our revenues amounted to $5.0 billion, an increase of 2% compared to the first quarter of
                2013. In local currency terms, revenues increased 3%. The increase is due to higher
                revenues from our generic and specialty medicines, partially offset by lower sales of OTC
                products.
               Our generic medicines segment generated revenues of $2.4 billion and profitability of
                $0.5 billion in the first quarter of 2014, up 3% and 31%, respectively, from the first quarter
                of 2013. The increase in revenues and profitability was driven by improved results in the
                United States, partially offset by generic medicines’ lower performance in our ROW and
                European markets.
                                                 *         *           *
                 Revenues from generic medicines in the United States during the first quarter of 2014
       amounted to $1.0 billion, an increase of 17% compared to $893 million in the first quarter of 2013.
       The increase resulted mainly from the exclusive launch of capecitabine (the generic equivalent of
       Xeloda ®), the launch of tolterodine tartrate (the generic equivalent of Detrol ®), and higher sales of
       budesonide inhalation (the generic version of Pulmicort ®) as well as sales of products that were sold
       in the first quarter of 2014 but not sold in the first quarter of 2013, the most significant of which were
       niacin (the generic equivalent of Niaspan®) and tobramycin (the generic equivalent of Tobi®). These
       increases were partially offset by declines in other products due to loss of exclusivity or additional
       competition, the most significant of which were amphetamine salts (the generic equivalent of Adderall
       ®), fenofibrate (the generic equivalent of Tricor®) and clonidine patch (the generic equivalent of
       Catapres TTS ®).
                Among the most significant generic products we sold in the United States in the first quarter
       of 2014 were generic versions of Pulmicort ® (budesonide inhalation), Niaspan® (niacin ER),
       Xeloda® (capecitabine), Detrol® (tolterodine tartrate), Tobi® (tobramycin), Pravachol®
       (pravastatin), Adderall IR® (mixed amphetamine salts IR) and Evista ® (raloxifene).
                                                 *         *           *
                 In the first quarter of 2014, gross profit from our generic medicine segment amounted to
       $1,042 million, an increase of $91 million, or 10%, compared to $951 million in the first quarter of
       2013. The higher gross profit was mainly a result of higher revenues and of the change in the
       composition of revenues in the United States and Europe, mainly products launched during the first
       quarter of 2014 and in the United States in the second half of 2013. These increases were partially
       offset by lower revenues from our ROW markets, as well as a decrease in profit from API sales to
       third parties.
                                                 *         *           *
                Profitability of our generic medicine segment amounted to $499 million in the first quarter
       of 2014, compared to $382 million in the first quarter of 2013. The increase was due to the factors
       previously discussed, primarily higher revenues, higher gross profit and a reduction in selling and
       marketing expenses, which were partially offset by an increase in research and development expenses.
       1Q2014 Earnings Conference Call:
       The profitability of our major business segment was driven by global generic, with 31% improvement
       resulting from the strong performance in the US market and higher profitability in Europe.


       600.    On July 31, 2014, Teva reported its second quarter 2014 financial results in its

2Q2014 Form 6-K and hosted its quarterly earnings call:

                                        Three Months Ended Jun. 30,             Six Months Ended Jun. 30,
                            million        2014           2013                    2014            2013
       Total Revenues                     $5,045         $4,924                 $10,046          $9,825
       Gross Profit                       $2,661         $2,593                  $5,358          $5,183
       Generic Medicines
       Segment:
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  Revenues                         $2,515              $2,405            $4,913             $4,733
    U.S. Revenues                  $1,068               $967             $2,116             $1,860
  Gross Profit                     $1,046               $989             $2,088             $1,940
  Segment Profit                    $532                $376             $1,031              $758
EBITDA (Non-GAAP                                       $1,260            $2,732             $2,510
Operating Income)                  $1,367
Cash Flow from                     $1,100                $900
Operations
Free Cash Flow                      $583                 $378
2Q2014 Form 6-K:
Significant highlights of the second quarter of 2014 included:
        Our revenues amounted to $5.0 billion, an increase of 2% in both U.S. dollar and local
         currency terms, compared to the second quarter of 2013. The increase is due to higher
         revenues from our generic medicines, partially offset by lower sales of specialty medicines.
        Our generic medicines segment generated revenues of $2.5 billion and profitability of
         $532 million in the second quarter of 2014, up 5% and 41%, respectively, from the second
         quarter of 2013. The increase in revenues was driven by higher sales in the United States.
         Profitability increased as a result of higher profitability in the United States and in Europe.
                                           *       *            *
          Revenues from generic medicines in the United States during the second quarter of 2014
amounted to $1.1 billion, an increase of 10% compared to $1.0 billion in the second quarter of 2013.
The increase resulted mainly from a full quarter of sales of capecitabine (the generic equivalent of
Xeloda®), which was launched exclusively in March of 2014, and the launch of omega-3-acid ethyl
esters (the generic equivalent of Lovaza®) for which we are first to market, as well as sales of products
that were sold in the second quarter of 2014 but not sold in the second quarter of 2013, the most
significant of which were raloxifene (the generic equivalent of Evista®) and tolterodine tartrate (the
generic equivalent of Detrol®). These increases were partially offset by declines in other products,
the most significant of which was amphetamine salts (the generic equivalent of Adderall®).
         Among the most significant generic products we sold in the United States in the second
quarter of 2014 were generic versions of Pulmicort® (budesonide inhalation), Xeloda® (capecitabine),
Lovaza® (omega-3-acid ethyl esters), Adderall XR® (mixed amphetamine salts ER), Pravachol®
(pravastatin), Evista® (raloxifene), Accutane® (isotretinoin, which we market as Claravis™) and
Adderall IR® (mixed amphetamine salts IR).
                                           *       *            *
          In the second quarter of 2014, gross profit from our generic medicine segment amounted to
$1.0 billion, an increase of $57 million, or 6%, compared to the second quarter of 2013. The higher
gross profit was mainly a result of higher revenues in the United States, specifically of products
launched during the first half of 2014 and in the second half of 2013, and higher revenues in Canada
as well as the higher gross profit due to the change in the composition of revenues in Europe. These
increases were partially offset by lower revenues and a change in the composition of revenues in
certain ROW markets, mainly Japan and Russia.
                                           *       *            *
         Revenues in the second quarter of 2014 amounted to $5.0 billion, an increase of 2% in both
U.S. dollar and local currency terms compared to the second quarter of 2013. Our revenues were
positively affected by higher revenues of our generic medicines, partially offset by lower revenues of
our specialty medicines. See “Generic Medicine Revenues” and “Specialty Medicine Revenues”
above. Exchange rate movements during the second quarter of 2014 in comparison with the second
quarter of 2013 positively impacted overall revenues by approximately $16 million.
                                           *       *            *
       Revenues from generic medicines in the United States during the first six months of 2014
amounted to $2.1 billion, an increase of 14% compared to $1.9 billion in the first half of 2013.
          Among the most significant generic products we sold in the United States in the first six
months of 2014 were generic versions of Pulmicort® (budesonide inhalation), Xeloda®
(capecitabine), Detrol® (tolterodine tartrate), Pravachol® (pravastatin), Lovaza® (omega-3-acid ethyl
esters), Evista® (raloxifene), Niaspan® (niacin ER) and Adderall XR® (mixed amphetamine salts
ER).

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       2Q2014 Earnings Conference Call:
                 Looking at what impacted profitability this quarter, the improvement of operating profit and
       profitability was driven by strong results of our global generic business, with profit improvement of
       41% compared to last year. Launch of generic Xeloda in March and generic Lovaza this quarter in
       the US market, together with improvements in profitability in Europe, led to the better results.
       Copaxone profit contribution was down following the decline in sales, and our other specialty
       products, especially Azilect, Treanda, [and] ProAir, showed good improvement contributing to
       $57 million to the improvement in operating profit.
                So when we look at profitability by segment this quarter, profit contribution of the generic
       business increased from 24% last year to 32% of total this year. While Copaxone contribution was
       down from 51%, it was more than half of our profit last year, to 42% this year.


       601.    On October 30, 2014, Teva reported its third quarter 2014 financial results in its

3Q2014 Form 6-K and hosted its quarterly earnings call:

                                       Three Months Ended Sep. 30,            Nine Months Ended Sep. 30,
                           million        2014           2013                   2014            2013
       Total Revenues                    $5,058         $5,059                $15,104         $14,884
       Gross Profit                      $2,809         $2,630                 $8,167          $7,813
       Generic Medicines
       Segment:
         Revenues                         $2,432              $2,489           $7,345             $7,222
           U.S. Revenues                  $1,124              $1,137           $3,240             $2,997
         Gross Profit                     $1,078               $984            $3,166             $2,924
         Segment Profit                    $556                $396            $1,587             $1,154
       EBITDA (Non-GAAP                   $1,504              $1,330           $4,236             $3,840
       Operating Income)
       Cash Flow from                                           $400
       Operations                         $1,400
       Free Cash Flow                      $924                 ($34)
       3Q2014 Form 6-K:
       Significant highlights of the third quarter of 2014 included:
                                                  *       *             *
               Our generic medicines segment generated revenues of $2.4 billion and profitability of
                $556 million. Revenues decreased 2% compared to the third quarter of 2013, but
                profitability increased 40%. The increase in profitability was mainly due to higher
                profitability in the United States and Europe.
                                                  *       *             *
                Revenues from generic medicines in the United States during the third quarter of 2014
       amounted to $1.1 billion, a decrease of 1% compared to the third quarter of 2013. The decrease
       resulted mainly from a decline in sales of amphetamine salts (the generic equivalent of Adderall®)
       and the loss of exclusivity of niacin ER (the generic equivalent of Niaspan®). This decrease was
       largely offset by sales of products sold in the third quarter of 2014 which were not sold in the third
       quarter of 2013, the most significant of which were capecitabine (the generic equivalent of Xeloda®)
       and omega-3-acid ethyl esters (the generic equivalent of Lovaza®), as well as entecavir (the generic
       equivalent of Baraclude®), which was exclusively launched during the third quarter of 2014.
                                                  *       *             *
                 In the third quarter of 2014, gross profit from our generic medicine segment amounted to
       $1.1 billion, an increase of $94 million, or 10%, compared to the third quarter of 2013. The higher
       gross profit was mainly a result of lower expenses related to production, higher revenues from our
       API business as well as higher gross profit due to the change in the composition of revenues. These
       increases were partially offset by lower revenues in certain ROW markets and a change in the
       composition of revenues in these markets, as well as a slight decrease in revenues in the United States.
               Gross profit margin for our generic medicine segment in the third quarter of 2014 increased
       to 44.3%, from 39.5% in the third quarter of 2013. This increase of 4.8 points in gross margin was
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           mainly a result of lower expenses related to production and higher revenues from our API business as
           well as the change in composition of revenues in Europe and in the United States, partially offset by
           lower gross profit from our ROW markets, as mentioned above.
                                                     *         *           *
                    Profitability of our generic medicine segment amounted to $556 million in the third quarter
           of 2014, compared to $396 million in the third quarter of 2013. The increase was due to the factors
           previously discussed, primarily higher gross profit and a significant reduction in selling and marketing
           expenses, partially offset by higher research and development expenses.
                                                     *         *           *
                  In the third quarter of 2014, gross profit amounted to $2.8 billion, an increase of 7%
           compared to the third quarter of 2013.
                    The higher gross profit is primarily the result of the higher gross profit of our generic segment
           and our specialty medicines’ segment. See “Generic Medicine Gross Profit” and “Specialty Medicine
           Gross Profit” above.
                                                     *         *           *
                  Revenues from generic medicines in the United States during the first nine months of 2014
           amounted to $3.2 billion, an increase of 8% compared to $3.0 billion in the first nine months of 2013.
                    Among the most significant generic products we sold in the United States in the first nine
           months of 2014 were generic versions of Pulmicort® (budesonide inhalation), Xeloda®
           (capecitabine), Lovaza® (omega-3-acid ethyl esters), Niaspan® (niacin ER), Adderall XR® (mixed
           amphetamine salts ER), Evista® (raloxifene), Pravachol® (pravastatin), Tobi® (tobramycin sulfate)
           and Adderall IR® (mixed amphetamine salts IR).
           3Q2014 Earnings Conference Call:
                     Profitability, which is our measure for segment operating income without G&A allocation,
           improved through all segments. Mostly for the generic segment, with 40% improvement year over
           year, as you have heard from Siggi. The improvement is due to better gross margins, lower sales and
           marketing expenses and Copaxone revenue, which grew year over year.


           602.    On February 5, 2015, Teva reported its fourth quarter 2014 financial results in the

4Q2014 Form 6-K Press Release and hosted an earnings call announcing its quarterly and annual

results:

                                            Three Months Ended Dec. 31,                Year Ended Dec. 31,
                                million        2014            2013                  2014             2013
           Total Revenues                     $5,168          $5,430                $20,272         $20,314
           Gross Profit                        2,889          $2,894                $11,056         $10,707
           Generic Medicines
           Segment:
             Revenues                          $2,469              $2,680           $9,814              $9,902
               U.S. Revenues                   $1,178              $1,175           $4,418              $4,172
             Gross Profit                      $1,081              $1,155           $4,247              $4,079
             Segment Profit                     $561                $514            $2,148              $1,668
           EBITDA (Non-GAAP                    $1,496              $1,358           $5,732              $5,198
           Operating Income)
           Cash Flow from                      $1,800               $800            $5,100              $3,200
           Operations
           Free Cash Flow                      $1,500               $500            $4,300              $2,300
           4Q2014 Form 6-K Press Release:
                   Eyal Desheh, Chief Financial Officer of Teva, stated “Throughout the year, Teva placed
           great emphasis on the optimization of our global portfolio and the ongoing cost containment efforts,
           which resulted in an overall improvement in our non-GAAP operating margin of approximately 400
           basis points. These efforts contributed to the strong financial results in 2014, which included

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achieving or exceeding the key metrics of our financial guidance.
                                           *        *        *
Generic revenues consisted of:
        U.S. revenues of $1.2 billion, flat compared to the fourth quarter of 2013, as higher sales of
         omega-3-acid ethyl esters (the generic equivalent of Lovaza®), capecitabine (the generic
         equivalent of Xeloda®), celecoxib (the generic equivalent of Celebrex®), raloxifene (the
         generic equivalent of Evista®) and entecavir (the generic equivalent of Baraclude®) were
         offset by lower revenues of products launched during 2013, mainly niacin ER (the generic
         equivalent of Niaspan®), following the loss of exclusivity.
                                           *        *        *
          Gross profit from our generic medicines segment in the fourth quarter of 2014 amounted to
$1.1 billion, a decrease of 6%, compared to the fourth quarter of 2013. The lower gross profit was
mainly the result of lower revenues . . . partially offset by higher profitability of products launched in
2014 and of our European portfolio, improved pricing and higher gross profit of our APIs. Gross
profit margin for our generic medicines segment in the fourth quarter of 2014 increased to 43.8%,
from 43.1% in the fourth quarter of 2013.
         Profit from our generic medicines segment amounted to $561 million in the fourth quarter
of 2014, an increase of 9% compared to $514 million in the fourth quarter of 2013. The increase was
primarily due to our lower S&M expenses and lower R&D expenses, partially offset by lower gross
profit. Generic medicines profit as a percentage of generic medicines revenues was 22.7% in the
fourth quarter of 2014, up from 19.2% in the fourth quarter of 2013.
4Q2014 Earnings Conference Call:
          The most notable contribution was generated by our generic business, improving
profitability by more than 500 basis points. The contribution of our generic business to the growth of
other operating profit was nearly $500 million, increas[ing] its share of the total to 31%.


603.    On February 9, 2015, Teva filed its 2014 Form 20-F:

               million      2014                2013           2012           2011             2010
Total Revenues            $20,272              $20,314        $20,317        $18,312          $16,121
Gross Profit              $11,056              $10,707        $10,652        $9,515           $9,065
Generic Medicines Segment:
  Revenues                 $9,814              $9,902         $10,385
    U.S. Revenues          $4,418              $4,172          $4,381
  Gross Profit             $4,247              $4,079          $4,518
  Segment Profit           $2,148              $1,668          $2,062
EBITDA (Non-GAAP           $5,732              $5,198         $5,715
Operating Income)
Cash Flow from
Operations                 $5,100              $3,200
Free Cash Flow             $4,300              $2,300
Significant highlights of 2014 included:
                                           *        *        *
        Our generic medicines segment generated revenues of $9.8 billion and profit of $2.1 billion,
         down 1% and up 29%, respectively. The decline in revenues was due to lower sales in the
         European and ROW markets, largely offset by higher sales in the United States. The increase
         in profit resulted from lower S&M expenses and higher gross profit.
                                           *        *        *
         Revenues from generic medicines in the United States in 2014 amounted to $4.4 billion, up
6% compared to $4.2 billion in 2013. The increase resulted mainly from the 2014 exclusive launch
of capecitabine (the generic equivalent of Xeloda®), the launch of omega-3-acid ethyl esters (the
generic equivalent of Lovaza®) for which we were first to market, and the launch of raloxifene (the
generic equivalent of Evista®), as well as products that were sold in 2014 that were not sold in 2013.
These increases were partially offset by lower sales of the generic versions of Adderall IR®
(amphetamine salts IR), Pulmicort® (budesonide inhalation) and Niaspan® (niacin ER).


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                                                  *        *            *
                  In 2014, gross profit from our generic medicines segment amounted to $4.2 billion, an
        increase of $168 million, or 4%, compared to $4.1 billion in 2013. The higher gross profit was mainly
        a result of higher revenues in the United States, specifically of products launched during 2014 and in
        the second half of 2013, and higher revenues in Canada, which led to higher gross profits, as well as
        higher gross profit from API sales to third parties. These increases were partially offset by lower
        revenues in Europe and certain ROW markets, which led to lower gross profits.


       604.     The financial figures and the reasons attributed to the figures ¶¶599-603 were

materially false and misleading or omitted material facts because Teva failed to disclose that its

revenues and profits were inflated by the Price-Hike Strategy and included sales from price-fixing

and market allocation schemes. Significantly, Inflated Profit and Collusive Profit increased Teva’s

profitability by $692 million in 2014 – with contribution of $120 million in the first quarter of

2014, $160 million in the second quarter of 2014, $193 million in the third quarter of 2014, and

$219 million in the fourth quarter of 2014.

       605.     On April 30, 2015, Teva reported its first quarter 2015 financial results in its

1Q2015 Form 6-K and hosted its quarterly earnings call:

                                                                Three Months Ended Mar. 31,
                                      million                2014                        2013
        Total Revenues                                      $4,982                      $5,001
        Gross Profit                                        $2,836                      $2,697
        Generic Medicines Segment:
          Revenues                                          $2,621                          $2,398
            U.S. Revenues                                   $1,439                          $1,048
          Gross Profit                                      $1,284                          $1,043
          Segment Profit                                     $799                            $503
        EBITDA (Non-GAAP Operating
        Income)                                             $1,533                          $1,381
        Cash Flow from Operations                           $1,400                           $900
        Free Cash Flow                                      $1,200                           $540
        1Q2015 Form 6-K:
        Significant highlights of the first quarter of 2015 included:
                Our revenues amounted to $5.0 billion, consistent with the first quarter of 2014, and up 7%
                 in local currency terms.
                Our generic medicines segment generated revenues of $2.6 billion and profit of
                 $799 million. As compared to the first quarter of 2014, revenues increased 9% as a result of
                 higher U.S. sales and profit increased 59%. The increase in profit was mainly due to higher
                 profit in the United States and Europe.
                                                  *        *            *
                 Revenues from generic medicines in the United States during the first quarter of 2015
        amounted to $1.4 billion, an increase of 37% compared to the first quarter of 2014. The increase
        resulted mainly from the launch of esomeprazole magnesium DR capsules (the generic equivalent of
        Nexium®) this quarter and from sales of other products that were not sold in the first quarter of 2014,
        the most significant of which was omega-3-acid ethyl esters (the generic equivalent of Lovaza®).
        These increases were partially offset by declines in other products, the most significant of which was
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       niacin ER (the generic equivalent of Niaspan®).
                                                *        *        *
                 In the first quarter of 2015, gross profit from our generic medicines segment amounted to
       $1.3 billion, an increase of $241 million, or 23%, compared to the first quarter of 2014. The higher
       gross profit was mainly a result of the launch of esomeprazole in the United States during the quarter
       and improved profitability of our European business.
       1Q2015 Earnings Conference Call:
       [Olafsson:] And despite the FX impact, the profit for the generics increased 59% to $799 million.
       The revenues were up 9% to $2.6 billion. And our operating profit in [the] first-quarter was 30.5%,
       which is a significant improvement over the 2014 operating profit of 21.9% and 16.7% in operating
       profit in 2013. We successfully launched generic Nexium, esomeprazole, on February 17. We are
       still exclusive on the market. But pending at the FDA are 10 other ANDA filers waiting for approval.


       606.    On July 30, 2015, Teva reported its second quarter 2015 financial results in its

2Q2015 Form 6-K and hosted its quarterly earnings call.

                                          Three Months Ended Jun. 30,       Six Months Ended Jun. 30,
                                million       2015          2014                2015            2014
       Total Revenues                        $4,966        $5,045              $9,948         $10,046
       Gross Profit                          $2,902        $2,661              $5,738          $5,358
       Generic Medicines Segment:
         Revenues                             $2,466           $2,515           $5,087           $4,913
           U.S. Revenues                      $1,326           $1,068           $2,765           $2,116
         Gross Profit                         $1,198           $1,049           $2,482           $2,092
         Segment Profit                        $729             $536            $1,528           $1,039
       EBITDA (Non-GAAP                       $1,610           $1,387           $3,143           $2,768
       Operating Income)
       Cash Flow from Operations              $1,500           $1,100
       Free Cash Flow                         $1,336            $882            $2,549           $1,555
       2Q2015 Form 6-K:
       Significant highlights of the second quarter of 2015 included:
               Our revenues amounted to $5.0 billion, consistent with the second quarter of 2014, but up
                5% in local currency terms.
               Our generic medicines segment generated revenues of $2.5 billion and profit of
                $729 million. Revenues decreased 2% (but increased 6% in local currency terms), while
                profit increased 36%, compared to the second quarter of 2014. The increase in profit was
                mainly due to higher profit in the United States.
                                                *        *        *
                Revenues from generic medicines in the United States during the second quarter of 2015
       amounted to $1.3 billion, an increase of 24% compared to the second quarter of 2014. The increase
       resulted mainly from the at-risk launch of aripiprazole tablets (the generic equivalent of Abilify®)
       during the second quarter of 2015 and from sales of other products that were not sold in the second
       quarter of 2014, the most significant of which was esomeprazole magnesium DR capsules (the generic
       equivalent of Nexium®). These increases were partially offset by declines in other products, the most
       significant of which was capecitabine (the generic equivalent of Xeloda®).
                                                *        *        *
                 In the second quarter of 2015, gross profit from our generic medicines segment amounted to
       $1.2 billion, an increase of $149 million, or 14%, compared to the second quarter of 2014. The higher
       gross profit was mainly a result of higher gross profit in the United States, due to the launches of
       aripiprazole in the second quarter of 2015 and of esomeprazole during the first quarter of 2015, and
       lower production expenses, partially offset by lower gross profit of our ROW markets and our
       European business due to our focus on profitable business and lower gross profit of our API business.
       2Q2015 Earnings Conference Call:
                The result of all this is a strong trend of improvement in operating margin for Teva over the
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      past 18 months of almost 500 basis points in operating profit. This was built upon the impressive
      improvement in the profitability of our generic business.


      607.    On October 29, 2015, Teva reported its third quarter 2015 financial results in its

3Q2015 Form 6-K:

                                          Three Months Ended Sep. 30,        Nine Months Ended Sep. 30,
                               million       2015           2014                2015           2014
      Total Revenues                        $4,823         $5,058             $14,771        $15,104
      Gross Profit                          $2,771         $2,809              $8,509         $8,167
      Generic Medicines Segment:
        Revenues                             $2,202           $2,432           $7,289           $7,345
          U.S. Revenues                      $1,032           $1,124           $3,797           $3,240
        Gross Profit                         $1,005           $1,078           $3,487           $3,170
        Segment Profit                        $578             $558            $2,106           $1,597
      EBITDA (Non-GAAP
      Operating Income)                      $1,550           $1,522           $4,693           $4,290
      Cash Flow from Operations              $1,100           $1,400
      Free Cash Flow                         $1,000
      3Q2015 Form 6-K:
      Significant highlights of the third quarter of 2015 included:
              Our revenues amounted to $4.8 billion, compared to $5.1 billion in the third quarter of 2014,
               down 5%, but up 3% in local currency terms.
              Our generic medicines segment generated revenues of $2.2 billion and profit of
               $578 million. Revenues decreased 9%, or 1% in local currency terms. Profit increased 4%
               compared to the third quarter of 2014. The increase in profit was mainly due to lower selling
               and marketing expenses.
                                               *         *        *
               Revenues from generic medicines in the United States during the third quarter of 2015
      amounted to $1.0 billion, a decrease of 8% compared to the third quarter of 2014. The decrease
      resulted mainly from a decline in sales of budesonide (the generic equivalent of Pulmicort®), niacin
      ER (the generic equivalent of Niaspan®), capecitabine (the generic equivalent of Xeloda®) and
      omega-3-acid ethyl esters (the generic equivalent of Lovaza®) due to price declines resulting from
      increased competition. These decreases were partially offset by sales of products sold in the third
      quarter of 2015 that were not sold in the third quarter of 2014, the most significant of which were
      esomeprazole (the generic equivalent of Nexium®), aspirin/extended-release dipyridamole (the
      generic equivalent of Aggrenox®) and aripiprazole (the generic equivalent of Abilify®).
                                               *         *        *
                In the third quarter of 2015, gross profit from our generic medicines segment amounted to
      $1.0 billion, a decrease of $73 million, or 7%, compared to the third quarter of 2014. The lower gross
      profit was mainly a result of lower sales of budesonide (the generic equivalent of Pulmicort®) and
      niacin ER (the generic equivalent of Niaspan®) in the United States, which are both high gross profit
      products. In addition, exchange rate movements in our ROW and European markets further decreased
      gross profit. This decrease was partially offset by higher gross profit of our API business. In local
      currency terms, gross profit increased 1%
                                               *         *        *
             Revenues from generic medicines in the United States in the first nine months of 2015
      amounted to $3.8 billion, an increase of 17% compared to $3.2 billion in the first nine months of
      2014.
               Among the most significant generic products we sold in the United States in the first nine
      months of 2015 were generic versions of Nexium® (esomeprazole), Pulmicort® (budesonide
      inhalation), Abilify® (aripiprazole), Xeloda® (capecitabine), Lovaza® (omega-3-acid ethyl esters),
      Adderall XR® (mixed amphetamine salts ER), Detrol® (tolterodine ER), Accutane® (isotretinoin),
      Pravachol® (pravastatin), Evista® (raloxifene), and Celebrex® (celecoxib).


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           608.    On February 11, 2016, Teva reported its fourth quarter 2015 financial results in the

4Q2015 Form 6-K Press Release and hosted an earnings call announcing its quarterly and annual

results:

                                               Three Months Ended Dec. 31,            Year Ended Dec. 31,
                                    million        2015          2014                2015           2014
           Total Revenues                         $4,881        $5,168              $19,652       $20,272
           Gross Profit                           $2,847        $2,889              $11,356       $11,056
           Generic Medicines Segment:
             Revenues                             $2,257            $2,469           $9,546            $9,814
               U.S. Revenues                       $996             $1,178           $4,793            $4,418
             Gross Profit                         $1,012            $1,083           $4,499            $4,253
             Segment Profit                        $576              $569            $2,682            $2,166
           EBITDA (Non-GAAP
           Operating Income)                      $1,481            $1,520           $6,174            $5,810
           Cash Flow from Operations              $1,600            $1,800           $5,500            $5,100
           Free Cash Flow                         $1,400            $1,500           $4,900            $4,300
           4Q2015 Form 6-K Press Release:
           Generic revenues consisted of:
                   U.S. revenues of $1.0 billion, a decrease of 15% compared to the fourth quarter of 2014.
                    The decrease resulted mainly from a decline in sales of omega-3-acid ethyl esters (Lovaza®),
                    budesonide (Pulmicort®) and capecitabine (Xeloda®).
                                                     *        *        *
                     Gross profit from our generic medicines segment in the fourth quarter of 2015 amounted to
           $1.0 billion, a decrease of 7% compared to the fourth quarter of 2014. The lower gross profit was
           mainly a result of lower sales of budesonide (Pulmicort®) in the United States. In addition, exchange
           rate movements in our ROW and European markets had a negative impact on our gross profit. This
           decrease was partially offset by higher gross profit of our API business.
                                                     *        *        *
                     Our generic medicines segment generated profit of $576 million in the fourth quarter of
           2015, an increase of 1% compared to the fourth quarter of 2014. Generic medicines profitability as a
           percentage of generic medicines revenues was 25.5% in the fourth quarter of 2015, up from 23.0% in
           the fourth quarter of 2014. The increase was primarily due to the reduction in S&M expenses,
           partially offset by lower gross profit.
           4Q2015 Earnings Conference Call:
                    2015 was a very good year for Teva Generics. Thanks to our strong performance of the base
           business and good new products launches, we delivered great results in the US and in major markets
           globally. We continued improving the operating profit of the generic business, coming from
           $1.68 billion operating profit in 2013, or 17% of revenue, to $2.68 billion operating profit in 2015, or
           28% of revenue. This is [a] $1 billion improvement in operating profit over 24 months [sic] period.
                   So how did we do this? Not by pricing but by portfolio mix, new products, and efficiency
           measures.
                                                     *        *        *
                   Looking at EBITDA, this important measurement will continue to drive very strong
           EBITDA growth, with 7.8% CAGR over the past three years. The improved generic business
           generated 37% of annual operating profit without G&A, while Copaxone’s share of this profit was
           down from 46% to 42%. And these two major pieces of our business are coming close in contribution.
                                                     *        *        *
           [O]n the profitability, the overall business coming in at 28% versus what we – for the full year was
           25.5% for fourth quarter. I think how you need to think about it is, obviously, when you have an
           exclusive opportunity, especially in the US, you traditionally have a higher profitability. And we saw
           that in the first two quarters of the year, where we didn’t have any exclusive product in third and
           fourth quarter, there was a lower profitability.

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                 . . . But keep in mind that from fourth-quarter 2014 to fourth-quarter 2015, there is a 200-
        basis-point improvement the operating profit. So there were no exclusive launches in either quarters.
        So the base business, overall base business improvement from the 12-month period was 200 basis
        point from fourth quarter to fourth quarter. So I think the overall business is improving.


       609.     On February 11, 2016, Teva filed its 2015 Form 20-F:

                        million      2015               2014           2013          2012           2011
        Total Revenues             $19,652             $20,272        $20,314      $20,317        $18,312
        Gross Profit                $8,296             $9,216         $9,607        $9,665         $8,797
        Generic Medicines Segment:
         Revenues                   $9,546             $9,814         $9,902
            U.S. Revenues           $4,793             $4,418         $4,172
          Gross Profit              $4,499             $4,253         $4,083
          Segment Profit            $2,682             $2,166         $1,680
        EBITDA (Non-GAAP           $6,174              $5,810         $5,252
        Operating Income)
        Cash Flow from
        Operations                  $5,500             $5,100

                 Revenues from generic medicines in the United States in 2015 amounted to $4.8 billion, up
        8% compared to $4.4 billion in 2014. The increase resulted mainly from the 2015 exclusive launch
        of esomeprazole (the generic equivalent of Nexium®) and the launch of aripiprazole (the generic
        equivalent of Abilify®), as well as products that were sold in 2015 that were not sold in 2014. This
        increase was partially offset by lower sales of the generic versions of Pulmicort® (budesonide
        inhalation), Xeloda® (capecitabine), Niaspan® (niacin ER) and Lovaza® (omega-3-acid ethyl esters).
                                                   *       *         *
                  In 2015, gross profit from our generic medicines segment amounted to $4.5 billion, an
        increase of $246 million, or 6%, compared to $4.3 billion in 2014. The higher gross profit was mainly
        a result of higher revenues from new products launched in the United States during 2015, lower other
        production expenses and higher gross profit from API sales to third parties. These increases were
        partially offset by lower gross profit in our ROW markets and lower gross profit in Europe.


       610.     The financial figures and the reasons attributed to the figures in ¶¶605-609 were

materially false and misleading or omitted material facts because Teva failed to disclose that its

revenues and profits were inflated by the Price-Hike Strategy and included sales from collusive

price-fixing and market allocation schemes. Significantly, Inflated Profit and Collusive Profit

increased Teva’s profitability by $848 million in 2015 – with contribution of $228 million in the

first quarter of 2015, $236 million in the second quarter of 2015, $218 million in the third quarter

of 2015, and $166 million in the fourth quarter of 2015.

       611.     On May 9, 2016, Teva reported its first quarter 2016 financial results in its 1Q2016

Form 6-K and hosted its quarterly earnings call:

                                                                    Three Months Ended Mar. 31,
                                         million                  2016                      2015
        Total Revenues                                           $4,810                    $4,982
        Gross Profit                                             $2,791                    $2,146
        Generic Medicines Segment:
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         Revenues                                              $2,170                      $2,621
           U.S. Revenues                                        $976                       $1,439
         Gross Profit                                           $999                       $1,284
         Segment Profit                                         $584                        $799
       EBITDA (Non-GAAP Operating
       Income)                                                 $1,526                      $1,533
       Cash Flow from Operations                               $1,376                      $1,354
       Free Cash Flow                                          $1,200
       1Q2016 Form 6-K:
       Significant highlights of the first quarter of 2016 included:
                                                 *        *            *
               Our generic medicines segment generated revenues of $2.2 billion and profit of
                $584 million. Revenues decreased 17%, or 15% in local currency terms, mainly due to lower
                U.S. sales. Profit decreased 27% compared to the first quarter of 2015. Our higher revenues
                and profit in the first quarter of 2015 were both due to significant launches in the U.S.
                Revenues from generic medicines in the United States during the first quarter of 2016
       amounted to $976 million, a decrease of 32% or of $463 million, compared to the first quarter of
       2015. The decrease resulted mainly from a decline in sales of $427 million due to the loss of
       exclusivity on esomeprazole (the generic equivalent of Nexium®) and budesonide (the generic
       equivalent of Pulmicort®) as well as a decline in sales of omega-3-acid ethyl esters (the generic
       equivalent of Lovaza®) and capecitabine (the generic equivalent of Xeloda®) due to increased
       competition. These decreases were partially offset by sales of products sold in the first quarter of
       2016 that were not sold in the first quarter of 2015, the most significant of which were aripiprazole
       (the generic equivalent of Abilify®) and aspirin/extended-release dipyridamole.
                                                 *        *            *
                In the first quarter of 2016, gross profit from our generic medicines segment amounted to
       $999 million, a decrease of $285 million, or 22%, compared to the first quarter of 2015. In local
       currency terms, gross profit decreased 20%. The lower gross profit was mainly a result of lower sales
       of high gross profit products in the United States, higher production expenses and lower gross profit
       in our European markets. This decrease was partially offset by higher gross profit of our ROW
       markets and our API business.
       1Q2016 Earnings Conference Call:
                We have taken a significant step to transform our generic business, solidify our foundation,
       increase our profitability, and to better position us to generate sustainable long-term growth. These
       many steps have included portfolio optimization, strengthening our capabilities in R&D, and
       manufacturing of complex products, regaining a leading position in submission on first-to-files,
       enhancing our go-to-market, and sales force effectiveness capabilities, and much, much more.
                                                 *        *            *
       Sales declined by 3%, mostly due to exchange rates impact. However, operating income, EBITDA,
       net income, and earning per share were at the same level of last year, due to improved efficiency, and
       profitability . . . .


       612.    On August 4, 2016, Teva reported its second quarter 2016 financial results in its

2Q2016 Form 6-K and hosted its quarterly earnings call:

                                            Three Months Ended Jun. 30,        Six Months Ended Jun. 30,
                                 million       2016           2015               2016           2015
       Total Revenues                         $5,038         $4,966             $9,848         $9,948
       Gross Profit                           $2,877         $2,902             $5,668         $5,738
       Generic Medicines Segment:
         Revenues                              $2,294            $2,466         $4,464           $5,087
           U.S. Revenues                        $892             $1,326         $1,868           $2,765
         Gross Profit                          $1,072            $1,198         $2,071           $2,482
         Segment Profit                         $614              $729          $1,198           $1,528
       EBITDA (Non-GAAP                        $1,583            $1,610         $3,109           $3,143
       Operating Income)
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       Cash Flow from Operations                $963             $1,500
       Free Cash Flow                           $800             $1,300
       2Q2016 Form 6-K:
       Significant highlights of the second quarter of 2016 included:
                                                 *         *       *
               Our generic medicines segment generated revenues of $2.3 billion and profit of
                $614 million. Revenues decreased 7%, or 4% in local currency terms. Profit decreased 16%
                compared to the second quarter of 2015. Our lower revenues and profit in the second quarter
                of 2016 were mainly due to loss of exclusivity on certain products as well as increased
                competition on other product.
                                                 *         *       *
                 Revenues from generic medicines in the United States during the second quarter of 2016
       amounted to $892 million, a decrease of $434 million, or 33%, compared to the second quarter of
       2015. The decrease resulted mainly from the loss of exclusivity on aripiprazole (the generic
       equivalent of Abilify®) and esomeprazole (the generic equivalent of Nexium®) as well as a decline
       in sales of budesonide (the generic equivalent of Pulmicort®), capecitabine (the generic equivalent of
       Xeloda®) and omega-3-acid ethyl esters (the generic equivalent of Lovaza®), due to increased
       competition.
                                                 *         *       *
                 In the second quarter of 2016, gross profit from our generic medicines segment amounted to
       $1.1 billion, a decrease of $126 million, or 11%, compared to the second quarter of 2015. In local
       currency terms, gross profit decreased 7%. The lower gross profit was mainly a result of loss of
       exclusivity on certain products as well as increased competition on other products in the United States
       (as described above) and higher production expenses, partially offset by higher gross profit of our
       ROW markets, higher gross profit of our API business and higher gross profit of our European
       markets.
                                                 *         *       *
               Revenues from generic medicines in the United States in the first six months of 2016
       amounted to $1.9 billion, a decrease of 32% compared to $2.8 billion in the first six months of 2015.
       The decrease resulted mainly from the loss of exclusivity on aripiprazole (the generic equivalent of
       Abilify®) and esomeprazole (the generic equivalent of Nexium®) as well as a decline in sales of
       budesonide (the generic equivalent of Pulmicort®).
                                                 *         *       *
              In the first six months of 2016, gross profit amounted to $5.7 billion, a decrease of 1%
       compared to the first six months of 2015.
                  The lower gross profit was mainly a result of the lower gross profit of our generic medicines
       segment as well as inventory step-up charges and higher costs related to regulatory actions taken in
       facilities, partially offset by higher gross profit of our specialty medicines segment, lower
       amortization of purchased intangible assets and higher gross profit of our OTC activity.
       2Q2016 Earnings Conference Call:
                Operating profit for the quarter, which was similar to last year were influenced by the decline
       of our Aripiprazole, Esomeprazole, and Budesonide due to competition.
                                                 *         *       *
               On the profitability of our generic pieces, obviously, we are not breaking this down, but what
       you’ve seen is that the level of profitability was similar to Q1, 26.8%. The difference from last year,
       mostly due to the three major products that saw a much more intensive competition in the US market.


       613.    On November 15, 2016, Teva reported its third quarter 2016 financial results in its

3Q2016 Form 6-K and hosted its quarterly earnings call:




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                                     Three Months Ended Sep. 30,          Nine Months Ended Sep. 30,
                          million       2016           2015                  2016           2015
Total Revenues                         $5,563         $4,823               $15,411        $14,771
Gross Profit                           $2,801         $2,771                $8,469         $8,509
Generic Medicines Segment:
  Revenues                               $2,904           $2,202            $7,368            $7,289
    U.S. Revenues                        $1,293           $1,032            $3,161            $3,797
  Gross Profit                           $1,466           $1,005            $3,537            $3,487
  Segment Profit                          $867             $578             $2,065            $2,106
EBITDA (Non-GAAP
Operating Income)                        $1,794           $1,550            $4,903            $4,693
Cash Flow from Operations                $1,500           $1,100
Free Cash Flow                           $1,200           $1,000
3Q2016 Form 6-K:
Significant highlights of the third quarter of 2016 included:
        On August 2, 2016, we consummated the Actavis Generics acquisition. The acquisition had
         a significant impact on our generic medicines segment, expanding our product portfolio,
         R&D capabilities, product pipeline, and global operational network. Our results of
         operations for the third quarter of 2016 include two months of Actavis Generics results, with
         $887 million included in our consolidated revenues.
                                          *         *        *
        Our generic medicines segment generated revenues of $2.9 billion and profit of
         $867 million. Revenues increased 32%, or 35% in local currency terms. Profit increased
         50% compared to the third quarter of 2015. Our higher revenues and profit in the third
         quarter of 2016 were mainly due to the inclusion of two months of Actavis Generics revenues
         in this quarter.
                                          *         *        *
          Revenues from generic medicines in the United States during the third quarter of 2016 were
$1.3 billion, an increase of $261 million, or 25%, compared to the third quarter of 2015. The increase
resulted mainly from the inclusion of two months of Actavis Generics revenues of approximately
$538 million, partially offset by loss of revenues following our divestment of certain products in
connection with the acquisition, a decline in sales of budesonide (the generic equivalent of
Pulmicort®) due to increased competition and the loss of exclusivity on esomeprazole (the generic
equivalent of Nexium®).
                                          *         *        *
          In the third quarter of 2016, gross profit from our generic medicines segment was
$1.5 billion, an increase of $461 million, or 46%, compared to the third quarter of 2015. The higher
gross profit was mainly due to the first time inclusion of Actavis Generics and our business venture
with Takeda in Japan, commencing with the second quarter of 2016, and higher gross profit of our
API business as well as lower expenses related to production.
                                          *         *        *
         Revenues in the third quarter of 2016 were $5.6 billion, an increase of 15% compared to the
third quarter of 2015, primarily due to higher revenues of our generic medicines due to the first time
inclusion of the Actavis Generics, as well as higher revenues of other activities, partially offset by
lower revenues of our specialty medicines. See “Generic Medicines Revenues,” . . . .
                                          *         *        *
       In the third quarter of 2016, gross profit amounted to $2.8 billion, an increase of 1%
compared to the third quarter of 2015.
         The higher gross profit was mainly the result of higher gross profit of our generics medicines
due to the first time inclusion of Actavis Generics and higher gross profit of our OTC activity, partially
offset by higher amortization of purchased intangible assets, inventory step-up charges in the third
quarter of 2016, lower gross profit of our specialty medicines segment, higher costs related to
regulatory actions taken in facilities and other activities. See “Generic Medicines Gross Profit,” . . . .
                                          *         *        *
        Revenues from generic medicines in the United States in the first nine months of 2016
amounted to $3.2 billion, a decrease of 17% compared to $3.8 billion in the first nine months of 2015.
The decrease resulted mainly from the loss of exclusivity on esomeprazole (the generic equivalent of
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           Nexium®), a decline in sales of budesonide (the generic equivalent of Pulmicort®) and the loss of
           exclusivity on aripiprazole (the generic equivalent of Abilify®), partially offset by the inclusion of
           two months of Actavis Generics revenues.
                                                    *        *        *
                     Cash flow generated from operating activities during the third quarter of 2016 amounted to
           $1.5 billion, compared to $1.1 billion in the third quarter of 2015. The increase was mainly due to
           lower payments for legal settlements, partially offset by an increase in accounts receivable, net of
           SR&A, and an increase in inventories. Cash flow was affected by the inclusion of two months of
           Actavis Generics.
           3Q2016 Earnings Conference Call:
                    Turning to our profit margins, the generic business came in at 29.9%. By exercising strong
           focus on cost control, and driving the right business mix, we compensated for challenges on the top
           line.
                                                    *        *        *
                    Our non-GAAP operating profit, this measure excludes G&A, was up 16% year-over-year.
           Generics including Actavis contributed additional operating profit of more than $300 million to our
           operating profit, and our operating profit from our specialty business was down by $120 million year-
           over-year, all in all, a 16% increase.


           614.    On February 13, 2017, Teva reported its fourth quarter 2016 financial results in its

4Q2016 Form 6-K Press Release and hosted an earnings call announcing its quarterly an annual

results:

                                                Three Months Ended Dec. 31,           Year Ended Dec. 31,
                                     million       2016           2015               2016           2015
           Total Revenues                         $6,492         $4,881             $21,903       $19,652
           Gross Profit                           $3,390         $2,847             $11,859       $11,356
           Generic Medicines Segment:
             Revenues                              $3,716           $2,573          $11,990          $10,540
               U.S. Revenues                       $1,395            $998            $4,556           $4,795
             Gross Profit                          $1,835           $1,169           $5,696           $4,903
             Segment Profit                        $1,075            $693            $3,310           $2,925
           EBITDA (Non-GAAP Operating              $1,944           $1,481           $6,847           $6,174
           Income)
           Cash Flow from Operations               $1,400                            $5,200           $5,500
           Free Cash Flow                          $1,100                            $4,400           $4,900
           4Q2016 Form 6-K Press Release:
                     Revenues in 2016 were $21.9 billion, an increase of 11% compared to 2015, primarily due
           to the inclusion, following the closing on August 2, of the results of the Actavis Generics business.
                                                    *        *        *
                    Revenues in the fourth quarter of 2016 were $6.5 billion, up 33% compared to the fourth
           quarter of 2015, primarily due to the inclusion, following the closing on August 2, of the results of
           the Actavis Generics business.
                                                    *        *        *
                  Generic medicines revenues in the fourth quarter of 2016 were $3.7 billion, an increase of
           44% compared to the fourth quarter of 2015, reflecting the results of the Actavis Generics business
           from August 2, 2016.
           Generic revenues consisted of:
                   U.S. revenues of $1.4 billion, an increase of 40% compared to the fourth quarter of 2015,
                    mainly due to the inclusion of Actavis Generics with revenues of $630 million.
           4Q2016 Earnings Conference Call:

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        As you can see, on a non-GAAP basis, our profit and EBITDA were up about 30% compared to Q4
        last year, all driven by inorganic growth, related mostly to the Actavis acquisition, and also to the
        joint venture with Takeda in Japan.
                                                   *       *        *
                 The increase in our operating profit was driven mainly by our generic business, following
        the closing of the Actavis transaction.


       615.     On February 15, 2017, Teva filed its 2016 Form 20-F:

                         million     2016               2015          2014           2013            2012
        Total Revenues             $21,903             $19,652       $20,272        $20,314         $20,317
        Gross Profit               $11,859             $11,356       $11,056        $10,707         $10,652
        Generic Medicines Segment:
         Revenues                  $11,990             $10,540       $10,810
            U.S. Revenues          $4,556               $4,795        $4,516
          Gross Profit             $5,696               $4,903        $4,601
          Segment Profit           $3,310               $2,925        $2,346
        EBITDA (Non-GAAP            $6,847             $6,174           $5,810
        Operating Income)
        Cash Flow from             $5,200              $5,500
        Operations
        Significant highlights of 2016 included:
                                                   *       *        *
                Revenues of our generic medicines segment were $12.0 billion, up 14%, and profit was
                 $3.3 billion, up 13%. Our higher revenues and profit in 2016 were mainly due to the
                 inclusion of five months of Actavis Generics revenues in 2016 and our new business venture
                 with Takeda, which commenced operations in April 2016, partially offset by losses of
                 exclusivity and increased competition on certain products in the U.S.
                                                   *       *        *
                Revenues from generic medicines in the United States in 2016 were $4.6 billion, a decrease
        of 5% compared to $4.8 billion in 2015. The decrease resulted mainly from the loss of exclusivity on
        esomeprazole (the generic equivalent of Nexium®) and aripiprazole (the generic equivalent of
        Abilify®), a decline in the sales of budesonide (the generic equivalent of Pulmicort®) due to increased
        competition, loss of revenues following our divestment of certain products in connection with the
        Actavis Generics acquisition and the decline in sales of capecitabine (the generic equivalent of
        Xeloda®). This decrease was partially offset by the inclusion of five months of Actavis Generics
        revenues of approximately $1.2 billion and revenues from products that were not sold in 2015.
                                                   *       *        *
                 In 2016, gross profit from our generic medicines segment was $5.7 billion, an increase of
        $793 million, or 16%, compared to $4.9 billion in 2015. The higher gross profit was mainly a result
        of higher gross profit in our ROW markets and in Europe as well as higher gross profit from API sales
        to third parties, partially offset by lower gross profit in the United States as well as higher other
        production expenses.
                                                   *       *        *
                 Revenues in 2016 were $21.9 billion, an increase of 11% compared to 2015, mainly due to
        higher revenues of our generic medicines and of our specialty medicines. See “Generic Medicines
        Revenues,” . . . .


       616.     The financial figures and the reasons attributed to the figures in ¶¶611-615 were

materially false and misleading or omitted material facts because Teva failed to disclose that its

revenues and profits were inflated by the Price-Hike Strategy and illegal price-fixing and market


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allocation schemes.        Significantly, Inflated Profit and Collusive Profit increased Teva’s

profitability by $513 million in 2016 – with contribution of $124 million in the first quarter of

2016, $114 million in the second quarter of 2016, $149 million in the third quarter of 2016, and

$127 million in the fourth quarter of 2016.

       617.     On May 11, 2017, Teva reported its first quarter 2017 financial results in its

1Q2017 Form 6-K and hosted its quarterly earnings call:

                                                                     Three Months Ended Mar. 31,
                                               million              2017                    2016
        Total Revenues                                             $5,630                 $4,810
        Gross Profit                                               $2,819                 $2,791
        Generic Medicines Segment:
          Revenues                                                 $3,058                      $2,458
            U.S. Revenues                                          $1,381                       $976
          Gross Profit                                             $1,370                      $1,123
          Segment Profit                                            $779                        $649
        EBITDA (Non-GAAP Operating Income)                         $1,621                      $1,526
        Cash Flow from Operations                                   $470                       $1,400
        Free Cash Flow                                              $300                       $1,200
        1Q2017 Form 6-K:
        Significant highlights of the first quarter of 2017 included:
                                                  *        *            *
                Our generic medicines segment generated revenues of $3.1 billion and profit of
                 $779 million. Revenues increased 24%, or 34% in local currency terms. Profit increased
                 20% compared to the first quarter of 2016. The increase in revenues and profit in the first
                 quarter of 2017 was mainly due to the inclusion of Actavis Generics revenues.
                                                  *        *            *
                  Revenues from generic medicines in the United States during the first quarter of 2017 were
        $1.4 billion, an increase of 41%, compared to the first quarter of 2016. The increase resulted mainly
        from the inclusion of Actavis Generics revenues and products sold in the first quarter of 2017 that
        were not sold in the first quarter of 2016, partially offset by a decline in sales due to increased
        competition, mainly to aripiprazole (the generic equivalent of Abilify®) and budesonide (the generic
        equivalent of Pulmicort®) and loss of revenues following our divestment of certain products in
        connection with the acquisition.
                                                  *        *            *
                 In the first quarter of 2017, gross profit from our generic medicines segment was $1.4 billion,
        an increase of $247 million, or 22%, compared to the first quarter of 2016. The higher gross profit
        was mainly due to the inclusion of Actavis Generics and our business venture with Takeda in Japan.
                                                  *        *            *
                  Revenues in the first quarter of 2017 were $5.6 billion, an increase of 17% compared to the
        first quarter of 2016, primarily due to higher revenues of our generic medicines and other activities,
        which were mainly related to the acquisitions of Actavis Generics and Anda as well as the business
        venture with Takeda in Japan, partially offset by lower revenues of our specialty medicines.
        1Q2017 Earnings Conference Call:
                 Our operating income from Q4 to Q1 declined by 17%. While gross profit margin of our
        U.S. generic business remained stable, overall gross profit and gross margin was impacted by the
        Venezuela devaluation, our business in Japan and the divestment in the U.K. Lower NINLARO
        income was also a contributor to lower profit and profitability. On the other hand, you could see our
        efficiency initiatives, which reduced our operating expenses across the board and mitigated some of

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      the decline in the gross profit. And we expect this trend to continue throughout the year. On our
      balance sheet compared to December 31, 2016, our balance sheet amounted to total assets of
      $91.3 billion and total equity of $34 billion.


      618.    On August 3, 2017, Teva reported its second quarter 2017 financial results in its

2Q2017 Form 6-K:

                                            Three Months Ended Jun. 30,           Six Months Ended Jun. 30,
                                 million       2017           2016                   2017          2016
      Total Revenues                          $5,686         $5,038                $11,316        $9,848
      Gross Profit                            $2,821         $2,161                 $5,676        $4,180
      Generic Medicines Segment:
        Revenues                               $3,078            $2,557            $6,136            $5,015
          U.S. Revenues                        $1,290             $892             $2,671            $1,868
        Gross Profit                           $1,316            $1,148            $2,686            $2,271
        Segment Profit                          $691              $604             $1,470            $1,253
      EBITDA (Non-GAAP                         $1,597            $1,583            $3,218            $3,109
      Operating Income)
      Cash Flow from Operations                 $741              $963
      Free Cash Flow                            $567              $796
      2Q2017 Form 6-K:
      Significant highlights of the second quarter of 2017 included:
              Our revenues were $5.7 billion, up 13%, or 17% in local currency terms, compared to the
               second quarter of 2016.
              Our generic medicines segment generated revenues of $3.1 billion and profit of
               $691 million. Revenues increased 20%, or 28% in local currency terms. Profit increased
               14% compared to the second quarter of 2016. The increase in revenues and profit in the
               second quarter of 2017 was mainly due to the inclusion of Actavis Generics.
                                                 *        *         *
               Revenues from generic medicines in the United States during the second quarter of 2017
      were $1.3 billion, an increase of 45%, compared to the second quarter of 2016. The increase resulted
      mainly from the inclusion of Actavis Generics revenues and products sold in the second quarter of
      2017 that were not sold in the second quarter of 2016, partially offset by a decline in sales due to
      increased competition, mainly to budesonide (the generic equivalent of Pulmicort®) and aripiprazole
      (the generic equivalent of Abilify®) and loss of revenues following our divestment of certain products
      in connection with the Actavis Generics acquisition.
                                                 *        *         *
                In the second quarter of 2017, gross profit from our generic medicines segment was
      $1.3 billion, an increase of $168 million, or 15%, compared to the second quarter of 2016. The higher
      gross profit was mainly due to higher sales following the inclusion of Actavis Generics.
                                                 *        *         *
                Revenues from generic medicines in the United States in the first six months of 2017
      amounted to $2.7 billion, an increase of 43% compared to $1.9 billion in the first six months of 2016.
      The increase resulted mainly from the inclusion of Actavis Generics revenues and products sold in
      the first half of 2017 that were not sold in the first half of 2016, partially offset by a decline in sales
      due to increased competition, mainly to budesonide (the generic equivalent of Pulmicort®) and
      aripiprazole (the generic equivalent of Abilify®) and loss of revenues following our divestment of
      certain products in connection with the acquisition.
      2Q2017 Earnings Conference Call:
      In terms of profit, we are up 1%, compared to . . . – Q2 2016, sorry. Our generics segment has
      generated $136 million of additional profits, driven mainly by the higher sales as a result of the
      Actavis acquisition.




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       619.    On November 2, 2017, Teva reported its third quarter 2017 financial results in its

3Q2017 Form 6-K and hosted its quarterly earnings call:

                                            Three Months Ended Sep. 30,        Nine Months Ended Sep. 30,
                            (in millions)      2017           2016                2017          2016
       Total Revenues                         $5,610         $5,563             $16,926        $15,411
       Gross Profit                           $2,643         $2,801              $8,283        $8,469
       Generic Medicines Segment:
         Revenues                              $3,007            $3,259           $9,143            $8,274
           U.S. Revenues                       $1,179            $1,293           $3,850            $3,161
         Gross Profit                          $1,158            $1,590           $3,844            $3,861
         Segment Profit                         $619              $982            $2,089            $2,235
       EBITDA (Non-GAAP                        $1,470            $1,794           $4,688            $4,903
       Operating Income)
       Cash Flow from Operations               $1,100            $1,500
       Free Cash Flow                           $900             $1,200
       3Q2017 Form 6-K:
       Significant highlights of the third quarter of 2017 included:
                                                *         *        *
               Our generic medicines segment generated revenues of $3.0 billion and profit of
                $619 million. Revenues decreased 8%, or 2% in local currency terms. Profit decreased 37%
                compared to the third quarter of 2016. The decrease in revenues and profit in the third quarter
                of 2017 was mainly due to market dynamics in the United States.
                                                *         *        *
                 Revenues from generic medicines in the United States during the third quarter of 2017 were
       $1.2 billion, a decrease of 9%, compared to the third quarter of 2016. The decrease was mainly due
       to pricing declines resulting from customer consolidation into larger buying groups and accelerated
       FDA approvals for additional generic versions of competing off-patent medicines as well as volume
       decline of methylphenidate extended-release tablets (Concerta® authorized generic) due to the launch
       of a competing product, partially offset by the inclusion of three months of Actavis Generics revenues
       in this quarter, compared to two months in the third quarter of 2016.
                                                *         *        *
                 In the third quarter of 2017, gross profit from our generic medicines segment was
       $1.2 billion, a decrease of $432 million, or 27%, compared to the third quarter of 2016. The lower
       gross profit was mainly due to higher production expenses, market dynamics in the United States and
       lower revenues in Venezuela following the currency devaluation.
                                                *         *        *
                 Revenues from generic medicines in the United States in the first nine months of 2017 were
       $3.9 billion, an increase of 22% compared to $3.2 billion in the first nine months of 2016. The
       increase resulted mainly from the inclusion of Actavis Generics revenues and products sold in the
       first nine months of 2017 that were not sold in the comparable period of 2016, partially offset by a
       decline in sales due to increased competition, mainly to budesonide (the generic equivalent of
       Pulmicort®) and aripiprazole (the generic equivalent of Abilify®) and loss of revenues following our
       divestment of certain products in connection with the acquisition.
       3Q2017 Earnings Conference Call:
       The profitability of the company was down to 26.2% from 32.2% in 2016 Q3. This reflects a lower
       gross profit of 53% in the quarter compared to 61% in the same quarter of the previous year. This is
       driven by several factors. The inclusion of ANDA distribution business as well as lower margins in
       the generics, specifically, in our U.S. generic market. This was partially offset by reductions in
       expenses, mainly in our R&D and sales and marketing. . . . For the quarterly non-GAAP operating
       profit, we are down overall 18%. The largest decrease was in the profit of our generics business,
       mainly due to lower revenues and margins in the U.S. COPAXONE revenues and profit were down
       slightly based on the discussion I just had.


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       620.    The financial figures and the reasons attributed to the figures in ¶¶617-619 were

materially false and misleading or omitted material facts because Teva failed to disclose that its

revenues and profits were inflated by the Price-Hike Strategy and illegal price-fixing and market

allocation schemes.     Significantly, Inflated Profit and Collusive Profit increased Teva’s

profitability by $309 million in 2017 – with contribution of $72 million in the first quarter of 2017,

$54 million in the second quarter of 2017, and $69 million in the third quarter of 2017.

               6.      False and Misleading Statements Regarding Legal Compliance

       621.    During the Relevant Period, Teva filed: (i) a Form 6-K on December 24, 2013,

signed by Altman, the Acting CFO, with a Credit Agreement dated December 17, 2013, by and

among Teva, as Guarantor, Teva Holdings K.K., as Borrower, Mizuho Bank, Ltd., Sumitomo

Mitsui Banking Corporation and The Bank Of Tokyo-Mitsubishi UFJ, Ltd.; (ii) the 2013 Form

20-F, with a Credit Agreement dated January 8, 2014 by and among Teva and Teva USA, as

borrower, Citibank N.A., as administrative agent and the lenders party thereto; (iii) a Form 6-K on

September 28, 2015, signed by Desheh, with a Credit Agreement dated September 25, 2015 by

and among Teva, Teva USA, Teva Finance, Teva Capital Services Switzerland GmbH, Citibank,

N.A., and the lenders thereto; (iv) a Form 6-K on November 18, 2015, signed by Desheh, with two

Credit Agreements, both dated November 16, 2015, by and among Teva, Teva USA, Teva Capital

Services Switzerland GmbH, Teva Finance Services B.V., Teva Finance Services II B.V., Teva

Finance, Citibank N.A. and the lenders party thereto; and (v) the May 11, 2017 1Q2017 Form 6-

K, with a Credit Agreement dated March 22, 2017 by and among Teva, Teva Holdings KKK, the

lenders party thereto and Sumitomo Mitsui Banking Corporation.

       622.    All of the filings above contained materially false and misleading statements that

the Company and its subsidiaries complied with laws and regulations. In addition, Teva and Teva

USA covenanted that they will continue to comply with law:


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                          REPRESENTATIONS AND WARRANTIES

                                         *      *       *

       Such Loan Party [Teva, Teva Pharmaceuticals USA, Inc., Teva Holdings K.K.]
       is in compliance with all laws, regulations, orders, writs, injunctions and decrees
       of any Governmental Authority applicable to it or its property and all indentures,
       agreements and other instruments binding upon it or its property, except, in each
       case, where the failure to do so, individually or in the aggregate, could not
       reasonably be expected to result in a Material Adverse Effect.

                                         *      *       *

                                 AFFIRMATIVE COVENANTS

                                         *      *       *

       Each Loan Party [Teva, Teva Pharmaceuticals USA, Inc., Teva Holdings K.K.]
       will, and will cause each of its Subsidiaries to, comply with all requirements of
       law applicable to it or its property, except where the failure to do so, individually
       or in the aggregate, could not reasonably be expected to result in a Material Adverse
       Effect.

                                         *      *       *

       “Material Adverse Effect” means any event or circumstance which:

       (a) is materially adverse to:

              (i) the business, operations or financial condition of the Loan Parties [Teva,
       Teva Pharmaceuticals USA, Inc., Teva Holdings K.K.] and their Subsidiaries, taken
       as a whole; or

               (ii) the ability of the Loan Parties to perform their financial obligations
       (including both payment obligations and compliance with financial covenants)
       under any Loan Document; or

       (b) affects the validity or the enforceability against any Loan Party of any Loan
       Document.

       623.    On October 30, 2013, Teva hosted an investor conference call to announce

management succession. Defendant Desheh spoke as Teva’s Acting President and CEO and

assured investors that Teva continued to be in compliance with all legal requirements:

               Eyal Desheh – Teva Pharmaceutical Industries Ltd – EVP, CFO

              Under Jeremy’s leadership, we significantly improved the transparency and
       accountability to our shareholders, and I intend to continue that. We remain fully
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       committed to running this company with high ethics and compliance in accordance
       with our core value, code of conduct as well as all legal requirements.

       624.    By at least the end of 2013, Teva published its 2012 Corporate Social

Responsibility Report, signed by Desheh, which unequivocally assured investors that its “sales

and marketing efforts follow the laws and regulations of markets where we operate”:

               OUR APPROACH TO SUPPORTING PATIENTS

                                          *          *    *

              We work to promote access to high quality, affordable medicines around
               the world.

                                          *          *    *

              Our sales and marketing efforts follow the laws and regulations of
               markets where we operate.

       625.    On December 15, 2014, the Company issued its 2013 Corporate Social

Responsibility Report, signed by Vigodman, which falsely stated that “Teva does not tolerate

behavior that is unethical, illegal or dishonest”:

               Our leadership enforces high standards of conduct for our employees.
       Teva does not tolerate behavior that is unethical, illegal or dishonest. All our
       employees are required to comply with the laws of the countries in which we
       operate and with the regulatory rules that affect our business. Failure to do so
       can result in severe penalties, including termination and potential criminal or civil
       actions.

       626.    On July 27, 2015, Teva filed a Form 6-K, signed by defendant Desheh, with a press

release announcing “Teva to Acquire Allergan Generics for $40.5 billion Creating a

Transformative Generics and Specialty Company Well Positioned to Win in Global Healthcare.”

In the filing, Teva falsely stated that the Company and Actavis “boasted the highest industry

standards” and complied with all regulations:

              Teva and Allergan Generics are committed to adherence to all applicable
       regulatory requirements and boast the highest industry standards, dedicated to
       defining and implementing patient safety policies and systems, as well as ensuring
       compliance with all relevant global and local regulations.


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       627.      On July 28, 2015, the Company filed a Form 6-K, signed by Desheh, with the

Master Purchase Agreement, dated July 26, 2015, between Allergan and Teva, signed by

Vigodman, Desheh and Olafsson, that stated:

                 REPRESENTATIONS AND WARRANTIES OF BUYER PARENT

                                          *       *       *

               5.6 Compliance with Law. Buyer Parent [Teva] and each of Buyer
       Parent’s Subsidiaries are in compliance with and are not in default under or in
       violation of any Laws, applicable to Buyer Parent [Teva], such Subsidiaries or
       any of their respective properties or assets, except where such non-compliance,
       default or violation would not reasonably be expected to prevent or materially delay
       the consummation of the Transactions or to have, individually or in the aggregate,
       a Buyer Material Adverse Effect.

                                          *       *       *

       “Buyer Material Adverse Effect” means any Effect that is, or would reasonably be
       expected to be, materially adverse to the business of the Buyer Group [Teva and its
       affiliates] or the financial condition, liabilities, business or results of operations of
       the business of the Buyer Group [Teva and its affiliates], taken as a whole . . . .

       628.      Teva filed its (i) ADS/Preferred Registration Statement on November 30, 2015;

(ii) Preferred Prospectus Supplement on December 3, 2015; and (iii) ADS Prospectus Supplement

on December 3, 2015 – all of which incorporated by reference the materially false and misleading

statements in the Master Purchase Agreement (¶¶626-627). In addition, with respect to the Master

Purchase Agreement, the Preferred Prospectus Supplement and the ADS Prospectus Supplement

affirmed that:

              The purchase agreement for the Actavis Generics acquisition contains a
       number of conditions that must be fulfilled to complete the acquisition. Those
       conditions primarily consist of U.S. and European Union antitrust approvals and
       other customary conditions, including, among others, (i) the accuracy of
       representations and warranties and compliance with covenants and (ii) the
       absence of any material adverse effect with respect to Actavis Generics or Teva.

       629.      Moreover, during the Relevant Period, Teva filed: (i) the ADS Underwriting

Agreement on December 8, 2015; (ii) the Preferred Underwriting Agreement on December 8,

2015; and (iii) the Notes Underwriting Agreement on July 21, 2016, which falsely represented:
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       Representations, Warranties and Agreements of the [Company and/or the
       Guarantor [Teva]]

                                         *       *       *

       The Incorporated Documents as amended or supplemented at the date hereof,
       when they were filed with the Commission, conformed in all material respects to
       the requirements of the Securities Act and the Exchange Act. None of the
       Incorporated Documents as amended or supplemented at the date hereof, when
       such documents were filed with the Commission, contained any untrue statement
       of a material fact or omitted to state any material fact required to be stated therein
       or necessary in order to make the statements therein, in light of the circumstances
       under which they were made, not misleading. Any further documents so filed
       and incorporated by reference in the Prospectus, when such documents are filed
       with the Commission, will conform in all material respects to the requirements of
       the Exchange Act and will not contain any untrue statement of a material fact or
       omit to state any material fact required to be stated therein or necessary to make
       the statements therein, in light of the circumstances under which they were made,
       not misleading.

                                         *       *       *

       [The Company or the Guarantor [Teva]] is not . . . (iii) in violation of any law,
       ordinance, governmental rule, regulation or court decree to which it or its
       properties or assets may be subject or has failed to obtain any license, permit,
       certificate, franchise or other governmental authorization or permit necessary to the
       ownership of its properties or to the conduct of its business, except to the extent
       that any such default, event or violation described in the foregoing clauses (ii) and
       (iii) would not have a Material Adverse Effect.

                                         *       *       *

       [Material Adverse Effect was defined as] material adverse effect on the business,
       properties, financial condition, results of operations or prospects of the Company
       and its subsidiaries, taken as a whole . . . .

       630.   On November 30, 2015 and July 13, 2016, Teva filed: (i) the ADS/Preferred

Registration Statement and exhibits that formed part of the registration statement; and (ii) the

Notes Registration Statement Amendment No. 1 and exhibits that formed part of the registration

statement, respectively. The ADS/Preferred Registration Statement and the Notes Registration

Statement repeated all of the materially false and misleading statements in the Master Purchase

Agreement, the ADS Underwriting Agreement, the Preferred Underwriting Agreement and Notes

Underwriting Agreement that formed part of the applicable registration statement. See ¶¶626-629.

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        631.   On January 5, 2016, Teva issued its 2014 Global Citizenship Report and falsely

represented that the Company went “beyond minimal compliance with legislation” and operated

ethically:

                We aim to go beyond minimal compliance with legislation to create a
        culture of compliance that proactively assesses all forms of risk and ensures
        frameworks are in place to protect our business, our patients, our employees and
        all the stakeholders we impact. Within this approach, transparency is the key to
        ensuring our stakeholders know that we take their interests seriously and operate
        ethically.

        632.   In the 2016 Social Impact Report published by Teva on September 14, 2017 and

signed by Peterburg, the Company touted its compliance to “applicable laws, regulations, policies,

and process” at “every level and every location” and affirmed the accuracy and transparency of its

books and records:

        We obey our Code of Conduct, applicable laws, regulations, policies, and
        processes

        We are accurate and transparent in our books and records

                                        *       *      *

               Ensuring compliance at every level and every location

                                        *       *      *

                Our commitment to compliance, ethical standards, and responsible supply
        chain practices relies on vigilance and transparency. We strive to conduct our
        business – and ourselves – in ways that reflect well on the people we employ, the
        patients we serve, and the communities in which we live. We are dedicated to
        fostering a culture of responsibility, integrity, and respect as we endeavor to
        enable people to live better days.

        633.   The statements set forth in ¶¶621-632 above were materially false and misleading

or omitted material facts because Teva was not in compliance with the laws and regulations

governing the Company. Teva’s undisclosed inflation of its sales through collusive price-fixing

and market allocation schemes was a violation of U.S. antitrust laws and exposed the Company to




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significant risk of prosecution by state and federal authorities, along with the attendant negative

financial and reputational harm.

       K.      Defendants Violated Their Statutory Duty to Disclose Pricing Trends

       634.    During the Relevant Period, Defendants Vigodman, Peterburg, and Desheh were

under a statutory duty of disclosure pursuant to Item 5 of Form 20-F (“Item 5”), interpreted by the

SEC and courts to require the same disclosures as Item 303 of Regulation S-K (“Item 303”). Item

303 (and Item 5) require that a foreign issuer like Teva must, in the Management’s Discussion and

Analysis (“MD&A”) section of its Forms 20-F, describe any known trends or uncertainties that

have had or that the registrant reasonably expects will have a material favorable or unfavorable

impact on net sales or revenues or income from continuing operations.

       635.    According to the SEC’s interpretive release regarding Item 303, disclosure is

necessary where a trend, demand, commitment, event or uncertainty is both presently known to

management and reasonably likely to have material effects on the registrant’s financial conditions

or results of operations. Even if Defendants were not certain about the likely effect of the event or

trend on their future revenues, Defendants were still required under Item 303 to disclose the

manner in which that then-known trend, event, or uncertainty might reasonably be expected to

materially impact Teva’s future revenues. Specifically, Item 303 states:

       To the extent that the financial statements disclose material increases in net sales
       or revenues, provide a narrative discussion of the extent to which such increases
       are attributable to increases in prices or to increases in the volume or amount of
       goods or services being sold or to the introduction of new products or services.

       636.    SEC Staff Accounting Bulletin No. 104 explains this disclosure duty further,

requiring that management disclose in the MD&A section the impact of artificial or collusive price

increases, demanding that:

               MD&A requires a discussion of liquidity, capital resources, results of
       operations and other information necessary to an understanding of a registrant’s
       financial condition, changes in financial condition and results of operations. This
       includes unusual or infrequent transactions, known trends or uncertainties that
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       have had, or might reasonably be expected to have, a favorable or unfavorable
       material effect on revenue, operating income or net income and the relationship
       between revenue and the costs of the revenue. Changes in revenue should not be
       evaluated solely in terms of volume and price changes, but should also include an
       analysis of the reasons and factors contributing to the increase or decrease. The
       Commission stated in FRR 36 that MD&A should “give investors an opportunity
       to look at the registrant through the eyes of management by providing a historical
       and prospective analysis of the registrant’s financial condition and results of
       operations, with a particular emphasis on the registrant’s prospects for the
       future.”

       637.    During the Relevant Period, under Item 303, Defendants failed to disclose at least

two trends related to the pricing of Teva’s generic drugs. First, Defendants failed to disclose the

trend that Teva’s financial success was driven in a material way by the Price-Hike Strategy. These

price increases, as discussed, generated as much as $2.6 billion in Inflated Profit, including

$1.48 billion of Collusive Profit for Teva over the Relevant Period. Yet, the Price-Hike Strategy

and the Inflated Profit and Collusive Profit it generated were risky and unsustainable as the Price-

Hike Strategy was susceptible to actual competition, as well as public scrutiny, and scrutiny by

legislatures, regulators and criminal investigators.

       638.    Second, starting no later than the beginning of 2016, Defendants failed to disclose

the by-then known trend that the Price-Hike Strategy was beginning to fail. Teva could not

maintain the Inflated Profit, as industry-wide pricing pressure, which Defendants consistently

denied, was reducing the inflated prices on Teva’s generic drug portfolio. Teva was also finding it

increasingly difficult, if not impossible, to make additional price increases because of the scrutiny

from the public, Congress, and the DOJ and State AGs investigations; and indeed, Teva effectively

could not make any price increases after the DOJ subpoena was served on June 21, 2016.

       639.    SEC Release No. 33-8350 provides MD&A disclosure guidance that is a nearly

perfect analogy to the facts here, stating:

               One of the most important elements necessary to an understanding of a
       company’s performance, and the extent to which reported financial information
       is indicative of future results, is the discussion and analysis of known trends,

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       demands, commitments, events and uncertainties. Disclosure decisions concerning
       trends, demands, commitments, events, and uncertainties generally should involve
       the:

                     consideration of financial, operational and other information known
                      to the company;

                     identification, based on this information, of known trends and
                      uncertainties; and

                     assessment of whether these trends and uncertainties will have, or
                      are reasonably likely to have, a material impact on the company’s
                      liquidity, capital resources or results of operations.

               As we have explained in prior guidance, disclosure of a trend, demand,
       commitment, event or uncertainty is required unless a company is able to conclude
       either that it is not reasonably likely that the trend, uncertainty or other event will
       occur or come to fruition, or that a material effect on the company’s liquidity,
       capital resources or results of operations is not reasonably likely to occur.

                                         *       *       *

              One of the principal objectives of MD&A is to provide information about
       the quality and potential variability of a company’s earnings and cash flow, so that
       readers can ascertain the likelihood that past performance is indicative of future
       performance. Ascertaining this indicative value depends to a significant degree
       on the quality of disclosure about the facts and circumstances surrounding
       known material trends and uncertainties in MD&A.

       640.    Teva, in violation of its duties under Item 303, only disclosed trends that did not

bear on the issue of price inflation (through price increases), or price erosion. Teva’s failure to

disclose the pricing trends was particularly misleading given that: (i) price increases were a core

but concealed business strategy; (ii) management concurrently denied that pricing had impacted

Teva’s bottom line and that the Company made price increases simply for profit; (iii) management

consistently minimized the positive impact of price increases on Teva’s profits; (iv) management

consistently denied that price increases had resulted in price inflation; and (v) management denied

that price deflation was materially affecting Teva, even as its revenues from the former price

increases cratered.




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       L.      Additional Allegations of Scienter

       641.    Together with the above-alleged facts, Defendants each acted with scienter in that

each knew or recklessly disregarded the true facts in making the materially false and misleading

statements identified herein.

               1.      The Officer Defendants Knew of and Controlled the Price
                       Hikes

       642.    Throughout the Relevant Period, Defendants closely monitored product-by-product

pricing and deliberately chose which products to target for price hikes. Between 2013 and 2015,

when Teva was actively hiking prices and entering into collusive agreements to drive profits,

Teva’s generic pricing was one of the first topics Defendants addressed in virtually all of the

earnings conference calls throughout the Relevant Period, and Defendants frequently discussed

targeted price increases and margin enhancement:

              On October 31, 2013, Oberman revealed a “margin enhancement strategy” that
               involved focusing on “product by product. Individual products where we want to
               improve our margins . . . . It’s a tweaking here and there of products that we are
               working very consciously on to improve our margin.”

              On December 10, 2013, Oberman further explained that, in a year with few new
               product launches, Teva increased “pricing on a number of products” as part of a
               “value creation based strategy” and forecasted “next year to recoup some of that
               price erosion.”

              On May 1, 2014, Vigodman told investors that “we have been assessing markets
               and products, in order to terminate products and markets, which will not meet a
               minimum threshold of profitability. I strongly believe that there is significant
               strategic and economic value in global generics leadership. Teva must regain focus
               on its generic business, with strong emphasis on portfolio selection and
               management . . . .”

              On July 31, 2014, Olafsson represented to investors that “[w]e have taken the
               decision that in some of our markets, we look at the portfolio and we take a pricing
               decision, and see if we stay for this molecule or not.”




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               On October 30, 2014, Olafsson suggested to investors that “there’s never a price
                increase on the base business as a whole. Like any other business, if there’s a
                pricing opportunity that comes in the market, we look for that. . . . When there is
                an opportunity, when there is a shortage in the market, we obviously look for pricing
                like any other business.”

               On December 11, 2014, Olafsson told investors that “[w]e are looking through our
                portfolio, what are the most profitable products we have. We work hand in hand
                with the manufacturing and the operation, if we need to cut the portfolio to reduce
                our cost; but we still want to retain our leadership in the US market.”

               On January 13, 2015, Vigodman explained to analysts that opportunity for margin
                expansion in the generics business involved strong focus on “optimization of
                products and markets, product selection decisions.”

               On March 12, 2015, Desheh told analysts that to drive “the absolute profit” and not
                just the profit margins, price increases must be managed correctly, stating that “[w]e
                see price increases, we manage it right. You have to manage [it] correctly, it can
                bounce back very, very easily.”

        643.    After the government scrutiny on generic drug price increases heightened,

Defendants addressed the issues directly with investors and falsely denied the price hikes and

collusive activities:

               On November 29, 2015, defendant Desheh reviewed Teva’s potential exposure
                from past conduct and represented to investors that “our exposure to all these things
                is very minimal.” He further emphasized that Teva played the competitive game
                “by the book and by the rule.”

               On January 11, 2016, Olafsson discussed his generics portfolio and conveyed that
                “on 5%, we might be flat or a slight increase” and the remaining 95% experienced
                a “slight decrease in pricing.”
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              On February 11, 2016, in answering an analyst’s question about contracting with
               large customers in the United States, Olafsson stated that “you are really fighting
               on a molecule by molecule basis. If there is a lowering of the prices, you either
               have to walk away from the business and that’s that.” In addition, “[w]e basically
               launched the product. We compete on pricing.”

              On February 11, 2016, while touting Teva’s $1 billion improvement in operating
               profit over a 24-month period, Olafsson offered “how did we do this? Not by
               pricing.” Further, speaking on behalf of the industry, he stated “we and the generic
               industry overall don’t see price inflation of generics as it sometimes is portrayed in
               the media.”

              On May 9, 2016, Olafsson suggested that Teva did not buy market share, but
               instead, “[w]e . . . are seeing our volumes go down, deliberately.” Furthermore “we
               also walk away when the competition is too fierce on a product.”

              On June 8, 2016, Olafsson stated that, “about two years ago when they started the
               price increases[,] [t]here was a lot of shortages in the market. This is when the FDA
               went very strongly and had the import bans and things like that, which led to
               shortages, which meant that the overall business was doing much better.”

              On September 9, 2016, Olafsson indicated that “pricing and pharmaceuticals are
               always a hot topic in an election year” and, with 208 generic companies, “an
               average of every molecule we have, there is more than five competitors. So there’s
               always somebody happy to take a little bit lower price. So it’s a very competitive
               business we’re in. I think overall, obviously, we look at each opportunity . . . we
               have an opportunity to work with it.” In turn, Andy Boyer, Head of North America
               Generics after the Actavis acquisition, affirmed that “if . . . there’s been a change
               in marketplace dynamics due to supply chain or someone leaving the market, we
               will evaluate that and price our products accordingly.”

              On December 14, 2017, CEO Kåre Schultz, Teva’s new CEO, stated that “[i]n order
               to secure that we have a long term sustainable portfolio, we are reviewing each and
               every product worldwide, and we will make pricing adjustments to the extent that
               this is necessary.”

       644.    This self-proclaimed personal involvement by the Defendants supports a strong

inference that they possessed knowledge of the true state of affairs of the business, and thus had

knowledge that their representations were misleading, or were reckless in not knowing.

       645.    In the absence of collusion, moreover, Teva’s generic drug price hikes during 2013

to 2015 would have been against its self-interest and unsustainable. The rational response to the

massive price increases would be for “someone happy to take a little bit lower price” and Teva

would either fight “on a molecule by molecule basis” or “walk away from the business and that’s
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that.” In a commoditized business with multiple competitors, price increases would indeed “be a

small pricing opportunity that usually comes in and comes out” as companies could only gain

market share by competing on price. Yet, as explained herein, Teva and its co-conspirators

substantially maintained market share on the 25 collusive drugs subject to collusion with negligible

pricing competition.

       646.    Furthermore, contrary to Olafsson’s justifications for Teva’s price hikes that

occurred in 2014, none of the 25 drugs subject to collusive price increases experienced supply

shortages in the market around that time. Manufacturers were required by federal law to report

any potential drug shortages to the FDA, and no shortage report existed for any of the 25 drugs

around the time of their respective price hikes.

               2.      Former Employee Allegations

       647.    Former Teva employees provided information on a confidential basis supporting

the strong inference that the Defendants acted with scienter in making the alleged material false

and misleading statements and omissions. The former employees’ accounts corroborate one

another, Defendants’ admissions, and the additional facts alleged herein.

       648.    Confidential Witness 1 (“CW1”) was a was a Senior Financial Analyst, Financial

Planning and Analysis at Teva from 2010 to 2018. CW1 reported that one of his primary

responsibilities was collecting quality of revenue data, and then calculating the “effective price”

that Teva experienced in selling individual products in Latin America. CW1 also was responsible

for calculating variances between forecasts and actual results, using Teva’s Hyperion Planning

system, part of a Company-wide Oracle ERP system. CW1 stated that Teva’s Hyperion database

system was used throughout the Company for financial forecasting, planning and analysis. CW1

stated that throughout the Company, pricing was done on Excel spreadsheets, all ultimately

controlled by the Global Pricing Group in North Wales, Pennsylvania. CW1 also worked on a


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“Price Quarterly Analysis” that he prepared in Hyperion, which showed the effective price of sales

for each drug. He believed this analysis was done each quarter by each region including the United

States. CW1 stated that from 2011 to early 2013, he reported to William Marsh, Teva’s President

and CEO of the Americas. Plaintiffs’ investigation indicates that Marsh is currently the President

and CEO for North American and Europe, at Heritage Pharmaceuticals Holdings Inc.

       649.    Confidential Witness 2 (“CW2”) was employed at Teva in Fraser, Pennsylvania,

from January 2003 through the end of the Relevant Period. From 2003 to 2014, CW2 was first a

Regional Sales Manager for Specialty Products, and from 2013 to 2014, a Senior Regional Sales

Manager for Specialty Products. From January 2015 through the end of the Relevant Period, CW2

was a Senior Regional Sales Manager for a generic product category, reporting to Vice President

of Institutional Sales, John Fallon, who in turn reported to the SVP of Generic Sales for the United

States, Mark Falkin. CW2 stated that the product pricing in Teva’s generics contracts was all

handled by a pricing group at Teva’s U.S. headquarters in North Wales, Pennsylvania. This group

was headed up by Kevin Galownia, who CW2 recalled was the Director or Vice President of

Pricing. According to CW2, there were approximately six “National Account Managers” who

negotiated contracts with the GPOs in connection with the pricing work performed at North Wales.

CW2 identified Nisha Patel as one of Teva’s U.S. National Account Managers.

       650.    Confidential Witness 3 (“CW3”) was a Manager of Revenue Accounting at Teva.

CW3 was first an Actavis employee starting in 2004, and remained with Allergan/Actavis through

the time Actavis was acquired by Teva in 2016.            He was the Manager of Revenue for

Allergan/Actavis at the time of the acquisition, and continued as a Manager of Revenue

Accounting with Teva until he left in August 2017. CW3’s central function for Actavis and then

Teva was to calculate “gross to net revenue” for monthly reporting, from sales information on

spreadsheets he accessed in the Teva accounting system. The sales information was generated by


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the sales group for the generics market and the accounting system he used was “Oracle and

Hyperion based.” CW3 indicated that Teva’s Sales and Marketing Group and the Contracts Group

of Teva’s Generics Division were involved with negotiating and implementing prices before

contract execution and sale He also confirmed that the pricing group in North Wales established

prices for generic sales in the United States and was headed by Galownia.

       651.    The following information from former employees that was cited in the amended

consolidated complaint filed in Ontario Teachers’ Pension Plan Board v. Teva Pharm. Indus. Ltd.,

No. 3:17-cv-00558-SRU (D. Conn.) on June 22, 2018 (the “Class Complaint”) corroborates the

confidential witness accounts, Defendants’ admissions, and other facts alleged herein:

               (i)    Senior Product Operations Manager, or FE-1, started at Teva in 2005 and,

until 2011, FE-1 worked in new generic drug forecasting. From 2011 to July 2014, FE-1 was a

manager responsible for forecasting and analysis of a product group, and from July 2014 through

April 2016, FE-1 was a Product Manager and then Senior Product Manager responsible for supply

chain and inventory management of Teva’s base-line generics business. In FE-1’s most recent

role, FE-1 reported to Bryan Bart who, in turn, reported to Galownia, Senior Director of Marketing.

According to FE-1, based on personal knowledge:

       (i) Teva stored drug-by-drug pricing, sales, and revenue data on the Company’s
       Oracle ERP System; (ii) the Company’s long-range “Work Plan” forecasting 3-5
       years of revenue on a granular level, and prepared annually following a
       predetermined scheduled, was reviewed and approved by Teva’s U.S. and Israeli
       executives; (iii) daily or weekly “Scorecards” that tracked generic drug revenues
       and informed Teva executives of any “holes” or “red flags” were distributed to
       Teva’s top U.S. executives, including Griffin, Cavanaugh, Olafsson, and Oberman;
       (iv) quarterly Latest Best Estimates (“LBEs”) comparing results to Work Plan
       forecasts were sent to U.S. and Israeli executives; (v) Teva increased prices when
       other companies did, when it had a monopoly, and when there was a shortage;
       (vi) Olafsson claimed that every company he joined acquired his previous
       employer; (vii) Nisha Patel (“Patel”) was Teva’s Director of Strategic Customer
       Marketing from April 2013 to August 2014 and Director of National Accounts
       from September 2014 to December 2016, and Patel was on maternity leave on or
       about August to December 2013; and (viii) that compensation structure for Teva’s
       national account managers was not tied to individual performance.

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Class Complaint, ¶242.

              (ii)    Senior Director of Trade Relations, or FE-2, worked at Teva from 2006 until

August 2012. During his tenure, FE-2 was in charge of sales for the branded, generics, and

injectables groups. FE-2 later, and until leaving Teva, oversaw the branded drug national account

managers, reporting to the Head of U.S. Brands. FE-2 also remained involved and knowledgeable

about Teva’s U.S. generics. According to FE-2, based on personal knowledge:

       (i) Teva aligned its generic and branded segments under the “One Teva” motto;
       (ii) Galownia evaluated Teva’s generics drug portfolio on a “constant and ongoing”
       basis to find opportunities to increase prices; (iii) Galownia was “just the guy doing
       the evaluation,” as the decision to increase prices was made by senior executives,
       including Cavanaugh and Griffin, who would conduct their own evaluations of the
       costs and financial benefits of each price increase on a drug- by-drug basis, a
       process in which Christine Baeder, VP Commercial Operations, was also involved;
       (iv) Cavanaugh and Griffin reported directly to Oberman, and would later report to
       Olafsson; (iv) the process for increasing price could take up to 60 days, required
       formal notice to customers, and was done in batches; (v) it was critical to ensure
       that price increases would “stick,” i.e., competitors would not undercut Teva’s price
       increases; (vi) “everyone would have known,” including, Oberman, and later
       Olafsson, if a large price increase generated significant profit, something which
       Cavanaugh, Griffin, Oberman, and later Olafsson, would track closely, if not daily;
       (vii) executives used price increases to “fill the hole,” when actual revenue did not
       meet forecasts; (viii) each year the finance and operations teams created a budget
       that included revenue forecasts; and (ix) the senior managers including Griffin,
       Cavanaugh, and Oberman, received reports on whether revenues were meeting
       forecasts up to four times per quarter.

Class Complaint, ¶243.

              (iii)   Associate Manager of Customer Marketing, or FE-3, worked at Teva from

September 2014 until May 2016 and was a member of the pricing team. FE-3 reported to a person

who reported to Galownia, who reported to Christine Baeder and, for a time, to defendant

Cavanaugh. FE-3 was responsible for evaluating requests for proposals and assessing market

pricing for generic drugs. According to FE-3, based on personal knowledge:

       (i) members of the Pricing Group could only lower prices of generic drugs after
       undertaking an extensively researched and documented analysis; (ii) when prices
       were increased, the Pricing Group was “told” to increase the price in a meeting or
       via email, often from Galownia; (iii) Galownia did not have the authority to raise

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       prices, decisions to raise prices came from higher-level management; (iii)
       customers were informed of price increases; (iv) even a small change in price (e.g.,
       $0.25) could have a “huge impact” on revenues; (v) a shared Excel file, kept on a
       shared electronic drive, contained pricing information and was readily accessible
       to the Pricing Group and top Teva executives; (vi) the Company stored pricing and
       revenue data “down to the NDC code” on the Oracle system; and (vii) executives,
       including Cavanaugh, Oberman, and Olafsson, had access to the Oracle ERP
       System, and were routinely filled in on sales numbers.

Class Complaint, ¶244.

               (iv)   Manager of Customer Operations, or FE-4, was employed at Teva from

April 2008 to April 2014 and was responsible for metrics for the phone system and managing the

process for customer calls to Teva regarding generic drugs. FE-4 reported directly to Baeder until

2012, and later to Michelle Osmian. According to FE-4, based on personal knowledge:

       (i) in the early part of 2013, at a quarterly marketing group “all- hands” meeting
       that FE-4 attended, along with additional pricing, sales, finance, and customer
       service employees at Teva’s North Wales U.S. headquarters, Galownia informed
       the attendees that Teva was implementing a strategy to increase the prices of
       generic drugs; (ii) Galownia could not approve price increases, as Cavanaugh, or
       an executive above her made these decision; (iii) after a price increase, Teva would
       send letters to customers informing them of the increase; the letters were also
       emailed to Teva employees whose work was impacted by price increases; (iv) Teva
       regularly raised prices on generics from 2013 onward and was “getting more
       aggressive with pricing” by raising prices more frequently up until the time of FE-
       4’s departure in April 2014; and (v) consumer complaints would rise following
       price increases, and the complaints were logged and sent to Baeder on a monthly
       basis.

Class Complaint, ¶245.

               3.     Defendants Were Motivated to Use Teva’s Stock as
                      “Currency” for a “Transformational” Acquisition

       652.    The Defendants were motivated to make false statements to inflate the price of Teva

securities in order to complete a “transformational” acquisition. By January 2014, once the Price-

Hike Strategy was fully implemented and had generated material profits toward fourth quarter

2013 results, Desheh announced this motivation, setting out that “the stock price will go up and

we’ll be able to use our share as a currency . . . to fund transactions.” Upon his hiring in

February 2014, Vigodman was reported to also favor significant M&A activity.
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       653.    Unbeknownst to investors, Teva was already focused on acquiring Actavis by as

early as the middle of 2014. Soon after joining Teva from Actavis in August 2014, Olafsson

announced at an “all-hands” quarterly meeting at the North Wales headquarters that he had never

joined a new company that did not subsequently purchase his former employer. (FE-1.) By the

end of 2014, with the strategy resulting in numerous batches of systematic price hikes, involving

46 drugs, and generating as much as $943 million in Inflated Profit, Teva’s ADSs were trading in

the mid-$50s, and the ordinary shares were trading at ILS 22,200. By then, as Vigodman would

later acknowledge on July 27, 2015, Defendants had developed a list of acquisition targets and

Actavis was at the top. Concealed from investors at this time, Teva had already approached

Actavis, but was rejected.

       654.    By the end of the first quarter of 2015, the Price-Hike Strategy resulted in another

batch of hikes, involving 12 drugs. All told, over $1.1 billion in Inflated Profit had been generated,

and Teva’s ADSs were trading near $63 per share, with the ordinary shares trading at ILS 24,960.

Defendants’ “willingness” to perform a “transformational” acquisition in the generics space was

well known to analysts, as was their “urgency to diversify via M&A” as Barclays and Leerink

wrote on April 7 and 16, 2015, respectively. On April 21, 2015, Defendants attempted to purchase

Mylan. Mylan’s board dismissed the offer on April 27, 2015.

       655.    Undeterred, during a June 10, 2015 Goldman Sachs conference, Teva again

announced glowing results, with Vigodman emphasizing to investors the “profound change in the

generic business” and Olafsson noting the improvement of “$1 billion . . . in 14 months, 16

months,” while concealing that the Price-Hike Strategy and collusive activities had generated over

$1.1 billion in profits for the generics unit over that time. Fueled by profits from the fraud, by

July 27, 2015, the price of Teva’s ADSs had reached an all-time high of $72 per share, and the

ordinary shares were near an all-time high of ILS 26,040.


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       656.    That day, Teva announced the $40 billion acquisition of Actavis from Allergan.

Vigodman explained that the improvement in generics was a “precondition” for accomplishing

their motivation for a deal. Indeed, without the inflated securities as a “currency,” Teva did not

have the cash; the $40 billion price tag was roughly twenty years of Teva’s average annual income

from 2013 to 2015. They raised the cash from investors.

       657.    By the second quarter of 2015, however, the Price-Hike Strategy had peaked. Teva

began to experience pricing pressure on its generic drugs, and was increasingly unable to make

additional large price increases. The Inflated Profit began to deteriorate, even as Defendants

needed to raise the capital necessary to pay Actavis’s $40 billion price tag. As questions were

raised regarding the deteriorating pricing environment and Teva’s weakening financials,

Defendants flatly denied Teva was making profits from price increases or that Teva was facing

pricing pressure. It was not until Defendants had completed over $27 billion in public offerings

by July 28, 2016, and closed the Actavis deal on August 2, 2016, that they disclosed that their

generics business was now the subject of government subpoenas. Soon after that, the truth began

to leak into the marketplace, and the fraud fell apart.

               4.      Only Senior Executives Could Make Price Increases

       658.    All sales, marketing, and finance executives with responsibility for U.S. generics

pricing are based in Pennsylvania, and carrying out the price increases required the explicit

approval of the senior executives at the U.S. headquarters. (See Kim Declaration; CW1, CW2,

FE-2.) The Inflated Profit would be captured by the daily and weekly reports circulated to

defendants Cavanaugh, Griffin, Oberman and later Olafsson. (CW1, CW2, FE-1.) They were also

reflected in the intra-quarter reports that these Officer Defendants assembled and sent to Teva’s

senior executives in Israel. (FE-1, FE-2.) Consistent with this, according to FE-2, “everyone




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would have known” of large price increases that had a significant financial impact, including

Oberman, especially if they were used to fill a “hole” between revenues and forecasts.

       659.    Defendants’ scienter is also supported by the fact that the execution of the Price-

Hike Strategy required that senior executives personally analyzed and approved each price

increase pursuant to an established and formalized process that was in place by 2012 when FE-2

was employed at Teva. Galownia and the Pricing Group would initiate the process. (FE-2, FE-

4.) Galownia would analyze Teva’s portfolio of established generic drugs on a “constant and

ongoing basis,” and would produce a “list of opportunities” and recommendations of potential

price increases to Teva USA’s COO, defendant Cavanaugh, and defendant Griffin, who was Chief

Accounting Officer of Teva and the CFO of Teva USA. (FE-2.)

       660.    However, Galownia was “just the guy doing the evaluation,” (FE-2), as his

superiors made the actual decision to increase the price of a generic drug. (FE-2, FE-3, FE-1.)

Accordingly, Cavanaugh and Griffin would each separately evaluate whether Teva would make a

price increase, and if so, when. (FE-2.) Cavanaugh would review the price increases from the

operational perspective, while Griffin would undertake a financial cost-benefit analysis that would

evaluate both whether and when to implement the price increases. (FE-2.) In particular, Griffin

would have to factor in specific contract terms and costs associated with increasing pricing and

determine the right timing for the increase. (FE-2.) Sometimes Griffin’s decision was to raise a

price, but wait until the next quarter when the contractual implications would be more favorable.

(FE-2.) This recommendation and evaluation process could be quick, but could also span weeks,

with the implemented price hike following as many as 60 days after Galownia’s initial

recommendation. (FE-2.)

       661.    The members of the Pricing Group would routinely engage in a bottom-up analysis

in deciding to lower prices. This required them to conduct and provide senior executives with


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detailed analysis and documentation justifying their decisions to reduce prices. (FE-3.) Price

increases, in contrast, came from the top down. When prices were increased, the Pricing Group

was simply “told,” by email or in a meeting, to raise the prices of certain drugs, without conducting

any analysis justifying the increase. (FE-3.) Members of the Pricing Group did not have authority

to implement price increases. (FE-3.) Defendants became “more aggressive with pricing” by

frequently increasing prices from 2013 onward. (FE-4.) Empirical evidence confirms this

observation. See Appendix A.

        662.    As was the case during the Relevant Period, and as the empirical evidence confirms,

approved price increases would often be batched together and announced on the same day. (FE-

2.) Once a price increase was made, Teva would send letters to affected customers informing them

of the price increase. (FE-2, FE-4.) Galownia or his team would also email these letters to all

Teva employees whose work would have been impacted by price increases. (FE-4.)

        663.    Given this formalized process involving defendants Griffin and Cavanaugh, there

is a strong inference that Defendants were aware of, or at least recklessly disregarded, the 76 price

increases, ranging from 22% to 1,500%, over the course of over three years, that generated over

$2.6 billion in Inflated Profit.

                5.      Defendants Had Continuous Access to Documents and
                        Information Tracking Profits from Price Increases

        664.    Defendants were given documents that tracked the financial impact of the Price-

Hike Strategy against the detailed revenue goals for Teva’s U.S. generics business, as often as on

a daily basis. (CW1, CW3, FE-1.) They also had access to Company-wide databases with detailed

drug-by-drug information about the price, sales, and profits of each drug on a real-time basis.

(CW1, CW3, FE-1, FE-3.) Given the close attention paid to revenue and its sources, and the

readily available information concerning these topics, there is a strong inference that Defendants



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knew or recklessly ignored that billions of dollars in Inflated Profit and Collusive Profit were

generated through the Price- Hike Strategy, and its collapse caused the later short-falls in profits.

       665.    Long-Range Work Plan: Among the documents Defendants created and received

was a long-range Work Plan, generated annually, that included generic revenue forecasts for three

to five years and contained granular pricing details down to the National Drug Code, or NDC,

level. (FE-1.) The employees preparing the Work Plan would receive feedback from executives

over the course of a pre-established schedule. (FE-1.) The process began around March each year,

with the U.S.-based executives, including Oberman and Olafsson, reviewing and approving the

Work Plan over the late summer. (FE-1.) The U.S.-based executives would then present the Work

Plan to Teva’s executives in Israel, including Vigodman and Desheh, each year. (FE-1.)

       666.    Daily Scorecards: Weekly or daily Scorecards were circulated among Teva’s top

executives, including Olafsson and Oberman. (FE-1, FE-2.) These Scorecards provided these

executives with regular access to U.S. sales and revenue data for generic drugs. (FE-1.) The

Scorecards also compared Teva’s actual revenue figures to longer term revenue goals. (FE-1.)

The executives used the Scorecards to track “holes” between the actual revenues and forecasts,

including the Work Plan. (FE-1, FE-2.) The price increases were used to “fill” the holes. (FE-2.)

       667.    Latest Best Estimates (”LBEs”): Teva’s U.S. executives also tracked, and would

report to the executives in Israel, U.S. generic performance on a quarterly basis through the LBEs,

which showed how a current financial quarter compared to long-term forecasts. (FE-1.) The LBEs

would also be circulated to the executives in Israel. (FE-1.)

       668.    Price Quarterly Analysis: Teva financial analysts created Price Quarterly analyses

each quarter that showed the effective price of sales for each drug in each region. (CW1.)

       669.    Oracle ERP System: Teva housed the pricing, revenue and sales data of its generic

drugs on its Oracle ERP system, a Company-wide database. (CW1, CW3, FE-1, FE-3.) Through


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this system, pricing, sales and revenue information for each generic drug was readily and easily

available at the granular level, “down to the NDC code.” (FE-3.) Teva executives, including

defendants Griffin, Cavanaugh, Oberman, and Olafsson, all had access to the Oracle ERP system.

(FE-1, FE-3.) The Oracle ERP system was the source for the data used for the Scorecards, Work

Plan and LBEs. (CW1, CW3, FE-1.)

               6.      Defendants’ and Analysts’ Focus on Generics

       670.    The fact that Defendants recurrently publicized that Teva’s generics segment,

fueled by its U.S. division, was driving the Company’s turnaround during the Relevant Period

supports a strong inference of scienter. For example, on May 13, 2015, Desheh described the turn-

around in generics as “nothing short of a revolution.” On June 10, 2015, Olafsson touted

improvement of the “generic business by . . . $1 billion . . . in 14 months, 16 months.” That same

day, Vigodman touted “the profound change in the generic business,” citing increased operating

profit from 2013 to 2014.

       671.    Analysts accordingly focused on Teva’s generics business, and particularly its U.S.

division, as a financial driver for the Company, further supporting a strong inference of scienter.

For example, in a February 5, 2015 report, Piper Jaffray noted that “the profitability of the generics

business [is] continuing to improve.” On April 30, 2015, J.P. Morgan wrote: “Teva continues to

make progress on generics profitability . . . we remain encouraged by the recovery in Teva’s

generic business.” The same day Cowen and Company noted that Teva’s “outperformance was a

result of better than expected U.S. generic sales.”

       672.    Similarly, when industry pricing pressure damaged Teva’s competitors, analysts

peppered Defendants with questions about pricing pressure over the course of several months,

which were met with detailed answers. For example, on February 11, 2016, Guggenheim asked

Olafsson about “pricing pressure in the generics business,” with Olafsson claiming to know that


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“on the pricing . . . we didn’t see anything change in fourth quarter.” On September 7, 2016, Wells

Fargo asked whether Teva was “seeing the same generic erosion, pricing erosion that some of the

other companies” had, to which Desheh asserted he knew that in “the base [generics] business . . .

the prices are very stable there.”

               7.      The Magnitude, Importance and Duration of the Fraud

       673.    The fact that Teva’s collusive activities and Price-Hike Strategy generated as much

as $2.6 billion in Inflated Profit supports a strong inference of scienter. Indeed, the Inflated Profit

drove Teva’s reported financial turnaround throughout the Relevant Period. In 2014 and 2015, the

Inflated Profit comprised an increasingly large portion of Teva’s overall net income. As to the

generics segment’s profits, the Inflated Profit accounted for 15% of segment profits in 2013 – of

which 50% was Collusive Profit; 32% in 2014 – of which 56% was Collusive Profit; and 32% in

2015 – of which 51% was Collusive Profit. The Inflated Profit accounted for an even larger portion

of the Company’s overall net income: in 2013, the Inflated Profit accounted for 20% of net income;

in 2014, 23%; in 2015, 54%; and in 2016, more than all of Teva’s overall profit. The stronger

inference is that Defendants knew of the source of these profits.

       674.    Likewise, in 2016, the Price-Hike Strategy deteriorated as Teva began to experience

significant pricing pressure and accelerated price erosion and was no longer able to implement

additional price hikes. As a result Teva’s generic drug profits plummeted. Indeed, Teva’s

deteriorating financial condition in 2017 called into question whether it could service its massive

$35 billion debt and forced the Company to take a staggering $6.1 billion impairment charge to its

generics business and reduce its dividend. The stronger inference by far is that Defendants were

aware of the source of this decline, or were reckless in not knowing.




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               8.      Contemporaneous Red Flags Indicated that the Defendants’
                       Statements Were False or Misleading

       675.    Contemporaneous red flags alerted Defendants to the possibility that their

statements were false and misleading. At a minimum, Defendants recklessly failed to review or

check information that they had a duty to monitor under these circumstances.

       676.    Congressional Inquiry: On October 2, 2014, Congress sent Vigodman a personal

letter seeking answers to “the underlying causes of recent increases in the price of [Teva’s] drugs.”

This should have placed Defendants on alert to discover whether Teva had taken price increases

and to what extent. Despite this, on October 30, 2014, Vigodman, when faced with an analyst

question on the subject, denied that Teva derived revenues from price increases. Similarly,

Congress invited Teva to testify at a November 20, 2014 hearing on whether “there was a rational

economic reason as to . . . huge price increases.” Again, this should have sparked an internal

inquiry from Teva’s executives. Yet, on December 11, 2014, when faced with the assertion from

an analyst that wholesalers were seeing large price increases, Olafsson flatly denied that Teva was

involved in those practices.

       677.    The State AG and DOJ Investigations: The fact that the DOJ and State AGs began

investigations into Teva’s competitors related to their pricing practices also supports a strong

inference of scienter. The fact of those investigations should have triggered an internal inquiry at

Teva into the facts of its own pricing practices, including the dozens of price increases that Teva

made in tandem with its competitors.

       678.    GAO Report:        On September 12, 2016, the GAO, which Congress had

commissioned over two years earlier, publicly released its report on “Generic Drugs Under

Medicare,” documenting its audit of Medicare Part D data from June 2015 to August 2016. The

GAO found hundreds of unexplained “extraordinary price increases,” defined as the price of a

particular drug increasing over 100% within a 12-month period, and that some drug prices

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increased more than 1,000%. Teva had numerous drugs that showed extraordinary price increases

in the GAO Report. The facts of the GAO Report support the inference that Defendants spoke the

alleged false statements with scienter.

               9.      Officer Terminations Support Scienter

       679.    That three of the Officer Defendants – Olafsson, Vigodman, and Desheh – resigned

from Teva or had their employment with Teva terminated at a critical time, as the Company’s

Price-Hike Strategy was deteriorating and Teva was in regulators’ crosshairs, further supports

scienter. There is a strong inference that the termination of Olafsson was connected to his

fraudulent cover-up of the Price-Hike Strategy and the subsequent decline in Teva’s profits as the

strategy collapsed. The explanation for his termination as “retirement” was false, and the first

charges from the DOJ and State AGs regarding their pricing investigations were released only days

later. There is a similarly strong inference regarding Vigodman’s termination. He was fired

without a replacement just one month after Teva significantly revised its 2017 guidance

downwards, resulting in part from increased price erosion and dwindling generic profits, and one

week before Teva reported disappointing financial results for the fourth quarter of 2016. Finally,

less than two months after Desheh left Teva, and in the very first reporting period after all of these

defendants were gone, Teva took a staggering $6.1 billion charge against its U.S. generics

business, and announced a radical 75% reduction in dividend payments to shareholders. This

supports an inference that it was these defendants who were blocking the true financial state of the

Company from coming to light.

               10.     Other Facts Supporting Scienter

       680.    The Receipt of the Subpoenas: Teva’s receipt of subpoenas from the DOJ and the

Connecticut AG on June 21, 2016 and July 12, 2016, respectively, supports a strong inference of

Defendants’ scienter. Particularly, Defendants failed to disclose them in the mandatory SEC

disclosures filed in conjunction with the Notes Offering and Notes Offering Materials, but then
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disclosed them approximately two weeks after completing the offering. The failure to disclose

receipt of the subpoenas until the Notes Offering was completed supports scienter, as does the fact

that many of Teva’s competitors disclosed their receipt of a subpoena immediately, in the very

next SEC disclosure. Moreover, those subpoenas triggered a legally mandatory duty to inquire

into Teva’s pricing practices. Yet, Defendants thereafter made materially false and misleading

statements about their exposure to price erosion, including during Teva’s September 9, 2016

Generics Day.

          681.   Bloomberg Article: The November 3, 2016 Bloomberg article revealed that Teva

was the subject of the DOJ criminal inquiry, and that the DOJ and State AGs could likely bring

charges later in the year. Despite this, Vigodman, almost two weeks later, on November 15, 2016,

claimed that he was “not aware of any fact that would give rise to an exposure to Teva with respect

to the investigation.” The State AGs suit and the DOJ charges against Glazer and Malek soon

followed and, subsequently, those investigations have expanded massively. The close proximity

of Vigodman’s statement to the announcement of the charges diminishes the plausibility of

innocent explanations or denials from the Defendants.

                 11.    Corporate Scienter

          682.   Teva possessed scienter by virtue of the fact that the Officer Defendants, who acted

with scienter as set forth above had binding authority over the Company. In addition, certain

allegations herein establish Teva’s corporate scienter based on: (i) the state of mind of employees

whose intent can be imputed to the Company; and/or (ii) the knowledge of employees who

approved the statements alleged herein despite knowing the statements’ false and misleading

nature.

          683.   It can be inferred that senior corporate executives at Teva possessed scienter such

that their intent can be imputed to the Company. For instance, in 2013, Galownia, Teva’s Senior


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Director of Marketing who led Teva U.S.’s pricing department, knew of and discussed Teva’s new

Price-Hike Strategy at a quarterly “all-hands” meeting of the sales, customer service, finance, and

pricing groups. Given the nature of this strategy, that it required the involvement of numerous

divisions within Teva to implement, including the Operations department under U.S. COO

Cavanaugh and the Finance department under U.S. CFO Griffin, and that it had a material impact

on Teva’s financial statements, additional unknown executives sufficiently senior to impute their

scienter to Teva were also aware of the Price-Hike Strategy.

       684.    As yet unidentified employees also approved the false statements despite knowing

of their false and misleading nature. As discussed, Teva had in place extensive processes to track

its financial performance on a daily, quarterly, and yearly basis. From this, it can be inferred that

someone at Teva approved of the false and misleading statements in Teva’s financial statements

concerning the source of its generics profits, while knowing that the true source of the profits were

the Inflated Profit from the Price-Hike Strategy. Indeed, according to FE-2, “everyone” would

have known of price increases that had a material impact on Teva’s financial reporting for the U.S.

generics business. It can also be inferred that someone approved the false and misleading

statements that Teva was competing intensely on price, someone who knew of the Price-Hike

Strategy, and that it was largely dependent on a lack of competition.

               12.     The Officer Defendants Were Personally Motivated by
                       Compensation

       685.    The Officer Defendants made millions of dollars in personal compensation from

the reported success of the Company’s U.S. generics business during the Relevant Period. They

received cash bonuses of as much as 158% of their annual salaries based on performance metrics

directly impacted by the illicit revenues derived from fixing and maintaining prices, rigging bids,

and allocating customers and markets. Teva also made substantial equity grants to defendants



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Vigodman, Desheh, Oberman, Olafsson, and likely other senior officers, including options to

purchase shares, awards of restricted shares, and awards of Performance Share Units (“PSUs”).

       686.     For 2014, Teva reported paying defendant Oberman nearly $6.5 million in cash and

nearly $1 million in equity compensation. (He stepped down that year.) For 2015, Teva reported

paying defendant Desheh more than $1.8 million in cash and $1.7 million in equity compensation.

(His compensation as not disclosed for 2014 or 2016.) For 2015 and 2016, Teva reported paying

defendant Olafsson more than $4.8 million in cash and more than $3.5 million in equity

compensation. (His compensation was not disclosed for 2014.) For 2014 to 2016, Teva reported

paying defendant Vigodman more than $8.4 million in cash and more than $5 million in equity

compensation.

       687.     The Officer Defendants’ compensation structure incentivized fraud. The intent of

the Company’s Compensation Policy for Executive Officers and Directors (the “Compensation

Policy”) is stated, as follows:

       Teva aims to incentivize its executive officers by creating a strong link between
       their performance and compensation. Therefore, a significant portion of the total
       compensation package provided to Teva’s executive officers is based on measures
       that reflect both Teva’s short- and long-term goals and performance, as well as the
       executive officer’s individual performance and impact on shareholder value.

       688.     A significant component of the Compensation Policy was the Company’s annual

cash bonus program. Teva described the bonuses as “strictly pay-for-performance . . . as payout

eligibility and levels are determined based on actual financial and operational results, as well as

individual performance.” While the Compensation Policy laid out the general parameters of the

bonus program, it gave Teva’s Board and its Compensation Committee some flexibility to alter

the measurements used to award cash bonuses year-to-year.

                       a.         2014 Compensation

       689.     In 2014, defendants Vigodman, Desheh, Oberman, and Olafsson received cash

bonuses and equity compensation based, in significant part, on Teva’s achievement of certain
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financial targets, which were impacted by the revenues generated from the anti-competitive

conduct and collusion.

       690.    According to the 2014 Form 20-F, more than 70% of Vigodman’s cash bonus was

tied to such financial targets (specifically, 35.4% for non-GAAP operating profit, 21.2% for non-

GAAP net revenue, and 14.2% for cash flow). He was entitled to a bonus of 140% of salary for

achieving 100% of the targets, and a maximum of 200% of salary if 125% of the targets were met.

       691.    Vigodman’s total reported compensation was nearly $4.5 million; he received a

salary of $1,183,888, a bonus of $1,868,477 (approximately 158% of salary), and a one-time bonus

of $237,401 for “significant achievements and efforts,” including Teva “strengthen[ing] its leading

position in generics.” He also was awarded options to purchase 280,702 shares at $41.05; a grant

of 15,660 restricted shares; and a grant of 30,869 PSUs based on targets of cumulative non-GAAP

operating profit and cumulative non-GAAP net revenue from 2014 to 2016.

       692.    According to the 2014 Form 20-F, at least 50% of Oberman’s cash bonus also was

tied to such financial targets (specifically, 25% for non-GAAP operating profit, 15% for non-

GAAP net revenue, and 10% for cash flow). An additional 20% of his bonus was based on Teva’s

generics business. He was entitled to a bonus of 100% of salary for achieving 100% of the targets,

and a maximum of 200% of salary if 120% of the targets were met.

       693.    Oberman’s total reported compensation of $7,337,661 made him the highest-paid

Teva executive for 2014, after being functionally replaced in July. Oberman received a salary of

$850,000, a cash bonus of $1,194,435 (approximately 140% of salary), and a cash severance of

$4,464,171 based primarily on the amounts of his salary and average bonuses for 2012 to 2014.

       694.    Because Olafsson and Desheh were not among Teva’s five highest paid executives

in 2014, their salaries and cash bonuses were not disclosed (Olafsson joined Teva in July 2014).

Olafsson was awarded options to purchase 88,238 shares at a price of $54.02; a grant of 18,229


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PSUs; and an additional grant of 17,773 PSUs based on Teva’s 2014 performance. Desheh was

awarded options to purchase 98,581 shares at a price of $48.76 and a grant of 20,066 PSUs.

                      b.      2015 Compensation

       695.    In 2015, defendants Vigodman, Desheh, and Olafsson received cash bonuses and

equity compensation based, in significant part, on Teva’s achievement of certain financial targets,

which were impacted by the revenue generated from the anti-competitive conduct and collusion.

       696.    According to the 2015 Form 20-F, more than 70% of Vigodman’s cash bonus was

tied to such financial targets (specifically, 35.4% for non-GAAP operating profit, 21.2% for non-

GAAP net revenue, and 14.2% for free cash flow). He was entitled to a bonus of up to 200% of

salary if 125% of the targets were met.

       697.    Vigodman’s total reported compensation was approximately $5.7 million; he

received a salary of $1,363,682 and a bonus of $2,253,581 (approximately 165% of salary). He

also was awarded options to purchase 163,859 shares at a price of $57.35 and a grant of 30,869

PSUs based on Teva’s 2014 to 2015 cumulative performance.

       698.    According to the 2015 Form 20-F, Desheh and Olafsson also were entitled to

bonuses based on such financial targets (specifically, 25% for non-GAAP operating profit, 15%

for net revenue, and 10% for free cash flow), in amounts of up to 200% of salary if 120% of the

targets were met.

       699.    Desheh’s total reported compensation was approximately $4.3 million; he received

a salary of $733,863 and a bonus of $1,110,824 (approximately 151% of salary). He also was

awarded options to purchase 89,376 shares at a price of $57.35 and a grant of 16,838 PSUs.

       700.    Olafsson’s total reported compensation was approximately $3.9 million; he

received a salary of $954,955 and a bonus of $1,449,375 (approximately 151% of salary). He also

was awarded options to purchase 94,343 shares at a price of $57.35; options to purchase an


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additional 160,114 shares at a price of $59.19 “[i]n light of the increase in . . . scope of work and

responsibilities as head of . . . Global Generics Medicines Group in connection with the Actavis

acquisition”; and a grant of 17,773 PSUs based on Teva’s 2014 to 2015 cumulative performance.

       701.    Teva’s ADS price reached a high of $72 on July 27, 2015, making the potential

value of the Officer Defendants’ 2014 and 2015 options quite significant at the height of the alleged

fraudulent scheme. However, because Teva was a “foreign private issuer” during the Relevant

Period, it was not required to report insider sales and, therefore, it is unknown whether these

Officer Defendants, or any other insider, engaged in suspicious trading activity. Evidence of

insider trading, if any, could be obtained in discovery.

       M.      Loss Causation

       702.    In addition to the allegations herein concerning the direct and proximate causal link

between Defendants’ wrongful conduct and the economic harm suffered by Plaintiffs, set forth

below are Plaintiffs’ additional allegations of loss causation.

       703.    As alleged in §III.N, Presumption of Reliance and Fraud-on-the-Market Doctrine,

the market for both Teva’s ADSs and ordinary shares was open, well developed, and efficient at

all relevant times. As a result of Defendants’ fraudulent scheme, the prices of Teva’s ADSs and

ordinary shares were artificially inflated and/or maintained during the Relevant Period and, thus,

investors who purchased or otherwise acquired those securities did so at artificially inflated prices.

       704.    Between August 2016 and February 2018, as a series of negative events and

disclosures began to reveal, on a piecemeal basis, the false and misleading nature of Defendants’

statements and omissions, the artificial inflation leaked out, at least in part, and the value of Teva

securities declined, causing economic harm to investors.

       705.    As a result of Defendants’ wrongful conduct, Teva’s ADS price, for example,

which steadily increased from the start of the Relevant Period to an all-time high of $72 in


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July 2015, fell to less than $20, reducing market capitalization by nearly $42 billion as the truth

leaked out. Similarly, the ordinary shares dropped from an all-time high of ILS 27,120 to

ILS 6,700. The Company has experienced dislocation and uncertainty due to the abrupt departures

of three top executives and ongoing disruption and fallout from numerous criminal and civil

investigations and litigations. Teva’s credit ratings have been downgraded to one level above

“junk,” and it may be forced to sell assets to reduce debt. In addition, Teva cut its profit forecast

for 2017, cut its dividend, and warned investors that it risks breaching debt covenants.

        706.    These negative events and disclosures were directly related to Defendants’

fraudulent scheme. As detailed herein, during the Relevant Period, Defendants made false and

misleading statements and engaged in a scheme that artificially inflated Teva’s ADR and ordinary

share prices. Defendants misled investors about Teva’s financial health and performance and its

prospects for future financial success by concealing the details of its collusive conduct and Price-

Hike Strategy, maintaining that Teva was not subject to the pricing pressures that finally came to

bear on the U.S. generic drug market, and overstating goodwill and failing to make timely

impairments. Throughout the Relevant Period, Defendants denied their involvement in the alleged

unlawful conduct in the generics market, denied that Teva’s results were driven by generic drug

price increases, and maintained the illusion that Teva faced “intense competition” and that the

Company’s positive results were based on other factors, such as cost-cutting and organic growth

from new products.

        707.    By concealing, among other things, the collusive conduct, the Price-Hike Strategy,

that the strategy was driving known material trends, and that as the strategy failed and pricing

competition increased Teva’s financial condition was deteriorating, Defendants also concealed the

numerous and related risks associated with their false statements and omissions, including but not

limited to, the risks that:


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              The strategy was highly risky and not sustainable, and as the strategy failed, Teva’s
               profits would collapse;

              By their nature, especially when done in tandem with competitors, price hikes
               might appear to arise from anti-competitive and/or collusive conduct and, thus,
               draw the attention of government investigators and law enforcement agencies,
               precipitating possible legal actions, civil liabilities, and criminal sanctions;

              Should the collusive activity or the Price-Hike Strategy come under public,
               legislative, or law enforcement scrutiny, the viability of sustaining the Inflated
               Profit and/or implementing new price hikes would be severely undermined, and
               would thereby undercut a major driver of the generics segment’s profit;

              If pricing pressure or competition increased, Teva would be far more susceptible to
               a rapid and material decline in the Inflated Profit, resulting in poor financial results
               and undercutting reported and forecasted profits;

              Upon the failure of the Price-Hike Strategy, the Company could be further disrupted
               by the termination of the senior managers who were responsible for the strategy
               and by any increased difficulty in hiring qualified replacements;

              As the Price-Hike Strategy in fact failed over time and Teva was prevented from
               making additional price increases, Teva’s Inflated Profit declined; and

              Teva’s goodwill was overstated by billions of dollars.

       708.    Beginning in August 2016, the concealed risks began to materialize through a series

of negative events and disclosures that revealed, on a piecemeal basis, the false and misleading

nature of the Defendants’ Relevant Period statements and omissions. None of these negative

events or disclosures was sufficient, on its own, to fully remove the inflation from the prices of

Teva securities because each only partially revealed the scope and consequence of the fraudulent

scheme. Despite the leakage of these partially corrective events and disclosures, the prices of

Teva’s securities remained artificially inflated, and were prevented from declining to their true

value. As Plaintiffs continued to hold Teva securities, and/or purchased or acquired those

securities, the artificial inflation caused them further injury when additional information was

revealed. The corrective effect of each new piece of information was tempered by Defendants’

continuing efforts to conceal the true risks and conditions arising from Teva’s involvement in anti-


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competitive conduct and collusion, improper financial reporting and disclosures, and Teva’s true

financial and business condition.

               1.      August 4-5, 2016

       709.    After trading on August 4, 2016, Teva filed the 2Q2016 Form 6-K, reporting

second quarter 2016 results, including a $434 million decline in revenue in the U.S. generics

segment compared to the second quarter of 2015. This marked the beginning of the leakage of

corrective information to investors.      However, Defendants misleadingly attributed Teva’s

disappointing financial results to the loss of exclusivity on certain drugs and a decline in sales in

others; they did not fully reveal Teva’s anti-competitive conduct and collusion, improper financial

reporting and disclosures, and Teva’s true financial and business condition.

       710.    The 2Q2016 Form 6-K disclosed for the first time that: (i) “[o]n June 21, 2015,

Teva USA received a subpoena from the Antitrust Division of the United States Department of

Justice seeking documents and other information relating to the marketing and pricing of certain

of Teva USA’s generic products and communications with competitors about such products;” and

(ii) “[o]n July 12, 2016, Teva USA received a subpoena from the Connecticut AG seeking

documents and other information relating to potential state antitrust law violations.”          The

disclosure of the Subpoenas was the first indication to the market that Defendants were implicated

in the DOJ’s and State AGs’ antitrust investigations.

       711.    The 2Q2016 Form 6-K falsely and misleadingly stated that Teva had received its

DOJ subpoena on June 21, 2015 (around the time other generic drug companies received and

disclosed similar subpoenas, e.g., Actavis received a DOJ subpoena on June 25, 2015), when Teva

actually had received its DOJ subpoena on June 21, 2016 (as revealed in the 3Q2016 Form 6-K

filed with the SEC on November 15, 2016 without any explanation for the correction).




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       712.    As a result of this new negative information, the next trading day, the prices of Teva

securities declined. The ADS price fell $1.24 per share, or 2.24%, from a close of $55.45 on

August 4, 2016 to a close of $54.21 on August 5, 2016, on high trading volume. Teva’s market

capitalization was reduced by approximately $1.13 billion.

               2.      November 3-6, 2016

       713.    During trading on the NYSE on November 3, 2016, new information was revealed

to the market regarding the DOJ investigation into Teva’s marketing and pricing of generic drugs.

A Bloomberg published an article titled “U.S. Charges in Generic-Drug Probe to Be Filed by Year

End,” which described the DOJ’s “sweeping” two-year investigation of suspected price collusion

involving more than a dozen generic pharmaceutical companies, including Teva. The article broke

news of a grand jury probe, reporting that the first criminal charges against executives of those

companies could emerge by the end of the year. This indicated to the market that Teva and its

executives were likely targets of the federal antitrust investigation, and that the investigation had

found evidence of criminal conduct, despite Defendants’ repeated statements regarding “intense

competition” in the generics market and an overall decline in price on the Company’s generics

portfolio. The Bloomberg article also revealed that the Connecticut AG might file a civil complaint

against Teva and other generics companies.

       714.    Investors and analysts reacted to this new negative news. For instance, analysts at

S&P Capital IQ lowered their rating of Teva ADSs from “buy” to “hold,” and Fierce Pharma

reported that analysts believed the investigation could have a sizeable financial impact on Teva,

estimated to be as much as $700 million.

       715.    As a result of this new negative information, Teva’s ADS price fell $4.13 per share,

or 9.53%, from $43.33 on November 2, 2016 to $39.20 on November 3, 2016, on high trading

volume. Teva’s market capitalization was reduced by approximately $4 billion.


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        716.    The next trading day on the TASE, the ordinary shares fell ILS 710, or 4.5%, from

ILS 16,040 on November 3, 2016 to ILS 15,330 on November 6, 2016.

                3.      November 15, 2016

        717.    Before the open of trading on the NYSE on November 15, 2016, Teva filed a press

release on Form 6-K with the SEC, reporting third quarter 2016 revenues below consensus

expectations. During an investor conference call that day, defendant Olafsson explained the poor

financial reporting was a result of pricing pressures, stating that, despite his past denials that Teva

was exposed to pricing pressure, or even observed such pressure, price erosion in Teva’s U.S.

generics business in fact had been approximately 7%, as compared to the 5% that Olafsson had

just recently stated. While Defendants acknowledged that pricing pressure was impacting profits,

they attributed these negative results to the divestiture of certain generic products related to the

Actavis acquisition, and continued to conceal Teva’s anti-competitive conduct and collusion,

unsustainable Price-Hike Strategy, improper financial reporting and disclosures, and Teva’s true

financial and business condition.

        718.    In addition, defendant Vigodman directly addressed the DOJ investigation into

price collusion in the generic drug industry that had been in the news that month, and emphasized

that, “based on all of our efforts to date, internal and external . . . we are not aware of any fact that

would give rise to an exposure to Teva with respect to the investigation.” These denials tempered

the impact of the corrective information and implied that Defendants, and specifically defendant

Vigodman, had knowledge of and/or had made a meaningful inquiry into the underlying facts and

had not ignored obvious signs of Teva’s anti-competitive conduct and collusion, improper

financial reporting and disclosures, and Teva’s true financial and business condition.




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        719.       As a result of this new negative information, investors and analysts had negative

reactions. For instance, analysts at Jefferies reported that their view of the Company had changed

and downgraded Teva’s ADSs from “buy” to “hold.”

        720.       The price of Teva’s ADSs fell $3.43 per share, or 8.36%, from $41.03 on

November 14, 2016 to $37.60 on November 15, 2016, on high trading volume. The ordinary share

price also declined ILS 720, or 4.6%, from a close of ILS 15,710 on November 14, 2016 to a close

of ILS 14,990 on November 15, 2016. Teva’s market capitalization was reduced by approximately

$3 billion.

                   4.     December 5-6, 2016

        721.       After trading on December 5, 2016, Teva filed a Form 6-K, announcing that

defendant Olafsson would leave the Company and had been replaced, effective immediately, as

President and CEO of Teva’s Global Generic Medicines Group. The Form 6-K did not offer any

explanation for Olafsson’s departure and said only that he was “retiring,” even though he was only

in his late 40s.

        722.       Olafsson’s abrupt exit, less than two-and-a-half years after his appointment to lead

the newly formed Global Generic Medicines Group, surprised the market, and analysts tied

Olafsson’s termination to the apparent rise of pricing pressure. For instance, TheStreet.com

reported that Olafsson’s resignation “rais[ed] more questions for investors” about the drug pricing

allegations against Teva. Analysts at Morningstar, in a December 6, 2016 report, noted that:

        Teva’s announcement that Dipankar Bhattacharjee will replace Siggi Olafsson as
        CEO of the generics segment does not inspire confidence. Recent pricing pressure
        in the generic drug market and anticipated generic competition on the 40mg version
        of Copaxone in 2017 remain significant near-term challenges for Teva, which
        makes the abrupt leadership change a concerning development at a critical time for
        the company.

BTIG analysts, in a report dated December 5, 2016, further noted that “[w]ithout Siggi [Olafsson]

at the helm of Teva’s global generic segment, we think investor sentiment could worsen as the

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